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                                                                                    A




I



                                     THE
       AIR TRAFFIC CONTROLLER
       WORKFORCE PLAN
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                                                            This 2021 report is the FAA’s sixteenth
                                                            annual update to the controller
                                                            workforce plan. The FAA issued the first
                                                            comprehensive controller workforce
                                                            plan in December 2004. It provides
                                                            stafing ranges for all of the FAA’s air
                                                            trafic control facilities and actual
                                                            onboard controllers as of September
                                                            26, 2020. Section 221 of Public Law
                                                            108-176 (amended by Public Law 116-
                                                            260) requires the FAA Administrator
                                                            to transmit a report to the Senate
                                                            Committee on Commerce, Science
                                                            and Transportation and the House
                                                            of Representatives Committee on
                                                            Transportation and Infrastructure
                                                            that describes the overall air trafic
                                                            controller workforce plan.




2 . Air Traffc Controller Workforce Plan
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Executive Summary
Safety is the top priority of the Federal Aviation Administration (FAA) as it manages America’s National
Airspace System (NAS). The FAA’s mission is to provide the safest, most eficient aerospace system in the
world and encourage global aerospace excellence. The NAS is the common network of U.S. airspace—
air navigation facilities, equipment and services; airports or landing areas; aeronautical charts, information
and services; rules, regulations and procedures; technical information; and manpower and material.
Thanks to the expertise of people and the support of technology, tens of thousands of aircraft are guided
safely and expeditiously every day through the NAS to their destinations.

While safety is the top priority of the FAA as it manages the NAS, eficiency is also an important
priority for the FAA.

IMPACT OF CORONAVIRUS DISEASE 2019 (COVID-19)
The COVID-19 pandemic has had substantial impact on the aviation industry and the FAA. At the onset of the
pandemic, in order to protect employees and help ensure continuity of operations, certain activities were
eliminated or significantly reduced at our air trafic control facilities. On-the-job training of developmental
air trafic controllers was significantly reduced. This will result in delayed certification for most existing
developmental controllers. In order to help the training pipeline recover and due to a significant drop in air
trafic volume at most of our facilities, the FAA has decided to reduce the FY 2021 hiring target from 910 to
500. As always, the FAA will continue to assess the aviation industry and make future adjustments to plans
as warranted. This plan reflects impacts of the pandemic on controller hiring plans given current projections
of recovery.

WORKLOAD
An important part of managing the NAS involves actively aligning controller resources with demand.
The FAA “stafs to trafic,” matching the number of air trafic controllers at its facilities with trafic volume
and workload. The FAA’s stafing needs are dynamic due to the dynamic nature of the workload and
trafic volume.

TRAFFIC
For the purposes of this plan, air trafic includes aircraft that are controlled, separated and managed by air
trafic controllers. This includes commercial passenger and cargo aircraft, as well as general aviation and
military aircraft. Due to the COVID-19 pandemic, air trafic volume dropped precipitously beginning in late
March 2020. Trafic is slowly returning but isn’t expected to recover to 2019 levels for several years. The FAA
also incorporates location-specific trafic counts and forecasts in its stafing standards process to account
for air trafic volume projections at individual facilities.

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Also, unmanned Aircraft Systems (UAS) are changing the way we see
the future of flight. Keeping pace with the technological advances
in this growing industry presents unique challenges and innovative
opportunities for the FAA and the aviation community. The FAA is taking
an incremental approach to safe UAS integration. The impact of UAS on
air trafic control will continue to evolve as the FAA pursues its vision for    The FAA’s goal is
fully integrating unmanned systems into the NAS.                                to ensure that it
                                                                                has the fexibility to
HEADCOUNT
At individual facilities, the current Actual on Board (AOB) number may          match the number
exceed the facility’s target stafing range. This is because many facilities’    of controllers at
current AOB numbers (all controllers at the facility) include many              each facility with
developmental controllers in training to ofset expected future attrition.       traffc volume and
While the FAA strives to keep Certified Professional Controllers (CPCs)
and Certified Professional Controllers in Training (CPC-ITs) within the
                                                                                workload. Staffng
range, individual facilities can be above the range due to advance hiring.      to traffc is just
The FAA hires and stafs facilities so that trainees, once fully certified,      one of the ways
are prepared to take over responsibilities when senior controllers leave.       we manage
Current stafing levels and ranges can be seen in the Appendix of                America’s NAS.
this plan.

RETIREMENTS
The long-anticipated wave of controller retirements peaked more than
a decade ago, in 2007, at 828 retirements. Over the past five years, the
FAA has averaged 501 controller retirements per year. Due to the shifting
demographics of the workforce, controller retirements are expected to
continue to decline for the next five years to a new average of 236 per
year through 2030. In the last five years, 2,506 controllers have retired.
Cumulative retirement eligibility has also fallen. More than 10,000
controllers were hired after the 1981 strike, and at the end of FY 2020
only 19 controllers remain from those who were hired before 1984. By the
end of FY 2021, fewer than 600 controllers will be eligible to retire, which
is the lowest number since the 2005 Controller Workforce Plan.


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                                      This clearly demonstrates that the controller retirement
                                      wave that peaked more than a decade ago is over.

                                      The FAA carefully tracks actual retirements and projects losses to
                                      ensure its recruitment and training keep pace.

                                      HIRING
                                      Over the past five years, the FAA has hired over 7,200 new air trafic
                                      controllers. In FY 2020, we exceeded our target with 920 controller
                                      hires versus a plan of 910 in the midst of the COVID-19 pandemic.

                                      FY 2020 hiring was significantly challenged by the COVID-19 pandemic.
                                      Despite those challenges, the FAA continued to recruit and hire through
                                      the use of a two-track announcement, utilizing virtual onboarding as
   Over the past                      well as virtual training. This consisted of new hires beginning their
                                      employment from their current residence and completing the Air
   fve years,
                                      Trafic Basics training virtually. After Basic training was completed, they
   the FAA has                        reported to the FAA Academy in Oklahoma City for the next portion of
                                      their training. This was the fifth consecutive year that FAA met it’s
   hired over 7,200                   hiring goal.
   new air traffc                     The anticipated number of new controller hires in FY 2021 is 500.
   controllers.                       This represents a significant reduction to the FY 2021 target of 910
                                      stated in the FY 2020 Controller Workforce Plan. The decrease is driven
                                      by ongoing impacts of the COVID-19 pandemic and our desire to not
                                      overload facilities with new hires. This would be the lowest number
                                      of new controller hires since 2013.

                                      In FY 2016, Public Law 114-190 – the FAA Extension, Safety and Security
                                      Act (FESSA) of 2016 – was enacted. The law established two hiring
                                      tracks totaling three distinct hiring pools. It included pool- balancing
                                      requirements. The National Defense Authorization Act of 2020 replaced
                                      the balancing requirements with requirements to prioritize certain pools.
                                      This will give the FAA better access to the best-qualified candidates.

                                      During FY 2021, the FAA will continue to recruit and hire air trafic control
                                      specialists to meet stafing requirements through the use of the two-
                                      track announcement process.


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TRAINING
In July 2019, the FAA implemented the National Training Initiative (NTI), providing minimum training hours
per week for all trainees. Since implementation of the NTI in 2019, the FAA made significant increases in the
certification of trainees to certified professional controllers (CPCs). NTI was temporarily paused as a result of
COVID-19 for several months and training was significantly impacted. As the FAA ramps back up and brings
new employees on board, training continues to be closely monitored at all facilities. We must carefully
manage the process to ensure that our trainees are hired into locations with need and progress in a timely
manner to become CPCs. NTI is critical to our continued eforts to build a stable trainee pipeline and develop
our workforce.

Ongoing hiring and training initiatives, as well as simulator use, are helping the FAA meet its goals.
While the FAA is managing today’s air trafic, we must also integrate new technologies into air trafic
operations. From state-of-the-art simulators to satellite technology, air trafic is evolving into a more
automated system. The FAA is working diligently to ensure well-trained controllers continue to uphold
the highest safety standards as we plan for the future.”




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Ch. 1 Introduction
STAFFING TO TRAFFIC
Air traffc controller workload and traffc volume are dynamic, and so are the FAA’s staffng needs. A primary
factor affecting controller workload is the demand created by air traffc, encompassing both commercial
and non-commercial activity. Commercial activity includes air carrier and commuter/air taxi traffc.
Non-commercial activity includes general aviation and military traffc.

Adequate numbers of controllers must be available to cover the peaks in traffc caused by weather and daily,
weekly or seasonal variations, so we continue to “staff to traffc.” Although the FAA generally staffs to traffc
counts, it is not a one-to-one relationship.

Safety rules and hours of operation require watch schedules that establish staffng during low-volume periods
or in facilities with low traffc counts. This practice gives us the fexibility throughout each day to match the
number of controllers at each facility with traffc volume and workload.



   FIGURE 1.1 TRAFFIC TRENDS
                                     Peak traffc                                                     Historical             Forecasted
                   160
                   150
                           .......    Jt.Jt..
                                          ..
                                            ~
                                                t ...................................................................
                                                                                                         .
                                                     -
TOTAL WORKFORCE




                            ~/
 OPERATIONS (M)*




                   140
                   130
                                                                                                                                                          ., ., .
                   120
                   110
                   100
                    90
                    80
                                '98 '99 '00 '01 '02 '03 '04 '05 '06 '07 '08 '09 '10 '11 '12 '13 '14 '15 '16 '17 '18 '19 '20 '21 '22 '23 '24 '25 '26 '27 '28 '29 '30
                                                                                       FISCAL YEAR
                         *Total Workforce Operations = Tower + TRACON + Aircraft Handled by En Route Centers



Air traffc was severely impacted by the COVID-19 pandemic. In late March 2020, air traffc dropped
dramatically. It has begun a slow, steady recovery and the FAA projects it will take several years to
return to 2019 levels. Prior to COVID-19, air traffc had shown slow growth in each of the last 5 years.
However, system- wide, air traffc is down by 38.8 percent since peak year 2000 and the chart in
Figure 1.1 shows that air traffc volume is not forecasted to return to peak levels in the near term.

Figure 1.2 shows system-wide controller staffng and traffc, indexed from FY 2000 and projected through
FY 2030. Indexing is a widely used technique that compares the change over time of two or more data series
(in this case, total controller headcount, CPC plus CPC-IT and traffc). The data series are set equal to each
other (or indexed) at a particular point in time (in this case, FY 2000, a high mark for traffc) and measured
relative to that index point in each successive year. This way we know how much growth or decline has
occurred compared with the base value.




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      FIGURE 1.2 SYSTEM-WIDE TRAFFIC AND TOTAL CONTROLLER TRENDS
                                  Headcount             Forecasted Headcount              CPC + CPC-IT           Forecasted CPC + CPC-IT              Historical Traffc
                                                       Staffng continued to rise                                                                      Forecasted Traffc
PEAK TRAFFIC YEAR 2000 = 100
                                110                    while traffc dropped off                              Staffng still ahead of traffc

                                100

                                 90
           INDEX




                                 80

                                 70

                                 60
                                      '00 '01 '02 '03 '04 '05 '06 '07 '08 '09 '10 '11 '12 '13 '14 '15 '16 '17 '18 '19 '20 '21 '22 '23 '24 '25 '26 '27 '28 '29 '30
                                                                                     FISCAL YEAR


  Staffng to traffc not only applies on a daily basis, but also means
  that we staff to satisfy expected needs two to three years in advance.
  We do this to ensure suffcient training time for new hires. Despite the
  decline in air traffc shown in Figure 1.2, “staffng to traffc” requires us
  to anticipate controller attrition so that we plan and hire new controllers
  in advance of need. This is one reason that staffng remains ahead of
  traffc. The gap between the blue line (Headcount) and the green line
  (CPC and CPC-IT staffng) is the advance hire trainee pipeline and is
  projected to close signifcantly by 2025. The headcount and CPC+CPC-
  IT lines converge due to reduced retirements and other losses.

  The FAA periodically validates its staffng models to check for
  fundamental changes in the nature of the air traffc control job.
  The FAA will update its staffng models when there are signifcant
  changes in air traffc controller workload. Future workload shifts could
  be driven by increased UAS activity and increases in commercial space
  launch activity.

  In December 2015, the FAA began registration of all UAS. Initially UAS
  operated on a limited basis in the NAS and mainly supported public
  operations, such as military and border security operations. In recent
  years, UAS operations have signifcantly increased in number, technical
  complexity and application, but they have not had much impact on
  controller workload yet. The list of uses has rapidly expanded to
  encompass a broad range of activities, including aerial photography,
  surveying, communications and broadcast, as well as hobby
  and recreation.

  In 2017, the FAA launched a prototype version of the Low Altitude
  Authorization and Notifcation Capability (LAANC). It provides UAS
  with access to controlled airspace near airports through near real-time
  processing of authorization requests. LAANC is a collaboration in which
  FAA supplies the source data and technical requirements, and industry
  builds mobile applications for commercial drone operators to plan their
  fights and access controlled airspace.




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Ch. 1 Introduction                 The Remote Identifcation of Unmanned Aircraft Final Rule is the next
                                   incremental step towards further integration of Unmanned Aircraft
                                   (UA) in the National Airspace System. In its most basic form, remote
                                   identifcation can be described as a “digital license plate” for UA.
                                   Remote ID is necessary to address aviation safety and security issues
                                   regarding UA operations in the National Airspace System, and is an
                                   essential building block toward safely allowing more complex
                                   UA operations.

                                   In December 2019, the FAA issued a notice of proposed rulemaking
                                   regarding remote identifcation of unmanned aircraft systems. This new
                                   regulation would continue the safe integration of drones into the nation’s
                                   airspace by requiring them to be identifable remotely. In the 60-day
                                   comment period following publication, the FAA received over 53,000
                                   comments. We reviewed all of the comments and considered them
                                   when writing the fnal rule, which was published in the Federal Register
                                   on January 15, 2021.

                                   As policy and technology updates allow widespread use of UAS for
                                   commercial applications, the impact on the ATC workload will be
                                   incorporated into our models and forecasts. Oversight of UAS is aided
                                   by the FAA’s compliance program, which is designed to help identify and
                                   correct potential hazards before they result in an incident or accident.

                                   Commercial space launch activity is growing in the United States. There
                                   continues to be strong investment in startup space ventures. The level
                                   of activity from air traffc controllers to coordinate airspace closures to
                                   support launch and re-entry will likely grow in areas of the country where
                                   commercial space activity is concentrated. The FAA will continue to
                                   monitor controller workload associated with commercial space activities
                                   and adjust our models and forecasts accordingly.




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MEETING THE CHALLENGE
The FAA’s hiring plan is designed to phase in new hires as needed
over time. To do so, the FAA plans its hiring vacancy announcement
strategy to provide a suffcient pipeline to meet the hiring need. The
hiring process is prolonged from announcement to onboarding, as it
includes various screening activities that can take time (e.g., medical,
security, aptitude). The primary goal of the FAA’s hiring pipeline strategy
is to ensure the pipeline of in-process candidates is suffcient to replace
controllers who retire or leave due to other sources of attrition.

Annual retirements are dropping and well below those experienced
in 2007, when the long-anticipated wave of retirements peaked.
Retirements are expected to fall for the next fve years and remain
at relatively low levels for the next decade.

Hiring, however, is just one challenge. Other challenges involve control-
ler placement, controller training and controller scheduling. It is import-
ant that newly hired and transferring controllers are properly placed in
the facilities where they are needed. Once they are placed, they need
to be effectively and effciently trained, and assigned to effcient
work schedules.
To address these challenges, the FAA:                                        Systematically
      • Revamped its placement process for ATC trainees, allowing            replacing air traffc
        increased fexibility for the FAA and improved effciency in both
        hiring and initial training of air traffc controllers;               controllers where
      • Introduced a collaborative and centralized process to balance
        the controller ranks by revamping the employee requests for          we need them, as
        reassignments, matching employee requests with the agency’s
        needs and establishing a national release policy aimed at
                                                                             well as ensuring
        expediting requests into facilities with the greatest staffng needs; the knowledge
        and
      • Took advantage of legislation (Consolidated Appropriations Act,      transfer required
        2018. Public Law 115-141, Section 108) that allows the FAA to
        target recruitment for the New York Terminal Radar Approach
                                                                             to maintain a safe
        Control (TRACON) Facility to address specifc recruiting              NAS, is the focus
        challenges to that facility.
                                                                             of this plan.
Effective and effcient training, as well as properly placing new
and transferring controllers, are two important factors in the
FAA’s success.




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Ch. 2 Facilities & Services
                                   America’s NAS is a network of people, procedures and equipment.
                                   Pilots, controllers, technicians, engineers, inspectors and supervisors
                                   work together to make sure millions of passengers move through the
                                   airspace safely every day.

                                   As of October 1, 2020, more than 14,000 federal air traffc controllers
                                   in airport traffc control towers, TRACONs and air route traffc control
                                   centers guided pilots through the system. An additional 1,400 civilian
                                   contract controllers and over 10,800 military controllers provide air
                                   traffc services for the NAS.

                                   These controllers provide air navigation services to aircraft in domestic
                                   airspace, in addition to 24.6 million square miles of international oceanic
                                   airspace delegated to the United States by the International Civil
                                   Aviation Organization.

                                   TERMINAL AND EN ROUTE AIR TRAFFIC SERVICES
                                   Controller teams in airport towers and TRACONs watch over aircraft
                                   traveling through Terminal airspace. Their main responsibility is to
                                   organize the fow of aircraft into and out of airports. Relying on visual
                                   observation, radar and satellite navigation, they closely monitor each
                                   aircraft to ensure safe distances among all aircraft and to guide pilots
                                   during takeoff and landing. In addition, controllers keep pilots informed
           En Route                about changes in weather conditions.

      controllers use Once airborne, aircraft quickly depart the Terminal airspace surrounding
         surveillance the  airport. At this point, controllers in the radar approach control notify
                        En Route controllers, who take charge in the vast airspace between
         methods to airports. There are 21 air route traffc control centers around the country.
        maintain safe Each   En Route center is assigned a block of airspace containing many
                        defned routes. Aircraft fy along these designated routes to reach
   distances among their destinations.
              aircraft. En Route controllers use surveillance methods to maintain a safe
                                   distance between aircraft. En Route controllers also provide weather
                                   advisory and traffc information to aircraft under their control. As aircraft
                                   near their destinations, En Route controllers transition them to the
                                   Terminal environment, where Terminal controllers guide them to a
                                   safe landing.




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FAA AIR TRAFFIC CONTROL FACILITIES
As of October 1, 2020, the FAA operated 313 air traffc control facilities. Table 2.1 lists the type and number
of these FAA facilities. More than one type of facility may be co-located in the same building.


TABLE 2.1 TYPES AND NUMBER OF FAA AIR TRAFFIC CONTROL FACILITIES

                            NUMBER
NAME                          OF                                           DESCRIPTION
                           FACILITIES

                                        An ATC tower that provides traffc advisories, spacing sequencing
                                        and separation services to visual fight rules (VFR) and instrument
Tower                         139       fight rules (IFR) aircraft operating in the vicinity of the airport, using a
                                        combination of satellite, radar and visual observations.

                                        An ATC facility that provides approach and departure services to
                                        IFR and VFR aircraft arriving or departing an airport and to aircraft
                                        transiting the terminal airspace using satellite, radar and/or
Approach Control*             25        non-radar separation.



                                        *These facilities are also known as Terminal Radar Approach Control or TRACON

                                        An ATC facility divided into two functional areas, tower and approach
                                        and departure control, that provides services to IFR and VFR aircraft,
Tower and Approach                      including aircraft traffc advisories, spacing sequencing and separation
                              124
Control                                 services to aircraft operating in the vicinity of the airport, arriving
                                        or departing an airport, and transiting the terminal airspace using
                                        satellite, radar and/or non-radar separation.


                                        An ATC facility that provides approach control services for one or
                                        more airports, as well as En Route ATC (center control) for a large area
Combined Control
                               4        of airspace. Some may provide tower services along with approach
Facility
                                        control and en route services. Also includes Combined Center/Radar
                                        Approach (CERAP) facilities.


                                        An ATC facility that provides service to aircraft operating on IFR fight
Air Route Traffc                        plans within controlled airspace and principally during the En Route
Control Center                21        phase of fight. When equipment capabilities and controller workload
En Route                                permit, certain advisory/assistance services may be provided
                                        to VFR aircraft.




                     313 Total Facilities
                                                                                                     2021-2030      . 13
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Ch. 3 Stafing Requirements
The FAA issued the frst comprehensive controller workforce plan in December 2004. “A Plan for the Future:
10-Year Strategy for the Air Traffc Control Workforce” detailed the resources needed to keep the controller
workforce suffciently staffed. This report is updated each year to refect changes in traffc forecasts,
retirements and other factors.

The COVID-19 pandemic has dramatically impacted the aviation industry and world. Air traffc controllers
perform critical work that requires them to be onsite in close quarters on jointly-used, high-touch equipment.
The operating environment provides challenges in some facilities for social distancing. At the onset of the
COVID-19 pandemic, the FAA took quick action to ensure the necessary air traffc controllers were available
to provide air traffc control services, while developing policies and procedures to limit the exposure of
COVID-19 in air traffc control facilities. The FAA assessed traffc levels to determine how we could make
initial adjustments to staffng while still ensuring fight safety and meeting demand. Flexible schedules
allowed facilities to staff to the traffc demand while providing sterile crews. We matched staffng to air traffc
and determined that, in most facilities, we could adjust the number of people working on shifts and divide
employees into fxed teams. By doing this, we would ensure that if a member of one team became ill, only
that team is concerned about infection. We would still have “sterile” teams that had not had contact with
the sick individual and could be brought in to cover for that team if necessary. As traffc demand increased,
facilities made adjustments to fexible schedules and returned to the basic watch schedule.

Staffng to traffc requires the FAA to consider many facility-specifc factors. They include traffc volumes
based on FAA forecasts and hours of operation, as well as individualized forecasts of controller retirements
and other non-retirement losses. In addition, staffng at each location can be affected by unique facility
requirements such as temporary airport runway construction, seasonal activity and the number of
controllers currently in training. Staffng numbers will vary as the requirements of the location dictate.

The FAA also tracks a number of indicators as part of its continuous staffng review. Some of these
indicators are overtime, average time on position per shift, leave usage and the number of trainees.
Time on position is defned as the amount of cumulative time controllers spend while “plugged in” to
their position controlling live traffc. When not on position, controllers are on periodic breaks, in training
or performing other assigned duties.

In FY 2020, the system average for overtime was 2.8 percent, a decrease from the FY 2019 level.
Cumulative average time on position per 8-hour shift was 3 hours and 59 minutes, down from 4
hours and 1 minutes, in 2019.




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    FIGURE 3.1 PROJECTED CONTROLLER TRENDS



            16,000
                     Staffng Range              Headcount                     CPC + CPCIT
                                                                                                        •
                                                                                                        New Hires
                                                                                                                          •   Losses (with Academy attrition)


                       14,242                                 14,042        14,226          14,232      14,245    14,309        14,371      14,434      14,501
                                   13,760      13,892
            14,000                  Max


            12,000     11,577 11,820                          12,249        12,193          12,395      12,589    12,693        12,667      12,629      12,629
                                               12,004
                                     Min
HEADCOUNT




            10,000

             8000

             6000

             4000
                           1,053




                                                                            1,020
                                               1,020


                                                              1,020
                                         982
                                   500
                     920




                                                                                                                                919


                                                                                                                                            952


                                                                                                                                                        984
                                                                                                                  864
                                                       888




                                                                                                        783




                                                                                                                                      857


                                                                                                                                                  889


                                                                                                                                                              917
                                                                      870




                                                                                                                        800
                                                                                            792
                                                                                    836


                                                                                                  786


                                                                                                        770
             2000

                0    11111.
                      '20* '21
                                               ■ ■ ■
                                                   '22            '23          '24
                                                                                            ·--·--·--·
                                                                                              '25           '26     '27           '28
                                                                                                                                            ■ ■
                                                                                                                                              '29         '30
                      *Actual                                                             FISCAL YEAR


 Figure 3.1 shows the expected end-of-year total headcount (blue line),
 CPC & CPC-IT headcount (green line), and new hires and losses (blue
 and gold bars) by year through FY 2030.

 Figures for FY 2020 represent actual end-of-year headcount, losses and
 hires. Losses include retirements, promotions and transfers, resignations,
 removals, deaths, developmental attrition, and Academy attrition. The
 FAA ended FY 2020 with 147 controllers above the 2020 headcount plan.
 Because the FAA is targeting CPC + CPC- ITs headcount to be in the
 middle of the staffng range, the annual headcount forecast should not
 be viewed as a “target.” Rather, it is a byproduct of the number of CPC
 + CPC-ITs in the system, as well as the developmental pipeline hired in      The FAA hires
 advance of future needs.
                                                                              and staffs
 In general, the FAA strives to keep the number of CPCs and CPC-ITs
 near the middle of the calculated staffng range. Figure 3.1 shows that
                                                                              facilities so that
 FY 2021 staffng values are within the calculated staffng range shown by trainees, once
 the “min” and “max” dotted lines. However, a facility’s total staffng levels fully certifed,
 are often above the defned staffng range because new controllers are
 typically hired two to three years in advance of expected attrition to allow are prepared
 for suffcient training time. The total expected end-of-year headcount        to take over
 number shown in Figure 3.1 refects this projected advanced hiring.
                                                                              responsibilities
                                                                              when senior
                                                                              controllers retire.


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                                                   THE FAA
                                                   USES
                                                   MANY
                                                   METRICS
                                                   TO
                                                   MANAGE
                                                   ITS
                                                   FACILITIES


TIME ON               PRODUCTIVE                           STAFFING
POSITION                 TIME                              RANGES


TRAINEES                    OVERTIME                   RETIREMENTS

  FIELD                                               SIMULATORS &
                            TRAFFIC
 INPUT                                                INSTRUCTORS
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STAFFING RANGES
Air traffc facilities staff open positions with a combination of certifed
controllers and developmentals, who are profcient, or checked out,
in specifc sectors or positions. Because traffc and other factors are
dynamic at these facilities, the FAA produces facility-level controller
staffng ranges. These ranges are calculated to ensure that there are
enough controllers to cover operating positions every day of the year.

Ensuring that we have enough controllers is not only important on a
daily basis but also means that we staff to satisfy expected needs two
to three years in advance. We do this to ensure suffcient training time
for new hires. The uptick caused by hiring two to three years ahead of
time is one reason that staffng remains well ahead of traffc.

The FAA uses four inputs to calculate staffng ranges. Three are data
driven; the other is based on feld judgment. They are:

      1. Staffng standards – output of mathematical models used to
         relate controller workload to air traffc activity.
      2. Service unit input – the number of controllers requested to staff
         the facility, typically based on past position utilization and other
         unique facility operational requirements. The service unit input is
         provided by feld management.
      3. Past productivity – the headcount required to match the
         historical best productivity for the facility. Productivity is defned
         as operations per controller. Facility productivity is calculated
         using operations and controller data from the most recent
         10-year period. If any annual point falls outside +/- 5 percent
         of the historical average, it is eliminated from the analysis.
         From the remaining data points, the highest productivity year is
         then used.
      4. Peer productivity – the headcount required to match peer group
         productivity. Like facilities are grouped by type, level and part-
         time or full-time status, and their corresponding productivity is
         calculated. If the facility being considered is consistently above
         or below the peer group, the peer group fgure is not used in the
         overall average and analysis.

The average of this data is calculated, multiplied by +/- 10 percent and
then rounded to determine the high and low points in the staffng range.
Exceptional situations or outliers are removed from the averages (for
example, if a change in the type or level of a facility occurred over the
period of evaluation). By analyzing the remaining data points, staffng
ranges are generated for each facility. Given the drop in current traffc
levels due to the COVID-19 pandemic, we kept the staffng ranges at
2020 levels and will review again in future plans when traffc stabilizes.




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FIGURE 3.2 CONTROLLER STAFFING



FACILITY STAFFING         HIGH

                                            CHARACTERISTICS/DRIVERS OF HIGH
                                            STAFFING LEVELS
                                                •   Ineffcient scheduling
                                                •   Fewer losses than projected
                                                •   Less overtime
                                                •   Reduction in traffc volume
                                                •   Decrease in hours of operation
                                                •   Temporary airport construction
                                                •   Higher number of position-qualifed controllers
                                                •   Higher number of advance hire trainees




                                            CHARACTERISTICS/DRIVERS OF LOW
                                            STAFFING LEVELS
                                                •   Higher than expected attrition
                                                •   Greater use of overtime
                                                •   Increase in traffc volume
                                                •   Increase in hours of operation
                                                •   Temporary airport construction
                                                •   Lower number of position-qualifed controllers
                                                •   Lower number of advance hire trainees
                          LOW

                                   Staffng ranges for controllers are published for each facility in the
                                   appendix of this report. In many facilities, the current AOB number
                                   may appropriately exceed the range. This is because many facilities’
                                   current AOB numbers (all controllers at the facility) include larger
                                   numbers of developmental controllers in training to offset expected
                                   future attrition. Individual facilities can be above the range due to
                                   advance hiring.

                                   Facilities may also be above the range based upon facility-specifc
                                   training and attrition forecasts.

                                   In the longer term, the number of new hires and total controllers will
                                   decline. This is because the surge of developmental controllers that
                                   were hired to replace the long-expected retirement wave over the past
                                   decade will have become CPCs. In the future, the vast majority of the
                                   controllers will be CPCs and CPC-ITs, and more facilities will routinely
                                   fall within the ranges.

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FIGURE 3.3 EXAMPLE OF CONTROLLER TRAINING PROGRESSION

TRAINING
                                                            .••·►                  CPC
PROGRESSION
TO CERTIFIED
                                                           ••              Radar Position 5
                                                                                                         TRACON
                                                            •
PROFESSIONAL
                                  ····►
                                                          D3               Radar Position 4

CONTROLLER ••                                     Radar Position 3         Radar Position 3
                                 •
                                 ••
                                  ••              Radar Position 2         Radar Position 2



          ••····►
                                 D2               Radar Position 1         Radar Position 1

                          Final Vector 2            Final Vector 2           Final Vector 2
           ••
            ••            Final Vector 1            Final Vector 1           Final Vector 1
             ••
              ••         Departure Data            Departure Data           Departure Data

               ••          Arrival Data              Arrival Data             Arrival Data
                •
         D1                Coordinator               Coordinator              Coordinator

    Local Control         Local Control             Local Control            Local Control

   Ground Control        Ground Control           Ground Control            Ground Control

 Clearance Delivery    Clearance Delivery        Clearance Delivery       Clearance Delivery                     TOWER
                NOTE: All ATC facilities have individualized training progression to CPC based upon their type and level of complexity


Figure 3.3 depicts an example of a large Tower and Approach Control
facility. To be CPCs in these types of facilities, controllers must be
checked out on all positions in both the tower and the TRACON.

Trainees achieve “D1” status (and the corresponding increase in pay)
after being checked out on several positions. The levels of responsibility
(and pay) gradually increase as the trainees progress through training.
Once developmental controllers are checked out at the D1 level, they
can work several positions in the tower independently and without
training supervision (Clearance Delivery, Ground Control and Local
Control). Once checked out on the Runway Crossing Coordinator
position, developmental controllers would be tower-certifed and
able to work any position in the tower cab independently and without
supervision. They would still not be a “D2” however, as there are also
several positions in the TRACON to be checked out on (Arrival Data,
Departure Data, Final Vector 1 and Final Vector 2). A controller in Figure
3.3 must be certifed on all positions in the tower and TRACON to
become a CPC.




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                                   The levels of responsibility continue to increase as one progresses
                                   toward CPC status, but trainees can and do control traffc much earlier
                                   in the training process. Historically, the FAA has used these position-
                                   qualifed controllers to staff operations and free up CPCs for more
                                   complex positions, as well as to conduct training.

                                   Having the majority of the workforce certifed as CPCs makes the job
                                   of scheduling much easier at the facility. CPCs can cover all positions
                                   in their assigned area, whereas position-qualifed developmentals
                                   require the manager to track who is qualifed to work which
                                   positions independently.


                                                                       Trainees include
                                                                       both developmental
                                                                       controllers and
                                                                       CPCs-ITs.
                                                                       A CPC-IT is a
                                                                       controller who
                                                                       moves to another
                                                                       area within a facility
                                                                       or to a new facility
                                                                       and must be trained
                                                                       to the qualifcations
                                                                       of that new
                                                                       environment. CPC-
                                                                       ITs are different from
                                                                       developmentals in
                                                                       that developmentals
                                                                       have never been
                                                                       fully checked out
                                                                       and certifed as
                                                                       CPCs anywhere.

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FIGURE 3.4 AIR TRAFFIC CONTROL POSITION AND FACILITY OVERVIEW




    PREFLIGHT +                                                                                                  LANDING +
                           DEPARTURE                      EN ROUTE                 DESCENT      APPROACH
      TAKEOFF                                                                                                   POST FLIGHT

     AIRPORT              TERMINAL                                                  TERMINAL RADAR              AIRPORT
      TRAFFIC               RADAR                   AIR ROUTE TRAFFIC                  APPROACH                  TRAFFIC
     CONTROL              APPROACH                  CONTROL CENTER                      CONTROL                 CONTROL
      TOWER                CONTROL                                                                               TOWER
  Ground Controller    Departure Controller             Radar Controller               Arrival Controller            Local
  Issues approval      Assigns headings       Ensures the safe separation and        Assigns headings              Controller
for push back from      and altitudes to      orderly fow of aircraft through En       and altitudes to        Issues landing
  gate and issues      departure aircraft.     Route center airspace (includes     arrival aircraft on fnal      clearances,
  taxi instructions    Hands off aircraft             oceanic airspace).             approach course.             maintains
  and clearances.       to the En Route                                                                          prescribed
                        radar controller.              Radar Associate                                           separation
  Local Controller                               Assists the radar controller                                      between
   Issues takeoff     Flight Data-Radar                                                                            arrivals,
     clearances,      Issues IFR fight                  Radar Associate                                       provides arrival
      maintains       plan clearances                     (Flight Data)                                          aircraft with
     prescribed         to aircraft at          Supports the En Route radar                                   latest weather/
     separation      satellite airports,      controller by handling fight data.                              feld conditions.
between departure        coordinates
 aircraft, provides releases of satellite                                                                     Ground Controller
 departure aircraft      departures.                                                                             Issues taxi
      with latest                                                                                              instructions to
    weather/feld                                                                                              guide aircraft to
     conditions.                                                                                                  the gate.

  Clearance Delivery
   Issues IFR and
   VFR fight plan
     clearance.

      Flight Data
    Receives and
   relays weather
  information and
 Notices to Airmen.




AIR TRAFFIC STAFFING STANDARDS OVERVIEW
The FAA has used air traffc staffng standards to help determine controller
staffng levels since the 1970s, and they are periodically updated to refect
changes in workload, equipment and procedures.

FAA facilities are currently identifed and managed as either Terminal facilities
where airport traffc control services are provided, including the immediate
airspace around an airport, or En Route facilities where high-altitude
separation services are provided using computer systems and surveillance
technologies. Terminal facilities are further designated as tower cabs or
TRACONs. These Terminal facilities may be co-located in the same building,
but because of differences in workload, their staffng requirements are
modeled separately. Figure 3.4 provides an overview of FAA facilities and
air traffc control positions.

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                                   The dynamic nature of air traffc controller workload coupled with traffc
                                   volume and facility staffng needs are all taken into account during the
                                   development of FAA staffng models and standards.

                                      All FAA staffng models incorporate similar elements:

                                            • Controller activity data is collected and processed,
                                              commensurate with the type of work being performed
                                              in the facilities.
                                            • Models are developed that relate controller workload to air
                                              traffc activity. These requirements are entered into a scheduling
                                              algorithm.
                                            • The modeled workload/traffc activity relationship is forecast for
                                              the 90th percentile (or 37th busiest) day for future years for each
                                              facility. Staffng based on the demands for the 90th percentile
                                              day assures that there are adequate numbers of controllers to
                                              meet traffc demands throughout the year.
                                            • Allowances are applied for off-position activities such as
                                              vacation, training and additional supporting activities that must
                                              be accomplished off the control foor.

                                   All staffng standard models go through similar development processes.
                                   Some components of the model-development phase vary as a function
                                   of the work being performed by the controllers. For example, a crew-
                                   based approach was used to model tower staffng requirements
                                   because the number and type of positions in a tower cab vary
                                   considerably as traffc changes, compared with those of a single
                                   sector in a TRACON or En Route center. All staffng models refect the
                                   dynamic nature of staffng and traffc. Controller staffng requirements
                                   can vary throughout the day and throughout the year.




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FAACTOID
             The U.S. has
             5.3 Million Square Miles
             of Domestic Airspace

TOWER CAB OVERVIEW
Air traffc controllers working in tower cabs manage traffc within a radius
of a few miles of the airport. They instruct pilots during taxiing, takeoff and
landing, and they grant clearance for aircraft to fy. Tower controllers ensure
that aircraft maintain minimum separation distances between landing and
departing aircraft, transfer control of aircraft to TRACON controllers when
the aircraft leave their airspace, and receive control of aircraft for fights
coming into their airspace.

      • There are a variety of positions in the tower cab, such as Local
        Control, Ground Control, Flight Data, and Coordinator. Depending on
        the airport layout and/or size of the tower cabs (some airports have
        more than one tower), there can be more than one of the same types
        of position on duty.
      • As traffc, workload and complexity increase, more or different
        positions are opened; as traffc, workload and complexity decrease,
        positions are closed or combined with other positions. In practice,
        minimum staffng levels may be determined by hours of operation
        and work rules.

Important factors that surfaced during the tower staffng model development
included the availability, accessibility and increased reliability of traffc data
and controller-on-position reporting systems. The FAA is now able to analyze
much larger quantities of tower data at a level of granularity previously
unattainable. Staffng data and traffc volumes are collected for every facility.

The workload portion of the tower cab staffng models were updated in
early 2008. The revised tower cab staffng models were developed using
regression analysis as the primary method for modeling the relationship
between staffng and workload drivers. The models relate observed,
on-position controllers to the type and amount of traffc they actually
handle. Regression analysis allows us to relate modeled controller staffng
requirements with traffc activity and then use this relationship to predict
future staffng requirements (standards) based on traffc projections. Plans
to update the workload portion of the tower staffng models in FY 2020 were
canceled due to traffc levels and facility visitor restrictions put in place as a
result of the COVID-19 pandemic.


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                                   TRACON OVERVIEW
                                   Air traffc controllers working in TRACONs typically manage traffc
                                   within a 40-mile radius of the primary airport; however, this radius varies
                                   by facility. They instruct departing and arriving fights, and they grant
                                   clearance for aircraft to fy through the TRACON’s airspace. TRACON
                                   controllers ensure that aircraft maintain minimum separation distances
                                   between landing and departing aircraft, transfer control of aircraft
                                   to tower or En Route center controllers when the aircraft leave their
                                   airspace, and receive control of aircraft for fights coming into
                                   their airspace.

                                            • TRACON airspace is divided into sectors that often provide
                                              services to multiple airports. Consolidated or large TRACONs
                                              in major metropolitan areas provide service to several primary
                                              airports. Their airspace is divided into areas of specialization,
                                              each of which contains groups of sectors.
                                            • Controllers are assigned to various positions such as Radar,
                                              Final Vector and Departure Data to work traffc within each
                                              sector. These positions may be combined or de-combined
                                              based on changes in air traffc operations.
                                            • As traffc, workload and complexity increase, the sectors may be
                                              subdivided (de-combined) and additional positions opened, or
                                              the sector sizes can be maintained with an additional controller
                                              assigned to an assistant position within the same sector.
                                            • Similarly, when traffc, workload and complexity decline, the
                                              additional positions can be closed or the sectors recombined. In
                                              practice, minimum staffng levels may be determined by hours
                                              of operation and work rules.

                                   Like the tower analysis, the FAA is able to analyze much larger quantities
                                   of TRACON data at a level of granularity previously unattainable.
                                   Important factors surfaced during the TRACON staffng model review,
                                   including the availability, accessibility and increased reliability of traffc
                                   data and controller-on-position reporting systems. Staffng data and
                                   traffc volumes were collected for every facility.




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The TRACON staffng models were updated in early 2009. These
revised TRACON models were developed using regression analysis as
the primary method for modeling the relationship between staffng and
workload drivers. The models relate observed, on-position controllers to
the type and amount of traffc they actually handle. Regression allows
us to relate modeled controller staffng requirements with traffc activity
and then use this relationship to predict future staffng requirements
(standards) based on traffc projections. The FAA intends to update the
workload portion of the TRACON staffng models once revisions to the
tower standards are completed.


EN ROUTE OVERVIEW
Air traffc controllers assigned to En Route centers guide aircraft fying
outside of Terminal airspace. They also provide approach control
services to small airports around the country where no Terminal service
is provided. As aircraft fy across the country, pilots talk to controllers in
successive En Route centers.

      • En Route center airspace is divided into smaller, more
        manageable blocks of airspace called areas and sectors.
      • Areas are distinct and rarely change based on changes in traffc.
        Within those areas, sectors may be combined or de-combined
        based on changes in air traffc operations.
      • Controllers are assigned to positions within the sectors (e.g.,
        Radar, Radar Associate, Tracker). As traffc increases, sectors
        can be decombined and additional positions opened, or the
        sector sizes can be maintained but additional controllers added
        to assistant positions within the sectors.
      • Similarly, when traffc declines, the additional positions can be
        closed or the sectors recombined. In practice, minimum staffng
        levels may be determined by hours of operation and work rules.


The FAA’s Federally Funded Research and Development Center (FFRDC)
developed a model to generate data needed for the FAA’s En Route
staffng models. Like the tower and TRACON standards models, this
approach incorporated actual traffc and more facility-specifc data.

The modeling approach refects the dynamic nature of the traffc
characteristics in a sector. It estimates the number of controllers, in
teams of one to three people, necessary to work the traffc for that                    •
sector in 15-minute intervals. Differences in traffc characteristics in a
sector could require different numbers of controllers to handle the same              •
                                                                                     •
                                                                                    •
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                                   volume of traffc. For example, at one time most traffc might be cruising
                                   through a sector toward another location requiring minimal controller
                                   intervention. At another time, traffc might be climbing and descending
                                   through the same sector, a more complex scenario requiring more
                                   controllers. The same modeling techniques were applied uniformly to
                                   all sectors, providing results based on a common methodology across
                                   the country.

                                   During FY 2013 and FY 2014, the FFRDC collaborated with the FAA and
                                   the National Air Traffc Controllers Association (NATCA) to conduct an
                                   evaluation of the En Route on-position staffng model at the request of
                                   the National Academy of Sciences to validate its core assumptions and
                                   parameters via empirical data collection. The evaluation, completed in
                                   the feld and in a controlled laboratory setting, established values for
                                   model parameters, identifed additional controller tasks for coverage
                                   by the model, and informed other enhancements to the model. In FY
                                   2015, these updates were made and the on-position staffng model was
                                   recalibrated. The evaluation results were shared with the FAA, NATCA
                                   and the National Academy of Sciences. In FY 2016, the evaluation
                                   results were incorporated into the on-position staffng model.


                                   SUMMARY
                                   The FAA’s staffng models incorporate output provided by the Tower,
                                   TRACON and En Route workload models, which is run through a shift-
                                   scheduling algorithm. Next, factors are applied to cover vacation time,
                                   break time, training, etc. Lastly, traffc forecasts are applied to provide
                                   the annual staffng standards that are incorporated into the staffng
                                   ranges presented in this plan for each facility.

                                   AIR TRAFFIC CONTROLLER SCHEDULING
                                   Operating the NAS safely and effciently are key objectives of the
                                   FAA. There is little doubt the FAA’s ATC professionals safely operate
                                   the world’s largest airspace. The FAA facilities currently use a variety
                                   of nonstandard scheduling methods that do not fully incorporate the
                                   complex resource management requirements that exist in today’s
                                   environment. This could result in ineffcient scheduling practices such




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as sub-optimal shift start times and guidelines. Ineffcient scheduling
practices may lead to increased overtime costs and/or excess
staffng requirements.

Most large, professional, shift-based workforces utilize centralized
schedule policies and systems. They generally use software-based
scheduling programs to develop more effcient schedules. For
example, commercial air carriers such as Southwest and JetBlue use
commercially available software to schedule fight and ground crews.
Similar systems are also in use by air navigation service providers
worldwide, like Nav Canada and Airservices (Australia).
                                                                             Air navigation
The FAA developed the Operational Planning and Scheduling tool
(OPAS) to support local schedule and annual leave negotiations.
                                                                             service providers
Its capabilities incorporated a fully functioning planning tool, including   “in other countries
day-to-day scheduling. System-wide implementation was negotiated as
part of the 2016 air traffc controller collective bargaining agreement.      including Australia,
To date, OPAS has been implemented at the 34 largest facilities,             Canada and
primarily to support local scheduling and leave planning negotiations.

The FAA will use OPAS in the near-term to analyze effciency
                                                                             Germany have
of negotiated and actual schedules created by feld facilities.               replaced their
Going forward the FAA will continue the pursuit of standardized,
software-based scheduling programs to aid in annual schedule
                                                                             legacy scheduling
and leave planning and to assist schedulers in making day-to-day             tools with
scheduling decisions.
                                                                             sophisticated
TECHNOLOGICAL ADVANCES                                                       software capable
With most of the foundational technology supporting the Next                 of incorporating
Generation Air Transportation System (NextGen) now in the feld, the
FAA is shifting its focus from deployment to the operationalization of       all constraints
new, modernized capabilities in the National Airspace System (NAS).
Although the COVID-19 pandemic has slowed some of our plans, these
                                                                             while generating
capabilities are coming together to enable the transition to Trajectory      effcient controller
Based Operations (TBO). TBO manages traffc with the knowledge of
where an aircraft will be at critical points during its fight.
                                                                             schedules.”
TBO enables more strategic planning and execution of fights.
                                                                             – National Academy
It provides controllers decision support tools through Time Based Flow       of Sciences
Management (TBFM) to deconfict fows of traffc using time based
management. This will reduce controllers’ need for manual deconfiction
and vectoring of aircraft.

En Route Automation Modernization (ERAM), Automatic Dependent
Surveillance-Broadcast (ADS-B) and System Wide Information
Management (SWIM) have been fully implemented and are being
used by controllers and air traffc management. ERAM and SWIM
will continue to evolve with technology refreshes and enhancements.
Standard Terminal Automation Replacement System (STARS), Terminal




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                                   Flight Data Manager (TFDM) and Data Communications (Data Comm)
                                   are in various stages of implementation. STARS will complete the
                                   deployment of its baseline programs in 2021.

                                   Two examples of advances for terminal controllers come from the Data
                                   Comm and Terminal Automation Modernization and Replacement
                                   (TAMR) programs. Data Comm’s departure clearance service was
                                   delivered to the initial commitment of 55 airport towers 29 months
                                   ahead of schedule and signifcantly under budget. The TAMR program
                                   completed the installation of STARS at the 11 large TRACON facilities
                                   ahead of schedule. In all, the FAA has deployed STARS to 99 percent
                                   of all U.S. TRACONs.

                                   Data Comm is a capability that uses digital text messages to supplement
                                   voice communications in equipped aircraft. Data Comm services reduce
                                   communication time between controllers and fight crews, increase
                                   productivity, reduce gate and taxi-out times during adverse weather
                                   events, reduce fuel consumption and engine emissions, and enhance
                                   safety. Data Comm Tower Services provide support for departure
                                   clearance instructions and are available at 62 air traffc control
                                   towers nationwide.

                                   En Route Data Comm Initial Services are available at Kansas City,
                                   Indianapolis, and Washington Centers. Initial En Route Services include
                                   messages such as rerouting and the transfer of communications from
                                   one en route sector to the next. A follow-on baseline will deliver Full
                                   En Route Services which will add additional capabilities, including the
                                   ability to issue speeds.

                                   More than 5,900 U.S. aircraft have been equipped with Data Comm
                                   avionics. As of March 2020, there were over 60,000 weekly Data Comm
                                   equipped tower operations occurring at the 62 towers, and over 10,000
                                   weekly Data Comm equipped En Route operations at the three centers.

                                   The Initial Services deployment schedule for the remaining 17 En Route
                                   facilities is impacted by COVID-19 and is being replanned. Data Comm
                                   also enables future NextGen services, including TBO TAMR upgrades
                                   multiple legacy ATC systems to a single, state-of-the-art platform:
                                   STARS. This platform, along with the ERAM system, form the FAA’s
                                   foundational technology supporting NextGen. They enable ADS-B and
                                   other NextGen capabilities, giving air traffc controllers a more complete
                                   airspace picture that will be necessary for TBO.

                                   STARS offers new features that make the system easier for controllers
                                   to use than the aging systems it is replacing. Keyboard backlighting
                                   is adjustable to improve visibility for easier data entry, while fat-panel




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LED displays increase the traffc picture quality. Controllers can assign
a color to an aircraft to make it easier to follow. With a recall capability,
individual controllers can save and retrieve their preferred workstation
settings at the touch of a button.

Weather displays show six different levels of weather intensity to provide
better situational awareness for controllers as they work with pilots
to steer aircraft around hazardous weather. Using multiple radars and
ADS-B, STARS can track 3,000 aircraft in a 512x512 nautical mile area
to provide controllers with a clearer view of overall operations.

STARS also assists with terrain avoidance and confict alerts.
The Automatic Terminal Proximity Alert tool gives controllers
signifcant visual cues to enable maximum landing rates while
still maintaining safety margins. A minimum separation capability
enables controllers to select two aircraft and ensure the required
separation is maintained. A data block feature automatically lists
the number of aircraft in a formation — a function that previously
had to be performed manually.

ADS-B is bringing the precision of satellite-based positioning to track
aircraft and provide a new level of situational awareness. ADS-B Out,
which is mandatory for aircraft operating in most controlled U.S.
airspace, has been integrated into automation platforms at all En
Route air traffc control facilities and all terminal radar approach control
(TRACON) facilities. The FAA completed the nationwide deployment
of ADS-B ground stations in 2014, and ADS-B traffc and weather




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Ch. 3 Stafing Requirements


                                   broadcasts are available nationwide. As of December 2020, more than
                                   135,000 aircraft have been equipped with properly installed ADS-B
                                   avionics. As more aircraft are equipped, ADS-B increases safety and
                                   effciency that will help meet the predicted increase in air traffc in the
                                   coming years and create the opportunity for future operational benefts.

                                   SWIM streamlines shared information for improved planning and
                                   execution. Airlines and other users are able to access more effciently
                                   the most current information affecting their areas than they were able to
                                   using legacy systems, thereby improving decision-making. The SWIM
                                   Visualization Tool (SVT) is in use at 17 air traffc control facilities across
                                   the country and was enhanced to include traffc fow management data,
                                   specifcally gate assignment information that airlines started to publish
                                   into SWIM.

                                   SVT deployment is supporting early implementation of TFDM. Another
                                   component of TFDM early implementation is the prototype Advanced
                                   Electronic Flight Strips (AEFS) system, which replaces traditional paper
                                   fight strips and manual tracking of incoming and outgoing fights with
                                   an electronic fight data display. The prototype AEFS was implemented
                                   in the Phoenix, Charlotte and Cleveland towers to provide feedback and
                                   lessons learned into the TFDM design and implementation. Phoenix is
                                   set to receive production TFDM in 2021, the frst of 89 sites.

                                   For other decision-support systems, the FAA will continue to develop
                                   modeling and predicting capabilities for the Traffc Flow Management
                                   System.

                                   Increased productivity and effciency, and their ultimate impact on
                                   the size and composition of the FAA’s workforce, depend on many
                                   factors. The scope and precise impact of NextGen enhancements are
                                   unknown as they are still under development. Final impacts are still to
                                   be determined given the complex nature of the interaction of controllers
                                   and their tools.




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The relationship between pilots and air traffc controllers, as well as the relationship between controllers and
automated systems, is evolving. These changes are occurring gradually and require continued testing and
analysis to ensure the safety of the NAS. Implementing TBO in the NAS will require the integration of multiple
systems and training, and a culture change by controllers and pilots.

As these technological changes occur, the FAA will seek to understand the impact on controller workload and
will validate and update its staffng standard models as needed.




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Ch. 4 Losses
In total, the FAA expects to lose nearly 1,000 controllers due to retirements, promotions and other losses this
fscal year. Other controller losses include transfers, resignations, removals, deaths, developmental attrition
and academy attrition.

The FAA hires and staffs facilities so that trainees, once fully certifed, are prepared to take over
responsibilities when senior controllers leave.


CONTROLLER LOSS SUMMARY
Table 4.1 shows the total estimated number of controllers that will be lost, by category, over the 10-year
period FY 2021 through FY 2030.




TABLE 4.1 CONTROLLER LOSS SUMMARY




                        PROMOTIONS
                        & TRANSFERS                         RETIREMENTS
                            2,492                               2,359
                                                                                 ACADEMY
                                                                                 ATTRITION
                                                                                  2,001
TOTAL LOSSES
               (2021-2030)

          8,595
                                                                              RESIGNATIONS,
                                                                               REMOVALS &
                                                                                 DEATHS
                                                                                  917
                                                            DEVELOPMENTAL
                                                               ATTRITION
                                                                 826

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         FIGURE 4.1A ACTUAL CONTROLLER RETIREMENTS
                                         Retirement high-water mark
NUMBER OF CONTROLLERS
                         800
                                                                                                       •• Actual Controller Retirements
                                                                                                          Forecasted Controller Retirements
                         600


                         400




                                                                                                      111111111
                         200


                           0
                               '05 '06 '07 '08 '09 '10 '11 '12 '13 '14 '15 '16 '17 '18 '19 '20 '21 '22 '23 '24 '25 '26 '27 '28 '29 '30
                                                                               FISCAL YEAR


    ACTUAL CONTROLLER RETIREMENTS
    FY 2007 was correctly projected to be a peak year for retirements of controllers hired in the early 1980s.
    The long-anticipated retirement wave has passed. Annual retirements decreased for a few years then increased
    during FY 2010 to FY 2015, but still below the 2007 peak, and are declining through FY 2025. In the last fve
    years, 2,506 controllers have retired, and we expect an additional 1,175 controllers will retire in the next fve
    years. FY 2020 retirements were lower than projected and future retirements are expected to fall and remain
    at relatively low levels over the next decade.

    CUMULATIVE RETIREMENT ELIGIBILITY
    The fgure below shows historical and forecasted controller retirement eligibility from FY 2005 to FY 2030.
    Each bar shows the net number of controllers in the entire controller workforce eligible to retire for each year
    shown. Because controllers can spend more than one year as eligible before they retire, the same individual
    controllers may be counted in multiple years. The forecast shows a signifcant decline in the net number of
    controllers eligible to retire from the peak in FY 2012 to FY 2025. At the end of FY 2020, only 19 controllers
    remain from those who were hired before 1984. At the end of FY 2020, fewer than 1,000 controllers were
    eligible to retire, which is the lowest number since the frst Controller Workforce Plan in 2005.
    This clearly demonstrates that the controller retirement wave is over.


         FIGURE 4.1B CUMULATIVE RETIREMENT ELIGIBILITY
                                                             Cumulative Eligibility high-water mark

                        3000                                                                             ••
                                                                                                          Actual Cumulative Eligibility
                                                                                                          Forecasted Cumulative Eligibility
NUMBER OF CONTROLLERS




                        2000



                        1000



                          0                                                           11111111111
                               '05 '06 '07 '08 '09 '10 '11 '12 '13 '14 '15 '16 '17 '18 '19 '20 '21 '22 '23 '24 '25 '26 '27 '28 '29 '30
                                                                               FISCAL YEAR


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         FIGURE 4.2 CONTROLLER WORKFORCE AGE DISTRIBUTION AS OF SEPTEMBER 26, 2020


                        1800
                                                                                                                                          •• As of 2020
                                                                                                                                             As of 2006


                        1600


                        1400
NUMBER OF CONTROLLERS




                        1200


                        1000


                         800


                         600


                         400




                                                                                                       l_ll_l_l.
                                                                                                              __- -
                         200


                           0
                                I_ -                                  --                --
                               <24 24-25 26-27 28-29 30-31 32-33 34-35 36-37 38-39 40-41 42-43 44-45 46-47 48-49 50-51 52-53 54-55 56-57 58-59 60-61 >61

                                                                               AGE DISTRIBUTION


    CONTROLLER WORKFORCE AGE DISTRIBUTION
    The FAA hired a substantial number of controllers in the years
    immediately following the 1981 strike. This concentrated hiring wave
    meant a large portion of the controller workforce would reach retirement
    age in roughly the same time period. In September 2006, the blue
    shaded age distribution peak on the right side of Figure 4.2 was almost
    1,900 controllers. Today, the magnitude of that remaining peak is down
    to 317 controllers because the majority of the controllers hired shortly
    after the 1981 strike have already retired and been replaced. As Figure
    4.2 shows, the current FAA controller workforce is substantially younger
    on average than it was in 2006. This was driven by relatively high levels                                The FAA’s hiring
    of hiring within the last several years.
                                                                                                             plan is designed
    The FAA’s hiring plan is designed to phase in new hires as needed.
    Figure 4.2 shows that the majority of the FAA controller workforce has                                   to phase in new
    been hired in the last 10-15 years and are ages 24-37. There are a
    relative small number of controllers approaching mandatory retirement                                    hires as needed.
    at age 56 over the next few years.




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         FIGURE 4.3 RETIREMENT ELIGIBILITY


                          3000
                                                2012 eligibility high-water mark
                                                                                                                                                              •   As of 2020
                                                                                                                                                                  As of 2006



                          2500
                                 2,011
NUMBER OF CONTROLLERS




                          2000             *407 of the 764 controllers eligible for retirement will reach
                                            mandatory retirement age within the next 3 years
                                                 1,227

                          1500




                                                                                                                 953
                                                                                         947


                                                                                                     933
                                                               879




                                                                                                                                          818
                                                                                                                             812
                                         764*




                                                                           794
                          1000




                                                                                                                                                                        658
                                                                                                                                                      515


                                                                                                                                                                  455
                                                                                                                                                446


                                                                                                                                                            403
                           500




                                                                                                                                   284
                                                                                                                       240
                                                                                 208
                                                                     191




                                                                                                           170
                                                         132




                                                                                               114
                             0
                                 Currently       +1 Year       +2 Year     +3 Year       +4 Year     +5 Year     +6 Year     +7 Year      +8 Year     +9 Year     +10 Year
                                  Eligible
                                                                                       NTH FISCAL YEAR OF ELIGIBILITY


    CONTROLLER RETIREMENT ELIGIBILITY
    In addition to normal civil service retirement criteria, controllers can become eligible under special retirement
    criteria for air traffc controllers (age 50 with 20 years of “good time” service or any age with 25 years of “good
    time” service). “Good time” is defned as service in a covered position in Public Law 92-297. Under Public Law
    92-297, air traffc controllers are usually required to retire at age 56.

    After computing eligibility dates using all criteria, the FAA assigns the earliest of the dates as the eligibility date.
    Eligibility dates are then aggregated into classes based on the fscal year in which eligibility occurs.

    Figure 4.3 shows the number of controllers who are currently retirement-eligible as of September 26, 2020
    and those projected to become retirement-eligible each fscal year for the next 10 fscal years. FAA projections
    show that an additional 579 controllers will become eligible to retire in FY 2021. The number of retirement-
    eligible controllers has been in decline in recent years from the peak and should continue to decline for the
    next few years. Figure 4.3 also clearly shows that the current number of retirement-eligible controllers is
    substantially below the level in 2006 and below 2012 high-water mark. It further shows, based on the profle
    of the current controller workforce, that the number of additional controllers becoming retirement-eligible in
    each of the next few years is substantially below those incremental values from 2006.

    Due to advance hiring, we have suffcient new hires in place to replace controllers currently eligible to retire
    when they do retire. The FAA strives to minimize retirement, hiring and training spikes through the process of
    examining trends and proactively planning years in advance of expected activity.




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                                                                                                          Ch. 4 Losses



  CONTROLLER RETIREMENT PATTERN
  History shows that not all controllers retire when they frst become
  eligible. Recent data shows that 20 percent of controllers who frst
  became eligible actually retired that year.

  The FAA has observed that many controllers delay retirement until
  they get closer to the mandatory retirement age of 56. Because most
  controllers are retirement-eligible at the age of 50, they typically reach
  mandatory retirement age in their seventh year of eligibility.

  These trends are seen in Figure 4.4 below, which shows fewer
  controllers are retiring earlier in their eligibility and are waiting until
  closer to their mandatory retirement age.

  Despite the increased likelihood of delayed retirement, the majority
  of controllers still leave the controller workforce prior to reaching the
  mandatory age.


       FIGURE 4.4 PERCENT OF CONTROLLERS RETIRING IN THE NTH FISCAL YEAR OF THEIR ELIGIBILITY


                    22%
                          20%
                    20%
                                                                           18%
                    18%
                                16%
                    16%
ANNUAL PERCENTAGE




                    14%

                    12%

                    10%                9%
                                                8%                                     8%
                    8%

                    6%                                    5%       5%                        5%

                    4%                                                                             3%
                                                                                                            2%
                    2%

                    0%
                          1st   2nd    3rd      4th       5th      6th      7th


                                                      Nth FISCAL YEAR OF ELIGIBILITY
                                                                                       8th   9th   10th     11th   -
                                                                                                                   1%


                                                                                                                   12+




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    FY 2007
    was the
    high-water
    mark for
    controller                                      CONTROLLER LOSSES DUE TO RETIREMENTS
                                                    For the current plan, the FAA incorporated FY 2018 through FY 2020
    retirements.                                    retirement data into the retirement histogram used for future retirements.
    Annual                                          As in prior years, the FAA projected future retirements by analyzing both
    retirements                                     the eligibility criteria of the workforce (Figure 4.3) and the pattern of

    are expected                                    retirement based on eligibility (Figure 4.4).

    to continue                                     For each eligibility class (the fscal year the controller frst becomes
                                                    eligible to retire), the FAA applied the histogram percentage in
    to decline                                      Figure 4.3 to the retirement pattern in Figure 4.4 to estimate in
    for the next                                    Figure 4.5 the retirements for each class by year.

    several years.



                                  ......................................
         FIGURE 4.5 RETIREMENT PROJECTION

                            800
                                                              r..........
                                                                    .
                                                                                             2007 actual retirement high-water mark
                            700


                            600
NUMBER OF CONTROLLERS




                            500


                            400    364
                                            317
                            300                   271                                                                       280
                                                                                                                  261
                                                                                                       244
                                                           217
                                                                                       192    207
                                                                   187      183
                            200


                            100


                              0
                                   '20 *    '21   '22       '23    '24       '25       '26    '27       '28       '29        '30

                                  *Actual                                FISCAL YEAR


                                                                                                              2021-2030   . 37
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                                                                                                            Ch. 4 Losses


CONTROLLER LOSSES DUE TO RESIGNATIONS, REMOVALS AND DEATHS
Estimated controller losses due to resignations, removals (excluding developmental attrition) and deaths are
based on historical rates and shown in Table 4.2.


TABLE 4.2 CONTROLLER LOSSES DUE TO RESIGNATIONS, REMOVALS AND DEATHS

 Fiscal Year              2020      2021     2022     2023      2024     2025      2026     2027     2028      2029     2030
                         (actual)
 Number of Controllers     94        90       90       91        91       91        92       92       93        93       94




DEVELOPMENTAL ATTRITION
Estimated losses of trainees who terminate from the FAA while still in developmental status are shown in
Table 4.3. Hiring from FY 2013 to FY 2015 was lower than projected, which caused the need for increased
hiring from FY 2016 through FY 2018. Correspondingly, this plan incorporates an increased number of
developmental failures through 2021 as hires from those years progress through their training program.


TABLE 4.3 DEVELOPMENTAL ATTRITION

 Fiscal Year              2020      2021     2022     2023      2024     2025      2026     2027     2028      2029     2030
                         (actual)
 Number of Controllers     84       118       71       83        87       92        76       69       72        77       81




ACADEMY ATTRITION
Estimates of losses from new hires that are not successful in the FAA Academy training program are
based on both historical rates and projections, and are shown in Table 4.4. The FAA will continue to
monitor academy failure rates moving forward for the impact of these changes and adjust future
projections accordingly.



TABLE 4.4 ACADEMY ATTRITION

 Fiscal Year              2020      2021     2022     2023      2024     2025      2026     2027     2028      2029     2030
                         (actual)
 Number of Controllers     98       178      184       216      228       188       177     197       204      207       222

NOTE: Due to training delays caused by the COVID-19 pandemic in 2020, some of the academy and developmental failures that would
have occurred in 2020 are now projected to occur in 2021.




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    Ch. 4 Losses


            CONTROLLER LOSSES DUE TO PROMOTIONS
            AND OTHER TRANSFERS
            This section presents FAA estimates of controller losses due to internal transfers to other positions
            (staff support specialists, traffc management coordinators, etc.) and controller losses due to promotions
            to operations supervisor (OS) or other air traffc management/supervisory positions.

            Over the past fve years, we’ve observed an average of 186 net promotions each year from CPC to
            supervisory positions. The majority of these promotions replace retiring supervisors. As a category,
            Other/Transfers/Promotions was abnormally high in 2020. Our future projection is more in line with
            historical norms. We expect total net transfers and promotions to decrease for several years and then
            level off in future years as seen in Figure 4.6.


         FIGURE 4.6 CONTROLLER LOSSES DUE TO PROMOTIONS AND OTHER TRANSFERS

                                   413

                                                                                                              ••    Other Transfers
                                                                                                                    Promotions
                           360

                           320
                                           279
                                                 272
                           280                            263
                                                                                                             251
NUMBER OF CONTROLLERS




                                   170                          243                                244                    240
                                                                          232       233   235
                           240     243

                           200

                                           136   127      122
                           160                                                                               111          108
                                                                117                       109      112
                                           143   145      141             114       114
                                                                                                             140          132
                           120                                  126                       126      132
                                                                          118       119
                            80

                            40

                             0
                                   '20*    '21   '22      '23   '24        '25      '26   '27      '28        '29         '30
                                 *Actual                              FISCAL YEAR




                                                                                                         2021-2030     . 39
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         FIGURE 4.7 TOTAL CONTROLLER LOSSES


                        2000                                                                                                                       ••    Academy Training Attrition
                                                                                                                                                         Promotions and Transfers




                                                                                                1,848
                                                                                                                                                    ••   Developmental Losses
                                                                                                                                                         Resignation, Removal, and Death
                        1800
                                                                                                                                                     •   Retirement




                                                                                                        1,573
                                                                               1,532
                        1600




                                                                                        1,374
                               1,342




                                                                                                                 1,330
                        1400
                                                               1,302

                                                                       1,245
                                                       1,132
NUMBER OF CONTROLLERS




                        1200
                                               1,102
                                       1,072




                                                                                                                         1,053
                        1000                                                                                                     982




                                                                                                                                                                                         917
                                                                                                                                       888




                                                                                                                                                                                   889
                                                                                                                                             870




                                                                                                                                                                             857
                                                                                                                                                    836




                                                                                                                                                                       800
                                                                                                                                                           786
                                                                                                                                                                 770
                         800




                         600




                         400




                         200




                           0   '09* '10* '11* '12* '13* '14* '15* '16* '17* '18* '19* '20* '21 '22 '23 '24 '25 '26 '27 '28 '29 '30
                               *Actual                                                                          FISCAL YEAR



    TOTAL CONTROLLER LOSSES
    The FAA projects a total loss of 8,595 controllers over the next 10 years. Should losses outpace projections
    for FY 2021, the FAA will hire additional controllers as needed to ensure suffcient controllers are available in
    the future to handle the anticipated workload.




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Ch. 5 Hiring Plan
     The FAA safely operates and maintains the NAS because of the
     combined expertise of its people, the support of technology and the
     application of standardized procedures. Every day tens of thousands
     of aircraft are guided safely and expeditiously through the NAS to their
     destinations.

     Deploying a well-trained and well-staffed air traffc control workforce
     plays an essential role in fulflling this responsibility. The FAA’s current
     hiring plan has been designed to phase in new hires as needed. To staff
     the right number of people in the right places at the right time, the FAA
     develops annual hiring plans that are responsive to changes in traffc
     and in the controller workforce.

     The FAA hires new developmental controllers in advance of it’s staffng
     needs in order to have ample time to train them to offset future attrition,
     including retirements, promotions, etc. Proper execution of the hiring
     plan, while fexibly adapting to the dynamic nature of traffc and attrition,
     is critical to the plan’s success. If the new developmentals are not
     placed correctly or if CPCs are not transferred from other facilities,
     shortages could occur at individual facilities that may affect schedules,
     increase overtime usage or require the use of more developmentals
     on position.

     Staffng is and will continue to be monitored at all facilities throughout
     the year. The FAA will continue to modify the hiring plan at the facility
     level should adjustments become necessary due to changes in traffc
     volume, retirements or other attrition.
                                                                                             •
     The FAA continues to be able to attract large numbers of qualifed
     controller candidates. Through a revised two-track controller hiring
                                                                                            •
     process, and management of staffng distribution, the FAA will attract                  •
     and recruit a suffcient number of applicants to achieve this
                                                                                           •
     hiring plan.
                                                                                          •
                                                                                          •


                                                                                      •
                                                                                     •
                                                                                    •
                                                                                   •
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 Ch. 5 Hiring Plan


                                                            CONTROLLER HIRING PROFILE
                                                            The controller hiring profle is shown in Figure 5.1. The FAA hired 920
                                                            controllers compared with the plan of 910 controllers in FY 2020.
                                                            Although we met our hiring goal in FY 2020, we are experiencing the
                                                            continued impact of the COVID-19 pandemic. We reduced our hiring for
                                                            FY 2021 and are planning steady-state hiring of about 1,000 controllers
                                                            for several years beginning in FY 2022. The number of controllers
                                                            projected to be hired through FY 2030 is 8,854.



    FIGURE 5.1 CONTROLLER HIRING PROFILE
             2000


                                                                                                                                            •• Planned Hires
                                                                                                                                               Estimated Losses

             1600




             1200
                          1,053




                                              1,020


                                                             1,020



                                                                           1,020
HEADCOUNT




                                        982




                                                                                                                                                         984
                                                                                                                                             952
                    920




                                                                                                                                                               917
                                                                                                                               919
                                                      888




                                                                                                                                                   889
                                                                     870




                                                                                                                  864




                                                                                                                                     857
                                                                                   836

                                                                                          792




                                                                                                                        800
                                                                                                      783
                                                                                                786


                                                                                                            770




              800
                                  500




              400




               0
                      '20*          '21           '22            '23          '24           '25         '26         '27          '28           '29         '30
                    *Actual                                                              FISCAL YEAR




                                                                                                                                           2021-2030     . 43
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                 FIGURE 5.2 TRAINEE-TO-TOTAL-CONTROLLER PERCENTAGE

                                        35%   ····················································1·······················
                                                                                              ..................................
                                                                                                                    .
                                                                                              35% Threshold


                                        30%
                                                                                                                              .....  TERMINAL     ..... EN ROUTE
TRAINEE/TOTAL CONTROLLER (PERCENTAGE)




                                                                                           24.6%
                                        25%                                      23.8%
                                                           23.2%     22.9%                            22.7%
                                                                                                                                                22.2%     22.8%
                                                21.1%                                                            21.1%      21.0% 21.7%
                                                          23.2%
                                        20%     20.2%                20.2%                  19.9%
                                                                                                      19.3%                                              19.1%
                                                                                                                 18.4%                 18.0%    18.6%
                                                                                                                            17.9%
                                                                                16.7%
                                        15%




                                        10%




                                        5%




                                        0%
                                                 '20*       '21        '22        '23       '24        '25        '26        '27       '28       '29      '30
                                               *Actual
                                                                                                  FISCAL YEAR
                                               NOTE: The forecast assumes future CPC-IT levels are consistent with FY 2020 levels.

       TRAINEE-TO-TOTAL-CONTROLLER PERCENTAGE
       The hiring plan allows the FAA to maintain an appropriate number of
       trainees (developmental and CPC-IT) in the workforce. The percentage
       shown is calculated as the sum of CPC-ITs plus developmentals divided
       by all controllers. While the FAA strives to keep the trainee percentage
       below 35 percent for both Terminal and En Route controllers, it is not the
       only metric used by the FAA to measure trainee progress.

       Figure 5.2 shows the projected trainee-to-total-controller percentages
       for En Route and Terminal by year through 2030. The trainee ratio for
       En Route is generally below Terminal because there tends to be more
       transfer activity from lower level to higher level Terminal facilities,
       increasing the number of CPC-ITs. The En Route trainee ratio falls
       through 2023 due to reduced hiring focus in En Route in 2019-2020.

       Note the trainee percentage for both En Route and Terminal is still
       well below 35 percent.




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                 FIGURE 5.3 HISTORICAL TRAINEE PERCENTAGE
                                                                  Controller Strike
                                        55%                              t
                                                    Trainee                ••
                                                  percentages
                                        50%      were routinely
                                                  above 28%
                                                10 years before
                                                   the strike
                                                               ..
                                        45%
                                                                 .. Strike                    Replacement of
                                                                                              post strike hires
                                                               ... period
                                                                     recovery
TRAINEE/TOTAL CONTROLLER (PERCENTAGE)




                                        40%
                                                                  ..                                            35% threshold
                                        35%   .......................
                                                              .,..........
                                                                        ....................................................
                                                                                                                     t.........
                                        30%                                      No Data


                                        25%


                                        20%


                                        15%


                                        10%


                                         5%                                 ..
                                                                            •
                                                                             .
                                         0%                                ·•
                                                                            •
                                                '70       '75        '80           '85      '90       '95       '00     '05       '10       '15   '20 '22


                                                                                                  FISCAL YEAR


                                                                                 Before the 1981 strike, the FAA experienced trainee percentages ranging
                                                                                 from 23 percent to 44 percent. Following the strike, through the end of
                                                                                 the hiring wave in 1992, the trainee percentage ranged from 24 percent
                                                                                 to 52 percent. When the post-strike hires became fully certifed by the
                                                                                 end of the decade, the trainee percentage declined.

                                                                                 As the new controllers hired en masse in the early 1980s achieved full
                                                                                 certifcation, the subsequent need for new hires dropped signifcantly
                                                                                 from 1993 to 2006. This caused trainee percentages to reach unusually
                                                                                 low levels. The FAA’s current hiring plans return trainee percentages to
                                                                                 their historical averages.

                                                                                 By phasing in new hires as needed, the FAA will level out the signifcant
                                                                                 training spikes and troughs experienced over the last 40 years. Figure
                                                                                 5.3 shows historical trainee percentages from 1969 to the present.




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The FAA uses metrics (e.g., 35 percent trainee to total controllers)
to manage the fow of trainees while accomplishing daily operations.

Facilities meter training to coincide with a number of dynamic
factors, including technology upgrades, new runway construction
and recurrent profciency training for existing CPCs. Facility training
is enabled by many factors. Examples include the use of contract
instructors, access to simulators, scheduled overtime, and the
seasonality and complexity of operations.

In itself, the actual number of trainees does not indicate the
progress of each individual in the training program or the additional
utility they provide that can help to supplement other on-the-job
training instruction and support operations. A key facility measure
of training performance is the measurement of trainee completion
time against the goals. The goal ranges from one-and-a-half years
at our lower-level Terminal facilities to three years at our En
Route facilities.

The FAA is striving to meet these goals by improving training
and scheduling processes through increased use of simulators
and better tracking of controller training using the FAA’s national
training database.

The FAA will continue to closely monitor facilities to make sure
trainees are progressing through each stage of training while also
maintaining the safe and effcient operation of the NAS.




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Ch. 6 Hiring Process
                          CONTROLLER HIRING SOURCES
                          The FAA has two primary categories of controller hiring sources.

                                • No prior air traffc control specialist (ATCS) experience: These
                                  individuals are not required to have prior air traffc control
                                  experience and may apply for vacancies announced by the FAA.
                                • Prior ATCS experience: These individuals have at least 52 weeks
                                  of certifed air traffc control experience and may apply for
                                  vacancies announced by the FAA.

                          RECRUITMENT
                          The FAA continues to attract and recruit high-quality applicants into the
                          controller workforce to meet staffng requirements.

                          In FY 2014, the FAA instituted an interim change to the air traffc
                          control hiring process. The changes allowed the FAA to more effciently
                          compare applicants across previous hiring sources to select those
                          candidates most likely to succeed as air traffc control specialists.
                          The new approach included: (1) single vacancy announcement for
                          Collegiate Training Initiative (CTI) and certain veterans and general
                          public applicants; (2) a single set of minimum qualifcations/eligibility
                          requirements; (3) a multi-hurdle selection process with increased
                          effciency; and (4) elimination of the Centralized Selection Panel
                          process and interview.



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In January 2015, the FAA modifed the interim changes by establishing a two-track
announcement process for hiring air traffc control specialists. The frst track targeted
candidates without operational air traffc control experience.

The second track included an announcement targeting applicants who have at least 52 weeks
of certifed air traffc control experience in either civilian or military air traffc control facilities.
In December 2015, the FAA launched an extended announcement for applicants with
previous experience.

In FY 2016, Public Law 114-190 – FAA Extension, Safety and Security Act (FESSA) of 2016–
was enacted. The law established two hiring tracks totaling three distinct hiring pools. They
are: Track 1 - CTI and Veterans, Track 1 - General Public and Track 2 - Previous Experience.

It included pool balancing requirements. Public Law 116-92, the National Defense Authori-
zation Act of 2020 (NDAA) replaced the track one pool balancing requirements (Pool 1- CTI
graduates/preference eligible veterans & Pool 2- general public applicants) with a prerequisite
to prioritize pool one applicants, giving preferential consideration by qualifcation category
(Best Qualifed, Well Qualifed, and Qualifed), which is determined by their Air Traffc Skills
Assessment result. This will give the FAA better access to the most qualifed applicants.

More than 8,300 applicants responded to the January 2020 vacancy announcement.
Additionally, the 10 percent variance requirement was eliminated per NDAA.

Once applicants are notifed of selection and have accepted the offer, they will then be
required to attain medical and security clearances. All applicants that applied to the January
2020 announcement have been notifed of their current status. All of those that were selected
have either been brought on board or are in the clearance process. Upon successful
completion of clearances, the applicants will then be scheduled for FAA Air Traffc Academy
training as FAA needs are identifed. In FY 2021, the FAA will continue to recruit and hire
air traffc control specialists to meet staffng requirements through the use of the two-track
announcement process.




                                                                                  The FAA continues
                                                                                  to attract and
                                                                                  recruit high-quality
                                                                                  applicants into
                                                                                  the controller
                                                                                  workforce to
                                                                                  meet staffng
                                                                                  requirements.

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Ch. 7 Training




                                                                             ...
The FAA is still dealing with the impacts from the COVID-19 pandemic
on its controller training program. The FAA develops the national
training curriculum and learning tools that increase the knowledge of




                                                                                        f
its technical workforce who serve the world’s largest, most effcient,
and safest National Airspace System – today and for the future.

The cohort of air traffc professionals we hired in FY 2020 are essential
in our transition to the Next Generation Air Transportation System.
Our controllers are increasingly using real-time information to direct
aircraft more effciently while reducing delays. Capabilities such as
Performance Based Navigation and Data Communications increase
controller productivity while reducing communication errors. They must
also, in coming years, effectively incorporate new entrants such as
unmanned aircraft systems (UAS) and commercial space into
routine operations.

We are meeting the challenge of training both new and experienced
controllers by streamlining the training process, refreshing course
content, and modernizing our technologies used for learning.
The training program, directed by FAA Order 3120.4, Air Traffc
Technical Training, is reviewed annually to ensure its technical
accuracy. We regularly review performance metrics and work with
research centers to identify areas for improvement and innovation
to the training program.                                                                388 newly
IMPACTS FROM THE COVID-19 PANDEMIC                                                      hired air traffc
To address the impact of the pandemic on the throughput of classes,
the FAA has evaluated and converted several high demand courses.                        controllers
The initial FAA Academy course, Air Traffc Basics, was converted to
a 100% virtual format using a combination of web-based lessons and
                                                                                        used FAA
instructor-facilitated individual and class activities. Other qualifcation
courses for new hires have been partially converted to virtual.
                                                                                        provided iPads
A contingency plan for controllers in the feld in certifcation training,                in F Y 2020
                                                                                        to take their
both initial and CPC, was implemented to mitigate skill decay; trainees
are using the mobile learning platform tools to engage in online
training activities.

Several instructor-led, specialized courses are being evaluated as
                                                                                        initial Academy
potential candidates for converting to a virtual format or by using
a traveling instructor crew at remote locations. This response has
                                                                                        course from
reduced risks of exposure to COVID-19 to FAA Academy students
and controllers in the feld.
                                                                                        home.


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                         THE TRAINING PROCESS
                         New hires with no previous air traffc control experience begin
                         their federal career training at the FAA Academy, where they learn
                         foundational aviation knowledge through classroom lectures, team
                         exercises and computer-based instruction, and practice basic air traffc
                         control skills using low-, medium- and high-fdelity simulation devices.

                         The academy lays the foundation for employee development by
                         teaching common, fundamental air traffc control principles and
                         procedures that are used at facilities throughout the country. After
                         successfully completing training at the FAA Academy, developmental
                         controllers are assigned to a feld location, where they enter additional,
                         site-specifc qualifcation training and hone their technical abilities in the
                         operational environment. This phase of training begins in the classroom,
                         where students learn facility-specifc equipment, rules and procedures.
                         After students master initial learning objectives, the instruction
                         transitions to simulators where learners can apply their knowledge and
                         improve their skills in a hands-on, repetitive and safe environment.

                         Finally, employees enter the on-the-job training phase working the
                         control position, where their performance is carefully monitored by
                         certifed professional controllers who help trainees develop their
                         techniques in a progressively more diffcult live-traffc environment.

                         New hires with previous air traffc experience are selected directly for
                         a feld facility and usually begin their federal service in an accelerated
                         training program customized for their prior aviation experience.They are
                         able to bypass certain phases of training, but they are required to meet
                         the same certifcation standards for each control position as new hires
                         with no previous experience.

                         The goal of all new employees is to become a certifed professional
                         controller, which is when they are fnally considered to be at the full-
                         performance level.Once developmental controllers are certifed on
                         control positions, they often work independently in those positions
                         under the direction of a supervisor to gain experience and to
                         supplement staffng.

                         All controllers are assigned periodic profciency training and participate
                         in both mandatory and optional supplemental training. One of the most
                         successful uses of optional supplemental training is the Flight Deck
                         Training (FDT) program.The program provides controllers real- time
                         experience of air traffc control from the fight crew’s perspective by
                         observing fight operations from the fight deck in most of the nation’s
                         air carriers.Their observations enhance their awareness of effects
                         of air traffc control instructions. An integrated, automated process
                         for requesting, executing and reporting the controller’s fight deck
                         experience make this supplemental training informative and benefcial.




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                                                                                      Ch.7 Training
The FAA’s recurrent training program is administered every six months as a combination of classroom and
computer-based instruction for all operational personnel. It delivers evidence-based topics derived from a
number of data sources. As contrasted with annually required refresher training on static topics, recurrent
training delivers timely and relevant training based on safety trends and lessons learned from our analysis.
Collaboratively developed and delivered to the controller and supervisory workforce, recurrent training
ensures that the operational workforce is aware and prepared to mitigate the day to day risks associated
with controlling traffc in the NAS.


DESIGNING AND DELIVERING EFFECTIVE TRAINING
Experienced instructors, certifed professional controllers and contractors provide both classroom and
simulation training at the FAA Academy and at many feld locations. The FAA ensures everyone who
instructs developmental controllers – whether they are federal employees or contractors – has the
background and skills needed to train new employees.

The FAA utilizes a process for the design, development, delivery and maintenance of its certifcation
and specialized air traffc training courses. The Air Traffc Basics, Enroute and Terminal certifcation
training courses are designed to train a younger, diverse and technologically savvy workforce. Advanced
technology, modern learning theory, human factors concepts, and professionalism skills are incorporated
into our courses. Managers and supervisors receive training on new training approaches. Throughout each
phase of the controllers’ career, training is available to ensure they have the right skills at the right time.


INFRASTRUCTURE INVESTMENTS
The FAA continues to expand accessibility of the high-fdelity Tower Simulator System (TSS), a training
device that has provided an interactive, realistic environment for controller training. There are 59 simulators
installed at 42 locations, and these systems support training for 251 airports using a “hub and spoke”
arrangement where employees at remote facilities travel to central locations to use the simulator. The FAA
started the upgrade of these systems to improve the scenario generation capabilities, screen resolution,
software responsiveness, and access to the system. The upgrade to all 59 systems was completed in                                       •
                                                                                                                                        •
August 2019.                                                                                                                           •
Forty mobile systems were deployed to the feld by September 2020 to support multiple locations.
                                                                                                                                    •
                                                                                                                                   •
These systems complement the original procurement and provide us with a capability of installing a                              •
smaller-sized simulator at locations where it would have been cost-prohibitive for the full-sized system.                      •
                                                                                                                               •
During the COVID-19 pandemic, the TSS Program was able to successfully test a pilot program for remote                        •
training operations on the mobile TSS systems. This capability will be developed further and plans to fully             • •
deploy in 2021.                                                                                                        •
                                                                                                                      •
TIME TO CERTIFICATION
                                                                                                                      •
                                                                                                                      •
The FAA continues to meet its overall goals for time to certifcation and number of controllers certifed.            •
Implementation of foundational NextGen platforms, such as ERAM and TAMR, and new training
                                                                                                                   •
requirements are factors that affect overall time to CPC. Depending on the type of facility, facility level
                                                                                                                  •
                                                                                                                  •
(complexity) and the number of candidates to certify, controllers are expected to complete certifcation           •
in one-and-a-half years to three years.
                                                                                                                  •
                                                                                                                  •
Over 64 percent of those who began training in FY 2012 through FY 2016 successfully completed training            •
                                                                                                                  •
at their frst facility or a subsequent facility.                                                                  •
                                                                                                                  •
                                                                                                                  •
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                                                                                                                  •
                                                                                                                  •
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             TABLE 7.1 YEARS TO CERTIFY (FIRST ASSIGNED FACILITY ONLY)

                                                   •
                                                   Actual Years (did not meet goal)
                                                                                            •
                                                                                            Actual Years (met goal)   .....
                                                                                                                         FAA Goal

                                   1.5
                  TERMINAL
                     4-6


                                   2.0
                  TERMINAL
                     7-9


                                   2.5
                  TERMINAL
                    10-12
    ••
    •♦                             3.0
        •          EN ROUTE
        ••
      •  ♦
                                             '12                '13                   '14                '15             '16
                                                                               FISCAL YEAR
      •  ♦

      •       Completion means that employees achieved CPC status. The remaining members of the hiring classes
      •       (36 percent) have been removed from the FAA, resigned or are still in training. Developmental controllers
     •        who fail to certify at a facility may be removed from service or reassigned to a less complex facility in
     •
    •         accordance with FAA policies and directives.
    •
♦
    •         Table 7.1 shows the FAA’s training targets and average training completion time by facility type for those
♦             who began training in FY 2012 through FY 2016. Only those who achieved CPC status at their frst facility
•             assignment are included in the average training completion times displayed because incorporation of
              training times at additional facilities can skew the average. Training data for hiring classes after FY 2016
              are not reported here because greater than 10 percent of the students are still in active phases of training,
              resulting in continuously changing metrics as those students certify or fail. Because of the pandemic,
              fewer controllers were certifed in FY 2020. The 2017 hiring class has not yet met the threshold to be
              shown in Table 7.1 because of COVID. Approximately 20 percent of the FY 2017 hiring class is still actively
              in training and may not meet the training target times shown above.


              INVESTING FOR THE FUTURE
              As the FAA transitions to NextGen, the key to providing safe, reliable and effcient air traffc services
              remains the same: highly skilled, trained and certifed professionals. The FAA must maintain curricula
              to keep pace with the evolving NAS, modernize how it trains employees, incorporate new techniques
              and technologies for learning, and improve data collection and sharing. Training professionals are part
              of an FAA team that evaluates how NextGen will change the air traffc work environment and what
              competencies will be required for the future workforce. The FAA is incorporating what it learns from this
              evolving and ongoing process into training programs as new systems are implemented. Outcomes-based
              training aligns NextGen functionality with job tasks so the FAA can make predictions on how training
              programs will need to change as NextGen evolves.




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     Ch. 8 Funding Status
     In addition to direct training costs, the FAA will incur salary and other costs for
     developmental controllers before they certify. The average compensation cost
     of a developmental controller in FY 2021 is projected to be $131,559 including
     salary and benefts.

     Figure 8.1 depicts expected annual compensation costs of developmentals, as
     well as the expected number of developmentals by year through 2030. As training
     takes one-and-a-half to three years, the chart depicts a rolling total of hires and
     costs from the current and previous years.




            FIGURE 8.1 ESTIMATED COST OF DEVELOPMENTALS BEFORE CERTIFICATION


                                                                                                   -+- Developmental Salary, Premiums and Benefts
                              $300M


                              $270M
                                       $282.8
                                                                                                                 •
                                                                                                                 Average Developmental Headcount


                                                  $247.2

                              $240M
                                                                                     $242.3                                         $233.8
                                                           $209.5 $214.0
                                                                                              $227.3                       $223.5




                                                                                                                                                    AVERAGE DEVELOPMENTAL HEADCOUNT
                              $210M                                         $219.2                                                           3000
                                                                                                        $209.3
SALARY, PREMIUMS & BENEFITS




                                                                                                                  $206.9
                                        2,665
                              $180M


                              $150M
                                                 1,879                                                                                       2000
                                                                   1,698    1,723    1,722                                          1,672
                              $120M                        1,603                              1,620                        1,621
                                                                                                        1,517    1,539

                              $90M

                                                                                                                                             1000
                              $60M


                              $30M


                               $0M                                                                                                           0
                                         '20*     '21       '22     '23      '24      '25      '26        '27        '28    '29      '30

                                       *Actual                                       FISCAL YEAR




     54 . Air Traffc Controller Workforce Plan
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Appendix                         FACILITY STAFFING RANGES
                                 The Appendix below presents controller staffng ranges, by facility,
                                 for En Route and Terminal air traffc control facilities. Additional detail
                                 on how the staffng ranges are calculated is provided in Chapter 3.
                                 Given the drop in current traffc levels due to the COVID-19 pandemic,
                                 we kept the staffng ranges at 2020 levels and will review again in future
                                 plans when traffc stabilizes.

                                 In general, the FAA strives to keep the number of CPCs and CPC-ITs
                                 near the middle of the range. While most of the work is accomplished by
                                 CPCs, work is also being performed in facilities by CPC-IT and position-
                                 qualifed developmental controllers who are profcient, or checked out,
                                 in specifc sectors or positions and handle work independently.

                                 Accordingly, facilities can safely operate even with CPC staffng levels
                                 below the defned staffng range.

                                 Conversely, a facility’s total staffng levels are often above the defned
                                 staffng range because new controllers are typically hired two to three
                                 years in advance of expected attrition to allow for suffcient training time.
                                 The total expected end-of-year staffng number shown in Figure 3.1
                                 refects this projected advanced hiring.




Enroute                                      Actual on board as of 09/26/20               Staffng range



-ID

ZAB
ZAN
ZAU
             FACILITY NAME

          Albuquerque ARTCC
           Anchorage ARTCC
            Chicago ARTCC
                                 --  CPC

                                     142
                                     80
                                     266
                                               CPC-IT

                                                  2
                                                  7
                                                 14
                                                          DEVELOPMENTAL

                                                                 71
                                                                 30
                                                                 76
                                                                              ---
                                                                              TOTAL

                                                                              215
                                                                              117
                                                                              356
                                                                                         LOW

                                                                                         180
                                                                                          83
                                                                                         277
                                                                                                     HIGH

                                                                                                     220
                                                                                                     102
                                                                                                     338
ZBW          Boston ARTCC            166         12              38           216        178         218
ZDC       Washington ARTCC           239         18              74           331        258         315
ZDV          Denver ARTCC            218         13              25           256        231         282
ZFW        Fort Worth ARTCC          240         14              59           313        245         300
ZHU         Houston ARTCC            246         12              47           305        233         285
ZID       Indianapolis ARTCC         226         21              62           309        266         326
ZJX       Jacksonville ARTCC         208          8              33           249        235         287
ZKC       Kansas City ARTCC          191         13              50           254        208         255
ZLA       Los Angeles ARTCC          189         17              52           258        231         282
ZLC       Salt Lake City ARTCC       124          5              17           146        154         189
ZMA          Miami ARTCC             219         12              46           277        214         262
ZME         Memphis ARTCC            193          8              83           284        235         288
ZMP       Minneapolis ARTCC          223          8              54           285        216         264
ZNY         New York ARTCC           215         12              83           310        235         287



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Enroute                                         Actual on board as of 09/26/20                        Staffng range

  ID           FACILITY NAME           CPC        CPC-IT        DEVELOPMENTAL        TOTAL          LOW          HIGH

 ZOA           Oakland ARTCC           148           7                 91             246           193           236
 ZOB          Cleveland ARTCC          246          19                 57             322           277           338
  ZSE          Seattle ARTCC           136           9                 34             179           142           173
  ZSU         San Juan ARTCC            35           0                 31              66            47           57
  ZTL          Atlanta ARTCC           266          49                 57             372           308           376
 ZUA            Guam ARTCC              12           4                 4               20            14           17
            Enroute Total             4,228         284              1,174           5,686         4,660         5,697

                                                         Note: Facility numbers do not include new hires at the FAA Academy




Terminal                                        Actual on board as of 09/26/20                        Staffng range

  ID

  A11
  A80
  A90
               FACILITY NAME

             Anchorage TRACON
               Atlanta TRACON
               Boston TRACON
                                   --  CPC

                                        18
                                        80
                                        65
                                                  CPC-IT

                                                     2
                                                    20
                                                    12
                                                                DEVELOPMENTAL

                                                                       3
                                                                       1
                                                                       0
                                                                                  ---TOTAL

                                                                                       23
                                                                                      101
                                                                                       77
                                                                                                    LOW

                                                                                                     21
                                                                                                     92
                                                                                                     70
                                                                                                                 HIGH

                                                                                                                  25
                                                                                                                  113
                                                                                                                  86
 ABE          Allentown Tower           26           2                 4               32            23           28
  ABI           Abilene Tower           15           0                 9               24            14           18
 ABQ         Albuquerque Tower          15           8                 12              35            26           31
 ACK          Nantucket Tower           9            0                 2               11            9            10
 ACT             Waco Tower             17           5                 2               24            16           20
 ACY         Atlantic City Tower        22           2                 5               29            18           23
 ADS           Addison Tower            8            3                 0               11            11           14
 ADW           Andrews Tower            11           1                 3               15            10           12
 AFW           Alliance Tower           13           1                 1               15            15           18
 AGC          Allegheny Tower           12           1                 3               16            12           15
 AGS           Augusta Tower            9            0                 8               17            13           16
 ALB            Albany Tower            23           0                 11              34            19           23
 ALO           Waterloo Tower           7            0                 8               15            10           12
 AMA           Amarillo Tower           19           0                 6               25            14           17
 ANC          Anchorage Tower           19           3                 2               24            22           26
 APA          Centennial Tower          18           2                 3               23            20           25
 APC             Napa Tower             7            0                 5               12            7             8
 ARB          Ann Arbor Tower           8            1                 1               10            8            10
 ARR            Aurora Tower            11           0                 1               12            9            11
 ASE            Aspen Tower             8            0                 6               14            11           13
  ATL           Atlanta Tower           40           4                 0               44            47           58
 AUS            Austin Tower            33           9                 0               42            38           46
  AVL          Asheville Tower          14           2                 1               17            15           18



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Terminal                                 Actual on board as of 09/26/20              Staffng range

 ID

AVP
AZO
BDL
            FACILITY NAME

         Wilkes-Barre Tower
           Kalamazoo Tower
            Bradley Tower
                                   CPC

                                   15
                                   42
                                   14
                                         - CPC-IT

                                              0
                                             10
                                              0
                                                      DEVELOPMENTAL

                                                             6
                                                             9
                                                             3
                                                                          TOTAL

                                                                           21
                                                                           61
                                                                           17
                                                                                  --
                                                                                   LOW

                                                                                    16
                                                                                    49
                                                                                    12
                                                                                               HIGH

                                                                                                20
                                                                                                59
                                                                                                15
BED        Hanscom Tower           12         0              4             16       12          14
BFI         Boeing Tower           13         4              4             21       17          21
BFL        Bakersfeld Tower        18         0              6             24       17          21
BGM       Binghamton Tower         12         0              3             15       11          14
BGR         Bangor Tower           15         0              10            25       18          22
BHM       Birmingham Tower         20         2              10            32       24          29
BIL         Billings Tower         17         0              7             24       17          21
BIS        Bismarck Tower           8         0              7             15       10          12
BJC        Broomfeld Tower         10         0              1             11       12          15
BNA        Nashville Tower         28         7              3             38       39          48
BOI          Boise Tower           25         3              2             30       29          35
BOS         Boston Tower           26        10              1             37       31          38
BPT        Beaumont Tower          10         1              1             12        9          11
BTR      Baton Rouge Tower         17         2              7             26       15          18
BTV        Burlington Tower        18         1              8             27       16          19
BUF         Buffalo Tower          27         2              9             38       25          31
BUR         Burbank Tower          15         1              6             22       16          20
BWI        Baltimore Tower         19         4              1             24       21          26
C90        Chicago TRACON          73        19              2             94       90         110
CAE        Columbia Tower          17         2              6             25       19          24
CAK      Akron-Canton Tower        14         0              6             20       14          17
CCR         Concord Tower           9         0              4             13        9          11
CDW         Caldwell Tower         11         0              0             11       10          12
CHA       Chatanooga Tower         15         2              3             20       16          20
CHS        Charleston Tower        19         3              3             25       22          27
CID      Cedar Rapids Tower        14         0              4             18       14          17
CKB        Clarksburg Tower        11         1              5             17       13          16
CLE        Cleveland Tower         42        19              2             63       37          46
CLT        Charlotte Tower         75        15              1             91       80          98
CMA        Camarillo Tower         11         0              2             13        9          11
CMH        Columbus Tower          33         7              1             41       39          48
CMI        Champaign Tower         12         1              6             19       14          17
CNO          Chino Tower            8         4              1             13       11          13
COS     Colorado Springs Tower     18         7              0             25       23          29
CPR         Casper Tower            8         0              6             14       11          13



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Terminal                                        Actual on board as of 09/26/20              Staffng range

  ID

 CPS
 CRP
 CRQ
                FACILITY NAME

              Downtown Tower
             Corpus Christi Tower
                Palomar Tower
                                       CPC

                                        10
                                        28
                                        11
                                               -  CPC-IT

                                                     1
                                                     5
                                                     0
                                                             DEVELOPMENTAL

                                                                    0
                                                                    7
                                                                    1
                                                                                 TOTAL

                                                                                  11
                                                                                  40
                                                                                  12
                                                                                         --LOW

                                                                                            9
                                                                                            29
                                                                                            10
                                                                                                      HIGH

                                                                                                       11
                                                                                                       35
                                                                                                       12
 CRW          Charleston Tower          16           3              5             24        16         20
 CSG           Columbus Tower           7            0              1             8         7          8
 CVG           Cincinnati Tower         33          13              1             47        40         48
  D01          Denver TRACON            71           8              1             80        76         92
  D10      Dallas - Ft Worth TRACON     70          24              1             95        87        106
  D21          Detroit TRACON           36          23              0             59        49         59
 DAB        Daytona Beach Tower         46          13              3             62        50         61
 DAL          Dallas Love Tower         21           3              1             25        21         26
 DAY            Dayton Tower            12           2              3             17        11         14
 DCA      Washington National Tower     19           9              0             28        25         31
 DEN            Denver Tower            28           8              2             38        38         47
 DFW             DFW Tower              45          11              0             56        53         65
 DLH            Duluth Tower            17           0              7             24        17         21
 DPA            Dupage Tower            15           1              1             17        14         17
 DSM          Des Moines Tower          18           2              6             26        18         21
 DTW            Detroit Tower           27           6              0             33        29         35
 DVT          Deer Valley Tower         17           3              0             20        18         22
 DWH             Hooks Tower            11           2              1             14        10         12
 ELM            Elmira Tower            10           0              6             16        9          11
  ELP           El Paso Tower           18           2              9             29        19         24
 EMT           El Monte Tower           8            1              1             10        9          11
  ERI             Erie Tower            9            0              2             11        9          11
 EUG            Eugene Tower            18           4              1             23        18         22
  EVV          Evansville Tower         14           0              5             19        13         15
 EWR            Newark Tower            22          16              0             38        33         40
  F11      Central Florida TRACON       36          10              2             48        52         64
  FAI          Fairbanks Tower          17           0              8             25        17         21
  FAR            Fargo Tower            17           1              2             20        17         21
  FAT           Fresno Tower            19           2              10            31        21         26
  FAY         Fayetteville Tower        12           0              12            24        18         22
 FCM          Flying Cloud Tower        12           0              2             14        10         12
  FFZ           Falcon Tower            11           0              2             13        13         16
  FLL       Fort Lauderdale Tower       20           6              0             26        25         31
  FLO          Florence Tower           10           1              4             15        10         12
  FNT            Flint Tower            10           0              1             11        8          10



58 . Air Traffc Controller Workforce Plan
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Terminal                                        Actual on board as of 09/26/20             Staffing range

 ID           FACILITY NAME               CPC     CPC-IT     DEVELOPMENTAL       TOTAL    LOW         HIGH

FPR           St Lucie Tower              11         1              0             12       11          13
FRG         Farmingdale Tower             11         3              2             16       12          14
FSD          Sioux Falls Tower            14         0              3             17       15          18
FSM          Fort Smith Tower             26         0              9             35       23          28
FTW          Meacham Tower                16         3              1             20       16          19
FWA          Fort Wayne Tower             18         0              9             27       18          22
FXE   Fort Lauderdale Executive Tower     11         1              5             17       14          17
GCN        Grand Canyon Tower              9         0              2             11       7           9
GEG           Spokane Tower               25         3              3             31       23          29
GFK         Grand Forks Tower             22         0              0             22       18          21
GGG          Longview Tower               18         0              6             24       15          18
GPT           Gulfport Tower              14         0              5             19       13          16
GRB          Green Bay Tower              18         1              1             20       17          20
GRR         Grand Rapids Tower            12         0              2             14       10          12
GSO         Greensboro Tower              23         2              2             27       22          27
GSP            Greer Tower                20         3              4             27       18          23
GTF          Great Falls Tower            12         0              5             17       12          15
HCF      Honolulu Control Facility        71        18              4             93       77          94
HEF          Manassas Tower                6         3              4             13       9           11
HIO           Hillsboro Tower             13         1              4             18       12          15
HLN            Helena Tower                7         1              2             10       9           11
HOU            Hobby Tower                19         2              1             22       18          22
HPN         Westchester Tower             12         0              7             19       11          14
HSV          Huntsville Tower             14         1              6             21       15          18
HTS          Huntington Tower             17         0              4             21       15          19
HUF     Terre Haute /Hulman Tower         14         1              4             19       15          19
HWD           Hayward Tower                9         2              1             12       9           11
I90          Houston TRACON               79        16              0             95       85         103
IAD            Dulles Tower               29         4              1             34       26          32
IAH   Houston Intercontinental Tower      28         4              0             32       32          39
ICT           Wichita Tower               23         5              7             35       26          31
ILG         Wilmington Tower              11         1              0             12       9           11
ILM         Wilmington Tower              16         2              5             23       16          20
IND         Indianapolis Tower            30        11              7             48       38          47
ISP             Islip Tower               14         4              4             22       13          16
ITO             Hilo Tower                11         1              2             14       11          13
JAN           Jackson Tower               14         0              6             20       13          16
JAX         Jacksonville Tower            34        10              13            57       40          49



                                                                                         2021-2030    . 59
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Terminal                                        Actual on board as of 09/26/20              Staffng range

  ID            FACILITY NAME          CPC        CPC-IT     DEVELOPMENTAL       TOTAL     LOW        HIGH

  JCF       Joshua Control Facility     18           2              5             25        21         25
  JFK          Kennedy Tower            27          10              0             37        31         37
 JNU            Juneau Tower            10           0              3             13        11         14
  L30         Las Vegas TRACON          32           7              0             39        41         50
  LAF          Lafayette Tower          9            0              2             11        8          10
 LAN            Lansing Tower           12           0              2             14        11         13
  LAS          Las Vegas Tower          28           6              0             34        37         45
  LAX         Los Angeles Tower         41          15              0             56        43         53
 LBB           Lubbock Tower            14           0              3             17        16         20
  LCH        Lake Charles Tower         13           0              8             21        12         15
  LEX          Lexington Tower          18           1              9             28        21         25
  LFT          Lafayette Tower          16           1              6             23        15         18
 LGA          La Guardia Tower          26          11              0             37        30         37
 LGB          Long Beach Tower          19           3              0             22        19         23
  LIT         Little Rock Tower         23           1              6             30        22         26
 LNK            Lincoln Tower           11           0              6             17        9          11
  LOU          Bowman Tower             10           0              2             12        9          12
  LVK          Livermore Tower          9            0              2             11        10         12
 M03          Memphis TRACON            20           1              4             25        27         33
 M98        Minneapolis TRACON          45          13              2             60        49         60
 MAF            Midland Tower           9            0              14            23        16         20
 MBS           Saginaw Tower            12           0              0             12        8          10
  MCI         Kansas City Tower         33           4              0             37        30         37
 MCO            Orlando Tower           22           0              0             22        26         32
 MDT          Harrisburg Tower          20           0              12            32        22         26
 MDW            Midway Tower            18           2              1             21        20         24
 MEM           Memphis Tower            24           1              1             26        22         26
 MFD           Mansfeld Tower           10           0              0             10        9          11
 MGM         Montgomery Tower           13           3              6             22        17         21
 MHT          Manchester Tower          15           0              1             16        12         14
  MIA            Miami Tower            65          31              0             96        85        104
  MIC           Crystal Tower           11           0              2             13        9          11
 MKC          Downtown Tower            11           1              2             14        12         14
 MKE          Milwaukee Tower           31           9              2             42        34         41
 MKG          Muskegon Tower            8            0              2             10        8          10
  MLI          Quad City Tower          16           1              5             22        13         16
 MLU            Monroe Tower            10           0              5             15        11         13
 MMU          Morristown Tower          10           0              2             12        9          11



60 . Air Traffc Controller Workforce Plan
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Terminal                                     Actual on board as of 09/26/20                Staffng range

 ID

MOB
MRI
MRY
             FACILITY NAME

             Mobile Tower
             Merrill Tower
            Monterey Tower
                                       CPC

                                       21
                                       11
                                        6
                                             - CPC-IT

                                                  2
                                                  1
                                                  1
                                                          DEVELOPMENTAL

                                                                 0
                                                                 0
                                                                 2
                                                                              TOTAL

                                                                               23
                                                                               12
                                                                               9
                                                                                      -- LOW

                                                                                          18
                                                                                          11
                                                                                           7
                                                                                                     HIGH

                                                                                                      21
                                                                                                      13
                                                                                                      9
MSN         Madison Tower              18         1              3             22         18          21
MSP        Minneapolis Tower           30         5              0             35         30          37
MSY       New Orleans Tower            27         6              3             36         32          40
MWH       Grant County Tower           11         1              6             18         12          15
MYF       Montgomery Tower             11         2              2             15         12          15
MYR       Myrtle Beach Tower           18         3              3             24         20          25
N90        New York TRACON             125       28              80           233         173        211
NCT   Northern California TRACON       119       37              2            158         156        191
NEW         Lakefront Tower             9         0              4             13         8           10
OAK         Oakland Tower              16         6              0             22         21          26
OGG           Maui Tower               12         0              2             14         11          14
OKC      Oklahoma City Tower           19         6              9             34         26          32
OMA          Eppley Tower              12         0              4             16         12          15
ONT          Ontario Tower             12         1              5             18         14          17
ORD      Chicago O'Hare Tower          50        19              1             70         63          76
ORF          Norfolk Tower             24         2              5             31         26          31
ORL     Orlando Executive Tower        11         1              0             12         10          12
P31       Pensacola TRACON             32         4              1             37         29          36
P50        Phoenix TRACON              50         9              4             63         56          68
P80        Portland TRACON             23         4              0             27         26          32
PAE           Paine Tower              11         1              1             13         10          12
PAO         Palo Alto Tower             8         0              3             11          8          10
PBI        Palm Beach Tower            37        21              5             63         44          54
PCT        Potomac TRACON              140       28              0            168         144        176
PDK    DeKalb - Peachtree Tower        12         2              3             17         13          16
PDX         Portland Tower             25         2              1             28         23          28
PHF       Patrick Henry Tower           9         1              3             13          8          9
PHL       Philadelphia Tower           57        16              2             75         71          86
PHX          Phoenix Tower             25         4              0             29         29          36
PIA          Peoria Tower              14         2              8             24         16          20
PIE       St Petersburg Tower           9         1              3             13         10          12
PIT        Pittsburgh Tower            28        17              2             47         35          42
PNE   Northeast Philadelphia Tower      9         1              3             13          9          11
PNS        Pensacola Tower             11         0              0             11         10          12
POC         Brackett Tower              9         2              2             13          9          10



                                                                                        2021-2030    . 61
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Terminal                                         Actual on board as of 09/26/20              Staffing range

  ID            FACILITY NAME           CPC        CPC-IT     DEVELOPMENTAL       TOTAL     LOW         HIGH

 POU         Poughkeepsie Tower          9            3              2             14        8           9
 PRC            Prescott Tower           10           3              4             17        11          14
  PSC            Pasco Tower             15           1              5             21        16          19
  PSP        Palm Springs Tower          10           0              1             11        9           11
  PTK           Pontiac Tower            8            2              2             12        10          13
 PUB            Pueblo Tower             11           0              2             13        13          16
 PVD          Providence Tower           22           4              8             34        24          29
 PWK       Chicago Executive Tower       10           1              0             11        9           11
 PWM            Portland Tower           17           0              8             25        18          22
  R90          Omaha TRACON              18           2              1             21        19          23
 RDG            Reading Tower            12           1              6             19        12          15
 RDU        Raleigh-Durham Tower         37           8              2             47        41          50
  RFD          Rockford Tower            17           1              6             24        19          23
 RHV         Reid-Hillview Tower         10           0              3             13        11          13
  RIC          Richmond Tower            13           0              4             17        13          15
 RNO             Reno Tower              13           0              2             15        13          15
 ROA           Roanoke Tower             20           1              3             24        18          23
 ROC           Rochester Tower           17           1              9             27        20          25
 ROW            Roswell Tower            10           0              7             17        11          14
  RST          Rochester Tower           10           1              3             14        12          15
 RSW           Fort Myers Tower          26           6              1             33        26          32
  RVS          Riverside Tower           14           0              5             19        12          15
  S46          Seattle TRACON            35           6              4             45        49          60
  S56       Salt Lake City TRACON        33           2              15            50        40          48
 SAN           San Diego Tower           22           3              0             25        22          27
  SAT         San Antonio Tower          37           4              4             45        37          45
  SAV          Savannah Tower            15           6              4             25        20          25
 SBA         Santa Barbara Tower         22           0              6             28        23          28
 SBN          South Bend Tower           18           0              13            31        18          23
  SCK          Stockton Tower            11           0              1             12        8           10
  SCT     Southern California TRACON    183          28              0            211       203         249
  SDF          Standiford Tower          38           5              3             46        38          47
  SDL          Scottsdale Tower          9            2              0             11        11          14
  SEA           Seattle Tower            25           3              0             28        29          36
  SEE           Gillespie Tower          11           2              5             18        13          16
  SFB           Sanford Tower            17           1              1             19        17          20
  SFO        San Francisco Tower         19          10              0             29        30          37
  SGF         Springfield Tower          23           1              3             27        25          30



62 . Air Traffic Controller Workforce Plan
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Terminal                                 Actual on board as of 09/26/20                        Staffng range

 ID

SHV
SJC
SJU
            FACILITY NAME

           Shreveport Tower
            San Jose Tower
            San Juan Tower
                                  CPC

                                  15
                                  13
                                  16
                                         - CPC-IT

                                              0
                                              1
                                              0
                                                         DEVELOPMENTAL

                                                                12
                                                                2
                                                                0
                                                                              TOTAL

                                                                                27
                                                                                16
                                                                                16
                                                                                        --   LOW

                                                                                              18
                                                                                              14
                                                                                              15
                                                                                                          HIGH

                                                                                                           22
                                                                                                           17
                                                                                                           18
SLC      Salt Lake City Tower     24          6                 0               30            27           33
SMF       Sacramento Tower        13          1                 5               19            14           17
SMO      Santa Monica Tower       11          1                 5               17            10           12
SNA       John Wayne Tower        15          6                 2               23            20           25
SPI        Springfeld Tower       11          0                 2               13            9            12
SRQ         Sarasota Tower        11          0                 2               13            12           14
STL         St Louis Tower        16          4                 1               21            18           21
STP          St Paul Tower         7          3                 2               12            8            10
STS         Sonoma Tower           7          0                 3               10            8             9
STT        St Thomas Tower        10          0                 2               12            8            10
SUS          Spirit Tower          9          1                 1               11            10           12
SUX      Sioux Gateway Tower      11          1                 5               17            11           13
SYR         Syracuse Tower        15          0                 9               24            17           21
T75        St Louis TRACON        21          2                 6               29            26           31
TEB         Teterboro Tower       15          4                 1               20            21           26
TLH        Tallahassee Tower      14          1                 3               18            15           19
TMB         Tamiami Tower         17          0                 1               18            15           18
TOA         Torrance Tower         8          2                 1               11            8            10
TOL          Toledo Tower         19          2                 6               27            17           21
TPA          Tampa Tower          41          9                 5               55            54           65
TRI         Tri-Cities Tower      13          1                 9               23            14           17
TUL           Tulsa Tower         22          5                 5               32            25           30
TUS          Tucson Tower         10          2                 5               17            12           15
TVC      Traverse City Tower       8          0                 2               10            8            10
TWF        Twin Falls Tower        8          1                 2               11            7             9
TYS         Knoxville Tower       19          4                 14              37            24           29
U90         Tucson TRACON         14          2                 5               21            16           20
VGT     North Las Vegas Tower     11          0                 0               11            11           13
VNY         Van Nuys Tower        18          4                 2               24            17           21
VRB        Vero Beach Tower       12          0                 0               12            11           14
Y90         Yankee TRACON         15          3                 10              28            19           23
YIP        Willow Run Tower       11          1                 5               17            10           12
YNG       Youngstown Tower        13          1                 8               22            16           19
        Terminal Total           6,040      1,025             1,079           8,114         6,636         8,104

                                                  Note: Facility numbers do not include new hires at the FAA Academy



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          FAA Totals                            Actual on board as of 09/26/20                Staffng range


             En Route total
             Terminal total
             Facility total
                                       CPC

                                       4,228
                                       6,040
                                      10,268
                                               -  CPC-IT

                                                    284
                                                   1,025
                                                   1,309
                                                             DEVELOPMENTAL

                                                                  1,174
                                                                  1,079
                                                                  2,253
                                                                                 TOTAL

                                                                                 5,686
                                                                                 8,144
                                                                                 13,830
                                                                                          --LOW

                                                                                            4,660
                                                                                            6,636
                                                                                            11,296
                                                                                                        HIGH

                                                                                                        5,697
                                                                                                        8,104
                                                                                                       13,801
        FAA Academy Students                                                      412
       Total Controller Headcount                                                14,242




64 . Air Traffc Controller Workforce Plan
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                                                                        l!tllinfor'1bl




                                      U.S.Department
                                      of Transportation    800 Independence Avenue, SW
                                      Federal Aviation     Washington, DC 20591
                                      Administration       Produced by FAA Communications • 2020-AFN-010
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             Air Trraffic Contro
                          C     oller                                                             B
             Trainiing Initiative
                                e
             (AT-CCTI) Prrogramm




                                                CTI SStudents Controll Traffic
                                                Usingg a Tower Simullator at
                                                Browward College

Progrram Ovvervie
                ew
and FAQs
    F
Colleg
     giate Versio
           V    on


Updated: July 10,
              1 2013 Version
                           n 3.2




                                                                                                      i
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 Change Log
       V3.2              Revised ATSAT information:
       July 10, 2013     From : The score can be extended for up to one year if approved by Aviation Careers.
                         To: If the test score expires or will expire within a testing cycle, the applicant must contact Aviation Careers
                         to be placed on the test list.
       V3.1              Updated Hiring Summary for FY13, Updated POC for MCTC
       June 11, 2013
       V3.0              Updated Hiring Summary for FY13
       April 24 2013     Added Selection Panel High Level Map (page 50)
                         Updated number and percentage of CTI’s hired in “Background” section of Document
                         Updated Degrees
                         Reformatted and updated content.
       V2.5              Updated Hiring Summary for FY13
       2/3/13            Added Selection Panel High Level Map (page 50)
                         Updated number and percentage of CTI’s hired in “Background” section of Document
       V2.4              Updated Hiring Summary for FY13
       1/13/13           Updated TSTC Degree Name
                         Updated Degree name FIT
       V2.3
       11/11/12          Updated Hiring Summary for FY12
       V2.2              Updated Points of Contact
       10/3/2012         Updated Hiring Summary for FY12
                         Changed Name of Middle Georgia College to Middle Georgia State College (effective 1/1/2013)
       V2.1              Updated Points of Contact
       August 27, 2012   Updated Metropolitan State College of Denver to Metropolitan State University of Denver
                         Updated Hiring Summary for FY12
                         Added Regional Flight Surgeon contact information in the Medical qualifications section
                         Added FY13 Hiring Plan
       V2.0              Updated Hiring Summary for FY12
       July 29, 2012     Updated Points of Contact
       V1.9              Updated Hiring Summary for FY12
       June 15, 2012     Updated Points of Contact
                         Updated Controller Workforce Hiring Plan
       V1.8              Edited Degree Name for CCBC-MD
       May 20, 2012      Updated Hiring Summary for FY12
       V1.7              Updated Hiring Summary for FY12
       May 21, 2012      Updated CTI School Contact List

       V1.6              Added ATSAT Test List Procedures
       March 19, 2012    Updated Hiring Summary for FY12
                         Added 4 questions to Section 4 FAQ “Hiring and Selection”
                         Added Regional Security Specialists for School Use
       V1.5              Updated Hiring Summary for FY12
       2/24/2012         Added Regional Security POC’s in “Security Section”
       V1.4              Updated Hiring Summary for FY12
       1/30/2012         Added Question to Public Questions
                         Updated Security section
                         Added Security section to FAQ’s
       V1.3              Updated Hiring Process Overview
       1/18/2012         Added FAA AT CTI Program Section
       V1.2              Added Degree Programs for Dowling College, Miami Dade and Hampton University
       1/16/2012         Added section of FAQ’s for Pre Hire “Public Inquiries”
                         Updated POC’s
                         Added new overview of Evaluation Process
       V1.1              Updated Points of Contact
       12/27/2011        Update Degree Programs by Institution
                         Moved a medical question listed in error in the ATSAT section to Medical section
                         Added question 3 in FAQ Medical section (color blind test)
                         Updated FY11 Hiring Summary
                         Added Monthly Telcon Information
                         Added Degree Change Policy in detail
                         Updated missing elements of the current evaluation objectives
                         Added a new section to FAQ’s “CTI Institutional Requirements (Section 7) added question about degree programs.
                         Renumbered subsequent sections.
       V1.0
       7/12/2011         Original




This document provides general guidance and information. This document will be updated as necessary.
Although great care has been exercised to ensure its accuracy, always consult the appropriate source documents.
This document does not supersede any other document, order, policy, or law.

Questions, comments, corrections, or suggestions should be directed to AJI ATO Safety and Technical Training 9‐
ato‐atcti@faa.gov

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   Background

The Federal Aviation Administration (FAA) Air Traffic Collegiate Training Initiative (AT-CTI) Program is
designed to establish partnerships with higher educational institutions to broaden the employment
opportunities in the aviation industry, particularly among air traffic controllers. AT-CTI graduates are not
guaranteed jobs as air traffic controllers, but the FAA does consider AT-CTI graduates as a valuable hiring
source for Air Traffic Control Specialists (ATCS).

There are 36 FAA Air Traffic Collegiate Training Initiative partner institutions. These institutions offer 34
Associate’s degrees, 56 Bachelor’s degrees, and two Master’s degrees Since FY 2005 the FAA has hired
4176, (Air Traffic Controller Hiring Summary, February 23, 2013) from the CTI pool, 39.4 percent of all
new hires.

The AT-CTI Program was tested in 1991 to determine whether colleges and universities were capable of
screening and training air traffic controllers. This five-year test program was documented in FAA Order
3120.26, Pre-Hire Air Traffic Control Demonstration Program.

The objective of the demonstration program was to determine if post-secondary educational institutions
could develop and validate an innovative selection process and training curriculum that encompassed the
knowledge, skills, and abilities required of the air traffic control occupation (terminal and en route options)
under the current air traffic operation and future automation systems. During the test period, graduates
hired from this program bypassed all training or screening at the FAA Academy and reported directly to
their facilities for classroom and On-The-Job (OJT) training.

The Pre-Hire Demonstration Program was tested with five schools including The Community College of
Beaver County, Hampton University, Minneapolis Community and Technical College, The University of
Alaska, and The University of North Dakota. Two evaluations were completed at the end of the test
program to document the results and to determine the extent to which the program achieved its objectives.
.

Based on the results of the Pre-Hire Demonstration Program, collegiate aviation was determined to be a
viable method of developing and delivering air traffic curriculum. It is clear that this program could be a
valuable source of new controllers.

As a result, the AT-CTI program is now an FAA authority created in accordance with Congressional intent
as provided for in Section 362 of Public Law 102-388 and Section 347 of the 1996 DOT Appropriations
Act, which states that the administrator may enter into new agreements and maintain existing agreements
with post-secondary educational institutions, as he or she may define them, whereby such institutions
prepare students for the position of an FAA ATCS. The AT-CTI special appointing authority allows hiring
managers to recruit eligible graduates for potential employment with the FAA.

As a result of the authority the AT-CTI Program was expanded in 1997 from five to 13 schools.

With the introduction of Air Traffic Selection and Training (AT-SAT), the FAA decided that schools would
no longer need to focus on selection and screening and instead would concentrate on delivering basic air
traffic knowledge. Future AT-CTI graduates would bypass the AT Basics academic portion of training only
and attend a pass/fail skills based course at the FAA Academy prior to reporting to their facility.

In response to the air traffic controller hiring needs, in 2006 the FAA began soliciting new schools to join
the CTI Program. An announcement was sent out for interested institutions to submit an application

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package for evaluation. .FAA evaluators reviewed the applications and conducted site visits and as a
result an additional nine schools were added in 2007, eight in 2008, and five in 2009.

The administrator, or his or her designee, may establish standards for entry of institutions into such
programs and for their continued participation.

Our Aspiration:
We will provide the FAA Academy and field facilities with highly motivated, educated, and adaptable Air
Traffic Control (ATC) candidates who will certify as controllers and lead the next generation of controllers.


Our Goals
    o    Ensure CTI institutions are familiar with, teach, test, and provide application of the Air Traffic
         Basics curriculum within approved degree programs.

    o The FAA must ensure that our partner institutions are providing the agency with the most qualified
         individuals and are promoting the program and education in a manner that meets our needs of
         highly motivated, educated, and adaptable Air Traffic Control candidates who will certify as
         controllers and lead the next generation of controllers. The program allows institutions to provide a
         specialized education for their stakeholders and communities.

    o    Promote partnerships between CTI Institutions to address “Best Practices” that produce diverse,
         adaptable, and well educated candidates for Air Traffic Control positions.

    o    Ensure that CTI schools and students are familiar with the technical and cultural environment and
         needs of FAA facilities.

    o    Provide opportunities for practical application of knowledge and continued learning outside of the
         classroom.

    o    Improve the communication process to FAA AT-CTI member institutions thereby improve
         graduates knowledge of FAA policy and practice hiring and training process.

    o    Improve the collection of data and analysis of data to measure the success of the CTI Program as
         a hiring source.




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 CTI Institutional
 Participants


Initial Schools

Community College of Beaver County

Hampton University

Minneapolis Community and Technical College

University of Alaska at Anchorage

University of North Dakota




                   Accepted 1996 (9)                                          Accepted 2007 (9)

   Vaughn College of Aeronautics ,Flushing, NY               Arizona State University, Mesa , AZ
   Daniel Webster College Nashua, NH                         Florida State College at Jacksonville, Jacksonville, FL
   Dowling College, Oakdale, NY                              Green River Community College, Auburn, WA
   Embry-Riddle Aeronautical University, Daytona Beach, FL   Kent State University, Kent, OH
   Inter-American University of Puerto Rico, Bayamon, PR     Lewis University, Romeoville, IL
   Miami-Dade College, Homestead, FL                         Middle Georgia State College, Macon, GA
   Middle Tennessee State University, Murfreesboro, TN       Community College of Baltimore County, Catonsville, MD
   Mt. San Antonio College Walnut, CA                        University of Oklahoma, Norman, OK
   Purdue University, West Lafayette, IN                     Metropolitan State University of Denver, Denver, CO




                   Accepted 2008 (8)                                          Accepted 2009 (5)

   Aims Community College, Greely CO                         Florida Institute of Technology, Melbourne, FL
   Broward College, Fort Lauderdale, FL                      Hesston College, Hesston, KS
   Eastern New Mexico, Roswell, NM                           Sacramento City College, Sacramento, CA
   Embry-Riddle Aeronautical University, Prescott AZ         Texas State Technical College, (Waco, TX
   Jacksonville University, Jacksonville, FL                 Western Michigan University , Kalamazoo, MI
   Letourneau University, Longview TX
   St. Cloud State University, St Cloud, MN
   Tulsa Community College, Tulsa, OK




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 CTI Degree Programs


The FAA CTI partner schools provide students with a diverse choice in aviation degrees types and areas. There
are 16 different Associate’s degree programs, 34 Bachelor’s degree programs, and 2 Master’s degree programs.

Degrees Offered

   Associate’s Degrees (16)                                    Bachelor’s Degrees (continued)
   Aeronautical Engineering Technology                         Airport Management
   Aeronautical Technology                                     Airway Science Management
   Air Traffic Control and Management                          Applied Meteorology
   Aircraft Operations                                         Aviation Computer Science
   Airport Management                                          Aviation Flight Management
   Aviation Administration                                     Aviation Flight Service
   Aviation Flight Management                                  Aviation Maintenance
   Aviation Maintenance                                        Aviation Maintenance Management
   Aviation Maintenance Management                             Aviation Maintenance Technology
   Aviation Operations                                         Aviation Management
   Aviation Science                                            Aviation Management Flight Option
   Aviation Sciences Technology                                Aviation Meteorology
   Aviation Security                                           Aviation Meteorology Flight Option
   Electronic Engineering Technology (Avionics Option)         Aviation Operations
   Professional Flight                                         Aviation Science and Administration
   Professional Pilot Technology                               Aviation Security
   Bachelor’s Degrees (34)                                     Aviation Technology
   Aeronautical Engineering Technology                         Aviation Technology ATC emphasis
                                                               Business Administration, Concentration Air Traffic
   Aeronautical Science
                                                               Management
   Aeronautical Science Flight Option                          Electronic Engineering Technology (Avionics Option)
   Aeronautical Technology                                     Management
   Aeronautics                                                 Professional Flight
   Aerospace and Aerospace Studies                             Airport Management
   Aerospace Systems Technology                                Airway Science Management
   Air Traffic Control and Management                          Applied Meteorology
   Air Traffic Control with Flight Science Concentration       Master’s (2)
   Aircraft Operations                                         Aeronautics
   Aircraft System Management                                  Aviation Management
   Airline Management




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The following are the currently recognized, accredited degree programs from each institution that contain the
requisite FAA required curriculum to be considered for employment under the FAA AT-CTI Program.

                  Institution/Accreditation             Approved Degree Program

   Aims Community College                               ASSOCIATE’S OF APPLIED SCIENCE
   North Central Association of Colleges and Schools,
                                                              Air Traffic Control
   The Higher Learning Commission

   Arizona State University                             BACHELOR OF SCIENCE
   North Central Association of Colleges and Schools,
                                                              Air Traffic Management
   The Higher Learning Commission

   Broward College                                      ASSOCIATE’S OF APPLIED SCIENCE
   Southern Association of Colleges and Schools,
                                                              Air Traffic Control
   Commission on Colleges

   Community College of Beaver County                   ASSOCIATE’S OF APPLIED SCIENCE
   Middle States Commission on Higher Education               Air Traffic Control Terminal or En Route

   Daniel Webster College                               BACHELOR OF SCIENCE
   New England Association of Schools and Colleges,           Aviation Management
   Commission on Institutions of Higher Education             Air Traffic Control

                                                        MASTER’S OF BUSINESS ADMINISTRTON
                                                              Aviation Management (Added 12/27/2011)
   Dowling College
   Middle States Commission on Higher Education         BACHELOR OF SCIENCE
                                                              Aviation Management
                                                              Aerospace Systems Technology

   Eastern New Mexico University – Roswell              ASSOCIATE’S OF APPLIED SCIENCE
   North Central Association of Colleges and Schools,
                                                              Air Traffic Control
   The Higher Learning Commission

                                                        MASTER’S of Science Aeronautics
   Embry Riddle Aeronautical University -
   Daytona                                              BACHELOR OF SCIENCE
   Southern Association of Colleges and Schools,              Air Traffic Management
   Commission on Colleges                                     Aviation Related when accompanied by an ATC Minor
                                                               (Revised 8/3/2011)

                                                        BACHELOR OF SCIENCE
                                                              Aeronautics
   Embry Riddle Aeronautical University -
                                                              Aeronautical Science
   Prescott                                                   Applied Meteorology
                                                              Air Traffic Management (Added 7/18/2011)

                                                        BACHELOR OF SCIENCE
                                                              Aeronautical Science Flight Option
   Florida Institute of Technology College of                 Aeronautical Science
   Aeronautics                                                Aviation Computer Science
   Southern Association of Colleges and Schools,              Aviation Meteorology Flight Option
   Commission on Colleges                                     Aviation Meteorology
                                                              Aviation Management Flight Option
                                                              Aviation Management

   Florida State College at Jacksonville
   Southern Association of Colleges and Schools,        ASSOCIATE’S DEGREE
   Commission on Colleges                                     Aviation Operations



   Green River Community College                        ASSOCIATE’S DEGREE
   Northwest Commission on Colleges and Universities          Air Traffic Control




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               Institution/Accreditation             Approved Degree Program
                                                     BACHELOR OF SCIENCE
Hampton University                                         Aviation Management
Southern Association of Colleges and Schools,
Commission on Colleges                               ASSOCIATE’S DEGREE
                                                           Air Traffic Control Management (Added 1/2/2012)

Hesston College                                      ASSOCIATE’S OF APPLIED ARTS AND SCIENCE
North Central Association of Colleges and Schools,         Professional Pilot
The Higher Learning Commission                             Air Traffic Control

                                                     BACHELOR OF SCIENCE
InterAmerican University of Puerto Rico                    Airway Science Management (Minor in ATC)
                                                           Aircraft System Management (Minor in ATC)

Jacksonville State University                        BACHELOR OF SCIENCE
Southern Association of Colleges and Schools,              Aviation Management
Commission on Colleges                                     Aviation Management and Flight Operations

                                                     BACHELOR OF SCIENCE
                                                           Aeronautics with a concentration in:
Kent State University                                           o    Aeronautical Studies
North Central Association of Colleges and Schools,              o    Aviation Management
The Higher Learning Commission                                  o    Flight Technology
                                                                o    Air Traffic Control
                                                                o    Aeronautical Systems Engineering Technology

                                                     BACHELOR OF SCIENCE
                                                           Air Traffic Management (ATC Minor)
LeTourneau University
                                                           Air Traffic Control with Flight Science Concentration
Southern Association of Colleges and Schools,
Commission on Colleges
                                                     ASSOCIATE’S DEGREE
                                                           Air Traffic Control

                                                     BACHELOR OF SCIENCE
                                                           Air Traffic Control Management (Minor in Air Traffic Control
                                                            Management)
                                                           Aviation Flight Management
Lewis University                                           Aviation Security
North Central Association of Colleges and Schools,
The Higher Learning Commission                       ASSOCIATE’S DEGREE
                                                           Air Traffic Control Management
                                                           Minor in Air Traffic Control Management
                                                           Aviation Flight Management
                                                           Aviation Security

Metropolitan State College of Denver                 BACHELOR OF SCIENCE
North Central Association of Colleges and Schools,
                                                           Aviation Technology
The Higher Learning Commission

                                                     ASSOCIATE’S DEGREE
Miami Dade College                                         Aviation Administration
Southern Association of Colleges and Schools,
                                                           AS Professional Pilot Technology
Commission on Colleges
                                                           Aviation Maintenance Management

                                                     BACHELOR OF SCIENCE
                                                           Business Administration, Concentration Air Traffic
Middle Georgia State College                                Management
Southern Association of Colleges and Schools,
Commission on Colleges
                                                     ASSOCIATE’S OF APPLIED SCIENCE
                                                           Air Traffic Management

Middle Tennessee State University                    BACHELOR OF SCIENCE:
Southern Association of Colleges and Schools,
                                                           Aerospace
Commission on Colleges




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               Institution/Accreditation             Approved Degree Program

Minneapolis Community and Technical College          ASSOCIATE’S OF APPLIED SCIENCE
North Central Association of Colleges and Schools,
                                                           Air Traffic Control
The Higher Learning Commission

Mount San Antonio College
Western Association of Schools and Colleges,         ASSOCIATE’S DEGREE
Accrediting Commission for Community and Junior            Aviation Science
Colleges

                                                     MASTER’S OF SCIENCE
                                                           Aviation

                                                     BACHELOR OF SCIENCE
                                                           Aviation Management
                                                           Professional Flight
Purdue University                                          Aeronautical Technology
North Central Association of Colleges and Schools,
                                                           Aeronautical Engineering Technology
The Higher Learning Commission
                                                     ASSOCIATE’S DEGREE (Until 2012)
                                                           Aviation Management
                                                           Professional Flight
                                                           Aeronautical Technology
                                                           Aeronautical Engineering Technology

Sacramento City College
Western Association of Schools and Colleges,         ASSOCIATE’S DEGREE
Accrediting Commission for Community and Junior            Air Traffic Control
Colleges

                                                     BACHELOR OF SCIENCE
St. Cloud State University                                 Aviation Operations
North Central Association of Colleges and Schools,
                                                           Professional Flight
The Higher Learning Commission
                                                           Management

The Community College of Baltimore County            ASSOCIATE’S OF APPLIED SCIENCE
Middle States Commission on Higher Education               Air Traffic Control

Texas State Technical College - Waco                 ASSOCIATE’S OF APPLIED SCIENCE
Southern Association of Colleges and Schools,
                                                           Air Traffic Management
Commission on Colleges

Tulsa Community College                              ASSOCIATE’S OF APPLIED SCIENCE
North Central Association of Colleges and Schools,         Aviation Sciences Technology
The Higher Learning Commission                             Air Traffic Control

                                                     BACHELOR OF SCIENCE
                                                           Aviation Technology ATC emphasis
University of Alaska Anchorage
Northwest Commission on Colleges and Universities
                                                     ASSOCIATE’S OF APPLIED SCIENCE
                                                           Air Traffic Control

University of North Dakota                           BACHELOR OF SCIENCE
North Central Association of Colleges and Schools,
                                                           Aeronautics w/ Major in ATC
The Higher Learning Commission

                                                     BACHELOR OF SCIENCE
University of Oklahoma                                     Aviation Management (ATC Minor)
North Central Association of Colleges and Schools,
                                                           Aviation-Air Traffic Management
The Higher Learning Commission
                                                           Aviation Professional Pilot (ATC Minor)




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               Institution/Accreditation             Approved Degree Program
                                                     ASSOCIATES OF APPLIED SCIENCE
                                                           Airport Management
                                                           Aircraft Operations
                                                           Aviation Maintenance
                                                           Electronic Engineering Technology (Avionics Option)
Vaughn College of Aeronautics and                    BACHELOR OF SCIENCE
Technology                                                 Airport Management
Middle States Commission on Higher Education               Aircraft Operations
                                                           Aviation Maintenance
                                                           Airline Management
                                                           Aviation Maintenance Management
                                                           Airline Management
                                                           Electronic Engineering Technology (Avionics Option)

                                                     BACHELOR OF SCIENCE
Western Michigan University                                Aviation Flight Service
North Central Association of Colleges and Schools,
                                                           Aviation Maintenance Technology
The Higher Learning Commission
                                                           Aviation Science and Administration




Adding, Deleting, or Changing a Degree Program
Schools will be allowed to add, remove, or modify a degree program once a year based on the needs of the
institution.

Adding a Degree Program

If a current partner institution has the need to add a degree program, they will submit:

         An electronic letter on institution letterhead to the FAA CTI Program Office requesting the addition of
          the degree; include the degree type, (i.e. Associate’s or Bachelor’s degree) and a projected date of
          the first degree awarded.

          Using a template provided by the CTI Program Office

         List all the required classes for the degree and catalog description of the courses included in the
          degree

         A mapping of the FAA required AT Basics Objectives to the applicable courses within the degree
          where the material is taught (See Sample ATTACHMENT 1)

The FAA will issue a letter to the institution through the Program Office advising as to whether the degree will
be accepted. The institution must maintain all supporting documentation including syllabi and testing
instruments to validate that AT Basics are taught in the courses outlined. The FAA may approve this degree
and validate the package through a site visit or remote validation.

Modifying a Degree Program

If a current partner institution has the need to add a degree program, they will submit:

         An electronic letter on institution letterhead to the FAA CTI Program Office requesting the
          modification of the degree and a catalog description of the courses included in the degree

Using a template provided by the CTI Program Office

         A document, listing all the required classes for the degree

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        A document providing a mapping of the FAA required AT Basics Objectives to the applicable courses
         within the degree where the material is taught (See Sample ATTACHMENT 1)

The FAA will issue a letter to the institution through the Program Office advising as to whether the degree will
be accepted. The institution must maintain all supporting documentation including syllabi and testing
instruments to validate that AT Basics are taught in the courses outlined. The FAA may approve this degree
and validate the package through a site visit or remote validation.

Removing a Degree Program

If a current partner institution has the need to remove a degree program, they will submit:

        An electronic letter on institution letterhead to the FAA CTI Program Office advising that they will no
         longer offer a previously approved degree and a projected date of the last degree awarded for CTI
         purposes




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Partnership Agreement


1. Background

The Federal Aviation Administration (FAA) and the Collegiate Training Initiative (CTI) Participant, desire to
collaborate via this partnership agreement to best serve the interests of both parties.

2. Purpose and Scope

The FAA has established the Collegiate Training Initiative (CTI) program for the purpose of implementing the
FAA’s intent of using collegiate aviation as one of the primary means of meeting the future needs of the
agency for air traffic control specialists (ATCS). The purpose of this partnership are to encourage and
facilitate collaborative efforts between the two parties with respect to an emphasis on collegiate aviation as
an active source of future recruitment of ATCS’s, and to promote a collegial environment wherein knowledge
is shared with mutual respect for the institutional goals of each party. The intent of this document is to
express the desire of the FAA to work in cooperation with CTI Institutional Participant to achieve the goals of
the CTI program. Nothing contained herein is intended to prohibit either party from collaborating with any
other organization, entity, or individual in the subject areas of interest.

3. Funding

This partnership agreement in no way obligates the FAA to any financial expenditure. Activities carried out
by each party in support of this partnership are to be funded by the respective parties. Nothing contained
herein is intended to prohibit either party from seeking and awarding funding available under any other
program.

4. Term of Agreement

This partnership shall commence as of the last date entered in the signature block of the agreement. It may
be terminated by either party after thirty (30) days written notice to the other party.

Recruitment of CTI program graduates will not be in effect until completion of all FAA recommendations,
which have been communicated to the institution. Upon completion and approval of these activities by the
specified FAA organizations, eligible program graduates can be considered for employment.

5. Amendments

This partnership agreement may be modified only by a written amendment. Any amendment must be jointly
executed by the duly authorized representatives of both parties.

6. Roles, Responsibilities, and Expectations

       Federal Aviation Administration

          Provide access to current CTI-related technical documents (orders, directives, etc.)
          Provide electronic versions or a single hard copy of curriculum materials and guidance to include
           lesson plans, student handouts, and multimedia materials
          Provide technical advice and support
          Provide academic diagnostic testing materials
          Provide institutions with feedback
                                                                                                                11
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          Establish appropriate forums for regular communication among participating institutions and the
           FAA
          Consider recommended graduates for employment on the basis of FAA needs


       CTI Institutional Participant

          Ensure that the curriculum
           satisfies the CTI teaching
           objectives
          Ensure that the faculty is
           knowledgeable in current
           air traffic policies, procedures,
           and curriculum
          Provide counseling for
           students in all aspects of the
           CTI program
          Ensure that CTI-related
           advertising accurately reflects
           the intent of the CTI program,
           including employment
           opportunities
                                                Broward University
          Provide an institutional
           recommendation for employment
7. CTI Program Graduate Qualification Requirements and Expectations

To qualify for employment consideration with the FAA, CTI program graduates must meet all legal and
regulatory requirements including, but not limited to, the following:

          Achieve a qualifying score on the current FAA testing procedures
          Successfully complete the FAA interview process
          Receive institutional recommendation
          Meet entry level ATCS medical standards
          Pass a pre-employment drug test
          Pass the background investigation for security and suitability
          Have U.S. citizenship
          May not have reached their 31st birthday prior to initial appointment in the terminal or en route
           options
          Complete institutional graduation requirements
          Complete course work including all CTI-specific required courses
          Be able to read, write, and understand the English language and speak it rapidly without accent
           or impediment of speech that would interfere with two-way radio conversation
8. Summary

The FAA’s employment goals include a need for a highly trained work force and the desire to enhance the
cultural diversity of the work force. For any CTI graduates selected for employment, the FAA’s intent is to
assign these employees to targeted geographical areas. However, the actual assignments for the
employees selected from the CTI program will depend upon the current needs of the FAA. CTI program
graduates must understand that employment is not guaranteed for any individual.

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Human Resources Policy


   Human Resources Operating Instruction (HROI) - Air Traffic-Collegiate
   Training Initiative (AT-CTI) Standard Operating Procedures (SOP)

   This HROI established: April 1, 2007
   This version effective: April 1, 2007
   Use this HROI in conjunction with:
       HROI: Eligibility Period for Air Traffic Collegiate Training Initiative Graduates
       EMP-1.7 (Series 2152): Testing Policy for Filling Entry Level Air Traffic Control Specialist Positions in Terminal and En Route Options


        1. Purpose: This document implements the Standard Operating Procedures (SOP) for the Air
           Traffic - Collegiate Training Initiative (AT-CTI) Program and provides instructions and
           guidance to all FAA offices to assist them in implementing these procedures.

        2. Background: In 1990, the FAA established the AT-CTI program for the employment of Air
           Traffic Controllers. Graduates who meet the basic qualification requirements for the AT-CTI
           program may be considered for employment in terminal and en route facilities.

        3. Definitions:
           a. AT-CTI. Air Traffic – Collegiate Training Initiative: A program established for the
               employment of entry level Air Traffic Controllers in the terminal and en route options.
           b. AT-CTI Inventory: A centralized register of AT-CTI candidates maintained by the
               Aviation Careers Division. The AT-CTI Inventory tracks important information about
               applicant eligibility including graduation date, recommendation status, and AT-SAT score.
               This inventory is used for placement and hiring of AT-CTI students.
           c. AT-SAT Air Traffic – Selection and Training: A required computer-based entrance
               exam for the Air Traffic Controller occupation in the terminal and en route options.
           d. NET. Notice of Eligibility to Test: A notice issued by the Aviation Careers Division that
               authorizes applicants to take the AT-SAT test.
           e. NOTR. Notice of Test Results: A notice issued by the Aviation Careers Division that
               provides the results of the AT-SAT test. This notice does not indicate employment
               eligibility.
           f. On-Hold Rule: An AT-SAT score of 70 or above will be placed in a hold status for
               students in the AT-CTI program until the candidate graduates from an FAA approved AT-
               CTI program. The score is activated upon graduation and is valid for three years from the
               candidate's graduation or eligibility date. The On Hold Rule applies to ATÂ¬CTI
               candidates only.

        4. AT-CTI Program Management Responsibilities
           a. ATO-A, the Office of Acquisition & Business Services within the Air Traffic Organization
              (ATO):

                      i.      Serves as the Program Manager for the AT-CTI program and as liaison between
                              the colleges and the FAA.
                      ii.     Funds the administration of the AT-SAT test.

              b. Office of Human Resources Management Programs and Policies, AHP, supports
                 Acquisition & Business Services by developing and managing issues and policies relating
                 to the qualifications, recruitment, and employment of AT-CTI graduates.
              c. AMH-300, the Aviation Careers Division within the Office of Human Resource
                 Management:


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              i.    Maintains the centralized hiring of AT-CTI graduates, the overall management of
                    the AT-CTI Inventory, and authorizes pre-employment testing of all AT-CTI
                    students
              ii.   Reviews applications for completeness, to include registration with the selective
                    service, and verifies veterans' preference.

        d. The Office of Aerospace Medicine develops policy and manages the medical clearances
           for AT-CTI graduates.
        e. The Assistant Administrator for Security & Hazardous Materials develops policy and
           manages the security clearances for AT-CTI graduates.

    5. Management of the AT-CTI Inventory: The Aviation Careers Division is responsible for the
       overall management of the AT-CTI Inventory.
       a. Establishment of the AT-CTI Inventory: All AT-CTI schools will provide the Aviation
           Careers Division an electronic list of students enrolled in the AT-CTI Program. This list
           should be provided as soon as practical after enrollment in the ATÂ¬CTI program. The
           list will include:

                       i.    Student Name
                      ii.    Address
                     iii.    Daytime Phone Number
                     iv.     Nighttime Phone Number
                      v.     Email address
                     vi.     Social Security Number
                    vii.     Date of Birth
                    viii.    Projected Graduation Date
                     ix.     Date Additional Course of Instruction

        b. Maintenance of the AT-CTI Inventory: The Aviation Careers Division establishes and
           maintains a roster of AT-CTI students and an inventory of eligible candidates. Candidate
           records are updated by the Aviation Careers Division to reflect changes or corrections as
           reported by the student/graduate or the AT-CTI school as appropriate. Information in
           each record includes:

                       i.    Personal Information including the data listed in paragraph 5a.
                      ii.    AT-CTI School
                     iii.    AT-SAT Score
                     iv.     Graduation Date
                      v.     Employment Eligibility Status
                     vi.     Geographic Preference
                    vii.     Cumulative Grade Point Average
                    viii.    Veterans' Preference
                     ix.     Self-Certified Citizenship
                      x.     Military Discharge Date

        c.   Removal from the AT-CTI Inventory: There are several ways in which a candidate will be
             removed from the AT-CTI Inventory including:

                        i.   FAA approved AT-CTI school official does not recommend the candidate.
                       ii.   Candidate does not achieve a passing score on the AT-SAT test after two
                             consecutive attempts.
                      iii.   The candidate was not selected within three years of graduation and did
                             not request or receive approval for an extension of eligibility.
                      iv.    Candidate reaches age 31.
                       v.    The candidate fails to meet the Basic Qualification Requirements for AT-
                             CTI Graduates detailed in paragraph 6.

    6. Basic Qualification Requirements for AT-CTI Graduates: To be considered for
       employment with the FAA, AT-CTI graduates must:
                                                                                                  14
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        a. Successfully complete the FAA approved AT-CTI program including:

                       i.   Receiving a degree from the FAA approved AT-CTI school, in an aviation-
                            related field, that includes the teaching objectives required by the FAA.
                      ii.   Receiving an institutional recommendation for employment from an
                            authorized school official.

        b. Achieve a passing score (70 or above) on the AT-SAT test.
        c. Be a United States citizen at the time of application for the AT-SAT test.
        d. Not have reached their 31st birthday when entering on duty in an FAA terminal or en
           route facility.
        e. Meet FAA medical, security, and suitability requirements; and
        f. Successfully complete an interview to determine whether the candidate possesses the
           personal characteristics necessary for the performance of air traffic control work and that
           the candidate is able to speak English clearly enough to be understood over radios,
           intercoms, and similar communications equipment.

    7. Eligibility Requirements for AT-CTI Graduates: The AT-CTI Program is designed to
       provide the FAA with qualified applicants for air traffic controller positions who possess a
       broad-based knowledge of the aviation industry with specific education in air traffic control.
       Due to the education received at approved AT-CTI schools, candidates hired through this
       program are authorized to by-pass the Air Traffic Basics Course at the FAA Academy in
       Oklahoma City.
       a. AT-CTI Eligibility: Candidates are eligible to be hired through the AT-CTI Program for
           three years after their graduation date.
       b. Extending AT-CTI Eligibility: Candidates who have passed the eligibility period may apply
           to have their eligibility extended in accordance with HROI: Eligibility Period for Air Traffic
           Collegiate Training Initiative Graduates.
       c. Establishing Eligibility for Previous AT-CTI Graduates: Students who graduated from an
           AT-CTI school with a qualifying aviation degree, including the AT-CTI required courses,
           and did not establish eligibility for employment consideration under the AT-CTI program
           may elect to do so under the following guidelines:

                     i.     (1) The candidate is within two years of their graduation date.
                            (Note: With regard paragraph 7ci, AT-CTI graduates who enter active
                            military duty after graduation will be given the opportunity to be
                            considered under the AT-CTI program once they are released from active
                            duty, provided they continue to meet all other eligibility requirements.
                            Eligibility must be established within one year of being released from
                            active duty.)
                     ii.    The candidate must meet the Basic Qualification Requirements for AT-
                            CTI Graduates detailed in paragraph 6 of this document.
                    iii.    The candidate must be identified to the FAA as an AT-CTI student by an
                            authorized school official.
                    iv.     The candidate may be authorized to take the AT-SAT exam.
                     v.     The AT-CTI Inventory will indicate the graduation date on the school
                            transcript. (Note: Employment eligibility will be reduced depending upon
                            the length of time between graduation and when the candidate
                            establishes eligibility.)
                    vi.     Candidates may apply for an eligibility extension in accordance with
                            paragraph 7b of this document.

        d. Reapplying to the AT-CTI Program: Candidates previously hired through the AT-CTI
           Program may not reapply through this hiring source.

    8. Administration of AT-SAT Testing: AT-SAT testing is conducted in accordance with EMP-
       1.7 (Series 2152): Testing Policy for Filling Entry Level Air Traffic Control Specialist Positions
       in Terminal and En route Options. The Aviation Careers Division is responsible for
       coordinating AT-SAT testing for AT-CTI students. The following guidelines are used for the
                                                                                                     15
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       administration of AT-SAT testing:
       a. The Aviation Careers Division issues the authority for AT-CTI students to take the AT-
          SAT test.
       b. To qualify for AT-SAT testing, AT-CTI students must:

                    i.    Have completed specific coursework at the AT-CTI school indicating
                          commitment to the program. Qualifying coursework is determined by the
                          AT-CTI school and approved by the FAA.
                    ii.   Be identified by an authorized school official as an AT-CTI student.
                   iii.   Submit a signed self-certification of citizenship to the Aviation Careers
                          Division.
                   iv.    Be able to provide own transportation to and from the test site.
                    v.    Meet FAA testing parameters at time of testing.

       c.   The Aviation Careers Division issues a Notice of Eligibility to Test (NET) authorizing
            candidates to be tested.
       d.   The Aviation Careers Division provides a Notice of Test Results (NOTR) to each
            candidate and updates the AT-CTI Inventory to reflect the AT-SAT score.
       e.   The On-Hold Rule for the AT-SAT test score is used.
       f.   Candidates who take the AT-SAT exam for the first time and fail must wait one year from
            the date of the initial exam before retesting.
       g.   Candidates who take the AT-SAT exam and achieve a passing score are not authorized
            to retake the test under the AT-CTI Program to improve their test score.
       h.   Candidates who take the test and do not achieve a passing score after two consecutive
            attempts are not allowed to retake the test through the AT-CTI program. This does not
            preclude them from applying through other hiring methods.
       i.   The second AT-SAT score will replace the first AT-SAT score regardless of the outcome.

    9. Employment of AT-CTI Graduates: Employment of AT-CTI graduates in the En Route &
       Oceanic Service Unit and Terminal Service Unit is in accordance with established FAA hiring
       policies and practices used to fill air traffic control positions.




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  Human Resources Operating Instruction (HROI) - Eligibility Period for
  Air Traffic Collegiate Training Initiative (AT-CTI) Graduates

  This HROI established: May 26, 2006
  This version effective: April 1, 2007
  Use this HROI in conjunction with:
      EMP-1.10 Permanent External Hiring
      EMP-1.11 Temporary External Hiring
      EMP-1.20 Maximum Entry Age for Air Traffic Control Specialists
      EMP-1.7 (Series 2152): Testing Policy For Filling Entry Level Air Traffic Control Specialist Positions in Terminal and En Route Options


Background Information

The FAA AT-CTI program is a separate and distinct recruitment source for terminal and en route air
traffic controller candidates. This group of candidates consists of graduates from certain colleges and
universities that provide a pre-approved major course of study and recommendations for employment.

All AT-CTI candidates must obtain passing AT-SAT scores.

Because the AT-CTI curriculum provides appropriate education, experience, and training which meet
the basic requirements for the terminal and en route air traffic occupations, AT-CTI graduates may be
permitted to bypass some of the FAA Academy's Air Traffic Control Training program.

The Aviation Careers Division (AMH-300) maintains an inventory of eligible AT-CTI candidates. Referral
eligibility for the candidates is initially a three-year period after graduating from a CTI college or
university. Eligibility to remain in the CTI inventory expires if the candidate is not referred or is not
selected during the initial three-year eligibility period.

This Human Resources Operating Instruction (HROI) establishes a process for extending candidates'
eligibility on the AT-CTI inventory. Candidates may request one-year eligibility extensions. This change
will help the FAA successfully fulfill the Controller Workforce Plan to increase hiring of air traffic and en
route controllers by maintaining a ready source of candidates in a viable active inventory of eligible AT-
CTI candidates.

General Requirements

    Candidates whose three-year eligibility on the inventory has expired or will expire within 60
     calendar days may apply to continue to have their names on the inventory.
    Candidates who reestablish eligibility under this policy will be eligible for one additional year from
     the date that AMH-300 approves the request. Candidates may continue to reapply and have their
     names placed on the inventory in one-year increments after each additional year expires, until they
     reach the maximum entry age.
    If applicants have a valid Air Traffic Selection and Training (AT-SAT) test score in accordance with
     EMP-1.7 (Series 2152): Testing Policy For Filling Entry Level Air Traffic Control Specialist
     Positions in Terminal and En Route Options, they will not be required to retest. Approval will be
     based on all requirements being met.
    Candidates whose air traffic control specialist pre-employment test score expires prior to their
     being granted an extension must take and pass the AT-SAT examination in order to be eligible for
     an extension. Special testing sites will not be provided. Testing will be done in conjunction with
     current AT-CTI school testing. Applicants should keep in contact with AMH-300 for future testing
     cycles.
    Candidates who receive two consecutive non-qualifying AT-SAT test scores will not be allowed to
     retake the test for entrance on the AT-CTI inventory. This does not preclude candidates from
     applying through other hiring methods (e.g., general public announcement); however, they must
     wait the allotted time in accordance with national policy from the date of their last test.

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    The Air Traffic Organization (ATO) may require that candidates who are granted these extensions
     take refresher training or take portions of the FAA Academy Air Traffic Training program that AT-
     CTI graduates are normally permitted to bypass.

Who is eligible?

 To apply for an extension, applicants must meet all of the following requirements:

              Have been identified by an AT-CTI school,
              Have received an AT-CTI school recommendation,
              Have passed a pre-employment test,
              Have submitted all appropriate paperwork to AMH-300 (i.e., geographic preference
               sheet, etc.), and
              Be under the maximum entry age.

Please Note: In addition to meeting the requirements stated above, applicants are required to have a valid AT-SAT
test score of 70 or higher before an extension is approved.

Who is not eligible?

 Applicants who meet one of the following conditions under the AT-CTI program are not eligible to
 request an extension:

              Removed - Suitability,
              Removed - Medical,
              Failed to respond to official correspondence,
              Correspondence returned unclaimed, or
              Over the maximum entry age.

How to apply?

 Applicants must complete and return the Request for Air Traffic Collegiate Training Initiative Extension
 form (MS Word) to AMH-300 using one of the following methods:

              Fax to 405-954-8531, or
              E-mail to 9-amc-amh-cti@faa.gov, or
              Regular mail to:
               Aviation Careers Division
               AMH-300
               P.O. Box 25082
               Oklahoma City, OK 73125

Extension Procedures

 Step 1. The AMH-300 AT-CTI Program Manager will:

              Verify applicant record to ensure that eligibility requirements are met,
              Notify applicant of eligibility/ineligibility for extension and to include notification that AT-
               SAT testing will be scheduled at a later date, and
              Send applicant's name to the AMH-300 Testing Officer with the next group of AT-CTI
               applicants who are authorized to take AT-SAT.

 Step 2. The AMH-300 Testing Officer will send authorized applicant's name to AT-SAT Test
 Administrator.



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Step 3. AT-SAT Test Administrator will:

        Notify applicant,
        Schedule applicant to test (applicant will be tested with AT-CTI schools),
        Administer AT-SAT test, and
        Send test results to AMH-300 Testing Officer.

     Step 4. The AMH-300 Testing Officer will:

            Enter all test results into database, and
            Notify the AMH-300 AT-CTI Program Manager that all test scores have been processed.

Step 5. The AMH-300 AT-CTI Program Manager will:

            Notify applicant of approval/disapproval of extension, which includes test score results
             and/or eligibility/ineligibility to apply for future extensions, and
            Place applicant's name on the inventory for one year from the date of approval.

Maximum Entry Age

This policy does not change or supersede any laws, regulations, or agency policies related to the
maximum entry age for air traffic controllers.

Points of Contact

Questions about this guidance should be directed to the ATO Support Team, AHR-4, on (202) 267-
9862.




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HRPM EMP-1.7 (Series 2152) Testing Policy for Filling Entry Level Air Traffic
Control Specialist Positions in Terminal and En Route Options
 Updated: 10:23 am ET June 11, 2010




This Supplement applies to: Filling entry-level air traffic control specialist (ATCS) positions in the
terminal and en route options.

Supplement established on: April 1, 2007

This version effective: April 1, 2007

Use this supplement in conjunction with: EMP-1.7, Qualification Requirements

Background information: This supplement replaces Policy Bulletin #8. Changes were made in this
supplement to include increasing the valid period of an Air Traffic Selection and Training test score from 2
years to 3 years. Other changes made were to bring the document into agreement with the Air Traffic
Organization (ATO) structure.

Changes made to this document were coordinated between AHR and ATO. References to ATO internal
administrative processes, roles, and procedures have been deleted. Responsibility for determining who
must take AT-SAT was deleted as that is covered by this supplement and would be covered by the change
procedures for the Human Resources Policy Manual. Reference to Human Resources Management
Division, Mike Monroney Aeronautical Center, AMH-1, internal standard operating procedures has also
been deleted.



1. Policy: Individuals covered by this supplement are required to pass Air Traffic Selection and Training
   (AT-SAT) prior to employment as an entry level ATCS in the terminal and en route options. AT-SAT is
   used in place of the Office of Personnel Management (OPM) written test for ATCS candidates and any
   further screening previously required, specifically the FAA Academy Screening Program or the Pre-
   Training Screen.

        a. All candidates must meet the established qualification requirements or alternatives in
           accordance with the guidelines contained in EMP-1.7, Qualification Requirements.
        b. Applicants seeking entry-level positions in the flight service option are subject to passing the
           OPM test for ATCS positions.

2. Definitions:

        a. AT-CTI - Air Traffic Collegiate Training Initiative: A program established for employment of
           entry level ATCS in the terminal and en route options.
        b. AT-SAT - Air Traffic Selection and Training: Computer based examination that screens
           potential candidates for entry-level ATCS positions in the terminal and en route options.
        c. COTR - Contracting Officer's Technical Representative: Refers to a Government employee
           who certifies payment and coordinates contracts with the contractor.
        d. NET - Notice of Eligibility to Test: A notice issued applicants to take the AT-SAT test.
        e. NOTR - Notice of Test Results: A notice that does not reflect eligibility for ATCS positions,
           but gives results of the test.
        f. "On-Hold" Rule: Students in the AT-CTI program with an AT-SAT score of 70 or above will be
           placed in a "hold" status until the applicant graduates from an FAA approved AT-CTI program.
           The score is activated upon graduation and is valid for 3 years from the student's graduation
           date. The "on-hold rule" applies only to those students in the AT-CTI program.
        g. SMS -Score Management System: A database that stores and maintains applicant AT-SAT

                                                                                                         20
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         test scores.
      h. VRA - Veterans Readjustment Appointment: A special appointing authority by which
         agencies can, if they wish, appoint eligible veterans without competition to positions up to the
         applicable pay band permitted by FAA policy.
3. Coverage:

      a. The following groups of individuals must pass AT-SAT to be eligible for selection for entry level
         terminal and en route ATCS positions:

                     i.    Individuals applying under a vacancy announcement open to the general
                           public;
                     ii.   Candidates applying based on successful completion of AT-CTI programs;
                    iii.   Individuals who are part of the OPM inventory who did not take and
                           successfully pass the Pre-Training Screen;
                    iv.    Former military personnel (with or without ATC experience) who apply to a
                           specific vacancy announcement that states that passing AT-SAT is a
                           qualification requirement;
                    v.     Entry level internal applicants (e.g., selections under provisions outlined in
                           EMP-1.14, Permanent Internal Assignments).

      b. The following groups of individuals shall not be required to take AT-SAT to be eligible for
         selection:

                     i.    Former FAA controllers seeking reinstatement (e.g., former PATCO
                           controllers);
                     ii.   Former military controllers who are eligible and are selected under a Veterans
                           Readjustment Appointment (VRA);
                    iii.   Department of Defense civilian controllers (DOD 2152's);
                    iv.    Former military controllers selected under the Retired Military Air Traffic
                           Controllers Program.
4. Program Administration

      a. Test Administration:

                     i.    Contractor conducted testing: AT-SAT may be administered by a test
                           company awarded an FAA-wide government contract to provide AT-SAT
                           testing services.
                     ii.   Government conducted testing: Under special circumstances, ATO may
                           request that AHR conduct testing at certain locations without the involvement
                           of the contractor.
                    iii.   Selection to take AT-SAT: Passing AT-SAT is an eligibility requirement for
                           entry-level employment in the terminal or en route options. Selection to take
                           the test battery shall be in accordance with merit principles.

      b. Travel and transportation to an AT-SAT test site: Applicants are responsible for all travel
         expenses incurred to and from an AT-SAT test site.

      c. Re-testing or re-examination using AT-SAT:

                     i.    Re-testing is not guaranteed: Applicants must apply through an appropriate
                           and available hiring procedure or be participating in a recognized AT-CTI
                           program to be considered for re-testing.
                     ii.   Individuals who pass: Applicants who pass the AT-SAT with a score of 70 or
                           above are eligible to retest one year (12 months) from the initial test date.
                           Regardless of the score, the second test score replaces the first score.
                    iii.   Individuals who fail: Applicants who fail the AT-SAT with a score of below 70
                           may retest one year (12 months) from the initial test date. Regardless of the
                           score, the second test score replaces the first score.
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                     iv.    Individuals who do not complete taking AT-SAT: Applicants who do not
                            complete the test may retest one year (12 months) from the initial test date.
                      v.    Exceptions to the one-year waiting period: Exceptions to the one-year
                            waiting period may be made in situations where candidates are unable to
                            complete the test for technical reasons such as power failure, where the test
                            administrator must stop the test for other reasons that are outside the
                            candidate's control, and in a limited number of other cases as specified by the
                            agency.

       d. Valid period: Applicants' scores are valid for 3 years, except for AT-CTI students who use the
          "on-hold" rule. AT-SAT results may be used for any hiring source during the valid period.

       e. Qualification Requirements: All qualification requirements of the position to be filled (e.g.,
          maximum entry age, etc.) must be met before entering on duty.
5. Program Responsibilities:

       a. Office of Human Resources Management Programs and Policies, AHP, is responsible
          for:

                       i.   Conducting testing and providing the COTR for test administration contracts;
                      ii.   Testing procedures;
                     iii.   Exceptions/decisions to re-test candidates that are not addressed in the
                            standard operating procedures (SOP's);
                     iv.    Resolving unusual testing problems;
                      v.    Approving/disapproving requests received from ATO for special testing
                            sessions;
                     vi.    Responding to inquiries from outside entities (e.g., Congress, etc.);
                    vii.    Certifying contractor invoices for payment; and
                    viii.   Contacting the contractor regarding any incidents.
                     ix.    Programming, maintenance, and operation of staff acquisition software
                            applications and appropriate interfaces to:
                                i.   Support the generation of lists of applicants eligible for AT-SAT testing
                               ii.   Record applicant AT-SAT test scores for use in referral of applicants;
                                     and
                      x.    Providing user instructions, training, and technical support to AMH-300
                            relative to the staff acquisition software applications and interfaces.

       b. Vice President of Business and Acquisition Services, ATO-A, is responsible for:

                       i.   Communicating the ATO's testing needs and hiring requirements to AHR;
                      ii.   Funding AT-SAT testing.

       c. Office of Human Resource Management, Aviation Careers Division, AMH-300, is
          responsible for:

                       i.   Exchanging information about examinees with the test administration
                            contractor;
                      ii.   Day to day resolution of testing problems such as determining if "no-shows"
                            may be re-scheduled, etc.;
                     iii.   Maintaining the SMS database of who has taken AT-SAT and their scores;
                     iv.    Serving as the single point of contact for the contractor for issuing test
                            authorizations;
                     v.     Providing the names of AT-CTI candidates to be tested;
                     vi.    Resolving candidate problems, such as authorizing extensions for testing
                            periods or retest issues;


6. Recruitment: See the Human Resources Policy Manual (HRPM) chapters Permanent External Hiring

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       (EMP-1.10) and Permanent Internal Assignments (EMP-1.14).




 7. Referral of Applicants: The category grouping method, in which candidates are divided into
    "qualified" and "well qualified" groups, is mandatory when referring applicants who have passed AT-
    SAT. AMH-300 is responsible for grouping candidates. Applicants are grouped as follows:

            a. Well-Qualified applicants are those who passed AT-SAT with a score of 85 or higher.
            b. Qualified applicants are those who passed AT-SAT with a score of 70-84.9. The provisions
               outlined in EMP-1.12, Veterans' Preference in Hiring, apply when making selections under
               external competitive appointment procedures. Also refer to the HROI entitled, Method of
               Evaluating Candidates.

 Note: This section should not be interpreted to mean that only scores of 85 or above are acceptable. Using the
 category ranking method, selecting officials may request the names of all candidates or only those in the well-qualified
 group (all CP and CPS veterans who pass the test must be referred regardless). If there are an insufficient number of
 candidates in the well qualified group, all candidates from the qualified group must be considered before resorting to
 testing more applicants for the same hiring effort.

 8. Exceptions: Requests for exceptions to provisions of this policy should be submitted to the Manager,
    HR ATO Support Team. Exceptions are considered on a case-by-case basis. A request for an
    exception must clearly describe the exception requested, the reason for the request, and the impact if
    the request is granted.



Related Information

Policies
EMP-1.7 Qualification Requirements
EMP-1.10 Permanent External Hiring
EMP-1.12. Veterans' Preference in Hiring
EMP-1.14 Permanent Internal Assignments

Human Resource Operating Instructions
Method of Evaluating Candidates
Air Traffic Collegiate Training Initiative (AT-CTI) Standard Operating Procedures




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Citizenship Documentation

   In order to apply for a federal job you must be a citizen of the United States.

   Born in the United States

   A birth certificate provides proof of citizenship. To obtain a copy of your birth certificate, contact the
   Bureau of Vital Statistics in the State in which you were born. There is no “citizenship document”
   for a person who is a citizen by birth in the United States.

   Born Outside the United States
   The citizenship of someone born outside of the United States, as the child of a U.S. citizen parent,
   could vary depending on the law in effect when the birth took place. In most cases citizens born
   outside the U.S. requires a combination of evidence showing at least one parent being a U.S.
   citizen when the child was born and having lived in the United States or its possessions for a
   period of time.

   To apply for recognition of citizenship, you must have:

            A Consular Report of Birth Abroad, or FS-240, which provides proof of citizenship if your
             birth was registered at the nearest U.S. consulate when you were born.

            If you are already in the United States, apply for a Certificate of Citizenship. Use Form
             N-600 available at the US Citizenship and Immigration Service website :
             http://www.uscis.gov


   Naturalized Citizen or Derivative Citizen
     Naturalization Certificate or Certificate of Citizenship serves as proof of citizenship. If you have
     lost either of your certificates, you can apply for a replacement using Form N-565 available at the
     US Citizenship and Immigration Service website: http://www.uscis.gov




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AT-SAT


Air Traffic Selection and Training (AT-SAT)

AT-SAT is a computer-based examination that assesses if job applicants have certain characteristics
needed to perform effectively as air traffic controllers. Some of the abilities and characteristics assessed by
AT-SAT include:

       Prioritization                                              Execution
       Decisiveness                                                Numeric ability
       Tolerance for high intensity                                Thinking ahead
       Problem solving                                             Working with angles
       Composure                                                   Taking charge
       Visualization                                               Movement detection
       Planning                                                    Reasoning
       Working cooperatively


The total maximum time to take AT-SAT is eight hours. Included in this testing time are two scheduled 15-
minute rest breaks and a maximum 45-minute lunch break.

There are eight tests within AT-SAT. These are called:

        Scan                                                         Experience Questionnaire
        Dial Reading                                                 Analogies
        Angles                                                       Letter Factory
        Applied Math                                                 Air Traffic Scenario

Each sub-test starts with a section explaining the test and providing ungraded practice questions. The more
complex tests have correspondingly more extensive explanations and practice questions.




SCAN

In this test, multiple moving blocks of data appear at
random on the computer screen. The numbers that
appear in the data blocks will be either inside or outside
a specific range displayed on the bottom of the
computer screen. Scoring of the test is based on how
quickly and accurately candidates can identify data
blocks with numbers outside the specified range.




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READING

                                                         Air traffic controllers must be able to perceive visual
                                                         information quickly and accurately and perform simple
                                                         processing tasks like comparisons. The Dial Reading Test
                                                         assesses ability to read dials quickly and accurately.




ANGLES

Air traffic controllers must recognize angles and perform calculations based on those angles. The Angles
Test measures the ability to perform these tasks.




                                               APPLIED MATH

                                               This test consists of word math problems with four possible answers
                                               for each problem. All of the questions involve calculating time,
                                               distance, or speed based on information given in the problem. All
                                               problems involve the movement of aircraft. Knowledge of knots or
                                               nautical mile terminology is not required to determine the answer.
                                               Scoring of the test is based on the number of problems answered
                                               correctly.




EXPERIENCE

Air traffic controllers must possess certain work-related attributes to
perform their job well. The Experience Questionnaire determines
whether candidates have these attributes by asking about past
experience. There are no correct or incorrect answers. People will
respond differently based on what is true for themselves.


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  ANALOGIES

  Air traffic controllers must solve reasoning problems by knowing which rules apply to a situation and then
  applying those rules. The Analogies Test measures reasoning ability in applying the correct rules to solve
  the problem. The test consists of both text and visuals.




  LETTER FACTORY

                                           This test measures three abilities required to perform the air traffic
                                           controller job:

                                               1. Planning and deciding what action to take in a given
                                                  situation
                                               2. Thinking ahead to avoid problems before they occur
                                               3. Maintaining awareness of the work setting


FIG. 1




  In the first of several scenarios, letters move down each
  conveyer belt as show in Figure-1. Candidates must place
  the correctly colored letter in the correct color box at the
  bottom of the diagram using the computer mouse.
  Candidates are asked to move empty boxes from the
  storage area to the loading area, order new boxes when
  supplies become low, and call Quality Control when
  “defective” letters appear. They are also asked to answer           FIG. 2
  multiple choice questions about the letter factory display.



  Figure-2 shows the second type of question used in this test. Candidates are asked to answer multiple
  “situational awareness” questions based on the rules provided for this test and previous test scenarios.




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                                                          Air Traffic Scenarios

                                                          This test simulates air traffic situations and
                                                          measures the ability to safely and efficiently guide
                                                          airplanes. The test uses simple rules and does not
                                                          require that candidates have knowledge of air
                                                          traffic control.

                                                          Candidates are presented with simulated air traffic
                                                          situations. Aircraft appear on the screen and must
                                                          be routed to an appropriate exit or airport. All
                                                          situations involve the movement of aircraft. Scoring
                                                          of the test is based on how quickly and accurately
                                                          the aircraft are directed to their destinations. There
                                                          are practice and graded scenarios of different
                                                          lengths and complexity.

HELPFUL HINTS

   1. Arrive for the testing session on time.
   2. Take the rest breaks provided. Some of the tests can be mentally taxing. The test breaks are
      organized to help you concentrate and stay alert and relaxed.
   3. Read the directions. The directions do not try to fool or trick you, but some of the questions are quite
      challenging. Frequently, when people have problems with a test, it is because they did not pay
      attention to the directions.


Test administrators are not permitted to answer questions about the test or the rules provided.


  AT-SAT Register

  The AT-SAT eligibility register is provided by the partner institutions to Aviation Careers in order to
  schedule AT-SAT testing. The AT-SAT test is schedule twice per year, normally in the fall and spring. CTI
  students are eligible to take the test up to one year before the anticipated graduation date and the scores
  are good for three years. If the test score expires or will expire within a testing cycle, the applicant must
  contact Aviation Careers to be placed on the test list.

  The partner institution must submit a list of eligible candidates for the AT-SAT test when requested by
  Aviation Careers. Aviation Careers will send the list back to the institution for corrections and amendments.
  Once the list is closed, schools will have to wait on the next call for AT-SAT candidates.

  Testing Eligibility and Submission of Testing List

  Initial AT-SAT Testing

  In an effort to ensure that all students who are entitled to take the AT-SAT test have their names submitted
  in a timely manner, the following process will be used.

  CTI partner institutions, will submit the names of those students who are within 12 months of graduation,
  enrolled in a FAA-approved degree program, and eligible for AT-SAT testing on or before the designated
  due date as advertised by Aviation Careers. No amendments will be accepted after the due date unless
  initialized by the FAA.

         The names must be submitted on a spreadsheet provided by Aviation Careers without
          modification of the columns, rows, or formulas.

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       Amendments and corrections will be accepted up to the cutoff date. All amendments must be sent
        using the same spreadsheet. This amended/revised spreadsheet will replace all previous
        submissions.

Once a student’s name has been submitted, the school should assume that the student was scheduled for
and completed the test.

If a student was contacted, and was either not able to schedule the testing for which their name was
submitted, or was scheduled and was not able to take the test:

If the student has:

       NOT GRADUATED: The student must notify the school that his/her name needs to be resubmitted
        for AT-SAT testing. Schools must submit the student for the next cycle of testing.

       GRADUATED: The student must contact Aviation Careers at the address below and request to be
        placed on the next testing cycle. His/her name must have been previously submitted by the
        school.

Retaking the AT-SAT Test

A student who scored less than a 70 on the initial AT-SAT testing may retake the AT-SAT test -one year
after the initial test.

If the student has:

       NOT GRADUATED: The student must notify the school that his/her name needs to be resubmitted
        for AT-SAT testing. Schools must submit the student for the next cycle of testing.

       GRADUATED: The student must contact Aviation Careers at the address below and request to be
        placed on the list for the next testing cycle.


A student took the test before graduation and scored at least a 70 on the AT-SAT test may retake the test
three years after graduation or three years from the test date if the test was taken after graduation.

If the student has:

       GRADUATED: The student must contact Aviation Careers at the address below and request to be
        placed on the next testing cycle.


                  Aviation Careers Division
                  AMH-300
                  P.O. Box 25082
                  Oklahoma City, OK 73125
                  Phone: (405) 954-4657
                  Fax: (405) 954-8531
                  Email: 9-AMC-AMH-CTI@faa.gov




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Hiring Process


Each year the Air Traffic Organization determines the field needs for controllers. Each facility determines
the number of controllers that are retiring, moving for promotion, etc. These needs are forwarded to the
ATO to determine a “hiring plan” for the year. Announcements are created based on these needs.

The ATO assembles Centralized Selection Panels with selecting officials from each of the service units and
representatives from each service area. These officials are provided with lists of candidates from each
announcement that have been deemed “qualified.”

List may include:

       Veteran's Readjustment Appointment (VRA)
       For Retired Military Controller (RMC)
       For Certified Tower Operator (CTO)
       For Reinstatement eligible former FAA CPC ATCS and EVHO
       For Reinstatement eligible former DOD ATCS and EVHO
       General Public

Tentative selections are made by the teams for each facility through their representatives at the hiring
panel. Aviation Careers then must review the list to ensure that selections were made in accordance with
applicable laws and criteria (i.e., veterans are considered as required; well-qualified lists are exhausted
before qualified).

After all selections for interviews are made the interview process is started. Qualified interviewers and
potential employees receive an email indicating that they need to set up an interview. The candidate will be
interviewed and a recommendation will be made to the ATO.

Once the ATO receives all recommendations, Aviation Careers will send tentative offer letters to
candidates. These letters differ depending on the service unit. En route letters will indicate the facility to
which the applicant has been assigned and the terminal letter will indicate the state to which the applicant
has been assigned.

Each applicant will then begin the suitability process of medical, pre-employment clearances including
security process. This process can take between 30 and 90 days. There may be a temporary waiver
pending a full security and medical clearance, if necessary. If there are issues with the initial investigation
this process could take longer.

After completion of the pre-employment clearances, Aviation Careers begins the process of working with
the Academy on class dates in accordance with facility hiring needs throughout the fiscal year. The
applicant will receive a Firm Offer Letter (FOL) approximately 30 days before their Academy date.




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                                                                                  Air Traffic Centralized Hiring Process
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 Controller Hiring


    Category         Total     %      Total       %       Total     %      Total   %          Total   %       Total    %       Total   %           Total   %

           FY        2006      2006   2007        2007    2008      2008   2009    2009       2010    2010    2011     2011    2012    2012        2013    2013

    CTI Schools        544     49%    1019        56%         823   37%     335    19%         252      25%    245     29.7%   467     50.5%       360     65%

    General
                       44      4%     130         7%      653       30%    1134    66%        519     52%     390      47.3%   268     29%          63     11%
    Public


    VRA               404      36%    605         33%     644       29%    218     13%        177     18%     126      15.3%   133     14.4%        88     16%


                                                                                                                                57
    All Others        124      11%     61         3%          54    2%      29     2%          28       3%     63      7.6%            6.1%         41     7%


    GRAND
                     1116             1815                2196             1731               998             824              925                 552
    TOTAL
          Through 04/20/2013




 Source: A Plan for the Future 10-Year Strategy for the Air Traffic Control Workforce 2012 – 2021
http://www.faa.gov/air_traffic/publications/controller_staffing/media/CWP_2011.pdf

FY13 Hiring Plan

    FY                 Terminal               %                      En Route             %                   Total

         FY 2013               528                    46.3%                612                  53.7%                 1140

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Medical Investigation

 Individuals must pass a rigid medical exam, which includes:

            Vision Standards — Applicants for ATCS employment in an en route center or a terminal
             must have distant and near vision of 20/20 or better in each eye separately, without
             correction, or have lenses that correct distant and near vision to 20/20, each eye separately.
             Applicants for a flight service station specialist position must have distant and near vision of
             20/20 or better in at least one eye, without correction, or have lenses that correct distant and
             near vision to 20/20, in at least one eye.

            Color Vision Standards — Applicants must have normal color vision.

            Hearing Standards — Applicants must have no hearing loss in either ear of more than 25 db
             at 500, 1,000 and 2,000 Hz, and no more than a 20 db loss in the better ear by audiometer,
             using ANSI (1969) standards.

            Cardiovascular Standards — Applicants must have no medical history of any form of heart
             disease. A history of high blood pressure requiring medication will require special review.

            Neurological Standards — Applicants must have no medical history or clinical diagnosis of
             a convulsive disorder, or a disturbance of consciousness, without satisfactory medical
             explanation of the cause, and must not be under any treatment, including preventive, for any
             condition of the nervous system.

            Psychiatric Standard — Any medical history or clinical diagnosis of a psychosis, or other
             severe mental disorders, is disqualifying.

            Diabetes — A medical history or diagnosis of diabetes mellitus will require special review.

            Substance Abuse/Dependency — A history of substance abuse/dependency, including
             alcohol, narcotic, non-narcotic drugs, and other substances will be extensively investigated.

            Psychological Exam — Individuals must take and pass a psychological exam.

            General Medical — All other medical conditions will be evaluated on an individual basis. All
             applicants' medical histories and current examinations will be carefully reviewed. This
             includes past medical records and, if applicable, a review of military medical records.

             http://www.faa.gov/about/office_org/headquarters_offices/ahr/jobs_careers/occupations/atc/medical/

     The physical impairments/medical conditions that follow, unless otherwise noted, are disqualifying
     because there are medical and/or management reasons to conclude that an individual with such
     impairment/condition cannot perform the duties of the position without unacceptable risk to his or her
     own health, or to the health or safety of others (employees or the public).

     Initial Employment:

     Applicants for initial employment to air traffic control specialist positions must meet the following
     requirements. Unless otherwise indicated, these requirements are identical for all specializations.




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 Eye

       1. Visual Acuity

               a. Terminal and Center Positions -- Applicants must demonstrate distant and near
                  vision of 20/20 or better (Snellen or equivalent) in each eye separately. If glasses or
                  contact lenses are required, refractive error that exceeds plus or minus 5.50 diopters
                  of spherical equivalent or plus or minus 3.00 diopters of cylinder is disqualifying. The
                  use of orthokeratology or radial keratotomy methods is not acceptable for purposes
                  of meeting this requirement. The use of contact lenses for the correction of near
                  vision only or the use of bifocal contact lenses for the correction of near vision is
                  unacceptable.

                            Equivalents in Near Visual Acuity Notations
                            Standard Test Chart: 14/14
                            Snellen Metric: 0.50M
                            Jaeger: J-1
                            Metric: 6/6

       2. Color Vision -- For all specializations, applicants must demonstrate normal color vision.

       3. Visual Fields

               a. Terminal and Center Positions -- Applicants must demonstrate a normal central
                  visual field (i.e, the field within 30 degrees of the fixation point, in each eye). They
                  must also demonstrate a normal peripheral visual field, (i.e., the field of vision beyond
                  the central field that extends 140 degrees in the horizontal meridian and 100 degrees
                  in the vertical meridian, in each eye.

       4. Intraocular Pressure -- For all specializations, if tonometry reveals either intraocular pressure
          greater than 20 mm of mercury, or a difference of 5 or more mm of mercury intraocular
          pressure between the two eyes, ophthalmological consultation is required to rule out the
          presence of glaucoma. If a diagnosis of glaucoma is made, or if any medication is routinely
          required for control of intraocular tension, the applicant is disqualified.

       5. Phorias

               a. Terminal and Center Positions -- If an applicant demonstrates greater than 1-1/2
                  prism diopters of hyperphoria or greater than 10 prism diopters of esophoria or
                  exophoria, evaluation by a qualified eye specialist is required. If this evaluation
                  determines that bifoveal fixation and vergence-phoria relationships sufficient to
                  prevent disruption of fusion under normal working conditions are not present, the
                  applicant is disqualified.

       6. Eye Pathology -- For all specializations, if examination of either eye or adnexa reveals any
          form of glaucoma or cataract formation, uveitis, or any other acute or chronic pathological
          condition that would be likely to interfere with proper function or likely to progress to that
          degree, the applicant is disqualified.

       7. Chronic Eye Disease -- For all specializations, an applicant with any chronic disease of either
          eye that may interfere with visual function is disqualified.

       8. Ocular Motility -- For terminal and center specialist positions, applicants must demonstrate
          full extraocular motility.


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    9. History of Eye Surgery -- For all specializations, a history of ocular surgery requires
       ophthalmological consultation. If consultation indicates that the condition that necessitated
       surgery could interfere with the visual function necessary for performance as an air traffic
       control specialist, the applicant is disqualified. A history of radial keratotomy is disqualifying.

 Ear, Nose, Throat, Mouth

    1. Examination must show no outer, middle, or inner ear disease, either acute or chronic,
       unilateral or bilateral.

    2. Examination must show no active disease of either mastoid.

    3. Examination must show no unhealed perforation of either eardrum.

    4. Examination must show no deformity of either outer ear that might interfere with the use of
       headphones of the applied or semi-inserted type.

    5. Examination must show no disease or deformity of the hard palate, soft palate, or tongue that
       interferes with enunciation. The applicant must demonstrate clearly understandable speech,
       and an absence of stuttering or stammering.

    6. Applicants must demonstrate, by audiometry, no hearing loss in either ear of more than 25
       decibels in the 500, 1000, or 2000 Hz ranges and must demonstrate no hearing loss in these
       ranges of more than 20 decibels in the better ear, using ISO (1964) or ANSI (1969)
       standards. Hearing loss in either ear of more than 40 decibels in the 4000 Hz range may
       necessitate an otological consultation. Incipient disease processes that may lead to early
       hearing loss will be cause for disqualification.

 Cardiovascular

    1. No medical history of any form of heart disease. Must demonstrate absence of heart disease
       to clinical examination, including resting and post-exercise electrocardiogram.

    2. Blood pressure levels no greater than the appropriate values as shown below:

                    Maximum Reclining Blood Pressure
    Age
                            Systolic                Diastolic
    20 to 29                  140                      90
    30 to 39                  150                      90
    40 to 49                  150                      100
    50 & over                 160                      100



    3. Must demonstrate to X-ray no evidence of increase in heart size beyond normal limits.

    4. An applicant under any form of treatment for any disease of the cardiovascular system is
       disqualified.

 Neurological

    1. No medical history or clinical diagnosis of a convulsive disorder.

    2. No medical history or clinical diagnosis of a disturbance of consciousness without satisfactory

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         medical explanation of the cause.

     3. No other disease of the nervous system that would constitute a hazard to safety in the air
        traffic control system.

     4. An applicant under any form of treatment, including preventive treatment, of any disease of
        the nervous system, is disqualified.

 Musculoskeletal

     1. No deformity of spine or limbs of sufficient degree to interfere with satisfactory and safe
        performance of duty. Certain limitations of range of motion may be acceptable for certain
        specific options or positions, in which case acceptance of limitations will be noted specifically
        for that position or option only.

     2. No absence of any extremity or digit, or any portion thereof, sufficient to interfere with the
        requirements for locomotion and manual dexterity of the position being sought. Acceptance of
        limitations for employment for a specific option or position will be noted for that option or
        position only.

     3. No condition that predisposes to fatigue or discomfort induced by long periods of standing or
        sitting.

 General Medical

     1. No medical history or clinical diagnosis of diabetes mellitus.

     2. Must possess such a body build as not to interfere with sitting in an ordinary office armchair.

     3. Must have no other organic, functional, or structural disease, defect, or limitation found to
        indicate clinically a potential hazard to safety in the air traffic control system. A pertinent
        history and clinical evaluation, including laboratory evaluations, will be obtained, and when
        clinically indicated, special consultations or examinations will be accomplished.

 Psychiatric

 No established medical history or clinical diagnosis of any of the following:

     1. A psychosis;

     2. A neurosis; or

     3. Any personality or mental disorder that clearly demonstrates a potential hazard to safety in
        the air traffic control system. Determinations will be based on medical case history (including
        past, social, and occupational adjustment) supported by clinical psychologists and board-
        certified psychiatrists, including such psychological tests as may be required as part of
        medical evaluation.

 Substance Dependency

 A history, review of all available records, and clinical and laboratory examination will be utilized to
 determine the presence or absence of substance dependency, including alcohol, narcotic, and non-
 narcotic drugs. Wherever clinically indicated, the applicant must demonstrate an absence of these on
 any clinical or psychological tests required as part of the medical evaluation.



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 Retention Requirements:

 The physical requirements in this section apply to: (1) air traffic control specialists in the center and
 terminal specializations who are actively engaged in the separation and control of air traffic, (2)
 immediate supervisors of air traffic control specialists actively engaged in the separation and control
 of air traffic, and (3) air traffic control specialists in the station specialization who regularly perform
 flight assistance services.

 Employees occupying the types of positions described above must requalify in an annual medical
 examination, usually given during the employee's month of birth. Controllers incurring illness, injury,
 or incapacitation at any time between the annual examinations must be medically cleared before
 returning to air traffic control duty. Examinations, including laboratory tests and consultations, will be
 accomplished to the extent required to determine medical clearance for continued duty. New
 employees are required to meet the retention requirements by examination during the first 10 months
 of service.

 Employees who are found to be not physically or emotionally qualified for air traffic control duties at
 any time will be subject to reassignment to a position for which they are fully qualified, retirement for
 disability if eligible, or separation from the service.

 To be medically qualified for retention, an air traffic control specialist must meet the following
 requirements. (Unless otherwise indicated these requirements are identical for all specializations.)

 Eye

 Retention requirements for vision and eye conditions are identical to the requirements for initial hire.

 Ear, Nose, and Throat

       1. Ear Disease; Equilibrium

               a. Terminal and Center Positions -- Must demonstrate no chronic disease of the outer
                  or middle ear, unilateral or bilateral, that might interfere with the comfortable, efficient
                  use of standard headphone apparatus or that might interfere with accurate
                  perception of voice transmissions or spoken communications. Must have no ear
                  disease that might cause a disturbance of equilibrium.

               b. Flight Service Station Positions -- Must demonstrate no chronic disease of the outer
                  or middle ear, unilateral or bilateral, that might interfere with accurate perception of
                  voice transmissions or spoken communications. Must have no ear disease that might
                  cause a disturbance of equilibrium.

       2. Mastoid -- No active disease of either mastoid.

       3. Eardrum Perforation -- Must demonstrate no unhealed perforation of either eardrum.

       4. Speech -- Must have no interference with enunciation, and must have clear speech free of
          stuttering or stammering.

       5. Hearing Loss -- No hearing loss in either ear of more than 30 decibels in either the 500, 1000,
          or 2000 Hz ranges. No loss in these ranges greater than 25 decibels in the better ear. Non-
          static hearing loss in either ear of greater than 50 decibels in the 4000 Hz range will require
          an otological consultation.




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 Cardiovascular

     1. Heart Disease

             a. Terminal and Center Positions -- No history or symptomatic form of heart disease or
                any form requiring therapy.

             b. Flight Service Station Positions -- No symptomatic form of heart disease.

     2. Disturbance of Rhythm; Other Abnormality; EKG -- Must demonstrate no disturbance of
        rhythm or other cardiac abnormality on clinical examination, including resting, and when
        clinically indicated, post-exercise electrocardiography.

     3. Blood Pressure -- Retention requirements are identical to the requirements for initial hire.

     4. Heart Size -- Must have no increase in heart size beyond normal limits.

 Neurological

 Retention requirements are identical to the requirements for initial hire.

 Musculoskeletal

 Retention requirements are identical to the requirements for initial hire.

 General Medical

     1. Diabetes Mellitus

             a. Terminal and Center Positions -- An employee who has an established clinical
                diagnosis of diabetes mellitus will be evaluated for continued duty based upon the
                degree of control of the disease. Whether by diet alone, or diet and hypoglycemic
                drugs, control that results in the absence of symptoms and the absence of
                complications of the disease or the therapy may be considered as satisfactory
                control. A controller with diabetes mellitus who cannot demonstrate satisfactory
                control over specified and observed periods of 48 hours is not cleared for duty
                involving active air traffic control.

             b. Flight Service Station Positions -- An employee who has an established clinical
                diagnosis of diabetes mellitus will be evaluated for continued duty based upon the
                degree of control of the disease. Whether by diet alone, or diet and hypoglycemic
                drugs, control that results in the absence of symptoms and the absence of
                complications of the disease or the therapy may be considered as satisfactory
                control.

     2. Body Configuration -- Must possess such a body build as not to interfere with sitting in an
        ordinary office armchair.

     3. Other Medical Conditions -- Must have no other organic, functional, or structural disease,
        defect, or limitation found to indicate clinically a potential hazard to safety in the air traffic
        control system. A pertinent history and clinical evaluation, including laboratory screening, will
        be obtained, and when clinically indicated, special consultations and examinations will be
        accomplished.




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        Psychiatric

             1. Psychotic Disorder -- No established medical history or clinical diagnosis of a psychosis.

             2. Mental, Neurotic, or Personality Disorder -- No neurosis, personality disorder, or mental
                disorder, that clearly indicates a potential hazard to safety in the air traffic control system.
                Determinations will be based on medical case history (including past, social, and
                occupational adjustment) supported by clinical psychologists and board-certified
                psychiatrists, including such psychological tests as may be required as part of medical
                evaluation.

             3. Alcoholism and/or Alcohol Abuse -- No clinical diagnosis of alcoholism or alcohol abuse,
                since these constitute a hazard to safety in the air traffic control system. A history and clinical
                evaluation, including laboratory evaluation (when indicated) will be accomplished to
                determine the presence or absence of alcohol addiction, dependency, habituation, abuse, or
                use.

             4. Addiction, Dependency, Habituation, or Abuse of Dangerous Drugs -- No clinical diagnosis of
                addiction, habituation, dependency, or abuse of any narcotic or non-narcotic drug, since
                these constitute a threat to safety in the air traffic control system. A history and clinical
                evaluation, including laboratory evaluation (when indicated), will be accomplished to
                determine the presence or absence of drug addiction, dependency, habituation, abuse, or
                use.

             Source: US Office of Personnel Management , Standards, Air Traffic Control Series 2152
                     http://www.opm.gov/qualifications/standards/IORs/GS2100/2152.htm

For more information or for questions those students have about particular cases contact a regional Flight
Surgeons Office”

   Region                            NAME                                                  TELEPHONE #
   Alaska                            Willis M. Simmons, M.D.                               (907) 271-5431
   Central                           Daniel K. Berry, D.O., Ph.D                           (816) 329-3250
   Eastern                           Harriet Lester, M.D.                                  (718) 553-3300
   Great Lakes                       David Schall, M.D                                     (847) 294-7491
   New England                       Paul H. Clark, M.D.                                   (781) 238-7300
   Northwest Mountain                Michael D. Jones, M.D.                                (425) 227-2300
   Southern                          Susan E. Northrup, M.D.                               (404) 305-6150
   Southwest                         G.J. Salazar, M.D., M.P.H.                            (817) 222-5300
   Western Pacific                   Stephen H. Goodman, M.D                               (310) 725-3750




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Security Investigation


    The FAA and OPM must investigate all persons who are considered for a job because the interests of
    national security require that all persons privileged to be employed in these departments and agencies of
    the government shall be reliable, trustworthy, of good conduct and character, and of complete and
    unswerving loyalty to the United States. This means that the appointment of each civilian employee in any
    department or agency of the government is subject to investigation. The scope of the investigation will
    vary, depending on the nature of the position and the degree of harm that an individual in that position
    could cause.

    The requirement to be investigated applies whether or not the position requires a security clearance (in
    order to have access to classified national security information).

    Air traffic controllers hold a job that provides access to information that is not for public dissemination.
    This includes the movement of elected officials, military, and local law enforcement. The responsibility of
    the controller is important to ensuring not only safe movement of aircraft, but the safe movement of these
    groups as they conduct their jobs. As a result, the security investigation is even more rigorous than a
    general background investigation and requires a “National Security Clearance.”

    The investigation is a job requirement. Providing the information is voluntary, but if you choose not to
    provide the required information, you will not meet the requirements of the job and will therefore not be
    considered further. If you are already employed by the federal government, your appointment will be
    terminated. The courts have upheld this principle.

    The following are types of issues, which are reviewed as part of the background/security check:

               General or dishonorable military discharge
               Statutory debarment issue
               Government loyalty issues
               Evidence of dishonesty in an application or examination process (e.g., falsification of
                application)
               Drug-related offenses
               Felony offenses
               Firearms or explosives offenses
               Alcohol-related incidents
               Willful disregard of financial obligations
               Derogatory employment terminations
               Patterns and/or combinations of incidents which lead to questions about your behavior and
                intent
                http://www.faa.gov/about/office_org/headquarters_offices/ahr/jobs_careers/occupations/atc/s
                ecurity_investigation/

For more information or for questions those students have about particular cases contact a Regional Security
Specialist.




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Region                NAME                                             TELEPHONE #
Alaska                Rowell, Marilyn                                  907-271-4811
Eastern               Ellison, Yvette (Supervisor)                     718-553-3129
Eastern               Duarte, Maritza (Federal n - v)                  718-553-2577
Great Lakes           Langosch, Susan (all of IN & WI)                 847-294-7701

Great Lakes           Uehlein, Joe (Investigations Manager)            847-294-7118
New England           Whitaker-Gray, Pamela (Manager)                  781-238-7703
New England           Azar, Laura (Federal)                            781-238-7709
Northwest Mountain    Rodgers, Pat                                     425-227-2714
Northwest Mountain    Vacant                                           425-227-2736
Northwest Mountain    Rowell, Marilyn                                  907-271-4811
Southern              Parker, Barbara (Supervisor)                     404-305-6808
Southern              Sanders, Val (Federal a - f)                     404-305-6706
Southwest             Stinson, Lisa (supervisor)                       817-222-5719

Southwest             Bernal, Rachel                                   817-222-5718
Southwest /Central    McBurrows, Walter, (CE Manager)                  816-329-3700
Southwest/Central     Williams, Camisha (CE Region)                    816-329-3711
Western Pacific       Ramos, Flor (Branch Manager)                     310-725-3726
Western Pacific       Robinson, Donna (A - H/contract CA)              310-725-3713




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 Evaluations

The Air Traffic Collegiate Training Initiative Evaluation Model has evolved since the first evaluations were
conducted in 2007. The model was built for program expansion and has been adjusted every year. The
primary use of the evaluation model was to rank candidates that requested entry into the Program. The FAA
also used the model to recertify existing schools. The model includes four components and associated sub-
factors that are assigned a score. The scores are added up to provide an overall score for comparison.

In January 2012, a new evaluation model was introduced. The new evaluation process requires institutions to
complete a self-assessment and is concentrated more on the “technical” aspect of the “Partnership
Agreement.”

The evaluation has been broken the evaluation down into two primary areas:



    Administrative Evaluation

    In an effort to ensure that member institutions, at a minimum, remain at the level in which they were
    accepted into the CTI Program, the FAA conducts “technical” and “administrative” evaluations. These
    evaluations serve as documentation for continuing the partnership.

    Administrative evaluations primarily address the areas associated with the institution and policy including:

        Component I Accreditation

        Component II Degree Programs

        Component III Faculty

        Component IV Program Support

        Component V EEO/Recruitment/Outreach

        Component VI Continuous Performance and Improvement Initiatives

    Technical Evaluation

    This is where we document the “technical” side of the college/university CTI Program. This section is to
    be completed and updated as necessary.

    In an effort to ensure that member institutions satisfy the teaching of the FAA Objectives “AT Basics,” the
    FAA conducts technical and administrative evaluations. These evaluations serve as documentation and
    justification for continuing the partnership.

              Component I Curriculum

              Component II Testing

              Component III Quality Control

              Component IV AT Basics Scorecard


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AT Basics Score-card/Mapping

There are two parts to this evaluation: narrative questions included in this document and a spreadsheet that
lists all elements of the AT Basics curriculum. Schools will be scored on areas associated with each element:

             Teaching of the material

             Quizzing of the material

             Part-tasking exercises where applicable

             Midterm or final examination testing of the element

Templates for the Evaluations can be found at:

KSN Share Point https://ksn2.faa.gov/ajl/ajl-1/ajl-14/cti/default.aspx




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Points of Contact

 FAA: Program Office
           POC                 Phone                             Title                                     Email

 Terry Craft             202-385-6788      Manager                                        terry.craft@faa.gov


 FAA: HR
               POC             Phone                             Title                                     Email

                                           Manager, AHR ATO Support Team Team,
 Lexsee Waterford        (202) 267-7181                                                   lexsee.waterford@faa.gov
                                           AHR-4




 FAA: HR Aviation Careers
               POC             Phone                             Title                                     Email

                                           Office of Human Resource Management,
 Amanda Quezada          (405) 954-3943                                                   Amanda.Quezada@faa.gov
                                           Aviation Careers Division

                                           Office of Human Resource Management,
 Beau Bruhwiler          405-954-0637                                                     Beau.Bruhwiler@faa.gov
                                           Aviation Careers Division CTI Backup


 FAA: Security
           POC                Phone                       Title /Region                               Email
                                                                                      marilyn.rowell@faa.gov
 Rowell, Marilyn         907-271-4811      Alaska
                                                                                      yvette.ellison@faa.gov
 Ellison, Yvette         718-553-3129      Eastern(Supervisor)
                                                                                      maritza.duarte@faa.gov
 Duarte, Maritza         718-553-2577      Eastern
                                                                                      susan.langosch@faa.gov
 Langosch, Susan         847-294-7701      Great Lakes
                                                                                      joe.uehlein@faa.gov
 Uehlein, Joe            847-294-7118      Great Lakes (Investigations Manager)
                                                                                      pamela.whitaker-gray@faa.gov
 Whitaker-Gray, Pamela   781-238-7703      New England (Manager)
                                                                                      laura.j.azar@faa.gov
 Azar, Laura             781-238-7709      New England (Federal)
                                                                                      pat.rodgers@faa.gov
 Rodgers, Pat            425-227-2714      Northwest Mountain
                                                                                      barbara.parker@faa.gov
 Parker, Barbara         404-305-6808      Southern (Supervisor)
                                                                                      val.sanders@faa.gov
 Sanders, Val            404-305-6706      Southern (Federal a - f)
                                                                                      lisa.d.stinson@faa.gov
 Stinson, Lisa           817-222-519       Southwest (supervisor)
                                                                                      rachel.bernal@faa.gov
 Bernal, Rachel          817-222-5718      Southwest
                                                                                      walter.mcburrows@faa.gov
 McBurrows, Walter,      816-329-3700      Central (CE Manager)

 Williams, Camisha       816-329-3711      Central (CE Region)                        camisha.williams@faa.gov

                                                                                      flor.ramos@faa.gov
 Ramos, Flor             310-725-3726      Western Pacific (Branch Manager)
                                                                                      donna.robinson@faa.gov
 Robinson, Donna         310-725-3713      Western Pacific (A - H/contract CA)




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  CTI Schools Primary Contacts

          College           POC                       POC Title                      Phone1            Email

Aims Community College      Les Wilkinson             ATC Coordinator                970-339-6652      lwilkin2@aims.edu


Arizona State University    Verne Latham              Lecturer                       480-727-1652      verne.latham@asu.edu\

                                                      Manager of the Air Traffic
Broward College             Andrew Sikora                                            954-201-8669      asikora@broward.edu
                                                      Control Simulation Lab

Community College of
                            James E. Scott            ATC Coordinator                724-480-3603      Jim.Scott@ccbc.edu
Beaver County

                                                      Associate Professor, Air
Daniel Webster College      Peter Wyman,                                             603-577-6204      wyman_peter@dwc.edu
                                                      Traffic Management

                                                      Assistant Professor of
Dowling College             Joseph Donofrio,                                         631-244-1320      donofrij@dowling.edu
                                                      Aviation

Eastern New Mexico -                                                                                   Deborah.abingdon@roswell.en
                            Deborah Abingdon,         Air Traffic Control Faculty    575-624-7023
Roswell                                                                                                mu.edu
Embry Riddle
                                                      Associate Professor , ATM
Aeronautical University,    William Coyne                                            386- 226-6794     coynea7e@erau.edu
                                                      Coordinator
Daytona Beach
Embry-Riddle
                                                      Assistant Professor, Project
Aeronautical University,    Brent Spencer,                                           928-777-3869      Spenceb3@erau.edu
                                                      Coordinator
Prescott
Florida Institute of                                  Air Traffic Control Program
                            Dr. Donna Wilt                                           321-674-8120      dwilt@fit.edu
Technology                                            Administrator

Florida State College at                              Project Coordinator, Air
                            Mr. Sam Fischer,                                         904-317-3844      sfischer@fscj.edu
Jacksonville                                          Traffic Control Program

Green River Community                                                                253-833-9111
                            Curtis E. (Curt) Scott,   Aviation and ATC Instructor                      cscott@greenriver.edu
College                                                                              X4335

                                                      Assistant Professor and CTI                      Margaret.browning@hamptonu
Hampton University          Margaret Browning                                        757-727-5520
                                                      Program Manager                                  .edu

                                                                                     800-995-7257
Hesston College             Dan Miller                Aviation Director                                danm@hesston.edu
                                                                                     X8333

Inter American University                                                            787-279-1912
                            Maria T. Franqui-Vélez    ATC CTI Program Manager                          mtfranqui@gmail.com
of Puerto Rico                                                                       X2400

                                                      Director and Associate
Jacksonville University     Dr. Juan R. Merkt                                        904-256-7895      jmerkt@ju.edu
                                                      Professor of Aeronautics

                            Lt. Col Maureen           Academic Program Director,
Kent State University                                                                330-672-9867      mmcfarl2@kent.edu
                            McFarland,                Aeronautics Division

                                                      Associate Dean, School of
LeTourneau University       Sean Fortier,                                            903-233-4221      Seanfortier@letu.edu
                                                      Aeronautical Science

Lewis University            William Parrot            Director, AT-CTI Program       815-836-5809      parrotwi@lewisu.edu

Metropolitan State
                            Kevin R. Kuhlmann         Professor                      303-556-4623      kuhlmank@msudenver.edu
University of Denver

Miami Dade College          Andre Naumann             Program Coordinator            305-237-5952      anaumann@mdc.edu

Middle Georgia State                                  Chair, Air Traffic
                            Ramey Pace                                               478-448-4701
College                                               Management Department
                                                                                                       rpace@mgc.edu
Middle Tennessee
                            Ron Ferrara               Chair                          615-898-5835      ron.ferrara@mtsu.edu
State University

                                                                                                                              48
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         College          POC                      POC Title                         Phone1           Email

Minneapolis Community
                          Trena Mathis,            ATC Faculty                       952-826-2420     trena.mathis@minneapolis.edu
and Technical College
                                                   Aeronautics Faculty, Co-
Mount San Antonio
                          Robert Rogus             Chairman Aeronautics              909-274-5006     rrogus@mtsac.edu
College
                                                   Department, CTI Coordinator
                                                   Professor of Aviation
Purdue University         Prof. Michael S. Nolan                                     765-494-9962     mnolan@purdue.edu
                                                   Technology

Sacramento City College   Donetta Webb             Dean, Advanced Technology         916-558-2408     webbd@scc.losrios.edu

St. Cloud State
                          Dr. Steven L. Anderson   Professor                         320-308-2107     slanderson@stcloudstate.edu
University

Texas State Technical
                          Ramon Claudio            ATC Department Chair              254-867-2086     ramon.claudio@tstc.edu
College – Waco

The Community College
                          Douglas Williams         Aviation Program Director         443-840-4157     dwilliams@ccbcmd.edu
of Baltimore County

Tulsa Community
                          Gary Wescott             Coordinator                       918-828-4158     gwescott@tulsacc.edu
College

University of Alaska,
                          Sharon LaRue             Associate Professor               907-786-7218     afsll@uaa.alaska.edu
Anchorage

University of North                                Associate Professor/Co-
                          Paul V.J. Drechsel,                                        701-777-4923     drechsel@aero.und.edu
Dakota                                             Director ATC Program

                                                   Director, AT-CTI Training
University of Oklahoma    Stephen West                                               405-325-3586     stephenwest@ou.edu
                                                   Program
Vaughn College of
                                                                                     718-429-6600
Aeronautics and           Sharon DeVivo            Senior Vice President                              sharon.devivo@vaughn.edu
                                                                                     X102
Technology
Western Michigan
                                                   Faculty Specialist , College of
University College of     Ryan Seiler                                                269-964-6652     ryan.seiler@wmich.edu
                                                   Aviation
Aviation




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Calendar



 Reporting of New CTI Students

 Schools must report all newly declared or eligible CTI students in their respective programs to Aviation
 Careers no later than the first day of July, October, and February.

 This list includes all students who are in programs that will make them eligible whether they have declared
 the intent or are in a degree program that will automatically make them eligible.



 ATSAT Register

 The AT-SAT eligibility register is provided by the partner institutions to Aviation Careers in order to
 schedule AT-SAT testing. The AT-SAT test is schedule twice per year, normally in the fall and spring. CTI
 students are eligible to take the test up to one year before anticipated graduation and the scores are good
 for three years. If the test score expires or will expire within a testing cycle, the applicant must contact
 Aviation Careers to be placed on the test list..




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                  
AT Basics Training
Objectives


   The list of objectives in this document was originally developed by the FAA Academy in January 1997 for
   two purposes: 1) to guide the design of the instruction for the Air Traffic Basics Course (Air Traffic Basics
   is a course on fundamental ATC knowledge that is common to En Route, Terminal, and Flight Service
   Specialist options and is taken as part of the FAA Initial Qualifications Training Program for ATCSs at the
   Academy), and 2) to provide guidance to institutions in the Air Traffic Collegiate Training Initiative (CTI) on
   FAA expectations for their graduates’ level of knowledge.

    After the objectives were established, individual lessons and their respective content and instructional
   activities were developed. As a part of this normal course development process, the initial list of objectives
   was reviewed and refined as each of the lessons were developed. The resulting list of revised objectives
   is provided below.

   All AT-CTI partner institutions ensure that the content contained in the “objectives” is included in at least
   one of the courses that required for the approved degree program. It should be noted that most of the
   objectives are fundamental to any aviation degree.

Lesson/Topic              Objectives

Introduction to the ATC   In accordance with Order 7110.65, 7210.3, AC 61-27, and the AIM, the student will identify the
System and National       following concepts:
Airspace System
                          1.   Elements of the National Airspace System (NAS)
                          2.   Role of the Traffic Management System (TMS) within the NAS

                          Without references and in accordance with AC 61-27 and Orders 7110.65, Chapter 2; 7110.10,
                          Chapter 1; 3120.4, and the AIM, the student will identify the primary functions and associated
                          team responsibilities (to include interrelationships between positions) of:

                          1.   Air Traffic Control Tower
                               a. Local
                               b. Ground
                               c. Clearance Delivery/Flight Data

                          2.   Approach Control
                               a. Arrival
                               b. Departure

                          3.   Air Route Traffic Control Center
                               a. Radar
                               b. Handoff
                               c. Radar Associate (D side)
                               d. Assistant Controller (A side)

                          4.   Flight Service Station
                               a. Weather Observer
                               b. Flight Data/Search and Rescue/Notice to Airmen
                               c. Preflight (includes pilot weather briefing)
                               d. Inflight
                               e. Flight Watch
                               f Broadcast
                               g. Coordinator
                               h. Controller-in-Charge

                          In accordance with Order 7110.65, Chapter 2, you will identify duty priority, procedural
                          preference, and operational priorities of the Air Traffic Controller.



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Lesson/Topic               Objectives

Teamwork in the ATC        The student will discuss the:
Environment
                           1.   Characteristics of effective teams
                           2.   Functions affecting team performance
                           3.   Stages of group development

Airports                   In accordance with the AIM, you will identify airport:

                           1.   Lighting
                           2.   Markings

Airspace                   In accordance with FAR, Parts 71 and 73, ATC Orders 7110.65 and 7400.2, and the AIM, you will
                           identify:

                           1.   Classes of airspace and their use
                           2.   Special Use Airspace

Introduction to Federal    In accordance with the Federal Aviation Regulations (FARs), Parts 1, 65, 67, and 91 and FAA
Aviation Regulations       Orders 7110.65 and 3930.3, you will identify:

                           1.   Terms and definitions
                           2.   General operating rules
                           3.   General flight rules
                           4.   ATC certification
                           5.   Medical requirements

Wake Turbulence            In accordance with the AIM , FAA Order 7110.65, and AC 61-23C Pilot’s Handbook, you will
                           identify the following categories related to wake turbulence:

                           1.   Definition of Wake Turbulence
                           2.   Factors Affecting Wake Turbulence Intensity
                           3.   Wingtip Vortices
                           4.   Induced Roll
                           5.   Helicopter Downwash
                           6.   Jet Blast

Aircraft Characteristics   In accordance with FAA Order 7110.65 and the ATG-2, Tri-Option Controller Reference Manual,
and Aircraft Recognition   you will:

                           1.   Identify aircraft:
                                A. Categories
                                B. Weight Classes
                                C. Designators
                                D. Performance Characteristics
                                E. Identification Features

                           2.   Recognize selected aircraft

Special Operations         In accordance with FAA Orders 7110.65 and 7610.4, Special Military Operations, you will identify
                           flights requiring special handling, including terms and definitions associated with these flights.


Basic Navigation           In accordance with the FAA Order 7110.65, An Invitation to Fly, AC 61-23, The Pilot’s Handbook,
                           and the AIM, you will identify:

                           1.   Reference lines of the Earth and their purpose
                           2.   Great circle route, distance, and direction measurement
                           3.   Methods of time conversion and acronyms used with time
                           4.   Magnetic variations and headings
                           5.   Basic methods of navigation
                           6.   Basic calculations for time, speed, and distance
                           7.   Effects of wind on flight
                           8.   Effects of altitude and temperature on speed

                           In accordance with AC 61-23, The Pilot’s Handbook, you will compute aircraft time, speed, and
                           distance.


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Lesson/Topic          Objectives

Radio and Satellite   In accordance with FAA ORDER 7110.65; FAR, PART 71.75; the AIM, AC 61-23, The Pilot’s
Navigation            Handbook, and FAA-H-8083-15 Instrument Procedures Handbook, Instrument Flying Handbook,
                      you will identify the characteristics of:

                      1.   Radio and Satellite Navigation
                      2.   Federal Airway System

VFR Charts and        Given aeronautical charts and an airport facility directory, and in accordance with the AIM, AC 61-
Publications          23, FAA Order 7110.65, and chart/directory legends (Dallas-Fort Worth VFR Sectional
                      Aeronautical Chart, a Sample VFR Terminal Area Chart, South Central U.S. Airport/Facility
                      Directory), you will identify the purpose, features, contents, and specific items and information
                      (e.g., NAVAIDS, airport, elevation, etc.) related to:

                      1.   Sectional Aeronautical Charts
                      2.   VFR Terminal Area Charts
                      3.   World Aeronautical Charts
                      4.   Airport/Facility Directory

En Route IFR Charts   In accordance with FAA Order 7110.65 the AIM, AC 61-23, and as depicted in the chart legends
                      (L-5/L-6 En Route Low Altitude Chart; H-2/H-4 En Route High Altitude Chart; IFR Area Chart), you
                      will identify the purpose, contents, and specific items and information for the following En Route
                      charts:

                      1. Low Altitude
                      2. High Altitude
                      3. IFR Area

SIDs and STARs        In accordance with FAA Order 7110.65, AIM, FAA-H-8083-15 Instrument Procedures Handbook,
                      and the U.S. Terminal Procedures Publication, you will identify the purpose, types, contents, and
                      specific items and information (e.g., altitudes, headings, etc.) of:

                      1. SIDs
                      2. STARs

Approaches            In accordance with FAA Order 7110.65, the AIM, FAA-H-8083-15 Instrument Procedures
                      Handbook, and the U.S. Terminal Procedures Publication, you will identify types of approaches,
                      and the purpose, contents, and specific items and information (e.g., minimum altitudes, courses,
                      missed approaches, etc.) of an Instrument Approach Procedure (IAP) Chart.

                      Given an IAP Chart, and in accordance with a U.S. Terminal Procedures Chart, you will identify
                      the contents and geographical features.

Pilot’s Environment   In accordance with the AIM; AC 61-23, The Pilot’s Book of Aeronautical Knowledge; AC 61-27,
                      Instrument Flying Handbook; and ATC and TCAS System Overview, you will identify:

                      1.   Characteristics and uses of aircraft instrumentation
                      2.   Physiological factors affecting flight

Introduction to       In accordance with FAA Orders 7110.65 and 7110.10 and the AIM, you will identify:
Emergencies
                      1.   The meaning of distress, urgency, mayday, and pan-pan
                      2.   Roles and responsibilities of the pilot and controller during an emergency.
                      3.   Information necessary to handle an emergency
                      4.   Types of emergencies

Search and Rescue     In accordance with FAA Orders 7110.10 and 7110.65 and the AIM, you will identify the:

                      1.   Purpose of the National Search and Rescue Plan
                      2.   Roles, responsibilities, and procedures of search and rescue




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Lesson/Topic               Objectives

Fundamentals of Weather    In accordance with AC 00-45, Aviation Weather Services, and AC 00-6, Aviation Weather, you will
and Aviation Weather       identify:
Services
                           1.   Characteristics of the atmosphere
                           2.   Principles of atmospheric temperature
                           3.   Characteristics and modification of air masses
                           4.   Characteristics of atmospheric pressure
                           5.   Formation and types of fronts
                           6.   Characteristics of convection currents
                           7.   Causes of wind
                           8.   Formation and types of clouds
                           9.   Formation and types of precipitation

                           In accordance with AC 00-45, Aviation Weather Services, and AC 00-6, Aviation Weather, you will
                           identify the duties and responsibilities of the National Weather Service (NWS) and the Center
                           Weather Service Unit (CWSU).

Hazardous Weather          In accordance with Aviation Weather, AC 00-6 and Aviation Weather Services, AC 00-45, and the
                           AIM, you will identify the characteristics of hazardous weather that impact aviation.


Current Weather            In accordance with AC 00-45, Aviation Weather Services, and AC 00-6, Aviation Weather, you will
                           identify the contents of METAR, including associated contractions and terms.

                           Given examples of current weather reports, and in accordance with AC 00-45, Aviation Weather
                           Services, and FAA Order 7110.10, you will decode METARs.

Pilot Reports (PIREP)      In accordance with FAA Orders 7110.10 and 7110.65, and the AIM, you will identify the purpose,
                           uses, and contents of Pilot Weather Reports (PIREP).

                           In accordance with FAA Order 7110.10, you will decode PIREPs.

Forecasts and Advisories   In accordance with AC 00-45, Aviation Weather Services, you will identify the contents and
                           purpose of the following weather products:

                           1.   Aviation Terminal Forecast (TAF)
                           2.   Area Forecast (FA)
                           3.   Airman’s Meteorological Information (AIRMET)
                           4.   Significant Meteorological Information (SIGMET)
                           5.   Convective SIGMET (WST)
                           6.   Center Weather Advisory (CWA)
                           7.   Meteorological Impact Statement (MIS)
                           8.   Winds Aloft Forecast (FD)

                           In accordance with AC 00-45, Aviation Weather Services, you will decode the following weather
                           products:

                           1.   Aviation Terminal Forecast (TAF)
                           2.   Area Forecast (FA)
                           3.   Airman’s Meteorological Information (AIRMET)
                           4.   Significant Meteorological Information (SIGMET)
                           5.   Convective SIGMET (WST)
                           6.   Center Weather Advisory (CWA)
                           7.   Meteorological Impact Statement (MIS)
                           8.   Winds Aloft Forecast (FD)

Basic Communications       In accordance with FAA Orders 7110.65 and 7110.10, you will identify:

                           1.   Radio and interphone communications
                           2.   ICAO phonetics
                           3.   Numbers usage
                           4.   Basic phraseology
                           5.   Coordination procedures
                           6.   Purpose and steps of the position relief briefing




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Lesson/Topic       Objectives

Strip marking      In accordance with FAA Orders 7110.65 and 7110.10, you will identify:

                   1.   Purpose and legal requirements of flight progress strips
                   2.   Meaning of selected abbreviations and symbols used in strip marking
                   3.   Content requirements of selected blocks in terminal, en route, and flight service strips

ATC Clearances     In accordance with FAA Order 7110.65 and FAR 91.123, you will identify:

                   1.   Purpose of an ATC clearance
                   2.   Pilot’s responsibility for compliance with an ATC clearance
                   3.   ATC clearance items and their sequence
                   4.   Clearance prefixes and their use
                   5.   Types of ATC clearances




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FAQs
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SECTION 1: General CTI Program Questions

1. Question: What is the expected duration of the CTI Program at the universities - being that so
many controllers have been hired already, what is the Program's expected "expiration date"? That
will help to know when to stop enrolling students who may not have good employment possibilities.

Answer: There is no movement towards ending the CTI Program; as a matter of fact, the hiring source for
controllers may be military veterans and CTI students as the need for hiring will diminish slightly from the
peak of 2007-08. Employment opportunities will always be dependent on the needs of the agency. For
information on future hiring plans see the section entitled “Controller Hiring.”


SECTION 2: Public Inquiry

1. Question: How do I become an air traffic controller?

Answer: For a candidate to become an air traffic controller in the FAA for the first time, there are generally
four paths to employment. First there must be an “announcement” or “job vacancy” that is open. All
announcements are listed at www.usajobs.gov.

The path depends on whether or not the candidate has previous air traffic control experience.

Candidates with Experience:

Prior air traffic control experience announcements are reserved for those who have been certified and
actively controlled air traffic either with the military or for a private entity.

    Retired Military Controllers (RMC):

    This announcement is for candidates who previously retired or will retire from the military and have
    actively controlled air traffic. This program provides for appointment for five-year time periods. They are
    on terminal leave pending retirement from active duty military service, or retired from active duty on or
    after September 17, 1999.

    Applicants must meet at a minimum the following requirements:

           Be a United States citizen
           Pass a medical examination
           Pass a security investigation
           Speak English clearly enough to be understood over communications equipment
           May need to complete an interview
    Veterans Recruitment Appointment (VRA)

        The VRA is a special authority by which agencies can appoint an eligible veteran without competition.
        To qualify for this announcement, at a minimum, controllers must have:


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    52 consecutive weeks of air traffic control experience in a military or civilian air traffic control
     facility that shows you have the knowledge, skills, and ability to perform air traffic controller duties
    You must be discharged from active duty or on terminal leave, and have not reached age 31.
     These types of veterans are eligible to apply for a VRA appointment:
                      Disabled veterans
                      Veterans separated from active duty within three years
                      Veterans who served on active duty in the Armed Forces during a war declared
                       by Congress, or in a campaign or expedition for which a campaign badge has
                       been authorized
                      Veterans who, while serving on active duty in the Armed Forces, participated in
                       a military operation for which the Armed Forces Service Medal was awarded



 Applicants must meet at a minimum the following requirements:

    Be a United States citizen
    In most cases, not have reached age 31
    Pass a medical examination
    Pass a security investigation
    Achieve a score of at least 70 on the FAA pre-employment test (ATSAT)
    Speak English clearly enough to be understood over communications equipment
    Complete an interview



 Control Tower Operator

 This announcement is for candidates who have experience working air traffic control and possess an
 FAA-issued Control Tower Operator (CTO) certificate (i.e., have been certified to work in a control
 tower).

 Applicants must meet at a minimum the following requirements:

    Be a United States citizen
    In most cases, not have reached age 31
    Pass a medical examination
    Pass a security investigation
    Achieve a score of at least 70 on the FAA pre-employment test (AT-SAT)
    Speak English clearly enough to be understood over communications equipment
    Complete an interview




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Candidates without Experience:

       Public Announcement

       A public announcement is the solicitation of candidates for openings across the country.

       Applicants must meet at a minimum the following requirements:

                Be a United States citizen
               In most cases, not have reached age 31
               Pass a medical examination
               Pass a security investigation
               Have three years of progressively responsible work experience and/or a full four-year course of
                study leading to a Bachelor's degree, or some combination of the two
               Achieve a score of at least 70 on the FAA pre-employment test
               Speak English clearly enough to be understood over communications equipment
               Complete an interview


       Collegiate Training Initiative CTI

       A CTI announcement is open to those candidates who successfully meet the requirements of the CTI
       Program including:

       To qualify for employment consideration with the FAA, CTI program graduates must meet all legal and
       regulatory requirements including, but not limited to, the following:

               Achieve a qualifying score on the current FAA testing procedures
               Successfully complete the FAA interview process
               Receive an institutional recommendation
               Meet entry level ATCS medical standards
               Pass a pre-employment drug test
               Pass the background investigation for security and suitability
               Have U.S. citizenship
               May not have reached their 31st birthday prior to initial appointment in the terminal or en route
                options
               Complete institutional graduation requirements


       A list of approved CTI institutions, degrees offered and contact information can be found at:
       http://www.faa.gov/about/office_org/headquarters_offices/ato/service_units/operations/at_cti

2. What is the FAA Air Traffic Collegiate Training Initiative (CTI) Program?

Answer: The FAA CTI Program encourages potential college students who are interested in aviation, and
specifically, air traffic control, to apply for a job as an air traffic controller utilizing a separate “path” provided that
they meet additional requirements:

Successfully complete the FAA-approved AT-CTI program and:


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           Receive a degree from the FAA-approved AT-CTI school, in an aviation-related field, that includes the
            teaching objectives required by the FAA

           Receive an institutional recommendation for employment from an authorized school official

           Achieve a passing score (70 or above) on the AT-SAT (pre-employment) test

           Be a United States citizen at the time of application for the AT-SAT test

           Have not reached their 31st birthday when entering on duty in an FAA terminal or en route facility

           Meet FAA medical, security, and suitability requirements

           Successfully complete an interview to determine whether the candidate possesses the personal
            characteristics necessary for the performance of air traffic control work and that the candidate is able
            to speak English clearly enough to be understood over radios, intercoms, and similar communications
            equipment

3. Question: I live in (City, State) and I wanted to know if the program is offered down here?

Answer: Currently there are 36 schools located throughout the US and Puerto Rico. The list is located at:
http://www.faa.gov/about/office_org/headquarters_offices/ato/service_units/operations/at_cti/

There are points of contact listed for each school who can give you specific information about each school.
Additionally, there are links to the institutions’ websites.

4. Question: I Should I select a two-year or four-year program?

Answer: That decision is totally up to each individual. It is your preference as to the type of degree that you want
to obtain. You should consider a degree that gives you flexibility in the marketplace should you decide not to
become an Air Traffic Controller. If you are interested in aviation, we encourage you to look at a degree that will
give you broad appeal to future employers. There are many jobs available in the FAA other than an Air Traffic
Controller Specialist (ATCS) as well as the aviation community.

Understand that CTI schools are not training ATCS per se, but providing an aviation education that includes FAA
mandatory and approved curriculum in the degree programs that qualify them as CTI partner institutions.
Graduating with an approved degree from a CTI school is only one of the requirements to become an ATCS.
Other requirements are:

            o   Receive an official school recommendation
            o   Be a United States citizen
            o   In most cases, be under the age of 31
            o   Pass a medical examination
            o   Pass a security investigation
            o   Achieve a score of at least 70 on the FAA pre-employment test
            o   Speak English clearly enough for others to understand you on communications equipment
            o   Complete an interview




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5. Question: What's the hire rate for new graduates?

Answer: The new hire rate is determined strictly by the number of controllers we need in any given year. This
may vary due to many factors including the economy, mandatory retirement, etc. According to our projections,
which can be found in the Controller Workforce Plan, we are looking at hiring about 1,000 new controllers per
year for the next 10 years.

There are a number of hiring sources including former military controllers, CTI graduates, I, and on occasion
general public with no experience required. These hiring sources will determine the size of the pool thus
determine the rate of hire from any individual source.

6. Question: Should I go to a school that offers a certificate program, an Associate’s degree program, or
a Bachelor's degree program?

Answer: The type of college program you enroll in is entirely based on your goals and preferences.

Degree programs are based on the amount of knowledge you will receive about a given area of study. Some
jobs require a “certificate.” These are usually reserved for career entry where there is not a specific college
degree for the knowledge required by the employer. As for an Associate’s degree versus a Bachelor’s degree,
again, this depends on what your future employer may require as a minimum and what will make you competitive
with other applicants.

Of course, other considerations must be taken into account including financial obligations.

The bottom line is to choose a degree that will make you competitive in an aviation field and that you can use
provided you are not hired as an air traffic controller.

7. Question: Will the CTI Program and degree train me to be an air traffic controller?

Answer: The CTI Program is not specifically training to be an air traffic controller. The degree programs offered
by CTI-approved institutions vary and are all aviation related. The only requirement for the school is that the
“basics” of aviation or air traffic are included within the courses required for the approved degree program. The
subjects are fundamental to aviation and include aviation weather, airspace, clearances, map-reading, federal air
regulations, etc.

Some institutions may offer degrees that are more air traffic control intensive, but this is not required by the FAA
(as part of the agreement between the institution and the FAA) to be included in the CTI Program.

8. Question: Can you recommend a CTI school to attend?

Answer: The FAA cannot recommend any school. All CTI institutions are treated equally for their primary
purpose – which is to include aviation fundamentals within the classes required for the approved degree. These
fundamentals are necessary for almost any job in aviation. The candidate should contact the schools they are
interested in and talk to them about the degrees that they provide.

9. Question: Are there CTI Schools that are more successful than others?

Answer: Success is based primarily on the applicant and his/her abilities. The agreement between the FAA and
the approved institution is that they include the fundamentals of aviation within classes that are part of the
degree program. These fundamentals are necessary for almost any job in aviation. Although there are some
schools which offer degrees that include more intensive ATC curriculum, they do this as a service to their
students. This may help a student once they become an air traffic controller, but the FAA takes full responsibility
for training all air traffic control students.

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All CTI approved institutions are treated equally when it comes to the ability to apply for a job as an air traffic
controller under the CTI Vacancy Announcement. The success in getting hired is based on a candidate’s
application, experience, networking, and most importantly, the Air Traffic Skills and Training aptitude (AT-SAT)
test. All applicants must pass the aptitude test, which is a measure of the candidate’s aptitude to become a
certified air traffic controller. Knowledge and college education have very little influence on the aptitude and test
score.

10. Question: “I want to take Air Traffic Controller classes. How do I apply?”

Answer: There are no air traffic controller classes, specifically. If you mean that you are interested in becoming
an air traffic controller. In order to apply as an air traffic controller under the Collegiate Training Initiative
announcement, it is required that you complete one of the degrees at the approved CTI institution.

11. Question: How do I apply for “FAA School “and how much does it cost?

Answer: The FAA trains all new air traffic controllers at the FAA Academy in Oklahoma City. This training takes
place after a candidate accepts a job offer. All new controllers must be selected from the application under the
various vacancy announcements. There is no cost for the training; and, as a matter of fact, you get paid during
your training.

The FAA CTI Program is an agreement to allow those graduates with approved degree programs from approved
institutions to apply for a job as an air traffic controller. The cost varies from institution to institution and degree
type.

12. Question: Is there a CTI school I can attend online?

Answer: CTI schools are public colleges and universities. Under the CTI Program, the FAA recognized the
“Aeronautical/Aviation Degree” from partner schools. Some colleges and universities offer some of their “general
education” courses online, but we are not aware of any institution that is part of the CTI Program that allows you
to complete the entire degree online.

Due to the nature of ATC, specifically the teamwork concept, it is beneficial to have the one-on-one experience
and many schools provide hands-on part-tasking and simulation that does not lend itself to an online
experience.

13. Question: Is there a school that offers air traffic certification?

Answer: The FAA is the only body that provides “certification” for air traffic controllers.



SECTION 3: Application Process

1. Question: Are there any plans to change the “geographic selection” to more than two states?

Answer: At this time there are no plans to change the geographic selection. This method of selecting states was
an effort to ensure that those who were native to a local area were able to stay in that area as a controller (if they
so desired). This however, has not always proven to be the case as applicants appear to change states based
on the perception of where hiring will take place.
As with all program objectives, we will be exploring this one to determine if it indeed meets our goal.




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2. Question: At what point in the CTI process are specific items weighted (i.e., Veterans’ Preference, AT-
SAT score, geographical preference, ethnicity, degree(s), and pilot certificates)?

Answer: The selection panel uses a list of vacancies based on the state location of the facility and a list of
candidates that are separated into “Qualified” or “Well-Qualified” who have selected that particular state on their
FAA application. .
If there are veterans or qualifying “disabled vets” who are entitled to “preference” points, they will be added to the
top of the respective lists.
There are no preferences whatsoever for ethnicity or any other EEO protected class. Ethnicity is a protected
class, meaning that you cannot discriminate based on an applicant’s ethnicity therefore it does not carry a
selection weight.
Degrees and certificates should be listed in section titled “Other Qualifications” of the candidate application for
selecting officials to review; but, at this time we do not assign a weight to the degree but hiring officials do review
the application for a complete picture of the candidate.



3. Question: Will students have the option of choosing terminal or en route when they are ready to fill
out their job application?


Answer: Currently, there is no method to indicate service unit (terminal or en route) preference. There are some
inherent issues with making this a preference, for example, if a candidate selects en route, but the particular
state he/she selected the en route centers did not have vacancies, yet the terminal facility did – the student will
not be considered for the opening in terminal.
We will discuss this issue with the service units to determine if they want to be provided lists based on facility
“type” preference.


SECTION 4: Hiring and Selection

1. Question: Does training for a specific facility increase the odds of a pick-up?


Answer: In general, the selecting officials from the service units (terminal and en route) are not privy to the local
facilities taught within the CTI curriculum at each school. The CTI Program is based on AT Basics curriculum
being taught, graduates should be prepared for the Academy. The knowledge of a local facility may help the
graduate to grasp the application of AT procedures and concepts, but will not necessarily ensure that they are
picked up by the facility which is taught at the institution.



2. Question: It’s very disturbing that CTI students aren’t getting hired with a “Qualified” score on the AT-
SAT. The AT-SAT should be issued earlier than the final semester if this policy stays in place.


Answer: There is a perception that those who score between a 70 and an 84.9 and are classified by Human
Resources as “qualified” will not get a job. This is not necessarily the case as it depends on the state in which
the applicant is selected. The larger states that have high numbers of facilities also have high numbers of
applicants. This provides a large number of applicants for a limited number of jobs available and the hiring
officials may not get to the “qualified” list. There are other cases where a student has selected a smaller state
where there are no “well-qualified” applicants and have been selected off the “qualified” list.

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The AT-SAT can be taken up to a year before graduation. Typically, the contractor who administers the test are
bound by contracted locations and timelines based on availability of those locations. If you have a student who is
eligible for the AT-SAT their name should be forwarded to Aviation Careers as soon as possible.
3. Question: In 2010 I asked if the FAA would consider moving the Spring Hiring Panel meeting back to
late April, so schools on term schedule (quarters) that had students graduating in the winter quarter
(which ends in late March) would be eligible for the Spring Hiring Panel. This would mean that the
student could avoid waiting nearly seven months (between March and late October) for the Fall Hiring
Panel which has traditionally met in late October or early November. Do you have any news regarding
moving the Spring Panel back to late April?


Answer: At this time there is no movement towards conducting the Spring Hiring Panel in April. The Spring
Panel is usually a follow-up panel to select candidates for ATC positions for the remainder of the current fiscal
year and replace students selected in the fall who did not accept an offer, thereby filling in new gaps not realized
in the fall.
The panels are set up by workforce services and the service unit (terminal and en route) as hiring needs are
identified.


4. Question: Can a student be recommended a second time for employment consideration through the
AT-CTI hiring source if the graduate has been hired and terminated or has resigned from the FAA?


Answer: No. There is only one opportunity for employment through the AT-CTI hiring source. HROI - Air Traffic-
Collegiate Training Initiative (AT-CTI) Standard Operating Procedures, paragraph 7d states, “Reapplying to the
AT-CTI Program: Candidates previously hired through the AT-CTI Program may not reapply through this hiring
source.”


5. Question: If an applicant fails to successfully complete/pass the interview stage for whatever reason,
what are his/her options for further employment consideration, if any?
Answer: If an applicant fails the interview, he/she is moved back to the list for referral to future Centralized
Hiring Panels (CSP).


6. Question: If an applicant does not accept a Tentative Offer Letter (TOL) for whatever reason, what are
his/her options for further employment consideration, if any?
Answer: If an applicant "does not accept a TOL,” he/she is moved back to the list for referral to future CSPs.


7. Question: If an applicant does not accept a Firm Offer Letter (FOL) for whatever reason, what are
his/her options for further employment consideration, if any?
Answer: If an applicant "does not accept a FOL,” he/she is moved back to the list for referral to future CSPs.


8. Question: Is an applicant who is selected at a CSP and successfully completes an interview and initial
Employment Agreement paperwork guaranteed a TOL eventually?
Answer: If an applicant is selected and recommended after the interview, he/she should receive a TOL with the
possible exception including Congressional/Presidential hiring freezes or budget actions where the FAA cannot
hire."




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9. Question: Is an applicant receives a TOL can they apply for again for the position while undergoing
background and medical clearances with different geographic preferences, in an attempt to receive a
TOL faster?
Answer: The applicant can reapply while in a waiting status, although if it is because of budget or law there
would probably be no new announcements.


10. Question: Once an applicant is selected at a CSP, is their application somehow removed from further
employment consideration at future CSPs (assuming their application is still currently submitted and
under the one year of eligibility for employment consideration?
Answer: If an applicant is selected for an interview from a CSP, he/she will remain in the list of eligible referrals
with a note that he/she has been selected. Most selecting officials will not select someone already in process.


SECTION 5: Air Traffic Skill Assessment Test (ATSAT)

1. Question: Is it possible that CTI students will have the option to retake the AT-SAT after one year if
they pass instead of having them wait three years before being permitted to retake the test?

Answer: Currently, there is conflicting information on when a CTI graduate can retake the ATSAT Currently, the
policy is that if a candidate fails the test by scoring less than a 70, they can retake the test after one year. Those
who pass the test cannot retake the test for three years. The thought is that they have passed the test and there
is no need to re-pass the test.
With the hiring groups being divided into “qualified” (AT-SAT scores of 70-84.9) and “well-qualified” (AT-SAT
scores of 85 or greater, the perception is that those who make the “qualified” list are not going to get an offer for
employment.
The Program Office is working with Human Resources to determine additional criteria for “well-qualified” as well
as whether the AT-SAT can be retaken before the current three-year timeline.


2. Question: Why can students only take the AT-SAT twice? It’s disturbing that students who receive the
score of “Qualified” have to wait three years until that score expires, while those who totally fail the test
can retake it in a year.

Answer: The students recommended by the CTI Institution can take the ATSAT twice. The timeline is
dependent on the initial test results. Those who pass the test (score greater than 70) are required to wait three
years. Those who do not pass the test (score less than 70) may retake the test after one year.
We do understand the frustration associated with this policy. It is a remnant of the era when there was only one
list for CTI students. As the hiring pools became larger, we split the lists into “qualified” and “well-qualified” to
ensure that the selecting officials had a more manageable list to choose from.
The Program Office is working with Human Resources to determine additional criteria for “well-qualified” as well
as determining whether the AT-SAT can be retaken before the current three-year timeline.



SECTION 6: Air Traffic Basics

1. Question: Can we get the FAA provided AT Basics curriculum in June of each year so that
adjustments can be made to courses in the summer and we can make all appropriate adjustments for the
next semester class during the summer recess?


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Answer: Currently, the AT Basics curriculum is provided to institutions in the fall. The FAA Academy compiles
the most up-to-date lesson plans and student handouts and provides DVDs to the institutions.
As AT Basics is continuously updated, based on revisions to orders and policies, we post any updates to the CTI
webpage..
2. Question: Is the AT Basics test a pre-hire test?

Answer: The AT Basics “pre-test” is a test given to all new hires who bypassed AT Basics. The largest group of
test takes is the CTI graduates. This test is “post-hire” given the first day of initial training for either terminal or en
route at the Academy to measure the AT Basics knowledge of all incoming CTI students. This is subject to
change, so students are encouraged to remain familiar with the material, especially if they have been given a
tentative offer letter.



SECTION 7: Institutional CTI Requirements

1. Question: Must students complete CTI requirements at the same time as they are earning their
degrees?

Answer: Ideally, the requirements are met within the approved degree program. In some cases, students may
take different electives if they are not pursuing an institutional recommendation for the CTI Program.
Students who earn an approved degree under the CTI Program and have not completed all the institution
required courses to meet CTI requirements can, at the institution’s discretion, take those classes that meet all
the requirements for institutional recommendation.
All candidates must have received an approved degree and meet institutional requirements, including classes
that are mapped to the AT Basics objectives.



SECTION 8: Institution Curriculum

1. Question: Our institution goes above and beyond what is required for the AT Basics objectives. Will
this provide us with a better ranking?

Answer: Those schools that go above and beyond the FAA Program requirements of incorporating the AT
Basics objectives into their curriculum are not currently ranked.. The “above and beyond” is an important contract
between the institution and the student. The FAA benefits from the advanced instruction; but, the student,
provided that the curriculum is taught and learned at an advanced level, benefits most in the certification process
at the Academy and facility.



SECTION 9: Program Evaluation

1. Question: Will the evaluation process continue? What are the dates of expected data submission,
formats, etc.?

Answer: The Program Office has developed a new self-performing annual evaluation. The due dates for the
evaluation Are October 1 of each year effective October 1, 2013.




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SECTION 10: Medical Clearance

1. Question: Will “diabetes mellitus” disqualify a person from passing the ATC Medical?

Answer: Diabetes mellitus is a disqualifying condition; however, if the condition is adequately controlled and
there are no other disqualifying sequelae, an individual may be found qualified under special consideration. This
means that the individual may need to follow a strict protocol while performing safety-related duties and be
willing to notify management and co-workers of his/her condition and needs in the case of an emergency.
He/she must be willing and able to work all shifts and be responsible for providing all medical documentation
necessary to maintain qualification at his/her own expense– (from the FAA Medical Office).


2. Question: If I pass a Class II Medical “color blind test” will I pass the ATC Medical?

Answer: Having a Class II medical certificate is not the same as passing the color vision test for air traffic
controllers. Many schools falsely believe that a Class II medical certificate is proof of fitness for the ATC career
field. Due to a dilemma of employment law, we cannot offer the test to individuals before a tentative offer of
employment. A color deficient applicant may not be able to pass the test and, as a result, may never be able to
get a return on his/her educational investment. I would not offer encouragement to an individual who has a color
deficiency and would offer a stern warning before investing in an education in ATC– (from the FAA Medical
Office).


3. Question: I understand there are several color vision tests available. If an applicant fails the test given
by the FAA, can he/she take a different color vision test from his/her eye doctor and have that
information sent to the flight surgeon to pass the medical requirements?

Answer: The FAA color test is specific to controllers and is a prerequisite for employment. Passing any other
color test does not ensure that the applicant will pass the FAA test. Due to a dilemma of employment law, we
cannot offer the test to individuals before a tentative offer of employment.



4. Question: My son/daughter has Crohn’s Disease. He/she takes the drug Remicade. It does not do
anything to him/her psychologically; it just works in the intestines. Can he/she get a flight medical, and if
so, what class? In addition, will he/she be able to be hired after completion of the CTI Degree Program?

Answer: The disease is not disqualifying, but there will be a review of the individual case history. If selected,
he/she would need to provide a complete history of the disease course. The drug is acceptable, but there would
be limitations regarding the performance of safety duties around dosing intervals– (from the FAA Medical Office).


5. Question: My son/daughter has a history of being prescribed Zoloft (for anxiety/depression) and
Vyvanse (for ADHD-related symptoms). These problems are completely under control and do not
interfere with her ability to perform (academically or athletically).Does the use of these medications
disqualify him/her from becoming an air traffic controller?

Answer: Continued use of these medications is generally disqualifying. If the son/daughter has been off the
medications for a year and he/she has demonstrated stability, he/she might very well be found qualified for the
job of air traffic controller.




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SECTION 11: Security (Background Investigations)

  1. Question: The personnel security questionnaire is very long and asks a lot of personal questions.
  Do I have to answer all the questions on the form? Much of that information is already on my resume.

  Answer: Yes. The resume is part of the application process. The Security Questionnaire is part of the
  investigation process. All of the security questionnaire questions should be answered fully, accurately, and
  honestly.
  2. Question: What will happen if I refuse to give you some of this personal information on the
  Security Questionnaire?

  Answer: The investigation is a job requirement. Providing the information is voluntary, but if you choose not
  to provide the required information, you will not meet the requirements of the job and will therefore not be
  considered further. If you are already employed by the federal government, your appointment will be
  terminated. The courts have upheld this principle.

  3. Question: What should I do if I remember something later, after I've filled out the form and
  returned it?

  Answer: Immediately notify the security officials to whom you submitted the questionnaire.

  4. Question: Who has access to the information collected?

  Answer: The only persons authorized to see your personal information are Personnel Security, Suitability,
  and Investigations professionals who have been investigated at the appropriate level and who have a genuine
  and demonstrated need for access to the information.

  5. Question: I'm not a criminal. Why do you want my fingerprints?

  Answer: So that we can verify your claim that you are not a criminal by checking the FBI's fingerprint files.
  Executive Order 10450 requires that all federal employees be fingerprinted.

  6. Question: Are you going to interview people other than those I name on the questionnaire? If so,
  why?

  Answer: Yes. Background investigators are required to identify, locate, and interview a sufficient number of
  people who know you well. We want a balanced and unbiased investigation. It would be a questionable
  investigative practice to only interview persons whom the individual being investigated identified for us.

  7. Question: Is it okay if I guess at dates and addresses that I can barely remember?

  Answer: Providing information that is as complete and accurate as possible will ensure that your
  investigation is completed in an efficient and timely manner. If you are unable to answer a question with
  precision, provide approximate information and note that you have done so on the questionnaire. If you are
  interviewed in person, point out the approximated information on the questionnaire to the investigator.

  8. Question: Why do you need information about my relatives?

  Answer: Relatives sometimes influence the actions of family members. We need to determine if you could be
  exploited by threats or pressure against your relatives or if they themselves could exert pressure against you.




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9. Question: Will I get a chance to explain some of the answers I provide?

Answer: Yes. Many types of background investigations involve a personal interview. Moreover, you may
submit information on extra pages with your questionnaire if you feel you need to more fully explain details or
circumstances of the answers you put on the form.

10. Question: Can I get a copy of the report you prepare about me?

Answer: The only persons authorized to see this information are Personnel Security, Suitability, and
Investigations professionals who have been investigated and have a demonstrated need to review the
information. You may request a copy of your investigation file under provisions of the Privacy Act. For an
OPM investigation request, write to OPM-CIS, FOIP, Post Office Box 618, Boyers, PA 16018-0618. You must
include your full name, Social Security number, date and place of birth, and you must sign your request.

11. Question: What if you talk to someone who just doesn't like me and they lie about me?

Answer: We talk to as many knowledgeable people as possible to get a balanced, accurate, and
comprehensive picture of the person being investigated. Later, you may have an opportunity to refute any
misleading or false information that was reported about you.

12. Question: I was cited for speeding once. Will that keep me from getting a job or a clearance?

Answer: Not necessarily. Any negative information is evaluated regarding its recency, seriousness,
relevance to the position and duties, and in light of, and in relationship to, all other information about you.

13. Question: I was arrested for shoplifting 20 years ago. Is that going to be held against me now?

Answer: Not necessarily. Any negative information is evaluated regarding its recency, seriousness,
relevance to the position and duties, and in light of, and in relationship to, all other information about you.

14. Question: I have a physical disability. Will that hurt my chances for a job?

Answer: No. It is against federal law to discriminate against an individual based on his or her disability.

15. Question: Are you going to tell my current employer that I'm looking for a job?

Answer: It is a requirement of a background investigation, and actual employment, that your current
employer be contacted. We must verify your employment data and make other inquiries concerning your
background. If you are a federal employee or contractor, for example, it may be that your current employer
needs you to have a security clearance for the work you do. In other instances, you are asked to complete the
investigative form for an investigation and clearance only after a conditional offer of employment has been
made for a position requiring a security clearance.

16. Question: Is it true that the investigation will include a credit report about me?

Answer: Yes. A search of the records of commercial credit reporting agencies is an integral part of almost all
background investigations.

17. Question: Do you ever interview someone's ex-spouse or relatives?

Answer: Yes; although, in many instances, interviewing ex-spouses or relatives is not mandatory.

18. Question: Why is detailed information about my education required?

Answer: Educational history is necessary for jobs that require specific education and expertise. Any
information supplied by the applicant must be verified.

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19. Question: I was politically active during the last elections. Will that hurt my chances for a job or a
clearance?

Answer: No. It will neither hurt nor help your chances.

20. Question: Do I have to go to a police station to be fingerprinted?

Answer: You may go to a police station to be fingerprinted. In most instances, however, the agency requiring
the investigation and clearance will fingerprint you.

21. Question: Doesn't the FBI conduct all federal background investigations?

Answer: The U.S. Office of Personnel Management, the Department of Defense, and a few other agencies
share this responsibility. The FBI mostly conducts investigations on the following: High-level Presidential
appointees, cabinet officers, agency heads, and staff who may work at the White House directly for the
President.

22. Question: How long does a background investigation take?

Answer: The timeliness of a background investigation depends on the type of investigation conducted.
Depending on the type of background investigation, the scope of the investigation may require coverage for
specific items.

The need for a security clearance may affect the time period in which an investigation is completed. Each
background investigation requires that certain areas are covered before an investigation is completed.




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Communications


KSN SharePoint Web Site
The Air Traffic CTI Program has established a Microsoft SharePoint website so that CTI schools and the
FAA can share information. The location of the site is https://ksn2.faa.gov/ajl/ajl-1/ajl-14/cti/default.aspx.

To access the site, you must be registered with the CTI Program Office. Once your name is added to the
site by the Program Office you will receive an email similar to the one below:

The following email provides your sign-on and password information. Please change your password once
you successfully log on. If you forget or lose your password, please send an email to terry.craft@faa.gov.
The password cannot be reset through the help-desk for users outside the FAA domain.




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There are four sections that can be accessed by using the “navigation tabs” at the top of the page:

Calendar: This section will contain CTI-related events including telephone conferences (telcons),
conferences, etc. Feel free to add events that will highlight your institution’s activities as they relate to the
CTI Program. Please include graduation dates, Air Traffic Club activities, etc.

Document Library: This section will contain documents and materials for your CTI Program. Some of the
folders included are:

       Air Traffic Selection and Training Battery (AT-SAT): This section contains research reports for
        the ATSAT. It will definitely make for interesting reading for those who relish research papers.

       At Basics Curriculum: In previous years, the FAA has sent AT Basics curriculum to the
        partner institutions once a year on DVD. In an effort to ensure that our partners have the most up-to-
        date information, we are posting the material online for your use.

       NOTE: The curriculum material posted is for instructor use to ensure that the teaching material is
        accurate. In its current format, the FAA logo is not to be distributed or sold. Feel free to use the
        graphics and text, as appropriate, in your own material.



       CTI Institution Folders: This is a temporary placeholder. We will be developing folders for each
        institution that are only accessible by the FAA and the individual institution; this will allow a secure
        method to transfer data.

       CTI Pictures: This library contains pictures submitted by partner institutions to “show off” your
        program and students. These pictures may be used in the CTI Program Office presentations and
        documents

       FAA CTI Telcons: This library contains the agendas and minutes for program telcons.

       FAA Source Orders: This library will hold orders and notices that may not be accessible online
        through faa.gov. Although every effort will be made to ensure that orders and notices are up to date,
        always use caution

 Useful Links: This page will have links to CTI information such as HR policy Orders and Notices,
 Workforce Plans. If you have additional links you would like to see, please let the Program Office know.

 CTI Institution Contacts: This section is the official contact list for CTI school contacts. When a school
 adds faculty or staff, they will add them to the contact page. In order to gain access to the site, primary or
 secondary point of contact must send an email to the Program Office at 9-ato-atcti@faa.gov . To view all
 the contact information select name from list.




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Contact Fields:

      Last Name: For the purposes of this database, the “Last Name” is the “Full Name.”
      Company: CTI School
      Contact Type: The contact types are classified to filter those who should receive
       program office emails.

          o   P: Primary Contact; receives all program office, and school-specific
              emails. Serves as PRIMARY contact if there are any questions from the
              CTI Program Office.

          o   S: Secondary Contact; receives all program office, and school-specific
              emails. Is the SECONDARY contact if the program office needs to contact
              the school and are unable to reach the primary contact.

          o   SA: School’s signing authority for any policy and agreements. This can also
              be a primary or secondary contact. Does not receive emails from the
              Program Office unless also designated as a primary or secondary contact.
              (see below)

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        o   N: Is a school contact, but is not included in emails sent to schools.

     Combinations:

        o    SA/P Signing Authority and Primary Contact

        o    SA/S Signing authority and Secondary contact

    Full Name: Same as “Last Name”
    Job Title: Self-explanatory
    Business Phone: Primary means of contact
    Secondary Phone: Self-explanatory
    Mobile Phone: Self-explanatory
    Email Address: Self-explanatory
    Web Page: This is the web page address that will appear in the public FAA
     website for the institution. This page lists all CTI schools and acts as a point of
     contact for interested students.

    Mailing Address: This is the general mailing address for the contact/institution
    Physical Address (If different from Mailing): Complete this address if it is not
     the same as your “mailing address
    Shipping Address (If different from Physical): Complete if there is an address
     for shipping other than the physical address
    Public Contact: This is the contact that will appear on the FAA Webpage that
     indicates the appropriate contact for the school for those interested in your degree
     programs. The name, email and phone number of this person will be published on
     the FAA AT-CTI public website
     [http://www.faa.gov/about/office_org/headquarters_offices/ato/service_units/operati
     ons/at_cti/schools/ }




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Creating a New Contact

On the top of the page, select: “CTI Institution Contacts”, then under “List Tools” select
“Items”




Select “New Item”.




This will bring up a new “contact card” that can be completes, click “Save” when complete.




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Editing a Current Contact

From the CTI Institution Contacts List

Select the card to edit by scrolling over the name and selecting the “check box”. This will also bring
up the tools bar in the top navigation pane.




Select “Edit Item” from the toolbar. Make all necessary edits and “Save” before closing/

Deleting a Contact

From the CTI Institution Contacts List

Select the card to delete by scrolling over the name and selecting the “check box”. This will also
bring up the tools bar in the top navigation pane.




Select “Delete Item” from the toolbar.



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MONTHLY TELCONS

The FAA CTI Program has an ongoing monthly telcon with CTI institutions. The telcon is
held the 3rd Wednesday of each month at 2:00 p.m. Eastern Standard Time.

Dial-in Number: 1-712-432-3066
Conference Code: 542998

Agenda items should be sent to 9-ato-atcti@faa.gov no later than close of business on the
Thursday prior to the telcon. Minutes will be posted no later than Wednesday following the
telcon.




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Abbreviations




  ATC      Air Traffic Controller
  ATCT     Air Traffic Control Tower
  CBI      Computer-Based Instruction
  CTI      Collegiate Training Initiative
  OJT      On-the-Job Training
  POC      Point of Contact
  SA       Service Area
  LOA      Letter of Agreement




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DOT/FAA/AM-98/23
                                  Recovery of the FAA Air                                      C
                                  Traffic Control Specialist
Office of Aviation Medicine
Washington, D.C. 20591            Workforce, 1981-1992



                                  Dana Broach, Editor
                                  Civil Aeromedical Institute
                                  Oklahoma City, Oklahoma 73125



                                  August 1998




                                  Final Report




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16. Abstract
   The Federal Aviation Administration was confronted in 1981 with the challenge of rebuilding its core,
technical, and highly-trained air traffic control specialist (ATCS) workforce following the PATCO strike. From
late 1981 through mid-1992, the FAA rebuilt this critical workforce through a large-scale testing, screening and
training program. By mid-1992, recovery of the controller workforce was complete, and it was no longer necessary
for the FAA to conduct a large-scale hiring program. The six papers presented in this report represent the first
major retrospective analysis of the complete data set describing the recovery of the FAA's en route and terminal
ATCS workforce following the 1981 controller strike. The first paper describes the personnel processes, focusing
on recruitment and hiring programs for the en route and terminal options. The second paper presents a detailed
description of the aptitude test battery used to evaluate over 400,000 applicants between 1981 and 1992. The third
paper offers a definitive statistical portrait of the FAA Academy Screening programs as predictors of field training
outcomes. On-the-job training (OJT) programs in en route and terminal facilities are described in the fourth
paper. These four papers, taken together, provide a definitive description of the processes used to recruit, test,
screen, and train persons for the ATCS occupation between 1981 and 1992. The fifth paper draws on FAA
organizational survey data to describe controller perceptions of the organizational climate in which the workforce
recovery occurred. The sixth paper analyzes current controller workforce demographics and technological trends in
air traffic control to identify potential areas of future research.


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   Dana Broach, Ph.D., FAA Civil Aeromedical Institute


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  David J. Schroeder, Ph.D., Dana Broach, Ph.D., and William L. Farmer, M.S.,
  FAA Civil Aeromedical Institute


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         GLOSSARY OF ABBREVIATIONS AND STATISTICAL TERMS


ABSR        Abstract Reasoning Test
                                                        N           Statistical symbol for number of per-
a            "Cronbach's alpha;" A measure of                       sons in sample or analysis
             the internal consistency of a set of
                                                        NAS         National Airspace System
             items, a ranges from 0 to 1, and
             indicates how much the items in a          NTIS        National Technical Information Ser-
             scale are measuring the same thing.                    vice, Springfield, VA
ANOVA        Analysis of variance                       OAM         Office of Aviation Medicine
ARTCC        Air Route Traffic Control Center           OJT         On-the-job training
ATA          Air Traffic Assistant                      OKT         Occupational Knowledge Test
ATC          Air traffic control                        OPM         U.S. Office ofPersonnel Management
ATCS         Air Traffic Control Specialist             P            "P-value." A statistical symbol indi-
             "Beta weight," or standardized re-                      cating the probability of obtaining a
ß
             gression coefficient; used to weight                    result by chance alone 5 times or less
             eachXpredictor in a multiple regres-                    inl00(/><.05), 1 time or less in 100
             sion equation                                           (p< .01), or 1 time or less in 1000 (p
                                                                     < .001) independent samples
CAMI         Civil Aeromedical Institute, Okla-
             homa City, Oklahoma                        PATCO        Professional Air Traffic Controller
                                                                     Organization
CSC          Civil Service Commission
                                                        R            Statistical symbol for the multiple
CST          Controller Skills Test
                                                                     correlation between a single crite-
r\2          "Eta-squared;" A type of correlation                    rion (Y) and multiple predictors (X{,
             coefficient that can be used to ex-                     X2, ... X.). R may range between 0
             press a curvilinear relationship be-                    and 1, with 1 indicating that Y is
             tween 2 variables                                       perfectly predicted by some weighted
F            Statistic computed in analyses of                       combination of Xs. In multiple re-
             variance, used for testing the statisti-                gression analysis, the values on one
             cal significance of the amount of                       or more predictors (X,, X2,... X) are
             variance accounted for in one (or                       used to predict or estimate values on
             more) dependent variables by one                        the criterion (Y). Each predictor is
             (or more) independent variables                         statistically weighted by the stan-
FAA           Federal Aviation Administration                        dardized regression coefficient (b)
                                                                     such that overall errors in the predic-
FPL           Full performance level controller
                                                                     tion of Y values are minimized. The
FSS           Flight Service Station                                  degree of overall linear relationship
GAO           General Accounting Office                               between Y and the predictors Xj, X2,
M             Statistical symbol for the mean (or                     ... X is indexed by the multiple cor-
              average)                                                relation (R). An R of 1.0 indicates
                                                                      that Y is perfectly predicted from the
MAN OVA       Multiple analysis of variance
                                                                      combination of predictors, and an R
MCAT          Multiplex Controller Aptitude Test                      of 0 indicates that Y cannot be pre-
                                                                      dicted from any of the predictors.
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         GLOSSARY OF ABBREVIATIONS AND STATISTICAL TERMS

R2          "R-squared;" Statistical symbol for         VFR        Visual Flight Rules
            the squared multiple correlation.           VRA        Veterans Readjustment Act
            Ä2estimates the proportion or
                                                        Z           Statistical symbol used to denote the
            amount of variability in criterion (Y)
                                                                    magnitude of difference between two
            values or scores accounted for or
                                                                    proportions in terms of the area un-
            explained by the optimally weighted
                                                                    der a normal curve. Z is a statistic
            combination of predictors.
                                                                    used for testing if two proportions
RATING      Final civil service rating at hire, based
                                                                    are truly different from each other,
            on OPM test scores and veteran's                       taking into account the base popula-
            preference points
                                                                   tion on which the proportions are
SCREEN      Variable representing controller per-                  calculated. The likelihood of obtain-
            formance in the FAA Academy ATCS                       ing a Z (or any other statistic) by
            initial qualifications training program                chance alone in 100 or 1000 analyses
SD          Statistical symbol for standard                        based on different samples is the
            deviation                                              significance (p) of the statistic. Kp <
STATUS                                                             .05, < .01, or < .001 indicates that
           Variable representing outcomes in
                                                                   less than 5 in 100, 1 in 100, or 1 in
           controller on-the-job field training
                                                                   1000 such analyses, respectively,
           at the first assigned field air traffic
                                                                   would yield a statistic ofthat magni-
           control facility
                                                                   tude by chance alone.
TMC        Transmuted Composite score, a
           weighted sum of ABSR and MCAT
           scores on the OPM test battery
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                                                INTRODUCTION

                                                   Dana Broach
                          FAA Civil Aeromedical Institute, Oklahoma City, Oklahoma




   On August 3,1981, the majority of the nation's air           In the first paper, Jay Aul describes the personnel
traffic controllers went on strike. OnAugust5,1981,          processes supporting the recovery of the controller
President Reagan summarily fired the controllers             workforce, focusing on recruitment and hiring pro-
who had not returned to work. The controller strike          grams for the center and terminal options.
left 4,669 operational controllers available in August           Second, a detailed description of the numbers of
1981 to staff the nation's Air Route Control Centers,        persons tested and the instrument used to test for
terminal radar approach control, and airport control         aptitude are presented by Dana Broach. The second
towers (National Transportation Safety Board, 1981).         paper also evaluates the validity of the test battery as
The Federal Aviation Administration (FAA) con-               a predictor of performance at the FAA Academy and
fronted a challenge unique in the annals of American         in the field.
government: that of rebuilding a core, technical,               The third paper, by Pam Delia Rocco, offers a
highly trained workforce in an occupation directly           definitive statistical portrait of the 1981 to 1992 FAA
responsible for the safety of millions of lives on a daily   Academy screening programs for the en route and
basis. From late calendar year 1981 to mid-year              terminal options. Delia Rocco also evaluates the
 1995, the FAA rebuilt this critical workforce through       validity of the FAA Academy screening programs as
a large-scale testing, screening and training program.       predictors of field training outcomes.
    The testing and screening programs operated from             Fourth, the on-the-job training (OJT) program in
 1981 through March, 1992. Field training data col-          en route and terminal field facilities through June,
lection ended in the summer of 1995. By then, the            1995, is described by Carol Manning. These papers,
controller workforce was near its pre-strike level,          taken together, provide a definitive description of the
with about 14,400 controllers working in the nation's        processes used to test, screen, and train persons for
 en route centers, terminal radar facilities, and airport    the ATCS occupation between 1981 and 1992.
 towers. Throughout this period, the Civil Aeromedi-             The fifth paper, by Richard Thompson, chronicles
 cal Institute conducted a longitudinal research pro-        air traffic controller perceptions of organizational
 gram focused on the validation of the air traffic           climate in which this recovery occurred, drawing on
 control specialist (ATCS) selection program.                FAA survey data and documented organizational
    The following papers represent the first major           initiatives.
 retrospective analysis of the complete data set                 Finally, the demographics of the current ATCS
 describing the recovery of the FAA's en route and           workforce, projections about future trends and pos-
 terminal ATCS workforce following the 1981 con-             sible requirements, and potential areas of research in
 troller strike.                                              relation to both demographic and technological
                                                             trends, are described by David Schroeder, Dana
                                                              Broach, and Bill Farmer.
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                                                   CHAPTER 1:

                      EMPLOYING AIR TRAFFIC CONTROLLERS, 1981-1992

                                                     Jay C. Aul
                          FAA Office of Personnel, Washington, District of Columbia


   The civil service procedures andprocesses used to recruit and select air traffic control specialists (A TCS) following
the 1981 controller strike are described. Recruitment approaches and strategies, basic occupational qualifications
requirements for applicants applying under competitive rules, and additional selection criteria such as an interview,
medical examination, and security and suitability investigation are presented. Different noncompetitive employment
processes, such as cooperative education, are briefly surveyed, concluding with current trends in controller selection.


   On August 3, 1981, 10,438 members of the Pro-               concrete form, they are printed documents that con-
fessional Air Traffic Control Organization (PATCO)             tain certain detailed information, disclaimers, and
staged a job action, or strike, against the Federal            statements. The announcements must also be distrib-
government. On August 5, 1981, President Reagan                uted to organizations, such as state employment
summarily fired the controllers who had not returned           services. Advertising was not only a legal require-
to work. The PATCO strike left 4,669 operational               ment, it was a practical necessity during the recovery
controllers available in August 1981 to staff the              period. The traditional sources of candidates were
nation's airport control towers, terminal radar ap-            former military controllers (Collins, Manning, &
proach control facilities, and Air Route Traffic Con-          Taylor, 1984), and people who knew about the job
trol Centers (National Transportation Safety Board,            from some kind of personal contact. That contact
1981). The Federal Aviation Administration (FAA)               often turned out to be relatives or neighbors who
needed to rebuild as quickly and prudently as pos-             were air traffic controllers. Those sources were insuf-
sible after the loss of more than half of its controller       ficient to rebuild the work force after the 1981 strike.
workforce. As the FAA's air traffic controllers, more          To hire enough people, it was necessary for the FAA
properly called air traffic control specialists (ATCSs),       to recruit from the general population. Advertising
are civil servants, the employment process was gov-            also had to overcome the perception that the strike
erned by United States federal civil service laws and          circumstances did not make the job the of an ATCS
regulations. The regulatory agency overseeing these            sound appealing. The FAA and controller jobs re-
laws and regulations was the U.S. Office of Personnel          ceived much negative publicity in the years following
Management (OPM). The rules and regulations re-                the strike. Moreover, the FAA was competing for a
sulted in well-defined and rather strict employment            scarce resource consisting of people under age 31 who
procedures to ensure that there was open and fair              could score high on the civil service examination for air
competition for controller positions in the FAA. The           traffic control positions. The military and private sec-
purpose of this paper is to provide an overview of the         tors also valued and tried to attract bright young people.
employment procedures used by the FAA to recruit and               The first post strike vacancy announcements were
select ATCSs during the recovery from the 1981 strike.         little different from those issued by other government
                                                               agencies. They were several pages printed in black ink
                    Recruitment                                on white paper, and the only graphic was the agency
   The process logically began with finding and at-            logo. There was an attempt shortly after the strike to
tracting controller candidates. Under civil service             create a more attractive, exciting announcement.
rules, job openings must be advertised in a way that           That turned out to be a picture of an airliner taking
ensures open competition. The government calls                  off, with a banner above it saying something like,
these advertisements "vacancy announcements." In                "Control the Skies." Unfortunately, the picture was


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printed with red ink. With the smoke or dust trailing         OPM required that the score of 70 on this test be
the aircraft, it looked to some people as if the airliner     calibrated to the 50th percentile of the population
was in trouble. That particular format for the an-            applying for these jobs at the GS-5 grade level.
nouncement was dropped. At the same time, for                    However, most recruitment was for grade 7 ("GS-
budget reasons, there were government-wide restric-           7"), which was the more common entry grade for the
tions on printing in multiple colors. Eventually,            controller occupation. The qualifying score on the
however, the FAA received permission to print its            written ATCS aptitude test for the GS-7 grade level was
announcement as a four-color glossy brochure. The            75.1 for applicants without prior specialized experience
brochure was quite different from the standard gov-          or education. To qualify for GS-7 with a score of 70, an
ernment vacancy announcement. In addition to the             individual had to have additional experience or educa-
required information, it contained a brief story out-        tion. Typically, this was certain kinds of aviation expe-
lining how controllers handle a single airline flight.       rience, one year of graduate school, or superior grades in
There were sample items from the civil service exami-        college. Federal law also required that extra points be
nation for air traffic controllers and color pictures of     given to certain military veterans. The matter of who
controllers at work in various settings. The FAA built       received these extra points is too complex to fully
a staff of full time recruiters who sought out sources       explain here. For simplicity, it can be explained as
of applicants. The FAA learned to use other recruit-         including veterans of the U.S. military, who served in
ment methods during this period as well. FAA field           declared wars, or in military actions for which campaign
personnel offices frequently used newspaper adver-           badges or expeditionary medals were awarded. Nor-
tisements to recruit. Magazine, television, and radio        mally, five extra points were added onto the examina-
advertisements were also used in. some markets               tion score for veteran's meeting these criteria. If the
(Schultz & Marshall-Mies, 1988).                             veteran had a military service-related disability, he or she
                                                             received ten extra points, instead of five. Veterans also
                                                             had priority in hiring over non-veterans. For example, a
                         Selection                           candidate with veteran's preference had priority in
 Competitive processes                                       hiring over a candidate with the same score, but without
    Basic qualifications and pre-hire testing. One           the veteran's preference.
 reason that extensive recruitment was necessary was
that potential controllers had to meet a number of               Interview, medical, and security criteria.
qualifications requirements. First, they had to be              Candidates were also interviewed. The interview had
United States citizens. Second, in most cases, they          several purposes. One key purpose was to provide infor-
could be no younger than 18 years of age. They could         mation to the candidates about the ATCS occupation.
not have reached their 31 st birthday prior to initial       Most candidates did not have a clear understanding of
appointment into the terminal or en route options.           the work of air traffic controllers. It was important to
To qualify for consideration at the entry level civil        explain the concept of rotating shift work, because many
service grade 5 ("GS-5"). an applicant needed some           did not understand it. It was also a chance for the
combination of undergraduate or graduate level edu-          interviewer to evaluate the candidate for such factors as
cation, progressively responsible work experience,           ability to speak clearly and to speak in English. Inter-
and/or specialized aviation experience. Candidates           viewers were asked to make a hiring recommendation
were also required to take (and pass) the OPM civil          for each candidate, although the interview was rarely
service examination for air traffic control specialists.     used to screen out candidates.
This written test was designed to identify people with          Candidates who progressed through these hurdles
the aptitude to be air traffic controllers (Broach, this     then had to meet the medical requirements for these
volume). Under Title 5 of the U.S. Code of Federal           positions. The medical standard for entry into these
Regulations, all such civil service entrance examina-        positions was (and is) quite strict. It included vision and
tions must be scored on a scale of 100. The bottom           hearing standards, as well as a form of mental health
point is not designated in the regulations. The passing      screen. Personality assessment has been used formally by
score for a civil service test must be set at 70. To avoid   the FAA in conjunction with the ATCS programs since
adverse impact against minority groups and women,            1965 (Convey, 1984). From the outset, the 38-item
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subset from the two 187-item parallel forms of the           varied, but was about 60 percent for most of the
Sixteen Personality Factor Questionnaire (16PF; Cattell,     period it operated. On average, about 30 percent
Eber, & Tatsuoka, 1970) was intended to operate as an        failed outright, and another 10 percent withdrew
indicator of emotional instability. Candidates flagged       from the program. This meant that nine weeks after
by the 38-item scale were referred for psychiatric and       starting with the FAA, approximately 40 percent of
psychological evaluation.                                    the new hires might no longer be employed with the
    Finally, the candidates had to pass a background         agency.
investigation. This investigation was used for two pur-         Re-engineering the selection process. The process
poses. One was to determine if the person would receive      described up to this point was quite lengthy. In 1988, it
a security clearance. The other was to determine the         was estimated to take on average 18 months to hire an
person's general suitability for federal employment.         entry level controller to send to the FAA Academy. In
Individuals who had been found guilty of crimes, who         particular, it might take several months to obtain a
had been discharged from the military under less than        background check on someone or to medically clear
honorable conditions, who had been fired with cause          someone who required a special review of his or her
from previous employers, or who had been convicted of        medical situation. As a result, in the late 1980s the FAA
any alcohol or drug-related offense had great difficulty     embarked on what today would be called a "reengineering
being cleared under this process. The FAA also looked        project." It successfully reengineered the hiring process
with caution on people who had repeated minor viola-         for entry level controllers and effectively reduced the
tions, such as multiple speeding tickets.                    time to hire from 18 months to about six weeks. This
    Large numbers of people were processed under             was, however, late in the post-strike recovery period and
these procedures. At peak, nearly 50,000 people were         many people still experienced delays due to existing
tested in a year. During the first years after the strike,   backlogs of work. There was another complicating
the FAA's personnel offices were required to recruit         factor in the hiring process. A number of companies
and hire specific numbers of people for each new class       discovered a market for teaching people to take the
date at the FAA Academy. These numbers were set              OPM test. These companies aggressively marketed their
ambitiously high; initially, therefore, a few people         services and, as a result, may have brought many more
with test scores as low as 70 were sent to the FAA           applicants to the FAA. Unfortunately, we also know
Academy. Over time, the FAA was able to recruit and          that the more times a person takes the test, the lower the
hire people with increasingly higher test scores. Dur-       relationship between test score and success in the FAA
 ing the late 1980s until 1992, the minimum hiring           Academy screening program (Broach, Young, & Farmer,
 scores varied from about 85 to about 95.                     1994; Collins, Nye, and Manning, 1990). From evi-
    Post-hire screening. Once someone met the basic          dence like this, we concluded that the test was subject to
 eligibility criteria, passed the OPM test, was medi-        practice effects. The graduates of these training pro-
 cally cleared, passed a background investigation, and       grams may have had inflated scores on the test, and this
was interviewed, the person was usually hired. How-          could have contributed to some increases that were seen
 ever, the selection process did not stop there. Select-     in the failure rates at the FAA Academy in the late 1980s.
 ees reported to the FAA Academy screening program
 in Oklahoma City, Oklahoma (Delia Rocco, this                            Noncompetitive processes
 volume). The individuals were officially appointed             So far, only the conventional, competitive hiring
 into the civil service at the FAA Academy, becoming         process has been described. Other legitimate, but less
 paid employees of the FAA. They spent the first             well- known processes were also used. One such method
 several weeks of their employment in the FAA Acad-          was cooperative education. The FAA formally recruited
 emy screening program. The FAA Academy program              students at colleges in certain majors, such as aviation,
 was considered to be initial training, but was con-         mathematics, geography, and engineering. As employ-
 ducted with an emphasis on screening out those              ees in the FAA's cooperative education program, the
 unlikely to be successful in further FAA controller         students alternated periods of training to be controllers
 training (Boone, 1984). The last version of the screen-     at the FAA with periods of study in college. College
 ing program was approximately nine weeks long.              graduates who met all the requirements described pre-
 Those who failed the FAA Academy program usually            viously, and completed the cooperative education train-
 had their employment terminated. The pass rate              ing program, could be assigned to positions as entry
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 level controllers. They then attended the FAA Academy           facilities to verify their work experience and obtain
 screening program. In addition, the FAA moved people            references or recommendations. About 600 military
 internally from other occupations into controller jobs.         controllers were hired in this way. They were placed
 Programs were established that allowed lower-graded             directly into facility training, bypassing the FAA Acad-
 employees to take the OPM written ATCS aptitude test            emy screening program (Manning & Aul).
 battery, and bid for entry-level positions in air traffic
 control. Thus, for example, a secretary or clerical worker        Current Trends in Controller Selection
 could compete for an entry level training position as a              On February 21,1992, the FAA closed the process of
 controller. The people hired under this program usually           hiring from the general population. No new applica-
 started as controllers below the normal GS-7 entry                tions to take the OPM test were processed, except for
 grade. They received additional training before they             certain veterans who had a statutory right to take the
 reached GS-7. The minimum passing scores on the                  examination. On August 12, 1993, President Clinton
 OPM test still applied to them, and they were required           again permitted the former controllers who had left the
 to meet the same medical and background investigation            agency in 1981 to be considered for employment with
 requirements as other applicants. Of course, they also           the FAA. The FAA accepted applications from the
 had to pass the FAA Academy screening program upon               former controllers from September 1, 1993 through
 reaching the GS-7 grade.                                         October 15,1993. Over 5,000 applications were received
    Other alternative hiring methods centered around              in that short period. From 1992 until now, it has not been
 former military controllers. The FAA hired many former           necessary to hire significant numbers of people. Between
 military controllers through the basic civil service hiring       1992 and 1997, the FAA hired approximately 100 control-
 process, described at length in the first part of this paper.    lers peryear. This has been due to stable workforce with very
 It was also not uncommon for the FAA to hire military            low attrition and retirement rates (General Accounting
controllers through alternative hiring procedures. For            Office, 1997), use of contractors to operate less busy non-
example, Congress established special, expedited hiring           radar towers, and a slower than anticipated growth in
mechanisms for Vietnam-era veterans, and for people               aviation in the early part of the decade.
who had recently left military service. The FAA still                 However, the FAA may increase its hiring in the near
required the test, medical, and background investiga-             future but under very different conditions. The reason
tions when using this approach, but it was, nevertheless,         for the hiring is primarily that attrition is anticipated to
somewhat easier to hire people by this method. Not                increase in the next five years, as the post-strike genera-
uncommonly, former military controllers might be                 tion of controllers ages. The FAA is now starting to hire,
hired at one step above the normal entry grade, based on         to ensure that replacement staff are trained and ready
their military controller experience. These individuals          when needed. The FAA estimates that about 500 new
could bypass the FAA Academy screening program and               controllers per year will be needed over the next several
go directly into training at an FAA air traffic control          years. The General Accounting Office (GAO) has re-
facility. In 1988, the military services reduced the size of     cently produced slightly lower estimates (GAO, 1997);
their forces. The FAA took advantage of the opportu-             but both organizations point to the need for future
nity to hire military controllers (Manning & Aul, 1992).         hiring (Schroeder, Broach, & Farmer, this volume).
This program was conducted under very different pro-             Approximately 50 cooperative education students also
cedures as authorized by OPM. The controllers were               began work study programs with the agency in 1997.
hired at the GS-9 grade, one grade above the normal              These individuals will come to a different FAA. In April
entry grade. Above the GS-7 grade, the OPM test was              of 1996, the FAA was legally exempted from most of the
optional. In this case, the agency chose not to use it.          civil service laws. The agency now has the authority to
Instead, subject matter experts (personnel experts and           develop new and innovative personnel systems and, for
controllers) rated the candidates' experience, education,        many months, has been incorporating new procedures
and training. This was a daunting task, as there were            based on studies of the best practices in other organiza-
over 1,400 eligible applicants. A standard rating guide,         tions. Based on those best practices and lessons learned
containing six factors, was used. All selectees had to           in the recovery of the controller workforce between
meet the medical requirements and be cleared through             1981 and 1992, the FAA is developing and implement-
a background investigation. In addition, FAA air traffic         ing innovative processes to select and train the next
control staff contacted the selectees' former military           generation of air traffic controllers.
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                                                    CHAPTER 2:
           AIR TRAFFIC CONTROL SPECIALIST APTITUDE TESTING, 1981-1992

                                                      Dana Broach
                          FAA Civil Aeromedical Institute, Oklahoma City, Oklahoma


   Between 1981 and 1992, entry into the demanding air traffic control specialist (A TCS) occupation in the Federal
Aviation Administration (FAA) was determined by applicant performance on a written aptitude test battery. That
A TCS aptitude test battery was administered over 400,000 times between 1981 and 1992. The reliability, validity,
and technical fairness of the test battery are evaluated in this paper. Available data indicated that the tests comprising
the battery had acceptable reliability. A composite score on the test battery predicted performance in initial ATCS
qualification training at the FAA Academy, but did not predict outcomes infield training. Evidence for differential
prediction of FAA Academy outcomes on the basis of race andgender wasfound in the technical fairness analyses. However,
the validity evidence supported using the battery as a mass testing tool by the FAA in rebuilding the controller workforce.


    The Air Traffic Control Specialist (ATCS) occu-             in the final report of the Air Traffic Controller Career
pation is the single largest (about 17,000) and most            Committee (Corson, Berhard, Catterson, Fleming,
publicly visible occupational group in the Federal              Lewis, Mitchell, & Ruttenberg, 1970). A review of
Aviation Administration (FAA). Air traffic control-             controller training in the mid-1970s concluded that
lers are at the heart of a web of radars, computers, and        improved selection methods could have substantial
communication facilities that comprise an increas-              monetary implications for the agency (Henry,
ingly complex and busy air transportation system.               Ramrass, Orlansky, Rowan, String, & Reichenbach,
Appropriate selection of personnel into these critical          1975). A subsequent technical study of controller
positions is an important human factors problem.                selection tests found that the 1964 test battery was, at
From 1981 through 1992, the FAA used noncom-                    best, marginal in predicting the job performance of
pensatory, multiple hurdles to select people into the           controllers (Milne & Colmen, 1977). Cooperative
ATCS occupation. The first hurdle was a written                 research by scientists from the FAA Office of Avia-
aptitude test battery administered by the U.S. Office           tion Medicine (Dailey & Pickrel, 1984a, b), Civil
of Personnel Management (OPM; Aul, 1991, this                   Aeromedical Institute (CAMI; Collins, Boone, &
volume). Between 1981 and 1992, the test was ad-                VanDeventer, 1984), and OPM (Rock, Dailey, Ozur,
ministered over 400,000 times. Only 25,277 appli-               Boone, & Pickrel, 1982) resulted in the develop-
cants were selected on the basis of their test scores to        ment, validation, and implementation of a new writ-
 attend the FAA Academy initial controller training             ten ATCS aptitude test battery in 1981 following the
 program, the second major hurdle in the FAA's                  strike by members of the Professional Air Traffic
 selection process. The purpose of this paper is to              Controller Organization (PATCO).
 describe the test battery and evaluate its psychometric            Three tests comprised the new 1981 test battery:
 characteristics.                                                the Multiplex Controller Aptitude Test (MCAT),
                                                                 the Abstract Reasoning Test (ABSR), and the Occu-
 Description of the ATCS Written Test Battery                    pational Knowledge Test (OKT). The MCAT was a
   The aptitude test battery used from 1981 to 1992              timed, paper-and-pencil test simulating activities re-
was developed in response to the inadequacies of a               quired for control of air traffic. Aircraft locations and
more traditional civil service battery that was in use           direction of flight were indicated with graphic sym-
from 1964 to 1981. The effectiveness of the 1964                 bols on a simplified, simulated radar display (Figure
civil service battery was questioned as early as 1970,           2-1); an accompanying table provided relevant
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 information required to answer the item, including           can Psychological Association, & National Council
 aircraft altitudes, speeds, and planned routes of flight.    on Measurement in Education, 1985). Test-retest
 MCAT test items required examinees to identify               reliability is an estimate of the degree to which a
 situations resulting in conflicts between aircraft, to       person will obtain approximately the same score
 solve time, speed, and distance problems, and to            when re-tested after some time interval. The test-
 interpret the tabular and graphical information. The         retest correlation for the MCAT was estimated at .60
ABSR was a 50-item civil service examination (OPM-            in a sample of 617 newly-hired controllers (Rock,
 157). To solve an item, examinees determined what            Dailey, Ozur, Boone, & Pickrel, 1981, p. 59). Paral-
 relationships existed within sets of symbols or letters.     lel form reliability estimates the degree to which an
 The examinee then identified the next symbol or              applicant will obtain approximately the same score
 letter in the progression or the element missing from        on a different version of the same test. The parallel
 the set. A sample ABSR item is presented in Figure2-         form reliability, as computed on the same sample,
 2. The OKT was an 80-item job knowledge test that            ranged from .42 to .89 for various combinations of
 contained items related to seven knowledge domains           items (Rock et al., p. 103). Internal consistency
 generally relevant to aviation, and specifically rel-       estimates the degree to which the items in a test are
 evant to air traffic control phraseology and proce-         homogenous (Ghiselli, Campbell, & Zedeck, 1981).
 dures. The OKT was developed as an alternative to           Lilien thai and Pettyjohn (1981) examined internal
 self-reports of aviation and air traffic control experi-    consistency and item difficulties for ten versions of
 ence. The OKT was found to be more predictive of            the MCAT. Cronbach's alpha for the ten versions
performance in ATCS training than self-reports               ranged from .63 to .93; the alphas for 7 of the 10
 (Dailey & Pickrel, 1984b; Lewis, 1978).                     versions were greater than .80. The available data
    The scoring of the MCAT, ABSR, and OKT is                suggest that the MCAT had acceptable reliability but
presented in Table 2-1. The sum of the weighted              was vulnerable to practice effects. In contrast, no
MCAT raw score and the ABSR score was then                   item analyses, parallel form, test-retest, or internal
transformed into a linear composite ranging from             consistency estimates of the ABSR (OPM-157) test
 19.5 to 100. This "Transmuted Composite" (TMC)              have been reported by the FAA. Therefore, no con-
score was used to determine employment eligibility.          clusion can be drawn about the measurement proper-
For applicants without specialized prior experience,         ties of the ABSR. Published data are available for the
education, or superior academic achievement, a mini-         OKT. Parallel form reliability for the OKT ranged
mum TMC of 75.1 was required to qualify at the               from .88 to .91 (Rocketal., p. 65, 70). The internal
entry level GS-7 grade (Aul, 1991, this volume). If an       consistency estimate of reliability (Kuder-Richardson
applicant achieved the minimum TMC, extra points             Formula 20 (KR-20); Kuder & Richardson, 1937)
were awarded on the basis of scores on the OKT, as           for a 100-item version of the OKT was .95 (Rock et
noted in Table 2-1. The final civil service rating           al., p. 51). Lilienthal and Pettyjohn reported Cronbach
(RATING) was the sum of TMC, extra points on the             alphas for ten versions of the OKT ranging from .85
basis of OKT scores, and any adjudicated veteran's           to .94 on a sample of about 2,000 FAA Academy air
preference points. Ranking, referral, and selection          traffic control students. However, test-retest esti-
were based on an applicant's final RATING. In general,       mates of reliability have not been published. The
only those competitive applicants with a RATING of at        available data suggest that the OKT had acceptable
least 90 were selected by the FAA for employment as          reliability.
controllers. The distributions of applicant and selectee
RATING scores are presented in Figure 2-3, based on over      Validity
200,000 applicant records archived at CAMI for re-               Validity generally refers to the appropriateness,
search purposes.                                              meaningfulness, and usefulness of specific inferences
                                                              made on the basis of test scores (American Educa-
           Psychometric Characteristics                       tional Research Association, American Psychological
Reliability                                                   Association, &c National Council on Measurement in
   Reliability in testing refers to the degree to which       Education, 1985). Validity in the specific context of
scores on a test are free from errors of measurement          employee selection, as discussed in the federal Uni-
(American Educational Research Association, Ameri-           form Guidelines on Employee Selection Procedures
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(Equal Employment Opportunity Commission,                       In view of the iterations of the FAA Academy
1978), refers to the degree to which test scores used       initial training programs, described by Delia Rocco,
for making employment decisions are predictive or           and differences in field training as described by
correlated with important and/or critical work out-         Manning, the sample was divided into four groups:
comes, elements, or behaviors. The ATCS aptitude            (a) 1982-85 FAA Academy Terminal program gradu-
test battery has been validated against two classes of      ates assigned to training in the terminal option (Table
work outcomes in previous studies: (a) performance          2-3); (b) 1982-85 FAA Academy En route program
in the FAA Academy initial training programs (SCREEN;       graduates assigned to field training in the en route
Delia Rocco, this volume); and (b) outcomes of on-          option (Table 2-4); (c) 1986-92 FAA Academy Non-
the-job field training (OJT) at the first assigned field    radar Screen assigned to field training in the terminal
facility (STATUS; Manning, this volume).                    option (Table 2-5); and (d) 1986-92 FAA Academy
    As the final civil service RATING was the basis of      Non-radar Screen graduates assigned to field training
operational personnel selection decisions, this retro-      in the en route option (Table 2-6).
spective analysis examined the validity of the final            On one hand, this retrospective analysis found
RATING as a predictor of these two criteria for the         that the final civil service RATING had acceptable
15,876 controllers who survived the FAA Academy             validity as a predictor of performance in initial train-
and were placed into field training between 1981 and        ing at the FAA Academy for all four groups. The
 1992. The field training STATUS criterion was coded        uncorrected correlations between RATING and SCREEN
as follows: 1 = Reached Full Performance Level; 2 =         were statistically significant and ranged from . 178 to
Still in Training (Developmental); 3 = Switched facili-     .222 across the four groups. The corrected correla-
ties; 4 = Switched options; and 5 = Failed. As recom-       tions between civil service RATING and FAA Academy
mended by Manning, persons who had attrited for             SCREEN ranged from .458 to .502. On the other hand,
reasons other than performance were excluded from           regression analyses of the corrected correlation matri-
the validity analysis. Because the samples had been         ces found that RATING was a relatively poor predictor
truncated by selection first, on RATING, and second,        of field training STATUS in three of the four FAA
by selection on FAA Academy score (SCREEN), correc-         Academy and field training variations (Table 2-7).
tions for restriction in range were made as shown in        The standardized regression weight (ß) for RATING
Table 2-2, using the formulae presented by Ghiselli,        was not statistically significant for graduates of 1982-
Zedeck, and Campbell (1984). Correlations between            85 Terminal Screen program assigned to field train-
civil service RATING and FAA Academy SCREEN scores           ing in the terminal option (ß = -.025, ns) or for
were corrected for direct restriction in range due to        1986-92 Non-radar Screen program graduates as-
explicit selection on RATING. The corrections were           signed to either terminal (ß = -.041, ns) or en route (ß
 based on the population standard deviations pre-            = -.010, ns) field training. However, RATING did enter
 sented in the Tables 2-3 through 2-6. Correlations          into the regression equation predicting STATUS in en
 between FAA Academy (SCREEN) and field training             route field training, with a standardized regression
 outcomes (STATUS) were corrected for direct restric-        weight of -.107 (/><. 001), for graduates of the 1982-85
 tion in range due to explicit selection on the FAA          En Route Screen program, as shown in Table 2-7.
Academy score. Finally, correlations between civil
 service RATING and field training outcomes were cor-                                Fairness
 rected for incidental restriction in range due to selec-      The FAA, in its 1993 Diversity Plan, made a
 tion of the samples on FAA Academy SCREEN scores.          commitment to attract, retain, develop, and manage
 The uncorrected, zero-order correlations are pre-          a diverse work force that visibly reflected the Ameri-
 sented in the lower left corner of each correlation        can population at large by the year 2000. Achieving
 matrix and the corrected correlations in the upper         this goal will require substantial changes in the demo-
 right corner. The corrected correlation matrices for       graphic profile of the ATCS occupation. Air traffic
 each sample were submitted to regression analysis to       control is a career field in which female and minority
 estimate the validity of RATING as a predictor of FAA      workers have been historically under-represented rela-
 Academy SCREEN and field training STATUS.                  tive to the American population at large. The techni-
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 cal fairness of the written ATCS aptitude test battery           had either failed the test ('IA') or scored too low for
was recently examined in a series of papers as the first          consideration ('IS') were categorized as test failures.
 step toward assessing to what degree, if any, the               All other ineligibility codes were categorized as "other
 battery may have served as an "engine of exclusion"              ineligible," and excluded from the analysis. OPM
 (Seymour, 1988) of women and minorities from the                 codes indicating eligibility were categorized as "eli-
ATCS occupation (Young, Broach, & Farmer, 1996;                   gible" for employment. The adverse impact analysis
Broach, Farmer, & Young, 1997). Technical fairness                compared the proportion of women considered eli-
 refers to the regression model of test bias for which            gible with that of men. The analysis is presented in
there is a reasonable professional consensus, as em-             Table 2-8. A significantly lower percentage of women
bodied in the 1985 Standards for Educational and                  (42.0%) than men (58.1%) were coded by OPM as
Psychological Testing (American Educational Research              eligible for employment as controllers, based on test
Association, American Psychological Association, &               scores {Z = -3.58, p < .001). The ratio of female to
National Council on Measurement in Education),                   male selection rates was .72. Using the 4/5ths rule of
rather than a socially constructed standard regarding            thumb of the Uniform Guidelines on Employee Selec-
test use (Sackett & Wilk, 1994; Gottfredson, 1994).              tion Procedures, it appeared that the use of scores on
Technical fairness in the regression model, and under            the written ATCS aptitude test battery to determine
the Uniform Guidelines on Employee Selection Proce-              eligibility for employment in the ATCS occupation
dures (Equal Employment Opportunity Commis-                      between 1981 and 1992 resulted in statistically signifi-
sion, 1978), encompasses two issues. First, the effect           cant adverse impact on female applicants.
on protected groups arising from use of a particular                 Given the finding that there appeared to be adverse
cut score on the predictor must be evaluated. A                  impact against women, the Uniform Guidelines on Em-
selection rate for any protected group that is less than        ployee Selection Procedures (29 CFR l607.l4.B.(8).(b))
four-fifths (4/5 or 80%) ofthat of the majority group            and Standards for Educational and Psychological Test-
will "... generally be regarded by the Federal enforce-          ing (Standard 1.20, p. 17) next required an investiga-
ment agencies as evidence of adverse impact" (29                 tion of the relationship between test scores and job
CFR 1607.4.D). Second, where the use of a selection              performance for evidence of differential prediction
procedure results in adverse impact, the Uniform                 by subgroup. The classical, regression-based model
Guidelines on Employee Selection Procedures require              of test bias was used as the analytic framework by
that the test user evaluate the degree to which differ-         Young, Broach, and Farmer to evaluate the degree to
ential predictions of future job performance are made           which the written ATCS test battery differentially
from selection test scores by subgroup (29 CFR                  predicted performance in initial ATCS qualification
l607.l4.B.(8).(b)).                                              training at the FAA Academy. After correcting corre-
                                                                lations between test score, FAA Academy composite
Gender                                                          score, and gender for explicit and implicit restric-
   Previous research on written ATCS selection tests            tions in range due to prior selection of the sample on
suggested that mean score differences by gender were            aptitude test score, the null hypothesis of a common
insignificant (Rock, Dailey, Ozur, Boone, & Pickrel,            regression line for the genders was rejected, suggest-
 1984a, pp. 476) and that, overall, "the evidence for           ing the presence of some degree of test bias. Statisti-
adverse impact against women based, on this sample,             cally significant differences by gender in regression
was marginal, at best" (Rock, Dailey, Ozur, Boone,              slopes and intercepts were found in the step-down
& Pickrel, 1984b, pp. 507). This conclusion was                 regression analysis, indicating the need for separate
based on results of a 1984 study in which 57% of men            regression equations for men and women. The regres-
(n = 3,835) passed the written test, compared to 45%            sion line for men slightly over-predicted the perfor-
of women (n = 1,473). The adverse impact ratio in               mance of women in the FAA Academy, as shown in
this case was 0.78, rather than the 0.80 required               Figure 2-4. The practical consequence of the appar-
under the "four-fifths rule of thumb." Young, Broach            ent differential prediction was that women effectively
and Farmer (1996) analyzed archival records for                 needed a higher test score than men to have an equal
170,578 applicants. Based on test scores, OPM de-               likelihood of passing the initial qualification training
termined the eligibility of applicants for employment           at the FAA Academy.
by the FAA. OPM codes indicating that an applicant


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Race                                                                    On the other hand, the composite score was not a
   A formal adverse impact analysis on the basis of race             valid predictor of far-term (2 to 3 years from hire)
was not technically feasible, as racial identifiers were not         field training outcomes. Moreover, the fairness analy-
collected for ATCS job candidates. However, previous                 ses suggested that the battery had adverse impact
research (Rock, Dailey, Ozur, Boone, & Pickrel, 1984)                against women, and was likely to have had adverse
found that the OPM test battery had adverse impact                   impact on African-American job candidates. The test
against African-Americans and Hispanics. In view of                  battery over-predicted performance in initial ATCS
the previous research, Broach, Farmer, and Young (1997)              qualification training at the FAA Academy on the
investigated the relationship between test scores and                basis of gender and race. Adverse impact and over-
performance in the FAA Academy for evidence of                       prediction of training and job performance is com-
differential prediction on the basis of race. The classical,         monly reported for tests of cognitive ability similar to
regression-based model of test bias was again used as the            the ATCS test battery, such as the General Aptitude
analytic framework to evaluate the degree to which the               Test Battery (GATB) (Hartigan & Wigdor, 1989;
written ATCS test battery differentially predicted per-              Schmidt, 1988; Wigdor & Sackett, 1993). This out-
formance in initial ATCS qualification training at the               come does not result because scores on the ATCS
FAA Academy for African-American and white control-                  aptitude test battery mean something different for
lers. After correcting correlations between test score,              women and African Americans. The test is not biased
FAA Academy composite score, and race for explicit and               in that sense. Rather, the adverse impact and over-
implicit restrictions in range, the null hypothesis of a             prediction of subsequent performance in initial train-
common regression line for African-American and white                ing for both groups results from the interplay of two
controllers was rej ected, suggesting the presence ofsome            factors: the lower average scores for African Ameri-
degree of test bias. Statistically significant differences by        cans and women relative to white males, and the less-
race in regression slopes and intercepts were found in the           than-perfect validity of the composite test score. As a
step-down regression analysis, indicating the need for               consequence of these facts, the predicted perfor-
separate regression equations for African-American and               mance of minorities and women is higher than their
white controllers. The regression line for whites over-              actual performance. The practical result is that more
predicted the performance of African-Americans in the                women and minorities were hired on the basis of their
FAA Academy. The practical consequence of the appar-                 predicted performance than would have been hired
ent differential prediction was that African-American                on the basis of their actual job performance.
controllers effectively needed a higher test score than                  In conclusion, the written test battery was a valid
white controllers to have an equal likelihood of passing             mass testing tool, with which the FAA could reduce
the initial qualification training at the FAA Academy, as            the applicant pool to a smaller, affordable number for
shown in Figure 2-5.                                                 more intensive evaluation of their aptitude for the
                                                                     controller occupation. The relative costs of assess-
                       Discussion                                    ment methods must be carefully considered, particu-
   The written ATCS aptitude test battery in use from                larly in view of the substantial numbers of job
1981 through 1992 was developed to enable the agency                 applicants. For example, the cost of administering
to make reasonable predictions, for large numbers of                 the paper-and-pencil ATCS test battery was about
applicants, about their future job performance as the                $20 per examinee, compared with a cost of about
basis for initial selection into a safety-related occupa-            $10,000 per person for initial training at the FAA
tion. From a practical perspective, the primary function             Academy (Broach & Brecht-Clark, 1993). There was
of the written ATCS test battery was to winnow a huge                significant financial utility for the agency in using a
pool of applicants down to a smaller, manageable num-                valid test as the first step in a multiple-hurdle, se-
ber suitable for further intensive, expensive evaluation.            quential personnel selection system. Moreover, the
On one hand, the written ATCS aptitude test battery, as              test battery was fair, in that test scores over-predicted
used from 1981 to 1992, achieved that organizational                 subsequent training performance of African Ameri-
goal. The tests comprising the battery produced reliable             cans and women. Overall, the written ATCS aptitude
scores. A composite of those reliable scores, used as the            test battery was an inexpensive, practical, valid, fair,
basis for selection decisions, was valid as a predictor of           and invaluable tool in rebuilding the controller
near-term (relative to date-of-hire) training outcomes.              workforce between 1981 and 1992.


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                 AIRCRAFT    ALTITUDE   SPEED   ROUTE

                    10         7000     480     AGKHC
                    20         7000     480     BOJE
                    30         7000     240     AGJE
                    40         6500     240     CHKJF
                    50        6500      240     DIKGB
                    60        8000      480     DM JE
                    70        8000      480     FJKID


                SAMPLE QUESTION

                WHICH AIRCRAFT WILL CONFLICT?                         04*12
                                                                 MILEAGE SCALE
                A. 60 AND 70
                B. 40 AND 70
                C. 20 AND 30
                D. NONE OF THESE


              Figure 2-1: Example Multiplex Controller Aptitude Test (MCAT) item




                    Symbols
                         L
                             |E3fo BH/S70 ?| |©AOE!A
                                                         A   B    C     D     E


                             W\ V A ?                    v^y\
                                                         A   B    C     D     E


                   Letters
                    1) XCXDXEX                A)FX B)FG c) XF D) EF           E)XG


                    2) ARCSETG                A)HI B)HUC)UJ        D)UI E)IV


                  Figure 2-2: Example Abstract Reasoning (ABSR) test item




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  35,000




§ 20,000-




            20 25 30 35 40 45 50 55 60 65 70 75 80 85 90 95 100 105 110
                                              RATING

                Figure 2-3: Distribution of RATING for examinees and selectees




  90'
            ♦   Men
  80-

  70-

  60'

  50 |

  40

  30

  20

  10

                      1             1             1               1            1
       70             75           80             85             90            95            100
                                           Test score (TMC)




 Figure 2-4: Regression of test score (TMC) on FAA Academy score (SCREEN) by gender




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          70                75               80                85                      90             95             100
                                                       Test score (TMC)


               Figure 2-5: Regression of test score (TMC) on FAA Academy score (SCREEN) by race



                                 Table 2-1: ATCS Aptitude test battery scoring

  Test              OPM#              Scoring                                    Weight                    N Items

  MCAT              510               N Right                                    2                         110
  ABSR              157               N Right-(0.25*N Wrong)                     1                         50
                                                                                 a
  OKT               512               N Right                                                              80
  Note:   Extra points awarded as follows for OKT raw scores: 0-51 = 0 extra points; 52-55 = 3 extra points;
          56-59 = 5 extra points; 60-63 = 10 extra points; 64-80 = 15 extra points for computation of the
          civil service rating.




                     Table 2-2: Correlation matrix structure for regression analyses

                                             RATING             SCREEN                      STATUS
                       RATING
                                                                    '(RATING)                '(S

                       SCREEN
                       STATUS

                       Note:     Sample correlation matrix structure shown below the
                                 diagonal, corrected matrix structure above the diagonal,
                                 /v = sample correlation; rP
                                 3                         C
                                                                 = correlation corrected
                                                            (RATINC)
                                 for explicit selection on RATING; r-,
                                       1
                                                                                      = correlation
                                                                          '(SCREEN)

                                 corrected for incidental restriction in range due to
                                 selection on SCREEN; and re          = correlation
                                 corrected for explicit selection on SCREEN
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  Table 2-3: Descriptive statistics and correlations for 1982-85 Terminal Screen graduates
                                   assigned to Terminal OJT
                           Sample3                           Population1"                         Correlations'1

Variable           N         M             SD         N               M          SD        (1)          (2)           (3)
(1) RATING       2,814     92.31       5.72         99,887           74.93      14.24                  .493        -.168
(2) SCREEN       3,174      79.45      5.48         4,686            73.82      11.32     222***                   -.303
(3) STATUS       3,174    88.0%      FPL                                                 -.037        -.146***
                          12.0%      NOT FPL
Notes: 'STATUS outcomes for first assigned field facility only as of March 1997      ** p < .01, ***p < .001
       b
         RATING based on CAMI records for examinees tested 1982-85
       C
         SCREEN based on Terminal Screen entrants who did not withdraw, 1982-1985
       d
         Uncorrected correlations in lower left half, corrected in upper right half.



      Table 2-4: Descriptive statistics and correlations for 1982-85 En Route Screen graduates
                                       assigned to En Route OjT
                           Sample3                               Population6,0                      Correlations'1

 Variable           N         M             SD          N               M          SD       (1)          (2)           (3)
 (1) RATING       4,021      92.56         5.37      99,887           74.93      14.24                  .502         -.256
 (2) SCREEN       4,276      82.02         7.17       4,686           73.82      11.32      2i 4***                  -.351
 (3) STATUS       4,276      66.1% FPL                                                     -.047**     -.231**
                             33.9% NOT FPL
 Notes: "STATUS outcomes for first assigned field facility only as of March 1997                  ** p < .01, ***p < .001
        b
          RATING based on CAMI records for examinees tested 1982-85
        C
          SCREEN based on En route Screen entrants who did not withdraw, 1982-
        1985
        d
          Uncorrected correlations in lower left half, corrected in upper right half.




    Table 2-5: Descriptive statistics and correlations for 1986-92 Non-radar Screen graduates
                                      assigned to Terminal OJT
                                                                 >
                           Sample"                                opulationbc                      Correlations0
Variable            N         M            SD          N               M          SD        (1)          (2)          (3)
(1) RATING        2,765     93.31          5.15      106,201          76.33      14.67                 .458          -.095
(2) SCREEN        3,145     78.28          6.07      12,756           72.26      11.80      178***                   -.137
(3) STATUS        3,298     95.0% FPL                                                     -.027       -.071***
                              5.0% NOT FPL
Notes: "STATUS outcomes for first assigned field facility only as of March 1997                   ** p < .01, ***p < .001
       b
         RATING based on CAMI records for examinees tested 1982-85
       C
         SCREEN based on Non-radar Screen entrants who did not withdraw,
       1982-1985
       d
         Uncorrected correlations in lower left half, corrected in upper right half.




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     Table 2-6: Descriptive statistics and correlations for 1986-92 Non-radar Screen graduates
                                       assigned to En Route OJT
                              Sample8                       Populationbc                            Correlations'1
 Variable             N          M      SD          N           M           SD          (1)            (2)           (3)
  (1) RATING        3,969      93.79   5.06       106,201      76.33       14.67                      .493      -.129
  (2) SCREEN        4,449      80.26   5.89        12,756      72.26       11.80       .192***                  -.247
  (3) STATUS        4,732      77.3% FPL                                              -.014    -.126***
                               22.7% NOT FPL
 Notes: 'STATUS outcomes for first assigned field facility only as of March 1997                       p<.01,***p<.001
        b
          RATING based on CAMI records for examinees tested 1982-85
        C
          SCREEN based on Non-radar Screen entrants who did not withdraw, 1982-1985
        d
          Uncorrected correlations in lower left half, corrected in upper right half.




   Table 2-7: Civil service RATING validity in predicting FIELD TRAINING outcome by sample,
                                 based on corrected correlations
                             Sample
     Period           FAA Academy             Field OJT                    R           ß-■ RATING             ß ■SCREEN
    1982-85         Terminal Screen           Terminal                 .304***              -.025               - 291 ***
    1982-85         En Route Screen           En route                 .363***                107***            - 297***
    1986-92         Non-radar Screen          Terminal                  142***              -.041               - 118***
    1986-92         Non-radar Screen          En route                  247***              -.010               - 242***
                                                                                     *p < .05, **p < .01, ***p < .00




            Table 2-8: Adverse impact analysis by gender based on OPM eligibility codes
                                                   Sex

               OPM Eligibility            Males           Females                Row totals
               Eligible                  69,056           14,564                   84,070
                                         (58.1%)          (42.0%)
               Failed test               49,902           20,077                   69,979
                                         (41.9%)          (58.0%)
               Column totals            118,985           34,641                   53,599
              Notes: Percents are column percentages


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                                                    CHAPTER 3:
                       FAA ACADEMY AIR TRAFFIC CONTROL SPECIALIST
                        SCREENING PROGRAMS AND STRIKE RECOVERY

                                               Pamela Delia Rocco
                          FAA Civil Aeromedical Institute, Oklahoma City, Oklahoma


  In 1976, the Federal Aviation Administration (FAA) implemented screening programs for Air Traffic Control
Specialists (ATCSs) at the FAA Academy which, in combination with apaper-and-pencilselection test, provided a
robust two-stage selection system used in recovery from the 1981 Professional Air Traffic Controller Organization
(PA TCO) strike. The purpose ofthe present paper is to review data from the FAA Academy screening programs with
regard to their role in the FAA strike recovery efforts, as well as the evolution ofthe programs in the post-strike years.
Data are presentedfor pass rates, demographics, and evidence of validity of the programs.

   At the time of the 1981 Professional Air Traffic              failure rate was about 43% for en route trainees and
Controller Organization (PATCO) strike, the Fed-                 38% for terminal trainees (Henry, Ramrass, Orlansky,
eral Aviation Administration (FAA) selected Air Traf-            Rowan, String, & Reichenbach, 1975). This training
fic Control Specialists (ATCSs) through a two-stage              attrition typically occurred two to three years into an
process (Delia Rocco, Manning, & Wing, 1990).                    individual's career (Manning, 1991). During the
The first stage was the Office of Personnel Manage-              early 1970s, several groups examined the FAA's air
ment (OPM) written air traffic control (ATC) test                traffic training and selection process (Corson, 1970;
battery (Broach, this volume). The second stage was              Henry et al., 1975; Committee on Government
a FAA Academy initial qualification course. This                 Operations, 1976). The reports recommended the
two-stage process provided a robust foundation for               development of a validated, standardized, and cen-
recovery of the controller workforce in the wake of              tralized pass/fail training program, designed to screen
the firing of the striking ATCSs. The purpose of the             persons who lacked sufficient potential to become
present paper is to review the FAA Academy screen-               fully certified ATCSs early in their career (Boone,
ing programs with regard to their role in the FAA                1984). The FAA committed to the development of
recovery from the strike, as well as the evolution of            screening programs, which would follow successful
the programs in the post-strike years. Data are pre-             performance on the written CSC (renamed Office of
sented for pass rates, demographics, and validity of             Personnel Management in 1978) air traffic test bat-
the programs.                                                    tery (Boone, 1984).

                     Background                                   Description of FAA Academy Screening programs
   The FAA has conducted research on the selection               Pre-strike Screening programs
of ATCSs since the 1950s (Collins, Boone, &                         In 1976, the pass/fail FAA Academy initial qualifica-
VanDeventer, 1984). Written aptitude tests for the               tion courses were implemented. They were based on
occupation were implemented as early as 1964 and                 non-radar air traffic control procedures. Separate courses
were administered nation-wide. Despite the increased             existed for the two career options, En Route and Termi-
validity of the written Civil Service Commission                 nal. Entrants were assigned to an option based upon
(CSC) selection tests over the previous system based             agency staffing needs. The screening programs evolved
on prior experience alone, the high occupational                 from training previously administered by the FAA Acad-
attrition rates were a concern through the late 1960s            emy. The courses were designed to assess the aptitude
and into the early 1970s. In 1974, for example, the              of an individual with no prior knowledge of the



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  occupation. These screening courses were the equiva-            averaged 41%. Following the implementation of the
  lent of a miniaturized training-testing model of selec-         screening programs between 1976 and 1981, FAA Acad-
  tion (Manning, Kegg, & Collins, 1989; Delia Rocco,              emy attrition rates were 29% and subsequent field
  Manning, & Wing, 1990).                                         attrition was cut to 8%. Thus, within the first few
     The Terminal and En Route Screen programs con-               months of appointment to the occupation, the FAA
  tained two pass/fail phases covering (1) an introduction       Academy programs screened out most of those indi-
  to aviation and air traffic control and (2) procedures for     viduals who lacked sufficient potential to become fully
  non-radar control of air traffic in the airspace relevant to   certified ATCSs. The pass rate was 67% for En Route
  each option (Boone, 1984). The first pass/fail segment          Screen entrants and 74% for Terminal, with an overall
  was strictly academic and covered topics such as prin-         average of 70%. Of historical note, subsequent to the
  ciples of flight, meteorology, air traffic service and the     strike, a new Office of Personnel Management (OPM)
  National Airspace System. However, it was the non-             test battery was implemented, replacing the previous
  radar procedures phase of training that identified the         CSC battery (Broach, this volume; Collins, Boone, &
  candidates with less chance of succeeding in the occupa-       VanDeventer, 1984).
  tion. The non-radar phase for both options included                A key feature of the 1976 effort was to implement a
  academics, laboratory simulation problems, and the             research database system to document and monitor the
  Controller Skills Test (CST). During the academic              effectiveness of the program. The database was estab-
 classroom training, entrants were taught the rules and          lished at the Civil Aeromedical Institute (CAMI). Data
 principles of non-radar ATC. Students received a score          were collected on all FAA Academy entrants. Planning
 from this academic training which was included in the           for the second-stage pass/fail screening programs was
 final non-radar phase score. During the laboratory              influenced by requirements identified by publication of
 training, entrants were required to apply the rules and         the original Uniform Guidelines on Employee Selection
 principles learned in the classroom to air traffic simula-      Procedures in 1966 (Boone, 1984). The database pro-
 tion problems. Each entrant performed non-radar con-            vided a source for monitoring compliance with those
 troller job tasks in one or two thirty-minute scripted          guidelines. In 1984, the CAMI tracking database was
 scenarios daily. An individual instructor was assigned to       established to track FAA Academy graduates through
 each student for each scenario. Following the scenario,         Full Performance Level (FPL; Manning, this volume).
 the instructor reviewed the student's performances and          This database provided criterion measures for program
 provided feedback on errors as well as correct applica-         validation.
 tion of the rules and scenario scores. Instructors as-
 signed a technical assessment (number of errors), as well        Strike recovery, 1981-1985
 as an instructor assessment (subjective evaluation of               By the time of the strike in 1981, the FAA had five
 student performance) for each scenario. The laboratory           and a half years of experience using the En Route and
 scenarios were structured to escalate in complexity. Five       Terminal initial qualification courses as screening pro-
 of six of the final laboratory problems were graded and         grams. In addition, data on all entrants had been col-
 counted in the final score. The CST was the final test          lected in the research database. Thus, the system was in
 administered in the non-radar phase. It was a timed,            place to select and monitor the progress of ATCS
 paper-and-pencil, multiple-choice assessment of the             candidates, including individuals who had no knowl-
student's ability to apply non-radar ATC rules and               edge of the occupation. The FAA Academy only needed
procedures. A final composite score of at least 70 (out of       to gear up to manage the increased student load result-
a possible score of 100) was required to pass the non-           ing from the strike recovery effort. Prior to the strike,
radar phase. Failure to achieve a composite score of 70          8,262 candidates (4,138 En Route and 4,124 Terminal)
resulted in removal from the ATCS job. Although the              entered the programs in the approximately five and a
En Route and Terminal Screen programs were modified              halfyear period between January 1976 and August 1981
over the years, the basic structure remained much the            (Manning, Kegg, & Collins, 1988). Following the
same between 1976 and 1985.                                      strike, 13,533 candidates entered during the four-year
    At the time of the strike in 1981, the En route and          period between August 1981 and September 1985. The
Terminal Screen programs had effectively achieved the            number of En Route Screen program entrants more
goal of reducing field attrition (Manning, 1991). Be-            than doubled to 8,536, while the number of Terminal
tween 1971 and 1975, field attrition in both options             Screen program entrants rose approximately 20% to
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4,997. The structure of the screening programs was                weights assigned to the scores on various components to
not changed to accommodate the strike recovery                    achieve a projected 60% pass rate. The change to using
(Boone, 1984).                                                    a single screening course meant that students were not
    Following the strike, the pass rates in both the En           assigned to an option or facility until they completed the
Route and Terminal Screen programs declined (Man-                 Non-radar Screen and their FAA Academy scores could
ning, Kegg, & Collins, 1989). Between August 1981                 be used to place graduates. It was anticipated that
and September 1985, entrants to the En Route Screen               assigning students with higher aptitude to more com-
program had an average pass rate of 52%, compared                 plex facilities would result in further reductions in field
with the pre-strike pass rate of 67%. En Route Screen             training attrition. In addition, the Non-radar Screen
failures represented 36% and withdrawals represented              was re-sequenced in Fiscal Year 1989 to be the first
12% of the total 8,536 entrants. In the Terminal Screen           course completed by FAA Academy students. It was
program, the post-strike pass rate was 68%, compared              anticipated that by postponing the three-week, aca-
with the pre-strike rate of 74%. Terminal Screen pro-             demic phase of training that originally preceded the
gram entrant failures represented 26%. The Terminal               pass/fail Non-radar Screen, the training costs associated
Screen program withdrawal rate was 6% of total entrants.          with people who would fail or withdraw from the screen
    Examination of the demographic data from pre- and             would be avoided through the re-sequencing. The nine-
post-strike FAA Academy entrants (Collins, Manning                week Non-radar Screen was implemented in October
& Taylor, 1984) revealed a shift in the proportion of             1985 (FY 1986) and continued through the January
entrants reporting prior ATC experience. Prior to the             1992 entering class. Non-radar Screen pass rates were
strike, 70% of FAA Academy entrants reported either               56.6% for 14,392 entrants. Failures represented 32.2%,
aviation or air traffic control experience prior to entry.        and 11.2% withdrew.
After the strike, nearly two-thirds of the entrants had no
prior aviation-related experience. FAA Academy pass               Validity Evidence
rates were higher for the group of entrants with prior               Over the years, several studies examined various
ATC experience than entrants with no prior experience             measures to assess the predictive validity of the FAA
(Collins, Manning, & Taylor, 1984). The decline in the            Academy screening programs. These included attrition
percentage of entrants with previous ATC experience,              rates, supervisor ratings, and field training progress.
particularly prior military controllers, may have affected        VanDeventer (1981) reported a correlation of .56 (ad-
the pass rates. Because the initial qualification courses         justed for explicit restriction in range on FAA Academy
were designed for individuals with no prior experience,           score) between the FAA Academy final composite score
this shift in demographics was manageable. Table 3-1              and the field supervisor's rating for the en route option.
presents demographics for each of the time periods                Manning, Delia Rocco, and Bryant (1989) used field-
examined in this paper.                                           training status as well as field instructor rating as crite-
                                                                  rion measures. They reported adjusted correlations
The "Non-radar Screen," 1986-1992                                 between the FAA Academy composite score and in-
   Changes to the program during the first decade                 structor ratings of .46 and .30 for the En Route and
involved such modifications as alterations in scoring             Terminal Screen programs, respectively. In the first
and the number of graded problems (Manning, Kegg, &               report of data on Non-radar Screen graduates, Delia
Collins, 1989). In 1985, however, a major change was              Rocco, Manning, and Wing (1990) reported an ad-
made to consolidate the En Route and Terminal Screen              justed correlation of A4 between FAA Academy com-
programs into a single FAA Academy program, the                   posite score and field training status ofgraduates assigned
"Non-radar Screen." Analyses of the longitudinal data-            to the En Route option. In 1994, Broach and Manning
bases had begun to point to areas in which the screening          reported evidence that the Non-radar Screen was a valid
effectiveness and cost benefits could be enhanced. Be-            predictor of FAA Academy radar training performance.
cause the En Route Screen program was found to better                To evaluate the final status of the Non-radar Screen
correlate with measures of field success such as                  program, correlations between the FAA Academy com-
supervisor's ratings (VanDeventer, 1981), than the Ter-           posite score and field training status from the CAMI
minal program, the En Route Screen program was                    tracking database for FAA Academy graduates who
selected as the basis for the Non-radar Screen (Manning,          entered as competitive hires were examined. Field status
Kegg, & Collins, 1989). Some changes were made to the             was a variable that identified ATCSs in their first field


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facility as follows (Manning, 1991): 1 = Reached Full                                       Discussion
Performance Level, 2 = Still in training (Developmental),                The two-stage ATCS selection process involving the
3 = Switched facilities, 4 = Switched options, or 5 = Failed.        Office of Personnel Management (formerly Civil Ser-
Data for individuals who separated from the occupation               vice Commission) testing and FAA Academy screening,
for reasons unrelated to performance were excluded.                  was a very robust and predictable system that served the
The correlation between Non-radar Screen scores and                  agency well as a gateway to a safety-critical career. The
field status in the en route option was -.12 {N= 3,484,              experience with the two-stage system, as well as a data-
p < .001). Adjusted for explicit restriction in range on             base for assessing system performance, provided a foun-
the FAA Academy score (Thorndike, 1949), this corre-                 dation for recovery from the PATCO strike in 1981.
lation was -.25. The correlation between Non-radar                       The correlations in the present analyses between
Screen scores and terminal field status was -.08 (N =                Non-radar Screen scores and field status were lower than
2,505, p < .001). The correlation, adjusted for range                those previously reported. One possible reason was that
restriction, was -.17. Figures 3-1 and 3-2 present the               field training was modified during the late 1980s (Man-
relationship between FAA Academy Score and attain-                   ning, 1991). The influx of a large number of
ment of Full Performance Level (FPL) field status at the             developmentals at the lower-staffed facilities would
first facility assignment for en route and terminal op-              certainly have led to some adjustments in the processes
tions, respectively.                                                 needed to provide instruction and supervision for the
                                                                     on-the-job training provided to the developmentals. To
      Evaluation of Potential Adverse Impact                         date, adequate criterion measures have been a problem
   The screening programs were monitored on an ongo-                 in establishing the validity of the ATCS screening
ing basis for the success of minorities and women to                 programs (Delia Rocco, Manning, & Wing, 1990;
determine compliance with the Uniform Guidelines on                  Broach & Manning, 1997). The decline in impact ratios
Employee Selection Procedures {"Uniform Guidelines"                  may have resulted from the direct hire authority granted
Equal Employment Opportunity Commission, 1978).                      to the FAA by OPM during the late 1980s (Delia Rocco
The Uniform Guidelines provided a "rule of thumb" for                & Sawyer, 1990). A higher percentage of applicants
assessing adverse impact in protected groups to deter-               with lower OPM scores were hired with a predictable
mine if the procedure differentially selected one group              outcome of lower FAA Academy pass rates.
over another. An impact ratio is calculated for each                     In March 1992, the final classes graduated from the
target group's pass rate by the pass rate of the group with          FAA Academy Non-radar Screen program, marking the
the highest rate (typically the non-minorities). By the              end of an era for air traffic control specialist selection
rule of thumb, if the impact ratio is greater than or equal          procedures, which had lasted nearly two decades. The
to .80, the program is usually assumed to demonstrate                system succumbed to various pressures, such as calls to
no adverse impact. The En Route and Terminal Screen                  shorten and reduce the costs of the second stage screen
programs were found to have adverse impact against                   (Aerospace Sciences, Inc., 1991), as well as a compro-
African Americans in 1984-85 (Manning, Kegg, &                       mise of the OPM test battery (Manning, 1991). In the
Collins, 1989). Part of the rationale for modifying the              Screen's miniaturized training-testing program, indi-
FAA Academy program scoring was to reduce the ad-                    viduals with no prior knowledge of the ATC occupation
verse impact. Initial assessments of the Non-radar Screen            demonstrated that they could separate airplanes in labo-
program for the January 1986-January 1988 entrants                   ratory simulations prior to continuing in the career
revealed an impact ratio of .832, an improvement over                field. The FAA is currently examining the possibility of
the old En Route Screen program. However, for the                    using a computerized test battery to replace the former
final two and a half years of the program the ratio for              selection systems. It remains to be seen whether or not
African Americans fell below the .80 rule of thumb. A                a cognitive test battery, which measures component
review of impact ratios by fiscal year revealed the follow-          skills and abilities in combination with noncognitive
ing: .55 for FY 90, .60 for FY 91, and .52 for the final             measures, can, in fact, effectively replace the work
classes during FY 92.                                                sample model employed in the screening programs. The
                                                                     history of ATCS selection certainly suggests that a
                                                                     robust system can be developed to supply a steady flow
                                                                     of qualified applicants.




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Chapter 3: FAA Academy Air Traffic Control Specialist Screening Programs & Strike Recovery



 100




            70-74            75-79              80-84         85-89           90-100
                                     FAA Academy Score

       Figure 3-1: Percent achieving en route FPL field status by FAA Academy score




100




            70-74           75-79               80-84        85-89           90-100
                                     FAA Academy Score

       Figure 3-2: Percent achieving terminal FPL field status by FAA Academy score




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                       Table 3-1. Demographic profile of FAA Academy entrants

                                            Pre-Strike       Post-Strike
                                                                           Screen 1986-1992
                                            1976-1981       1981-1985
                                                                              (N=14,392)
                                            (N=6,059)       (/V=13,533)

     Experience
              No related experience            30%             65%               79%
              Aviation Only                    20%             17%               5%
              ATC Operations                   50%             18%               16%
     Average Age                               26.5            26.5              26.2
     Education
              High School Only                 14%              9%               11%
              Some College                     48%             44%              54%
              College Degree                   38%             47%              35%
     Gender
              Male                             83%             85%              80%
              Female                           17%             15%              20%
    Minority Status
           Minority                            13%              8%              12%
           Non-Minority                        87%             92%              88%




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  Multistage Selection Strategies: Simulating the Effects on Adverse Impact
       and Expected Performance for Various Predictor Combinations

                                  David M. Finch                                                                   Bryan D. Edwards
                                 University of Georgia                                                                Auburn University


                                                                           J. Craig Wallace
                                                                       Oklahoma State University

                                 Examination of the trade-off between mean performance and adverse impact has received empirical
                                 attention for single-stage selection strategies; however, research for multistage selection strategies is
                                 almost nonexistent. The authors used Monte Carlo simulation to explore the trade-off between expected
                                 mean performance and minority hiring in multistage selection strategies and to identify those strategies
                                 most effective in balancing the trade-off. In total, 43 different multistage selection strategies were
                                 modeled; they reflected combinations of predictors with a wide range of validity, subgroup differences,
                                 and predictor intercorrelations. These selection models were examined across a variety of net and
                                 stage-specific selection ratios. Though it was still the case that an increase in minority hiring was
                                 associated with a decrease in predicted performance for many scenarios, the current results revealed that
                                 certain multistage strategies are much more effective than others for managing the performance and
                                 adverse impact trade-offs. The current study identified several multistage strategies that are clearly more
                                 desirable than those strategies previously suggested in the literature for practitioners who seek a practical
                                 selection system that will yield a high-performing and highly representative workforce.

                                 Keywords: adverse impact, Monte Carlo simulation, multistage, multiple hurdle, selection




   The development of employment selection systems that simul-                             systems. This dilemma has driven much of the empirical selection
taneously identify high-performing and diverse individuals re-                             research over the last decade, from the search for alternative
mains one of the most frustrating challenges faced by selection                            predictors with smaller subgroup differences than cognitive ability
researchers and practitioners. For example, cognitively loaded                             (e.g., Clevenger, Pereira, Wiechmann, Schmitt, & Harvey, 2001;
tests of knowledge and ability are arguably the strongest predictors                       Cortina, Goldstein, Payne, Davison, & Gilliland, 2000; Mount,
of job and training performance (e.g., Schmidt & Hunter, 1998).                            Witt, & Barrick, 2000); to investigation of alternative measure-
However, cognitive ability measures are notorious for yielding                             ment methods (e.g., constructed response; Arthur, Edwards, &
very large race-based group mean differences, such as a widely                             Barrett, 2002; Edwards & Arthur, 2007); to simulation studies of
cited one standard deviation difference in Black–White test per-                           the trade-off associated with compensatory (e.g., Bobko, Roth, &
formance (Chan & Schmitt, 1997; Roth, Bevier, Bobko, Switzer,                              Potosky, 1999; De Corte, Lievens, & Sackett, 2007; Potosky,
& Tyler, 2001; Sackett, Schmitt, Ellingson, & Kabin, 2001;                                 Bobko, & Roth, 2005; Schmitt, Rogers, Chan, Sheppard, & Jen-
Schmitt, Clause, & Pulakos, 1996).                                                         nings, 1997) and multistage selection strategies (i.e., De Corte,
   As a result, organizations face a difficult dilemma, often re-                          Lievens, & Sackett, 2006; Sackett & Roth, 1996). The trade-off
ferred to as the trade-off problem (or trade-off), as the organiza-                        problem was recently the focus of a forum in Personnel Psychol-
tional goals of maximizing performance and minimizing adverse                              ogy (cf. Pyburn, Ployhart, & Kravitz, 2008).
impact (AI) appear to be in direct conflict in many selection                                 Our primary objective in the current study was to provide
                                                                                           researchers and practitioners with valuable insight into what can be
                                                                                           expected (with respect to the levels of AI and expected perfor-
   David M. Finch, Department of Psychology, University of Georgia;                        mance) when various multistage selection strategies are employed
Bryan D. Edwards, Department of Psychology, Auburn University; J.                          and discuss the relative merits of different multistage selection
Craig Wallace, Spears School of Business, Oklahoma State University.                       strategies in managing (or balancing) the trade-off. The develop-
   This article is based in part on David M. Finch’s doctoral dissertation,                ment of a selection system (single- or multistage) that effectively
completed under the direction of Garnett S. Stokes at the University of                    meets both the diversity and performance goals of the organization
Georgia. David M. Finch extends special thanks to Garnett Stokes and                       is very complicated, as has been demonstrated by previous simu-
Gary J. Lautenschlager for their helpful comments and support in the
                                                                                           lation studies. Single-stage simulation studies have demonstrated
preparation of the dissertation. We also thank Suzanne Bell for helpful
comments on a previous draft of this article.                                              the potential of the use of composites for reducing AI and the
   Correspondence concerning this article should be addressed to David M.                  integral role of predictor intercorrelations and predictor subgroup
Finch, APT, Inc., One Thorndal Circle, 2nd Floor, Darien, CT 06820.                        differences in determining AI. Additionally, Sackett and Roth
E-mail: dfinch@aptmetrics.com                                                              (1996) demonstrated the potential of multistage strategies over

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single-stage approaches for reducing AI. However, few efforts              AI and performance trade-offs. With a multistage strategy, one
have been successful at reducing AI without leading to large               could ostensibly introduce the predictors in a stepwise fashion, so
reductions in predictive validity.                                         as to maximize the advantages of each predictor at the different
   Although previous analytical and simulation work provides               stages. Indeed, we posited that with a known set of predictor
some guidance regarding the trade-off, further simulation work is          psychometric properties, it would possible to build multistage
needed so the potential of multistage selection strategies can be          systems that more effectively took advantage of the most desirable
assessed. Multistage selection strategies are commonly utilized in         properties of all predictors being considered in a particular selec-
practice; however, the trade-off for multistage selection has not          tion situation.
been fully researched. The present study was intended to fill this            Although previous studies have offered some valuable insight
gap. This article examines the trade-off for several important             into the trade-off problem for single-stage selection strategies, we
yet previously unexplored multistage selection strategies (e.g.,           know of only two studies (De Corte et al., 2006; Sackett & Roth,
the use of correlated predictors in composites). In addition, our          1996) that have examined the degree to which various multistage
simulation models a wide range of predictor properties demon-              selection strategies sacrifice one organizational goal (e.g., optimal
strated to be integral to the trade-offs observed as well as               performance) for the sake of the other (e.g., maximized minority
multiple indicators of AI.                                                 hiring). The results of the studies by Sackett and Roth (1996) and
   Extensive research has been conducted to identify alternative           De Corte et al. (2006) provide a solid foundation, and we use their
measures to cognitive ability that have comparable predictive              studies as a basis for better understanding of the trade-off in
validity but smaller subgroup differences. If the goal is to identify      multistage systems.
suitable replacements to cognitive ability, it is logical to question
how well these alternative predictors would be expected to per-             Sequential Ordering of Predictors and Number of Stages
form relative to cognitive ability within typical selection systems.
A commonly held assumption is that supplementing a predictor                  The number of stages in a multistage selection system, the
that has large subgroup differences with one that has small sub-           predictors, and the stages in which they are administered may play
group differences (referred to as the “supplemental strategy”) will        an important role in the trade-off between AI and expected per-
yield lower levels of standardized mean differences (which we              formance. There are theoretical and practical considerations that
refer to throughout as d) for the composite and, subsequently, less        drive decisions regarding the predictors appropriate in a given
adverse impact potential (e.g., Ones, Viswesvaran, & Schmidt,              selection situation, when to administer them, and the number of
1993; Pulakos & Schmitt, 1996; Stokes, Mumford, & Owens,                   stages in the process. Job analytic data dictate which specific
1994).                                                                     knowledge, skills, abilities, and other characteristics (KSAOs) are
   Most research shows that a carefully selected composite of              appropriate for assessment (e.g., are important and required upon
alternative predictors that have small subgroup differences with           entry). The chosen method of assessment in turn depends upon
cognitive ability will reduce AI (to varying degrees); however, the        which KSAOs are to be assessed (e.g., mathematical skills are not
selection battery will still violate the four-fifths rule (often used in   typically assessed in an interview). Cost, time, logistical con-
defining AI) unless the highest selection ratios (SRs) are used (e.g.,     straints, and other practical considerations influence the method of
Potosky et al., 2005; Roth, Bobko, & Switzer, 2006; Sackett &              assessment as well as when the assessment is administered within
Ellingson, 1997; Sackett & Wilk, 1994; Schmitt et al., 1997). In           the selection process. For example, paper-and-pencil tests of cog-
fact, prior single-stage simulations demonstrated that even the best       nitive ability and personality are relatively inexpensive to admin-
balance of the performance and minority hiring goals resulted in           ister and score. In contrast, assessment centers and interviews
unacceptable levels of AI and required a rather substantive sacri-         require substantially more resources to administer and score and
fice in validity to achieve these mediocre minority hiring levels.         are more likely to be administered in later stages than are the
One explanation for these results is that within compensatory              paper-and-pencil tests.
models, there is only one opportunity to maximize both perfor-                In many cases, the order in which predictors will be adminis-
mance and minority hiring, and regression-weighted composites              tered in a multistage process is determined by minimum ability or
are designed to maximize predicted performance. Given that the             skill requirements. That is, if it has been determined through a job
higher validity predictor (or predictors) also tends to have larger        analysis that individuals need minimum skills or ability to perform
subgroup differences than do the other predictors, this optimal            the job, it would be impractical for an organization to administer
prediction comes at the expense of low minority hiring. These              expensive and time-consuming tests before screening on minimum
trade-offs are a function of the complex interplay between several         ability requirements unless it were absolutely necessary (e.g., if
factors (e.g., predictor intercorrelations, SR, validity, and subgroup     there was a small window in which to fill vacancies). The practi-
differences; Schmitt et al., 1997). We posited that multistage             tioner is left to decide how best to utilize predictors in multistage
systems would afford greater flexibility than would single-stage           systems. In choosing what selection strategies to model in this
strategies for the use of a given set of predictors and predictor          article, we took the practicality of the strategy into consideration.
composites that could help companies achieve more acceptable               For example, assessments that are more expensive and time con-
performance and minority hiring levels.                                    suming to administer (e.g., interviews) were modeled only in the
   The decision to use multistage systems is typically driven by           final stage of the selection process, as is common in practice.
minimum ability requirements or practical considerations (e.g.,               One key consideration in multistage designs is the stage in
time and expense to administer and scoring assessments). How-              which predictors with a specific set of psychometric properties are
ever, we believe there are compelling reasons for the use of               positioned. For example, a common belief is that the large-d
multistage strategies over single-stage strategies for managing the        predictor should be administered in the first stage of a selection
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process and should be used with a low cut score (e.g., high              Table 1
first-stage SR). In this way, more minorities might be expected to       Example of Impact of First-Stage SR
progress to later stages, when the hiring decision would be based
on predictors with smaller subgroup differences. However, Sackett                                   Two-stage
                                                                                                    strategies         Three-stage strategies
and Roth (1996) and De Corte et al. (2006) demonstrated that
placement of the large-d predictor alone in the first stage does not               First-stage    Second-stage     Second-stage      Third-stage
always lead to increased minority hiring. Specifically, when the         SRnet      SR (SR1)        SR (SR2)         SR (SR2)         SR (SR3)
first-stage SR was lower (more selective) than the second-stage SR,
                                                                          .10          .15               .67            .76              .88
positioning the large-d predictor in the second stage yielded less                     .25               .40            .57              .70
AI. Given that cognitive ability represents an extreme outlier in         .30          .45               .67            .76              .88
terms of magnitude of subgroup differences, it is important to                         .60               .50            .64              .78
understand the extent to which predictor ordering and first-stage                      .75               .40            .57              .70
selectivity impact predictors with less extreme subgroup differ-         Note.   SR ⫽ selection ratio.
ences. Thus, one of our primary objectives in the present study was
to examine the impact the sequential ordering of predictors has
within multistage systems in determining the trade-off. We varied        formance may result. As such, SRs have a clear impact on the
the predictors used at each stage and examined the impact of             trade-offs observed for multistage strategies.
predictor composites at various stages. Additionally, we expanded
the number of stages used by Sackett and Roth (1996) by exam-                                Predictor Intercorrelations
ining selection systems with two and three stages.
                                                                            Predictor intercorrelations also play a critical role for expected
                                                                         performance and minority hiring levels. In their single-stage sim-
                                 SR                                      ulation, Schmitt et al. (1997) found that manipulating the intercor-
                                                                         relations among the predictors within a composite had the greatest
   SRs play a prominent role in the trade-off in multistage selection    impact on the trade-off between minority hiring and performance
systems. One of the key advantages of multistage selection sys-          objectives. Specifically, as the intercorrelations between non-zero
tems is that they allow one to reduce the pool of applicants to a        d alternative predictors and cognitive ability decreased, levels of
more manageable size for further screening on some predictor or          composite d increased. Similarly, Sackett and Ellingson (1997)
predictors. The net selection ratio (SRnet) represents the proportion    demonstrated that as the correlation between two predictors in a
of applicants who will ultimately be selected to fill vacancies. In      composite increased, the level of composite d decreased because
practice, organizations commonly implement a selection process           the predictors shared an increasing amount of common variance.
with the intention of filling a preestablished and fixed number of       Furthermore, as the number of alternative predictors in the com-
vacancies from the applicant pool. Often, then, organizations know       posite increased, low intercorrelations yielded even larger levels of
(or at the very least have a good idea) what the SRnet will be from      composite d. Expected performance based on composites will also
the outset. Another key consideration for the practitioner is the SR     be influenced by predictor intercorrelations in a predictable man-
associated with the first stage of the process (SR1), because this SR    ner. Specifically, as the correlation between two predictors in-
determines how many (or how few) applicants proceed to the               creases, the incremental variance in performance explained by
second stage. For example, with 500 applicants and SR1⫽ .15,             either predictor will decrease.
only 75 (500 ⫻ .15) candidates will proceed to the second stage of          Predictor intercorrelations play a unique role in multistage se-
the selection process for subsequent screening. The decision of          lection in terms of indirect range restriction (given prior selection
how low (e.g., SR1⫽ .15) or high (e.g., SR1⫽ .75) to set SR1 is          on a correlated predictor; Sackett, Lievens, & Berry, 2007). Prior
situation specific and is informed by many factors, such as the          selection has well-known implications for validity, and Roth,
number of vacancies and the costs associated with screening              Bobko, Switzer, and Dean (2001) recently demonstrated that sub-
applicants in subsequent stages of the process.                          stantial indirect range restriction can be for observed subgroup
   The SRnet is a mathematical function of the SRs associated with       differences as well. Specifically, observed subgroup differences
each stage in the process (SRnet ⫽ SR1 ⫻ SR2; see Table 1 for an         for second-stage predictors tend to become much smaller as the
example of the relationship between the stage-specific SRs and the       intercorrelations between the first- and second-stage predictors
SRnet). As such, the lower (or more selective) the first-stage SR, the   increase. Additionally, the more selective the first-stage SR, the
less influence the second-stage predictor will have on the final         greater the restriction is for the correlated second-stage predictor.
selection decision. Thus, when a low first-stage SR is desired to           Taken together, predictor intercorrelations appear to play a more
greatly reduce the magnitude of the candidate pool, positioning the      influential, and certainly more complicated, role in determining the AI
small-d predictor as the first-stage predictor will allow a greater      and performance outcomes for multistage strategies that utilize
number of minority candidates the opportunity to move forward in         composites than they do for single-stage composites or multistage
the process to the second stage than would positioning the large-d       strategies that lack composites. Although past research has re-
predictor as the first-stage predictor. Such a strategy can be ex-       vealed the impact predictor intercorrelations have on expected
pected to increase minority hiring. This also means that the             performance and minority hiring levels within single-stage com-
second-stage predictor will contribute less to the overall prediction    posites as well as their impact for two-predictor, two-stage strat-
of performance. To the extent that the second-stage predictor has        egies (i.e., indirect range restriction), we are unaware of any
higher validity than the first-stage predictor, lower expected per-      research that has examined the performance and AI outcomes
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when correlated predictors and composites are used in a multistage           Applicant Sample Size and Percentage of Minorities
system. However, such multistage selection strategies are common
                                                                             Another potential factor that could influence our results is the
in practice. Meta-analytic estimates indicate that commonly used
                                                                          size of the applicant pool, particularly with respect to AI conclu-
predictors tend to be correlated to some degree, and practitioners
                                                                          sions (e.g., Morris & Lobsenz, 2000; Roth et al., 2006). Given the
frequently administer three or more assessments in a multistage
                                                                          problems associated with the four-fifths rule and significance
approach. The present simulation fills a gap in the literature by
                                                                          testing in small sample sizes, we decided to model the same
examining the trade-off when correlated predictors are included in
                                                                          selection strategies for different size applicant pools (i.e., N ⫽ 500
more complex multistage systems.
                                                                          and N ⫽ 160). In particular, power to detect AI is a function of the
                                                                          proportion of minorities in the applicant pool (Morris & Lobsenz,
                    Adverse Impact Statistics                             2000). Minority representation in applicant pools varies in prac-
                                                                          tice, and we believe it is instructive to model different proportions
   Numerous methods for assessing AI have been recommended in
                                                                          when examining the trade-off in multistage selection.
the literature and by governmental agencies. Although the four-
fifths rule is the most commonly used method and is the one
described in the Uniform Guidelines (Equal Employment Oppor-
                                                                           Theoretical and Practical Contributions to the Literature
tunity Commission et al., 1978), significance testing is generally           The present study adds to the existing literature in several ways.
conducted as well (particularly, in litigation-related matters). Re-      First, despite the popularity of multistage selection strategies in
liance upon the four-fifths rule as the sole basis for a conclusion of    practice, very little is known about the trade-offs within multistage
AI can be problematic. These conclusions are particularly suscep-         selection systems. In fact, several researchers have called for more
tible to sampling error and are subsequently prone to false posi-         research in this area (e.g., Bobko et al., 1999; Hoffman & Thorn-
tives (concluding that AI exists when it does not), especially when       ton, 1997; Kehoe, 2002; Potosky et al., 2005; Sackett & Roth,
sample sizes are small (Morris & Lobsenz, 2000). Roth et al.              1996). We know of only two studies that have simultaneously
(2006) recently demonstrated that the four-fifths rule produced an        modeled AI and performance outcomes for multistage systems (De
alarming percentage of false positives in applicant pools as large as     Corte et al., 2006; Sackett & Roth, 1996). Each of these studies has
400 under realistic selection conditions, and they suggested that         a few key limitations. Though Sackett and Roth’s results are
the four-fifths rule be supplemented with a statistical test to min-      informative, the generalizability of these results is limited to two-
imize Type I errors.                                                      predictor strategies in which the predictors are uncorrelated and
   The Z test on the difference in selection rates (ZD test; also         have extremely different subgroup differences (d ⫽ 0 and d ⫽
known as the 2-SD test) and the Fisher exact test are two statistical     1.0). Second, although Sackett and Roth did model second-stage
significance tests commonly used in practice. The Fisher exact test       composites, the composites contained predictors that were uncor-
is recommended and is generally regarded as the appropriate               related, and one of the predictors in the composite had already
significance test for examining small applicant pools (Office of          been administered in the first stage. The primary focus of De Corte
Federal Contract Compliance Programs, 1993; Siskin & Trippi,              et al. was to provide evidence for a computer program that com-
2005). Although significance testing can be effective for detecting       pares the cost, mean performance, and AIRs for multistage selec-
false positives resulting from the four-fifths rule, significance tests   tion, rather than to explore the various strategies for managing the
may lack the power necessary to avoid Type II errors (false               trade-off in a more comprehensive study. Only a few multistage
negatives) when the sample sizes are small (Collins & Morris,             scenarios were modeled, and none of them included composites.
2008; Morris, 2001; Morris & Lobsenz, 2000). In fact, the recent             Practitioners commonly utilize more than two predictors within
studies by Morris and colleagues revealed that both the Fisher            multistage designs, and some of the predictors will likely be
exact test and ZD test tend to be underpowered when applicant             correlated. Administration of more than two predictors in a two-
pools are small, have low overall selection rates, and have a small       stage process requires the use of composites in either the first or
proportion of minority applicants. However, an alternate signifi-         second stage. When each stage in the process contains only one
cance test known as ZIR has been demonstrated in recent studies to        predictor, the stage-specific SRs dictate how much weight is given
be a more powerful indicator of AI and thus is a better significance      to each predictor in the process. However, when two predictors are
test under these conditions (Morris, 2001; Morris & Lobsenz,              combined in a regression-weighted composite in the second stage,
2000). ZIR is a significance test of the AI ratio (AIR) and has the       the weighting of the second-stage predictors is determined not only
same effect size as the four-fifths rule; in contrast, the ZD test is a   by the stage-specific SR but by the relative validity of the com-
test of the difference between selection rates (Morris & Lobsenz,         posite predictors and the intercorrelations between the composite
2000).                                                                    predictors and between the first- and second-stage predictors. The
   Morris (2001) recommended that a more liberal significance             outcomes associated with these strategies have yet to be explored,
criterion be adapted to increase power. Although common, the use          although such strategies are of practical and theoretical interest.
of two-tailed significance tests to identify AI may be overly             The present simulation modeled several unique, correlated predic-
conservative in many situations, given that tests of AI are usually       tors with varying levels of subgroup differences, both as first-stage
directional (to detect AI against a particular group). A one-tailed       predictors and in second-stage composites. This model represents
test (Zcrit⫽ 1.645) is consistent with theory; it provides greater        a major advancement, given the potential reduction in composite d
power than does a two-tailed test and still controls for a Type I         when correlated predictors are used and the potential influence of
error (Morris, 2001). Therefore, we operationalized AI in the             indirect range restriction.
present study using the four-fifths rule, Fisher exact test (two-            Another major contribution of the current simulation is the
tailed), and the ZIR test (one-tailed).                                   modeling of multiple indicators of AI (i.e., statistical significance
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testing and the four-fifths rule). AI results reported in previous        (in most cases, meta-analytic estimates) of intercorrelations among
simulations (both single- and multistage selection) have been fairly      the predictors, predictor subgroup differences, and predictive va-
discouraging. However, these studies defined AI on the basis of           lidity estimates. Using these estimates, we generated observed
the four-fifths rule. Given the high incidence of false positives         predictor and criterion scores and used them to simulate the effects
associated with the four-fifths rule (e.g., Roth et al., 2006), it        on AI and expected performance under a variety of conditions
would be informative to investigate alternative operationalizations       meaningful for practitioners and researchers. It must be noted that
of AI. Significance testing is commonly done in practice, and it is       the predictor properties (e.g., validity, subgroup differences, inter-
critical that significance tests be considered when interpreting and      correlations) were used exclusively to illustrate the importance of
reporting AI in studies of this nature.                                   decisions made and the outcomes of those decisions regarding
   To increase the generalizability of our findings, we modeled an        expected performance and AI when predictors were combined in
extensive number of multistage selection strategies that reflected        multistage selection systems.
combinations of predictors with various psychometric properties              Although we modeled meta-analytic values for various predic-
under a range of SRs. The choices involved in building these              tors and refer to these predictors as cognitive ability, biodata, and
selection systems (e.g., battery composition, sequential ordering,        so on, throughout the Method and Results and Discussion sections,
SRs) were driven by two considerations: theoretical and practical         these labels are merely used to facilitate the communication of
relevance. For example, the specific predictors that we modeled           results. We in no way intend to suggest that all biodata measures,
(i.e., cognitive ability, biodata, structured interview, conscientious-   for example, are alike psychometrically (e.g., validity, level of d,
ness, integrity) are commonly used in practice and have received          predictor intercorrelations) and therefore will yield the same out-
significant attention in the literature. In addition, the meta-analytic   comes as those reported herein. Rather, our primary focus in this
estimates for the predictors examined in previous single- and             simulation (and simulations of this nature) was on the actual
multistage selection research represent a great deal of diversity         parameters being modeled with the goal of illuminating expected
with respect to the key psychometric properties that interact in          performance and minority hiring under a wide variety of condi-
determining the mean performance and minority hiring levels               tions. For example, any conclusions about the biodata predictor
associated with a given selection strategy. This last point is espe-      should generalize to any other selection instrument (e.g., situa-
cially important, because studies such as ours are heuristic in
                                                                          tional judgment tests) with similar psychometric properties.
nature and the choice of parameters to model determines the
generalizability of the results. Therefore, predictors with a range of
subgroup differences were simulated under a variety of scenarios                                 Predictor Scenarios
(i.e., as the first-stage predictor as well as a predictor within the
second and third stage, either in a composite or as a single                 First, a note on terminology: We use the term selection model to
predictor, of a selection process).                                       represent a specific set and order of predictors within a multistage
   Given the important role that intercorrelations play both within       strategy and the term scenario to represent a particular selection
composites and between predictors in the first and subsequent             model at a specific first-stage SR. Additionally, for ease of pre-
stages, varying degrees of intercorrelations were simulated. Spe-         sentation of the various selection models, text references use the
cifically, we simulated predictors that have comparable levels of         following notation: “first stage, second stage, third stage.” For
validity to cognitive ability (e.g., structured interview, biodata,       example, “CA, Bio ⫹ SI” refers to a selection model in which
integrity) but that vary in their intercorrelations with the other        cognitive ability is administered in the first stage and a composite
predictors as well as in their levels of subgroup differences. We         of biodata and structured interview is administered in the second
also modeled the AI and performance outcomes when conscien-               stage.
tiousness—a low-validity but non-zero d predictor that is corre-             As previously discussed, the decision of which scenarios to
lated with some of the other predictors—was incorporated into             model was based on several practical and theoretical reasons.
various selection strategies. Modeling the same meta-analytic es-         There was an extensive number of combinations worthy of exam-
timates as have been simulated in previous studies facilitates            ination. Ultimately, we decided upon 43 two- and three-stage
comparisons.                                                              selection models that were simulated for a range of SRs, minority
   Finally, to our knowledge, this study is the first in which            representation, and size of applicant pool. In addition, three com-
features of predictor composites and multistage strategies in se-         pensatory models (i.e., single-stage composites) were simulated to
lection systems that reflect the complexity of the performance and        illustrate the difference between single- and multistage strategies
the AI trade-off issue were combined and directly examined.               for managing the trade-offs. A complete listing of the 46 selection
Overall, this study greatly extends our knowledge of multistage           models that were simulated can be found in the Appendix.
selection by modeling a wider range of predictor properties, more
complicated selection batteries (e.g., predictor composites, three-,
four-, and five-predictor selection systems) across a range of SRs                                   AI Statistics
within a variety of applicant pools (e.g., different proportions of
minority representation, pool size).                                         We believe that multiple indicators of AI should generally be
                                                                          considered in reaching a conclusion regarding AI. Thus, we
                                                                          present the results for the four-fifths rule (AI ratio, or AIR) and
                              Method
                                                                          follow this with results for two statistical significance tests when
  The simulation technique we used to examine the trade-off               violations of the four-fifths rule occurred: Fisher exact test and the
between AI and expected performance relied upon best estimates            more powerful ZIR test.
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                     Minority Representation                                  Intercorrelations. Simulated predictor intercorrelations were ob-
                                                                           tained from Bobko et al. (1999). Predictor intercorrelations ranged
   Previous simulations have modeled minority percentages in the           from uncorrelated to highly correlated (e.g., rs ⫽ .00 to .51). The
range of 5%–50%, but most percentages are typically less than              intercorrelations regarding integrity were obtained from a combina-
40%, as would be consistent with most applicant pools. In select-          tion of meta-analyses and primary studies (i.e., McFarland & Ryan,
ing the percentage of minority applicants in the applicant pool, we
                                                                           2000; Ones et al., 1993; Sackett, Burris, & Callahan, 1989; Sackett &
relied on the rationale provided by Roth et al. (2006) in their
                                                                           Wanek, 1996; Van Iddekinge, Raymark, & Eidson, 2004).
selection of values/proportions. We selected 12% because it cor-
                                                                              Standardized mean group differences (d). For purposes of the
responds to estimates of employed minorities from the Bureau of
                                                                           simulation, we used estimates of the standardized Black–White
Labor Statistics (2000). We selected 20% and 30% to correspond
                                                                           differences for these predictors, because these subgroup differ-
with results of previous simulation studies (e.g., De Corte et al.,
                                                                           ences are widely available in the literature. As such, our use of the
2006; Sackett & Roth, 1996) and to reflect the fact that in several
                                                                           terms majority and minority refer to White and Black applicants,
regions and in several occupational types, the proportion of mi-
                                                                           respectively. The standardized mean group difference estimate for
nority applicants is much higher than the national norms.
                                                                           cognitive ability was set at d ⫽ 1.00; this figure indicated that
                                                                           White applicants score, on average, one standard deviation higher
                      Size of Applicant Pool                               than do Black applicants ( Hunter & Hunter, 1984). For structured
   The choice of applicant pool size was based on two considerations:      interview, d was estimated at 0.23, per Huffcutt and Roth’s (1998)
practical relevance and power. It was important that the applicant pool    meta-analysis. Biodata was estimated at d ⫽ 0.33. This figure
contained a sufficient number of minorities for modeling the trade-off     reflected Bobko et al.’s (1999) sample weighting of Gandy, Dye,
over the full range of SRs, given our boundary conditions of 12%           and MacLane’s (1994) meta-analytic estimate and Pulakos and
minority representation and 10% SRnet. However, it was important           Schmitt’s (1996) estimated d. For conscientiousness, d was set at
that the size of the applicant pool not be too large, so as to limit the   0.09 (Bobko et al., 1999). For integrity, d was set at 0.00 (Ones &
practical relevance of the observed outcomes. An applicant pool of         Viswesvaran, 1998). For job performance, d was set at 0.45 (Ford,
500 gave us adequate power to model the trade-offs and was consis-         Kraiger, & Schechtman, 1986). For ease of discussion, we have
tent with previous simulations of this nature (e.g., Roth et al., 2006;    categorized the magnitude of the effect sizes as follows: large d
Sackett & Roth, 1996).                                                     (cognitive ability), moderate d (biodata and structured interview),
   However, selection frequently takes place on a smaller scale,           and small d (conscientiousness and integrity). The mean d, inter-
and low power for tests of AI is an unavoidable reality. Salgado           correlations, and validity estimates are provided in Table 2.
(1998) reported that the average sample size for validation studies           Net SR (SRnet). Net SRs of .10 and .30 were simulated for the
is N ⫽ 153. Therefore, we modeled the trade-off effects for pools          single-stage, two-stage, and three-stage selection systems. These
of 160 applicants (we rounded up for convenience). Additionally,           levels are consistent with the Sackett and Roth (1996) Monte Carlo
modeling the trade-offs in pools of different sizes provides an            simulation and are common net SRs in practice.
understanding of the influence applicant pool size has on the                 Stage-specific SRs. The SRs at each stage are denoted as
trade-offs for complex two- and three-stage selection systems and          follows: first stage ⫽ SR1; second stage ⫽ SR2; third stage ⫽ SR3.
of the behavior of the different AI statistics for a wide variety of       The SR for the first stage was varied across five levels for the net
real-world selection strategies.                                           SRs: .15, .25, .45, .60, and .75. For example, first-stage SRs of .15
                                                                           and .25 were modeled for the 10% SRnet and first-stage SRs of .45,
                        Simulation Process                                 .60, and .75 were modeled for the 30% SRnet. A complete listing of
                                                                           the stage-specific SRs for the two- and three-stage selection sys-
Step 1: Statistical Properties                                             tems is presented in Table 1.
   Validity. The validity estimates were obtained from Bobko et
al.’s (1999) meta-analysis (cognitive ability, r ⫽ .30; structured
                                                                           Step 2: Simulate Applicant Pool
interview, r ⫽ .30; biodata, r ⫽ .28; conscientiousness, r ⫽ .18)
and from Ones et al.’s (1993) meta-analysis (integrity, r ⫽ .25).             Factor correlation matrix. The intercorrelation matrix com-
We used uncorrected estimates, because we were focused on the              piled in Step 1 was decomposed with the Cholesky method. This
operational validity of the predictors.                                    decomposition yielded a matrix of factor loadings that we used to



                 Table 2
                 Matrix of Correlations and Standardized Mean Differences

                         Variable                  d             1         2            3           4           5           6

                 1. Cognitive ability             1.00           —
                 2. Structured interview          0.23          .24         —
                 3. Conscientiousness             0.09          .00        .12          —
                 4. Biodata                       0.33          .19        .16         .51          —
                 5. Integrity                     0.00          .00        .00         .39         .25          —
                 6. Job performance               0.45          .30        .30         .18         .28         .25          —
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generate predictor and criterion scores. This decomposition and all    those candidates who remained in the pool after the second-stage
ensuing analyses were performed using SAS Version 9.1.                 screening (i.e., who had passed both the first and second stages)
   Generate random data (fitting a normal distribution). Next, to      were selected top down on the basis of their scores on the Stage 3
simulate the observed predictor and criterion scores, we generated     predictor. The number of selections depended upon the SRnet.
normally distributed random data (error scores). To do this, we had
to compute one random variable for each predictor plus one (for        Step 6: Calculate AI
the criterion) for as many cases as there were applicants (Dover-
spike, Winter, Healy, & Barrett, 1996). Thus, six random variables        AI was defined in three ways: AIR, ZIR, and the Fisher exact
were created (five predictors plus one criterion) for each of the      test. AIR was calculated as the proportion of minority group hires
applicants.                                                            out of all minority group applicants divided by the proportion of
   Calculate predictor and criterion scores. Observed predictor        majority group hires out of all majority group applicants. Accord-
and criterion scores were formed by multiplying the factor load-       ing to the four-fifths rule, AIRs of less than .80 provide support for
ings for the given test or performance measure in the factor           a prima facie case of discrimination. In addition, we examined
correlation matrix (obtained from the Cholesky decomposition) by       differences in minority–majority selection rates using two statisti-
the random data. Multiplication of these factor loadings by the        cal significance tests: the Fisher exact test and ZIR test (the Z test
standard normal variates produced z scores for the predictors and      on the ratio of selection rates). A two-tailed Fisher exact test is
the criterion. We conducted a simple correlation analysis to verify    commonly used in practice to detect significance. Fisher exact
the accuracy of the data generated from this procedure; the original   probability values of less than .05 were interpreted as evidence of
correlation matrix from Step 1 should be reproduced within ran-        AI. In addition, we conducted a one-tailed ZIR test to detect AI. For
dom sampling error. Estimates were examined to verify that the         the ZIR test, |Z| values greater than 1.645 (corresponding to a
confidence limits around the sample values included the popula-        one-tailed ␣ ⫽ .05) were interpreted as evidence of AI.
tion values.
   Add subgroup differences. Finally, it was necessary to incor-       Step 7: Repeat Steps 2 Through 6
porate majority–minority group differences into the data. As de-
                                                                          The process from generation of expected performance scores
scribed above, group proportions of the population were modeled
                                                                       (Step 2) through calculation of AI (Step 6) was repeated 2,000
with (a) 88% majority and 12% minority; (b) 80% majority and
                                                                       times for each scenario (e.g., CA, SI ⫹ Consc ⫹ Bio, where SR1 ⫽
20% minority; and (c) 70% majority and 30% minority. Group
                                                                       .25). Thus, 2,000 data sets containing the applicant predictor and
membership was randomly assigned to reflect these majority–
                                                                       criterion scores were generated for each scenario for a given
minority proportions, and the standardized mean difference value
                                                                       applicant pool condition (e.g., N ⫽ 500 with 20% minority repre-
(d) for each predictor and criterion was subtracted from the re-
                                                                       sentation). Results for a given scenario in a given applicant pool
spective scores for all minority candidates.
                                                                       condition were then averaged across the 2,000 repetitions to yield
                                                                       the final reported performance and AI outcomes for that scenario.
Step 3: First Stage                                                       Models 1– 43 were examined under all five first-stage SRs and
   All candidates were assessed on the first-stage predictor (or       resulted in a total of 215 different selection scenarios (i.e.,
predictors). Using top-down selection, we retained only the scores     Model ⫻ SR1). These 215 scenarios were modeled across all three
on the first-stage predictor (or predictor composite) that met the     minority representation conditions for the large applicant pool
specified first-stage SR (SR1). For example, if SR1 ⫽ .25 for n ⫽      (N ⫽ 500). Models 1– 43 were also modeled for the N ⫽ 160 pool
500, the top 125 scores (candidates) were retained for subsequent      with 20% minority representation, although only for the 30% net
screening on the second-stage predictor (or predictor composite).      SR (i.e., 45%, 60%, 75% first-stage SRs), given power concerns.
                                                                       The single-stage strategies (Models 44 – 46) were examined only
Step 4: Second Stage                                                   for the N ⫽ 500, 20% minority representation conditions.

   For the two-stage selection strategies, those candidates who
                                                                                            Results and Discussion
remained in the pool after the initial screening (i.e., who had
passed the first stage) were selected top down on the basis of the        Given the complex interplay of numerous factors in determining
second-stage predictor (or predictor composite) score. The number      the mean performance and degree of minority representation ob-
of selections depended on the SRnet. For example, with SR1 ⫽ .25       tained for the pool of applicants ultimately selected, the challenge
and a 10% SRnet, the top 50 (or top 40%) of the remaining 125          is to present results in a manner that would enhance the clarity and
candidates were selected at the second stage.1 Scores from the first   brevity of our presentation. We first summarize some general
stage were not weighed in the final selection decision. That is, we    trends for the minority representation and applicant pool size
used scores from the first stage only to determine whether a           manipulations. Next, we focus our analysis on particular selection
candidate moved on to the second stage of the process. Applicants      strategies for achieving each organizational objective. We then
who passed the first-stage screening were selected top down solely     discuss trends associated with the positioning of predictors when
on the basis of their performance on the second-stage predictors.      composites are used within multistage strategies and the influence
                                                                       that characteristics such as SR, predictor intercorrelations, validity,
Step 5: Third Stage
  We modeled several different three-stage selection strategies in       1
                                                                           Overall SR (SRnet) ⫽ SR1 ⫻ SR2. As such, given SRnet and SR1 for a
addition to the two-stage strategies. For the three-stage scenarios,   given scenario, SR2 was determined.
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and subgroup differences had on the observed outcomes. Last, in                                       selection rate for minorities but a lower expected mean perfor-
the Conclusion section, we pull it all together to discuss the larger                                 mance for those selected. Additionally, the increase in minority
picture and provide specific recommendations for managing the                                         selection rates associated with greater minority representation in
trade-off. We emphasize that although we modeled actual selection                                     the pools did not translate into fewer scenarios that violated the
measures (e.g., biodata, integrity), the results and conclusions of                                   four-fifths rule. In fact, across the 215 common scenarios, viola-
the present study are based on the psychometric properties mod-                                       tions of the four-fifths rule were nearly identical for the 12%, 20%,
eled. The predictor labels are meant only to facilitate the commu-                                    and 30% minority representation conditions (88%, 89%, and 89%,
nication of results.                                                                                  respectively). Results for the ZIR significance test were also gen-
                                                                                                      erally consistent across conditions (79%, 80%, and 82%, respec-
Trade-Off for Minority Representation and Applicant                                                   tively). Results for the Fisher exact test varied quite a bit across
Pool Size                                                                                             conditions (56%, 65%, and 73%, respectively). These differences
                                                                                                      may be attributed to low power to detect true differences in
   Before we delve into a detailed analysis of the impact of various                                  selection rates with the Fisher exact test, particularly when the
selection strategies on the AI and performance objectives, we                                         10% SRnet was used. As the proportion of minorities in the pool
discuss the influence of applicant pool characteristics on the ob-                                    increased, power increased and the results of the Fisher exact test
served results as well as convergence among the AI indicators                                         converged with those of the ZIR and four-fifths rule.
under different conditions. We note that although the specific                                           Size of applicant pool. With regard to the applicant pool size,
operationalization of AI impacted our conclusions in certain cir-                                     the results revealed different conclusions of AI for the selection
cumstances, our primary focus in this study was not to model the                                      strategies depending upon how AI was defined. First, it is impor-
behavior of the four-fifths rule relative to significance testing. We                                 tant to note here that a two-tailed Fisher exact test had fairly low
present the results obtained for all three AI indicators for each                                     power to guard against false negatives for the small applicant pool
scenario in our tables, given the importance of considering multi-                                    (N ⫽ 160) conditions (i.e., fairly competitive SRnet, relatively low
ple AI indicators when one is making a determination of AI. Our                                       minority representation). For example, the Fisher exact test sug-
side-by-side presentation of these results facilitates making com-                                    gested that 59% (63 of 107) of the four-fifths violations were false
parisons between the conclusions reached under the different AI                                       positives; however, approximately one half of these false positives
methods and is instructive; however, it was not our intention to                                      were cases in which only 5 minority applicants were hired and the
explore this issue in great depth. We believe this is a critical topic                                majority SR was more than twice the minority SR. Extreme caution
for exploration but one worthy of dedicated Monte Carlo work (see                                     should be used when interpreting the Fisher exact test results for
Collins & Morris, 2008, for a recent examination of this issue).                                      the small sample scenarios (and any other situation when there are
   Minority representation. Figure 1 illustrates the trade-off av-                                    very small cells). Under these selection conditions, the one-tailed
eraged across Models 1– 43 for each first-stage SR and for each                                       ZIR test was far superior to the Fisher exact test in tempering false
minority representation condition. The results clearly support a                                      positives based on the four-fifths rule. Follow-up significance
general trade-off between performance and AI as well as the                                           testing based on the ZIR test flagged 13% of the violations of the
influence of stage-specific and net SRs. Increasing the proportion                                    four-fifths rule in the small sample as false positives (the same 14
of minorities in the applicant pool did not change the trade-off                                      scenarios were flagged by the Fisher exact test). For these viola-
trends discussed herein; however, it did result in slightly different                                 tions, the selection of 1 additional minority applicant in lieu of a
AI and performance outcomes. Specifically, increasing minority                                        majority applicant would not have resulted in a violation of the
representation in the applicant pool resulted in a slightly higher                                    four-fifths rule. This fact underscores the importance of conduct-
                                                                                                      ing follow-up analyses (e.g., significance testing, sensitivity anal-
                                                                                                      ysis) when violations of the four-fifths rule are identified.
                    0.65                                                                                 Results for the different pool sizes were compared with each
                    0.60                                                                              other. Overall, the same trade-off trends that we discuss in the next
                                                                                                      section were observed in both the small (N ⫽ 160) and large (N ⫽
                    0.55
                                                                                                      500) applicant pools. Expected mean performance for the scenar-
Mean AI / Mean JP




                    0.50                                                                              ios was essentially the same in both pools, although performance
                    0.45                                                                              estimates were more varied in the smaller pool (i.e., the smaller
                    0.40
                                                                                                      sample yielded more sampling variability, as would be expected).
                                                                                                      Similar conclusions of AI were generally reached for the large and
M




                    0.35
                                                                                                      small applicant pools when AI was defined by the four-fifths rule.
                    0.30                                                                              The key difference between the pools was in AI conclusions
                    0.25                                                                              reached with the significance tests, particularly with the Fisher
                             15             25              45               60               75      exact test. The ZIR test resulted in 7% fewer conclusions of AI in
                                                 1st Stage Selection Ratio                            the small pool than in the larger pool, whereas the Fisher exact test
                                  JP: 500n, 12% Minority                     AI: 500n, 12% Minority   resulted in 30% fewer conclusions of AI in the small pool for the
                                  JP: 500n, 20% Minority                     AI: 500n, 20% Minority   same scenarios. The differences between the small and large
                                  JP: 500n, 30% Minority                     AI: 500n, 30% Minority   applicant pools for the significance tests are largely attributed to
                                                                                                      greater sampling variability in the smaller pool and to a lack of
Figure 1. Average trade-off effects observed. AI⫽ adverse impact; JP ⫽                                power of the Fisher exact test to detect true differences in selection
job performance.                                                                                      rates in the smaller applicant pool, when they existed.
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Overall Results for N ⫽ 500 With 20%                                      of Integrity ⫹ CA ⫹ SI for the same 10% SRnet yielded mean
Minority Representation                                                   performance of .76. This figure was only slightly higher (difference in
                                                                          expected performance ⫽ .02) than that for the best performance
   To help manage the presentation of results, we focused our             multistage strategy; however, it is important to note, this compensa-
analysis of the different selection strategies around the scenarios       tory model did utilize fewer predictors.
simulated in the large applicant pool (N ⫽ 500) with 20% minority            As another instructive comparison, for all the scenarios that did not
representation, given that the trends observed for the different          produce AI, the highest expected performance was .61. It was ob-
applicant pool conditions were similar. Table 3 presents the ex-          served for Model 23 (Integrity, Bio ⫹ SI ⫹ Consc) at 25% SR1. For
pected mean performance and AI outcomes associated with all 215           the 30% SRnet, the highest mean performance (.46) was observed for
two- and three-stage scenarios that were simulated for this appli-        Model 15 (Integrity, CA ⫹ Bio ⫹ Consc ⫹ SI) at 75% SR1. The
cant pool condition. Results for the same scenarios modeled for the       compensatory model of Integrity ⫹ CA ⫹ SI for the same 30% SRnet
12% and 30% minority representation and N ⫽ 160 applicant pool            yielded mean performance of .48. For this SRnet, then, the mean was
conditions are available from David M. Finch upon request.                only slightly higher than the best performance multistage strategy.
   Descriptive statistics. We generated a total of 221 million sets of
applicant predictor and criterion scores to examine the various sce-
                                                                          Minimizing AI
narios in the N ⫽ 500, 20% minority representation condition. Sample
means, standard deviations, and correlations for the simulated ob-           Prior research on the trade-off has consistently demonstrated
served scores were analyzed to verify the quality of the estimates.       that combining predictors with various psychometric properties in
Ninety-five percent of the estimates fell within a 95% confidence         selection strategies typically results in AI, in particular when
interval around the population values. The simulation revealed a wide     regression-weighted selection strategies are employed (De Corte et
range of expected values of mean performance (or expected mean z          al., 2007; Sackett & Ellingson, 1997; Sackett & Roth, 1996;
scores on the criterion) and AI across the multistage scenarios. Spe-     Schmitt et al., 1997). In contrast to previous research, the current
cifically, expected mean performance ranged from .15 to .74 (M ⫽          simulation demonstrated numerous strategies that produced no AI.
.44, SD ⫽ .13) and expected AIRs ranged from .17 to .96.                     No AI strategies. Table 4 contains those scenarios that either met
   As was noted previously, the results clearly support a trade-off       the four-fifths rule or had no significant differences in hiring rates for
between performance and AI, as is illustrated in Figure 1. How-           the ZIR test. We modeled 43 scenarios that did not produce AI based
ever, and perhaps more important, the current simulation modeled          on ZIR; 23 of them did not violate the four-fifths rule. In the interest
several multistage strategies that did not produce AI based on the        of facilitating comparisons with previous research, which has relied
four-fifths rule (23 scenarios). Results from follow-up significance      solely upon the four-fifths rule to define AI, we offer a few observa-
testing were even more encouraging. Follow-up significance test-          tions for those scenarios that met the four-fifths rule. First, nine
ing indicated that 72 scenarios (33%) did not produce AI with the         different predictor combinations met or exceeded the .80 rule of
Fisher exact test and that 43 (20%) scenarios had no AI for the ZIR       thumb (and did so regardless of the level of minority representation in
test. The Fisher exact test results suggested that an alarming 26%        the applicant pool). Second, many of these strategies did not produce
of the four-fifths violations were false positives, whereas the more      any AI when both low and high first-stage SRs were used. Third, none
conservative ZIR test suggested that a smaller, though still sizable,     of these strategies contained cognitive ability, and all except for one
percentage (i.e., 10%) of the four-fifths signals were false posi-        contained the zero-d predictor (i.e., integrity) as the first-stage predic-
tives. The wide variety of selection strategies that did not produce      tor. The one predictor combination that did not include integrity was
AI represents a marked improvement over previous single- and              Model 14 (Bio, Consc). It consisted of two highly correlated predic-
multistage simulations. The characteristics of these no-AI strate-        tors: biodata with a moderate d, used in the first stage with high SRs
gies as well as the trade-off in mean performance observed are            (i.e., SR1 ⫽ .60 and .75), and conscientiousness, a small-d predictor,
discussed in the subsequent sections.                                     used alone in the second stage.
   Next, we offer a few observations relative to meeting each                Single- versus multistage AI. To illustrate the potential that
organizational objective independently when using multistage se-          multistage strategies have over single-stage approaches for
lection strategies. Then we shift our focus to a detailed discussion      reducing AI, in particular when a large-d predictor, such as
of trends and those strategies that were more effective in balancing      cognitive ability, is used, we present a comparison of our results
the AI and performance goals.                                             with those of Bobko et al. (1999) in Table 5. Recall that we
                                                                          modeled the same meta-analytic estimates as did Bobko et al. in
Maximizing Performance                                                    an applicant pool with the same proportional minority repre-
                                                                          sentation. As is illustrated in the table, modeling a battery of
   To put mean performance levels in better perspective relative to all   assessments in a multistage design produced less AI than did
multistage strategies that were modeled, we note the highest mean         presenting the assessments in a compensatory model in all
performance for the two net SRs. For the 10% SRnet, the highest mean      cases, except when a large-d predictor was administered in the
performance was .74. It was observed for Strategy 30 (Consc ⫹             first stage with a low first-stage SR. As another example,
Bio ⫹ CA ⫹ Integrity, SI) at 15% SR1. This strategy utilized every        compare Strategies 45 and 21 in Table 6 (also cf. Strategies 46
predictor, and all but one of these predictors was in a first-stage       and 20). Whereas the single-stage strategy (Nos. 45 and 46)
composite. Regression weighting (and no prior selection) ensured          produced substantial AI for low first-stage SRs, administration
optimal prediction for this composite. By utilizing the most selective    of the same predictors in a multistage strategy (Nos. 21 and 20)
first-stage SR (15%), we based the majority of prediction on this         produced minority selection rates that were much more favor-
optimal composite. As a point of comparison, a compensatory model                                                 (text continues on page 330)
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     Table 3
     Mean Predicted Performance and Adverse Impact Results for N ⫽ 500 and 20% Minority Representation

             Predictor combination       First-stage SR   Mean performance   AIR      ZIR    Fisher exact test
                                                                                                     ⴱ
      1. CA, SI ⫹ Bio ⫹ Consc                 15               0.626         0.167   5.342
                                                                                                     ⴱ
                                              25               0.677         0.167   5.342
                                                                                                     ⴱ
                                              45               0.399         0.286   7.335
                                                                                                     ⴱ
                                              60               0.416         0.380   5.672
                                                                                                     ⴱ
                                              75               0.412         0.444   4.748
                                                                                                     ⴱ
      2. CA, Consc ⫹ SI                       15               0.597         0.167   5.342
                                                                                                     ⴱ
                                              25               0.637         0.167   5.342
                                                                                                     ⴱ
                                              45               0.383         0.317   6.735
                                                                                                     ⴱ
                                              60               0.383         0.412   5.196
                                                                                                     ⴱ
                                              75               0.368         0.511   3.928
                                                                                                     ⴱ
      3. CA, SI ⫹ Bio                         15               0.614         0.167   5.342
                                                                                                     ⴱ
                                              25               0.659         0.167   5.342
                                                                                                     ⴱ
                                              45               0.400         0.286   7.335
                                                                                                     ⴱ
                                              60               0.410         0.380   5.672
                                                                                                     ⴱ
                                              75               0.404         0.444   4.748
                                                                                                     ⴱ
      4. CA, Bio ⫹ Consc                      15               0.578         0.167   5.342
                                                                                                     ⴱ
                                              25               0.594         0.167   5.342
                                                                                                     ⴱ
                                              45               0.357         0.286   7.335
                                                                                                     ⴱ
                                              60               0.349         0.380   5.672
                                                                                                     ⴱ
                                              75               0.322         0.444   4.748
                                                                                                     ⴱ
      5. CA, SI                               15               0.563         0.167   5.342
                                                                                                     ⴱ
                                              25               0.583         0.167   5.342
                                                                                                     ⴱ
                                              45               0.357         0.317   6.735
                                                                                                     ⴱ
                                              60               0.347         0.412   5.196
                                                                                                     ⴱ
                                              75               0.325         0.511   3.928
                                                                                                     ⴱ
      6. CA, Bio                              15               0.557         0.167   5.342
                                                                                                     ⴱ
                                              25               0.566         0.167   5.342
                                                                                                     ⴱ
                                              45               0.345         0.286   7.335
                                                                                                     ⴱ
                                              60               0.333         0.380   5.672
                                                                                                     ⴱ
                                              75               0.312         0.444   4.748
                                                                                                     ⴱ
      7. CA, Consc                            15               0.534         0.167   5.342
                                                                                                     ⴱ
                                              25               0.516         0.167   5.342
                                                                                                     ⴱ
                                              45               0.311         0.317   6.735
                                                                                                     ⴱ
                                              60               0.279         0.412   5.196
                                                                                                     ⴱ
                                              75               0.234         0.511   3.928
                                                                                                     ⴱ
      8. Bio, SI ⫹ CA ⫹ Consc                 15               0.591         0.348   3.149
                                                                                                     ⴱ
                                              25               0.666         0.255   4.070
                                                                                                     ⴱ
                                              45               0.387         0.444   4.748
                                                                                                     ⴱ
                                              60               0.419         0.380   5.672
                                                                                                     ⴱ
                                              75               0.431         0.380   5.672
      9. Bio, SI ⫹ Consc                      15               0.539         0.545   1.807
                                              25               0.577         0.545   1.807
                                                                                                     ⴱ
                                              45               0.335         0.651   2.512
                                              60               0.346         0.688   2.194
                                              75               0.338         0.688   2.194
                                                                                                     ⴱ
     10. Bio, SI ⫹ CA                         15               0.581         0.348   3.149
                                                                                                     ⴱ
                                              25               0.643         0.255   4.070
                                                                                                     ⴱ
                                              45               0.378         0.444   4.748
                                                                                                     ⴱ
                                              60               0.409         0.380   5.672
                                                                                                     ⴱ
                                              75               0.411         0.348   6.184
                                                                                                     ⴱ
     11. Bio, CA ⫹ Consc                      15               0.549         0.348   3.149
                                                                                                     ⴱ
                                              25               0.596         0.255   4.070
                                                                                                     ⴱ
                                              45               0.354         0.380   5.672
                                                                                                     ⴱ
                                              60               0.372         0.317   6.735
                                                                                                     ⴱ
                                              75               0.367         0.286   7.335
                                                                                             (table continues)
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           Table 3 (continued )

                    Predictor combination         First-stage SR   Mean performance   AIR      ZIR    Fisher exact test

           12. Bio, SI                                 15               0.515         0.545   1.807
                                                       25               0.556         0.545   1.807
                                                                                                              ⴱ
                                                       45               0.330         0.651   2.512
                                                                                                              ⴱ
                                                       60               0.333         0.651   2.512
                                                       75               0.321         0.688   2.194
                                                                                                              ⴱ
           13. Bio, CA                                 15               0.527         0.255   4.070
                                                                                                              ⴱ
                                                       25               0.573         0.167   5.342
                                                                                                              ⴱ
                                                       45               0.336         0.348   6.184
                                                                                                              ⴱ
                                                       60               0.346         0.286   7.335
                                                                                                              ⴱ
                                                       75               0.340         0.255   7.994
           14. Bio, Consc                              15               0.430         0.545   1.807
                                                       25               0.383         0.651   1.279
                                                       45               0.224         0.724   1.888
                                                       60               0.190         0.800   1.307
                                                       75               0.153         0.839   1.030
           15. Integrity, CA ⫹ Bio ⫹ Consc ⫹ SI        15               0.555         0.651   1.279
                                                       25               0.675         0.444   2.418
                                                                                                              ⴱ
                                                       45               0.378         0.580   3.188
                                                                                                              ⴱ
                                                       60               0.436         0.478   4.327
                                                                                                              ⴱ
                                                       75               0.461         0.412   5.196
           16. Integrity, CA ⫹ Bio ⫹ Consc             15               0.526         0.545   1.807
                                                                                                              ⴱ
                                                       25               0.621         0.348   3.149
                                                                                                              ⴱ
                                                       45               0.348         0.545   3.549
                                                                                                              ⴱ
                                                       60               0.396         0.412   5.196
                                                                                                              ⴱ
                                                       75               0.407         0.348   6.184
           17. Integrity, CA ⫹ Bio ⫹ SI                15               0.550         0.651   1.279
                                                       25               0.666         0.444   2.418
                                                                                                              ⴱ
                                                       45               0.378         0.580   3.188
                                                                                                              ⴱ
                                                       60               0.434         0.478   4.327
                                                                                                              ⴱ
                                                       75               0.457         0.412   5.196
           18. Integrity, CA ⫹ Consc ⫹ SI              15               0.542         0.651   1.279
                                                       25               0.649         0.444   2.418
                                                                                                              ⴱ
                                                       45               0.368         0.580   3.188
                                                                                                              ⴱ
                                                       60               0.417         0.478   4.327
                                                                                                              ⴱ
                                                       75               0.437         0.412   5.196
           19. Integrity, CA ⫹ Bio                     15               0.516         0.545   1.807
                                                                                                              ⴱ
                                                       25               0.610         0.348   3.149
                                                                                                              ⴱ
                                                       45               0.348         0.511   3.928
                                                                                                              ⴱ
                                                       60               0.391         0.412   5.196
                                                                                                              ⴱ
                                                       75               0.402         0.348   6.184
           20. Integrity, CA ⫹ Consc                   15               0.501         0.545   1.807
                                                                                                              ⴱ
                                                       25               0.585         0.348   3.149
                                                                                                              ⴱ
                                                       45               0.331         0.511   3.928
                                                                                                              ⴱ
                                                       60               0.366         0.380   5.672
                                                                                                              ⴱ
                                                       75               0.378         0.317   6.735
           21. Integrity, CA ⫹ SI                      15               0.527         0.545   1.807
                                                       25               0.637         0.444   2.418
                                                                                                              ⴱ
                                                       45               0.364         0.580   3.188
                                                                                                              ⴱ
                                                       60               0.404         0.478   4.327
                                                                                                              ⴱ
                                                       75               0.420         0.412   5.196
           22. Integrity, CA                           15               0.481         0.545   1.807
                                                                                                              ⴱ
                                                       25               0.561         0.348   3.149
                                                                                                              ⴱ
                                                       45               0.321         0.478   4.327
                                                                                                              ⴱ
                                                       60               0.345         0.348   6.184
                                                                                                              ⴱ
                                                       75               0.351         0.286   7.335
           23. Integrity, Bio ⫹ SI ⫹ Consc             15               0.521         0.762   0.811
                                                       25               0.611         0.651   1.279
                                                       45               0.344         0.800   1.307
                                                       60               0.379         0.724   1.888
                                                       75               0.394         0.688   2.194
                                                                                                      (table continues)
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     Table 3 (continued )

              Predictor combination         First-stage SR   Mean performance   AIR      ZIR    Fisher exact test

     24. Integrity, Bio ⫹ Consc                  15               0.448         0.878   0.388
                                                 25               0.484         0.762   0.811
                                                 45               0.279         0.839   1.030
                                                 60               0.289         0.762   1.592
                                                 75               0.287         0.724   1.888
     25. Integrity, Bio ⫹ SI                     15               0.509         0.762   0.811
                                                 25               0.597         0.651   1.279
                                                 45               0.337         0.800   1.307
                                                 60               0.379         0.724   1.888
                                                 75               0.391         0.688   2.194
     26. Integrity, Bio                          15               0.437         0.878   0.388
                                                 25               0.475         0.651   1.279
                                                 45               0.274         0.800   1.307
                                                 60               0.286         0.762   1.592
                                                 75               0.282         0.688   2.194
     27. Integrity, Consc ⫹ SI                   15               0.480         0.878   0.388
                                                 25               0.549         0.762   0.811
                                                 45               0.314         0.878   0.762
                                                 60               0.335         0.800   1.307
                                                 75               0.341         0.800   1.307
     28. Integrity, Consc                        15               0.372         0.878   0.388
                                                 25               0.351         0.878   0.388
                                                 45               0.200         0.959   0.247
                                                 60               0.177         0.918   0.501
                                                 75               0.160         0.918   0.501
     29. Integrity, SI                           15               0.468         0.878   0.388
                                                 25               0.529         0.762   0.811
                                                 45               0.301         0.878   0.762
                                                 60               0.321         0.839   1.030
                                                 75               0.319         0.800   1.307
                                                                                                        ⴱ
     30. Consc ⫹ Bio ⫹ CA ⫹ Integrity, SI        15               0.742         0.255   4.070
                                                                                                        ⴱ
                                                 25               0.720         0.255   4.070
                                                                                                        ⴱ
                                                 45               0.450         0.412   5.196
                                                                                                        ⴱ
                                                 60               0.410         0.478   4.327
                                                                                                        ⴱ
                                                 75               0.363         0.580   3.188
                                                                                                        ⴱ
     31. Bio ⫹ CA ⫹ Integrity, SI                15               0.739         0.255   4.070
                                                                                                        ⴱ
                                                 25               0.716         0.255   4.070
                                                                                                        ⴱ
                                                 45               0.450         0.412   5.196
                                                                                                        ⴱ
                                                 60               0.411         0.511   3.928
                                                                                                        ⴱ
                                                 75               0.366         0.580   3.188
                                                                                                        ⴱ
     32. Bio ⫹ Consc ⫹ Integrity, CA, SI         15               0.645         0.348   3.149
                                                                                                        ⴱ
                                                 25               0.687         0.255   4.070
                                                                                                        ⴱ
                                                 45               0.412         0.444   4.748
                                                                                                        ⴱ
                                                 60               0.416         0.380   5.672
                                                                                                        ⴱ
                                                 75               0.408         0.348   6.184
     33. Consc ⫹ Integrity, CA ⫹ Bio, SI         15               0.547         0.545   1.807
                                                 25               0.643         0.444   2.418
                                                                                                        ⴱ
                                                 45               0.371         0.580   3.188
                                                                                                        ⴱ
                                                 60               0.409         0.478   4.327
                                                                                                        ⴱ
                                                 75               0.421         0.412   5.196
                                                                                                        ⴱ
     34. CA ⫹ Consc ⫹ Integrity, Bio, SI         15               0.701         0.255   4.070
                                                                                                        ⴱ
                                                 25               0.700         0.255   4.070
                                                                                                        ⴱ
                                                 45               0.427         0.412   5.196
                                                                                                        ⴱ
                                                 60               0.404         0.478   4.327
                                                                                                        ⴱ
                                                 75               0.379         0.545   3.549
                                                                                                        ⴱ
     35. CA ⫹ Integrity, Consc ⫹ Bio, SI         15               0.710         0.255   4.070
                                                                                                        ⴱ
                                                 25               0.712         0.255   4.070
                                                                                                        ⴱ
                                                 45               0.431         0.412   5.196
                                                                                                        ⴱ
                                                 60               0.413         0.444   4.748
                                                                                                        ⴱ
                                                 75               0.388         0.545   3.549
                                                                                                (table continues)
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                Table 3 (continued )

                    Predictor combination           First-stage SR      Mean performance          AIR         ZIR       Fisher exact test
                                                                                                                                ⴱ
                36. Integrity, CA, Bio                  15                     0.590             0.167       5.342
                                                                                                                                ⴱ
                                                        25                     0.626             0.167       5.342
                                                                                                                                ⴱ
                                                        45                     0.374             0.317       6.735
                                                                                                                                ⴱ
                                                        60                     0.377             0.412       5.196
                                                                                                                                ⴱ
                                                        75                     0.367             0.545       3.549
                                                                                                                                ⴱ
                37. CA, Integrity ⫹ SI                  15                     0.628             0.167       5.342
                                                                                                                                ⴱ
                                                        25                     0.691             0.167       5.342
                                                                                                                                ⴱ
                                                        45                     0.412             0.317       6.735
                                                                                                                                ⴱ
                                                        60                     0.428             0.412       5.196
                                                                                                                                ⴱ
                                                        75                     0.417             0.545       3.549
                                                                                                                                ⴱ
                38. CA, Integrity                       15                     0.559             0.167       5.342
                                                                                                                                ⴱ
                                                        25                     0.577             0.255       4.070
                                                                                                                                ⴱ
                                                        45                     0.349             0.317       6.735
                                                                                                                                ⴱ
                                                        60                     0.332             0.444       4.748
                                                                                                                                ⴱ
                                                        75                     0.302             0.580       3.188
                                                                                                                                ⴱ
                39. CA, Integrity ⫹ SI ⫹                15                     0.637             0.167       5.342
                                                                                                                                ⴱ
                  Consc                                 25                     0.698             0.167       5.342
                                                                                                                                ⴱ
                                                        45                     0.416             0.317       6.735
                                                                                                                                ⴱ
                                                        60                     0.431             0.412       5.196
                                                                                                                                ⴱ
                                                        75                     0.428             0.511       3.928
                                                                                                                                ⴱ
                40. CA, Integrity ⫹ Consc               15                     0.581             0.167       5.342
                                                                                                                                ⴱ
                                                        25                     0.603             0.167       5.342
                                                                                                                                ⴱ
                                                        45                     0.363             0.317       6.735
                                                                                                                                ⴱ
                                                        60                     0.348             0.412       5.196
                                                                                                                                ⴱ
                                                        75                     0.319             0.545       3.549
                41. Bio, Integrity                      15                     0.481             0.651       1.279
                                                        25                     0.482             0.651       1.279
                                                        45                     0.285             0.762       1.592
                                                        60                     0.275             0.839       1.030
                                                        75                     0.249             0.878       0.762
                42. Consc, CA ⫹ Bio ⫹ SI                15                     0.444             0.545       1.807
                                                                                                                                ⴱ
                                                        25                     0.577             0.348       3.149
                                                                                                                                ⴱ
                                                        45                     0.320             0.545       3.549
                                                                                                                                ⴱ
                                                        60                     0.386             0.444       4.748
                                                                                                                                ⴱ
                                                        75                     0.425             0.380       5.672
                43. Consc, Bio                          15                     0.336             0.762       0.811
                                                        25                     0.395             0.651       1.279
                                                        45                     0.214             0.762       1.592
                                                        60                     0.243             0.724       1.888
                                                        75                     0.250             0.688       2.194
                                                                                                                                ⴱ
                44. CA ⫹ Integrity ⫹ Bio              10% SRnet                0.712             0.255       4.070
                                                                                                                                ⴱ
                                                      30% SRnet                0.442             0.348       6.184
                                                                                                                                ⴱ
                45. CA ⫹ Integrity ⫹ SI               10% SRnet                0.761             0.255       4.070
                                                                                                                                ⴱ
                                                      30% SRnet                0.475             0.412       5.196
                                                                                                                                ⴱ
                46. CA ⫹ Integrity ⫹ Consc            10% SRnet                0.673             0.255       4.070
                                                                                                                                ⴱ
                                                      30% SRnet                0.419             0.348       6.184

                Note. SR ⫽ selection ratio; ZIR ⫽ z difference on adverse impact ratio (AIR); CA ⫽ cognitive ability; SI ⫽ structured
                interview; Bio⫽ biodata; Consc ⫽ conscientiousness. AIRs ⱖ.80 are in bold. Bold values for ZIR indicate that there
                was no significant difference on the ratio of selection rates. An asterisk indicates significant difference for the Fisher
                exact test.



able in an absolute sense; in a relative sense, the minority                   is conditional upon the relative weight the less adverse predictors
selection rates for the multistage strategies were approximately               receive in the selection process. This weighting is influenced
twice as high as those observed for the single-stage strategy.                 heavily by the SRs used, in particular the level of the first-stage SR
  Although multistage strategies generally produce less AI than                relative to the second-stage SR, and the positioning of the larger d
do similarly comprised, single-stage strategies, it is important to            predictor in the process (a comparison of Strategies 37 and 45 for
note that the dominance of multistage strategies for minimizing AI             the 10% SRnet illustrates this point).
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                 Table 4
                 Scenarios With No Adverse Impact

                          Predictor combination                  First-stage SR      Mean JP         AIR         ZIR       Fisher exact test

                 14. Bio, Consc                                        25              0.383        0.651       1.279
                                                                       60              0.190        0.800       1.307
                                                                       75              0.153        0.839       1.030
                 15. Integrity, CA ⫹ Bio ⫹ Consc ⫹ SI                  15              0.555        0.651       1.279
                 17. Integrity, CA ⫹ Bio ⫹ SI                          15              0.550        0.651       1.279
                 18. Integrity, CA ⫹ Consc ⫹ SI                        15              0.542        0.651       1.279
                 23. Integrity, Bio ⫹ SI ⫹ Consc                       15              0.521        0.762       0.811
                                                                       25              0.611        0.651       1.279
                                                                       45              0.344        0.800       1.307
                 24. Integrity, Bio ⫹ Consc                            15              0.448        0.878       0.388
                                                                       25              0.484        0.762       0.811
                                                                       45              0.279        0.839       1.030
                                                                       60              0.289        0.762       1.592
                 25. Integrity, Bio ⫹ SI                               15              0.509        0.762       0.811
                                                                       25              0.597        0.651       1.279
                                                                       45              0.337        0.800       1.307
                 26. Integrity, Bio                                    15              0.437        0.878       0.388
                                                                       25              0.475        0.651       1.279
                                                                       45              0.274        0.800       1.307
                                                                       60              0.286        0.762       1.592
                 27. Integrity, Consc ⫹ SI                             15              0.480        0.878       0.388
                                                                       25              0.549        0.762       0.811
                                                                       45              0.314        0.878       0.762
                                                                       60              0.335        0.800       1.307
                                                                       75              0.341        0.800       1.307
                 28. Integrity, Consc                                  15              0.372        0.976       0.388
                                                                       25              0.351        0.878       0.388
                                                                       45              0.200        0.959       0.247
                                                                       60              0.177        0.918       0.501
                                                                       75              0.160        0.918       0.501
                 29. Integrity, SI                                     15              0.468        0.878       0.388
                                                                       25              0.529        0.762       0.811
                                                                       45              0.301        0.878       0.762
                                                                       60              0.321        0.839       1.030
                                                                       75              0.319        0.800       1.307
                 41. Bio, Integrity                                    15              0.481        0.651       1.279
                                                                       25              0.482        0.651       1.279
                                                                       45              0.285        0.762       1.592
                                                                       60              0.275        0.839       1.030
                                                                       75              0.249        0.878       0.762
                 43. Consc, Bio                                        15              0.336        0.762       0.811
                                                                       25              0.395        0.651       1.279
                                                                       45              0.214        0.762       1.592

                 Note. SR ⫽ selection ratio; JP ⫽ job performance; AIR ⫽ adverse impact ratio; ZIR ⫽ z difference on AIR; Bio ⫽
                 biodata; Consc ⫽ conscientiousness; CA ⫽ cognitive ability; SI ⫽ structured interview. AIRs ⱖ.80 are in bold. Bold
                 values for ZIR indicate that there was no significant difference on the ratio of selection rates. No significant differences
                 were found for the Fisher exact test for these scenarios.


Positioning of Large(r)-d Predictor                                               (c) when the large-d predictor in a second-stage composite is
                                                                                  supplemented with smaller d alternatives (“supplemental strat-
   Previous research has shown that positioning the large-d pre-
                                                                                  egy”) with prior screening on a smaller d predictor.
dictor in the first stage will yield a greater proportion of minority
                                                                                     Two-predictor case. To examine the generalizability of this
hires when the first-stage SR is equal to or higher than the SR for
                                                                                  rule for the case of correlated predictors with small differences
the second stage (i.e., De Corte et al., 2006; Sackett & Roth, 1996).
                                                                                  in d, we modeled biodata and conscientiousness in a two-stage
Conversely, similar results are observed when the large-d predictor
is used in the second stage with a second-stage SR that is greater                process. These predictors are highly correlated (r ⫽ .51). More-
than the first-stage SR. The current simulation examined the gen-                 over, the difference between predictor subgroup differences
eralizability of this rule to three important, yet unexplored, condi-             was relatively small (difference in d ⫽ 0.24) and was much
tions: (a) when the magnitude of the difference between the first-                smaller than has been previously examined (i.e., differences in
and second-stage predictor levels of d is small and the predictors                d ⬍ 0.76 that reflected the difference between ds for cognitive
are highly correlated, (b) when using a large-d first-stage predictor             ability and structured interview). We compared the AIR results
and a composite of smaller d alternatives in the second stage, and                for the two models (No. 14, Bio, Consc, vs. No. 43, Consc, Bio)
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Table 5
Comparison of AIR Results With Bobko et al. (1999) Results

                          Bobko et al. (1999)                                                                 Current simulation

  SRnct                 CA ⫹ Bio ⫹ Consc ⫹ SI                    Consc, CA ⫹ Bio ⫹ SI                     Bio, CA ⫹ Consc ⫹ SI                       CA, Bio ⫹ Consc ⫹ SI

10% SRnet                         .23                                        .55                                        .35                                      .17
30% SRnet                         .37                                        .55                                        .45                                      .45

Note.     AIR ⫽ adverse impact ratio; CA ⫽ cognitive ability; Bio ⫽ biodata; Consc ⫽ conscientiousness; SI ⫽ structured interview; SR ⫽ selection ratio.




obtained at the 25% first-stage SR. Recall from Table 1 that the                           consideration can be given to other factors, such as administra-
second-stage SR associated with a 25% first-stage SR was 40%.                              tion and scoring costs and concerns (e.g., proctored testing).
This means a much larger proportion of applicants are being                                   Large-d predictor alone in first stage versus large-d predictor in
screened out on the basis of the first-stage predictor than of the                         composite. Second, and unique to this simulation, was an exam-
second-stage predictor for the SR. Prior research and intuition                            ination of whether higher minority selection rates were still
suggest that the larger d predictor (i.e., biodata) should be used                         achieved by positioning the large-d predictor in the first stage
in the second stage under these conditions in order to minimize                            when we used higher first-stage SRs and two or more alternative
AI. That is, strategies that place greater weight on the smaller                           predictors (in a composite) in the second stage. Several strategies
d predictor in a selection system are expected to reduce AI.                               were modeled in which the large-d predictor was positioned alone
However, use of such strategies did not translate into less AI                             in the first stage with subsequent screening on a composite of other
when the predictors were highly correlated and had a smaller                               predictors (e.g., Nos. 1, 37, 39). These strategies were compared
disparity between predictor d levels. This is an important ex-                             with supplemental strategies in which the same predictors were
ception to the rule put forth in previous research, because                                used but the large-d predictor was administered in the second stage
decisions regarding sequential ordering are driven by practical                            along with one or two other alternative predictors in a composite
considerations as well as by considerations for minimizing AI.                             (i.e., Strategies 8, 21, 18, respectively). In all cases with SR1 ⫽
If the expected performance and AI levels for two test imple-                              75%, minority hiring rates were higher when the large-d predictor
mentation options are similar (as is the case here), greater                               was used in the first stage than when it was included in a second-



Table 6
Single Versus Multistage Selection

                                                                                                     SRnet ⫽ .10

                                                                 SR1 ⫽ .15                                                                 SR1 ⫽ .25

   Predictor combination                  JP            AIR          ZIR           Fisher exact test             JP             AIR           ZIR             Fisher exact test
                                                                                                                                                                       ⴱ
22. Integrity, CA                       0.481          0.545        1.807                                       0.561         0.348          3.149
                                                                                              ⴱ                                                                        ⴱ
45. Integrity ⫹ CA ⫹ SI                 0.761          0.255        4.070                                       0.761         0.255          4.070
21. Integrity, CA ⫹ SI                  0.527          0.545        1.807                                       0.637         0.444          2.418
                                                                                              ⴱ                                                                        ⴱ
37. CA, Integrity ⫹ SI                  0.628          0.167        5.342                                       0.691         0.167          5.342
                                                                                              ⴱ                                                                        ⴱ
46. Integrity ⫹ CA ⫹ Consc              0.673          0.255        4.070                                       0.673         0.255          4.070
                                                                                                                                                                       ⴱ
20. Integrity, CA ⫹ Consc               0.501          0.545        1.807                                       0.585         0.348          3.149

                                                                                                  SRnet ⫽ .30

                                                     SR1 ⫽ .45                                      SR1 ⫽ .60                                       SR1 ⫽ .75

                                                                 Fisher exact                                    Fisher exact                                     Fisher exact
                                   JP          AIR      ZIR          test           JP        AIR       ZIR          test             JP      AIR       ZIR           test
                                                                      ⴱ                                                 ⴱ                                                  ⴱ
22. Integrity, CA                 0.321        0.478   4.327                       0.345     0.348    6.184                       0.351      0.286     7.335
                                                                      ⴱ                                                 ⴱ                                                  ⴱ
45. Integrity ⫹ CA ⫹ SI           0.475        0.412   5.196                       0.475     0.412    5.196                       0.475      0.412     5.196
                                                                      ⴱ                                                 ⴱ                                                  ⴱ
21. Integrity, CA ⫹ SI            0.364        0.580   3.188                       0.404     0.478    4.327                       0.420      0.412     5.196
                                                                      ⴱ                                                 ⴱ                                                  ⴱ
37. CA, Integrity ⫹ SI            0.412        0.317   6.735                       0.428     0.412    5.196                       0.417      0.545     3.549
                                                                      ⴱ                                                 ⴱ                                                  ⴱ
46. Integrity ⫹ CA ⫹ Consc        0.419        0.348   6.184                       0.419     0.348    6.184                       0.419      0.348     6.184
                                                                      ⴱ                                                 ⴱ                                                  ⴱ
20. Integrity, CA ⫹ Consc         0.331        0.511   3.928                       0.366     0.380    5.672                       0.378      0.317     6.735

Note. SR ⫽ selection ratio; JP ⫽ job performance; AIR ⫽ adverse impact ratio; ZIR ⫽ z difference on adverse impact ratio; CA ⫽ cognitive ability; SI ⫽
structured interview; Consc ⫽ conscientiousness. An asterisk indicates significant difference for the Fisher exact test.
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                    0.80                                                                               though a wide variety of smaller d predictors and predictor com-
                                                                                                       posites was used in the second stage (and fairly high SRs were used
                    0.70
                                                                                                       in the first stage) to minimize AI. Some AI occurred even when we
                    0.60                                                                               used predictors with no subgroup differences, either alone in the
Mean AI / Mean JP




                                                                                                       second stage or in a second-stage composite with another small-d
                    0.50
                                                                                                       predictor (e.g., Nos. 38 and 40).
                    0.40
                                                                                                          Although no large-d first-stage strategy was identified that
                                                                                                       yielded sufficient minority hiring rates to avoid a conclusion of AI
                    0.30                                                                               based on either the four-fifths rule or significance testing, minority
                                                                                                       hiring rates were improved by inclusion of the large-d predictor in
                    0.20
                                                                                                       a second-stage composite under certain conditions. As shown in
                    0.10                                                                               Table 4, there were three selection models (Nos. 15, 17, 18) that
                             15             25                  45           60             75         included cognitive ability in a second-stage composite and did not
                                                 1st Stage Selection Ratio                             result in AI, based on follow-up significance testing. These selec-
                                                                                                       tion models had a few characteristics in common. Specifically,
                              JP: Supplemental Strategy (#18)        AI: Supplemental Strategy (#18)
                                                                                                       each model used a zero-d predictor alone in the first stage, at least
                              JP: Large-d 1st Stage (#39)            AI: Large-d 1st Stage (#39)
                                                                                                       one smaller d predictor in the second-stage composite, and a highly
                                                                                                       selective first-stage SR that was substantially more selective than
Figure 2. Sequential ordering of large-d predictor. AI⫽ adverse impact;                                was the second-stage SR. Figure 2 compares one of these no-AI,
JP ⫽ job performance.
                                                                                                       large-d supplemental strategies (No. 18) with a selection model
                                                                                                       that contains the same predictors but that presents the large-d
                                                                                                       predictor in the first stage (No. 39). The supplemental strategy did
stage composite. This finding is consistent with those for simple                                      not produce AI, on the basis of significance testing for the lowest
two-stage selection strategies (i.e., De Corte et al., 2006; Sackett &                                 first-stage SR; however, the large-d first-stage strategy produced
Roth, 1996). However, this rule did not always generalize when                                         substantial AI (i.e., 2% minority SR vs. 12% majority SR). More-
SR1 ⫽ 60% was used for the same predictor combinations. Figure 2                                       over, minority hiring rates were nearly 4 times worse when the first
illustrates a comparison of the large-d first-stage and the supple-                                    stage was a large-d predictor.
mental strategy. Even though the first-stage SR was higher than the                                       Three-stage processes. A comparison of Models 19, 36, and
second-stage SR when SR1 ⫽ 60%, the large-d first-stage strategy                                       44 for the 10% SRnet is instructive. These three models contain the
(No. 39) resulted in lower minority hiring rates than did the                                          same predictors (integrity, cognitive ability, and biodata) and
supplemental strategy (No. 18). Our results revealed that when                                         differ only in regard to whether all predictors were administered
composites are used in the second stage, the first-stage SR may                                        simultaneously in a single-stage composite, in two stages, or in
need to be made much higher than the second-stage SR (in this                                          three stages. The single-stage composite strategy resulted in mean
case nearly twice as high), as opposed to merely equal to or higher                                    performance that was much higher (job performance ⫽ .71) than
than the second-stage SR, if better minority hiring rates are to be                                    that for the multistage strategies (as expected), but it yielded very
achieved with a large-d first-stage. From a practical perspective,                                     poor minority hiring rates (AIR ⫽ .26). The three-stage process
this may not be feasible or desirable.                                                                 resulted in respectable prediction (job performance ⫽ .59); how-
   An examination of the mean performance results for these                                            ever, minority hiring rates were similar (AIR ⫽ .17) to those for the
two strategies is instructive for management of the performance
and minority hiring trade-offs. As Figure 2 illustrates for this
low first-stage SR, though a modest level of performance was                                                               0.80
sacrificed when the large-d predictor was positioned in the
second-stage composite, the minority hiring gains were sub-                                                                0.70
stantial (i.e., 7% minority selection rates for the composite strat-
                                                                                                       Mean AI / Mean JP




egy vs. 2% for the first-stage strategy). Similarly, when a slightly                                                       0.60

higher first-stage SR was used (i.e., 25% SR1), the sacrifice in
                                                                                                                           0.50
performance was relatively trivial compared with the sizable
increase in minority selection rates. For many practitioners,
                                                                                                                           0.40
these minority hiring gains and potential elimination of AI (at
least for the 15% SR1) would likely outweigh the relatively                                                                0.30
small loss in performance. Thus, the supplemental strategies
dominated the large-d first-stage strategies in management of                                                              0.20
the performance and minority hiring trade-offs for most first-                                                                             15                 25                 45                60                 75

stage SRs.                                                                                                                                                            1st Stage Selection Ratio

   The increases in minority selection rates should not be taken to                                                               JP: High Intercorrelation, Moderate d (#21)     AI: High Intercorrelation, Moderate d (#21)
mean that this large-d rule eliminated AI. This is an important                                                                   JP: Uncorrelated, Small d (#20)                 AI: Uncorrelated, Small d (#20)
point that previous research has not made explicitly clear. In fact,
all of the large-d first-stage strategies simulated in the current                                     Figure 3. Choice of supplemental predictor. AI⫽ adverse impact; JP ⫽
study produced AI (regardless of the AI operationalization), even                                      job performance.
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single-stage model, which yielded much higher mean perfor-               a larger d than did conscientiousness, it was uncorrelated with the
mance. The two-stage process here struck the best balance between        first-stage predictor (integrity). The interview and cognitive ability
performance and minority hiring (job performance ⫽ .52, AIR ⫽            were equally valid and were uncorrelated with the first-stage
.55). Several things are occurring here. First, use of a low first-      predictor; this means that both would receive similar weight in the
stage SR on integrity (a high-validity predictor with no subgroup        composite. Thus, the equally valid, smaller d predictor (interview)
differences) placed the greatest weight on the small-d predictor.        helped to mitigate the resulting AI that a large-d predictor (cog-
Second, integrity has a moderately strong correlation with biodata,      nitive ability) used alone in the second stage would have produced.
and prior selection on integrity restricted the variance of biodata (a      Last, the intercorrelations between the composite predictors
moderate-d predictor) in the second stage. A moderate intercorre-        played an instrumental role in determining the outcomes. As
lation between the composite predictors (biodata and cognitive           previous researchers have noted, composite d decreases as the
ability) also served to reduce the composite d, for reasons dis-         correlation between the composite predictors increases (e.g., Sack-
cussed previously (e.g., Sackett & Ellingson, 1997; Schmitt et al.,      ett & Ellingson, 1997). Integrity had a moderately high correlation
1997). Finally, the fact that biodata had comparable validity to         with conscientiousness but was uncorrelated with cognitive ability.
cognitive ability further limited the weight applied to the largest d    As such, the weight conscientiousness received in the second-stage
predictor in the process (i.e., given regression weighting).             composite was further attenuated, given prior selection on integ-
                                                                         rity. Indirect range restriction is always a concern in multistage
Supplemental Predictors Within Multistage Selection                      selection when predictors are correlated; however, with the addi-
                                                                         tion of a third unique predictor to a two-stage process, the dynam-
   It is instructive to examine the consequences associated with the     ics of optimally weighted composites becomes an important con-
use of different supplemental predictors. Figure 3 compares the          sideration for those choosing how best to leverage a given set of
relative effectiveness of two different two-predictor supplemental       predictors to meet the selection goals.
strategies for achieving the AI and performance objectives. In both         Similar results were observed for the larger composites. In fact,
strategies, a high-validity predictor with no subgroup differences       all two- and three-predictor composites that supplemented cogni-
was used as the first-stage predictor (reflective of integrity). The     tive ability with a moderate-d predictor (or predictors; i.e., Nos. 17,
two strategies differ only in the predictor used to supplement           19, 21) dominated (both in minority hiring and performance) all
cognitive ability in the second-stage composite. One strategy (No.       strategies that supplemented cognitive ability with this small-d
21) supplemented cognitive ability with a moderate-d predictor           predictor (conscientiousness; i.e., Nos. 16, 18, 20). In other words,
that was equally valid and moderately correlated (r ⫽ .24) with          supplementing cognitive ability with a small-d (instead of a
cognitive ability but was uncorrelated with integrity (reflective        moderate-d) predictor did not result in greater minority hiring;
of the structured interview). The other strategy (No. 20) sup-           in the majority of situations, it resulted in fewer minority hires
plemented cognitive ability with a small-d predictor that had            as well as lower performance than when one or two moderate-d
lower validity and that was uncorrelated with cognitive ability          predictors were used. As the first-stage SR increased, and
but was highly correlated with integrity (r ⫽ .39, reflective of         thereby shifted greater weight onto the second-stage composite,
conscientiousness).                                                      the difference between the small-d and moderate-d strategies
   As shown by Figure 3 and Table 6, Strategy 21 dominated               became more pronounced.
Strategy 20 for both the performance goals and the minority hiring          Finally, although supplementing cognitive ability with any one
goals. In this example, the strategy with the larger d supplemental      of the smaller d alternatives did not increase minority hiring at the
predictor actually outperformed the smaller d supplemental ap-           lowest first-stage SR, the addition of two smaller d alternatives was
proach for both the AI and the performance objectives across all         effective in eliminating AI at the lowest SR (see, e.g., Nos. 17 and
SRs. More compelling is the fact that one can add a second larger        18).2 As mentioned, though, only 3 of the 31 strategies that
d predictor to this composite mix (e.g., No. 17, Integrity, CA ⫹         included cognitive ability yielded sufficient minority hiring to
Bio ⫹ SI) and still get more minority hiring than if one combines        avoid a conclusion of AI. Thus, we next consider the effectiveness
a single small-d predictor with a large-d predictor in a composite.      of strategies that did not include cognitive ability but still utilized
The observed results are a function of several factors.                  predictors with moderately large levels of subgroup differences
   First, conscientiousness, despite being uncorrelated with cogni-      (e.g., biodata).
tive ability and having moderate validity, contributed very little to       Strategies that did not include cognitive ability. In contrast to
the composite. The substantially lower validity of conscientious-        results concerning selection strategies that included a large-d pre-
ness than of cognitive ability resulted in heavier weighting of          dictor in the first stage, results revealed that the use of a
cognitive ability in the composite, given the manner in which            moderate-d predictor in the first stage did not necessitate the use of
regression weights are determined. Second, given the high inter-         high first-stage SRs in order to avoid AI. For example, screening
correlation between integrity (the first-stage predictor) and consci-    on biodata in the first stage (d ⫽ 0.33) and a small-d predictor (i.e.,
entiousness, prior screening on integrity in the first stage limited     conscientiousness; d ⫽ 0.09) in the second stage did not result in
the potential (incremental) variance that conscientiousness might        AI for high or low first-stage SRs. This is an important finding, as
otherwise have had in the second stage. Conscientiousness re-            it makes clear that the practitioner does not need to rely on
ceived an even smaller weight (or contribution) for both minority        predictors that have zero or small subgroup differences (which, on
hiring and performance in the second-stage composite than it
would have had, had there been no prior screening on integrity.
Less weight on the predictor means that the small-d predictor had          2
                                                                              The four-fifths rule was not met; however, follow-up significance
less influence in the reduction of AI. Although the interview had        testing indicated no AI.
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                 Table 7
                 Best Balance Strategies

                          Predictor combination                 First-stage SR                          JP              AIR           ZIR          Fisher exact test

                  9. Bio, SI ⫹ Consc                                  .25                             0.577           0.545           1.807
                 12. Bio, SI                                          .25                             0.556           0.545           1.807
                 15. Integrity, CA ⫹ Bio ⫹ Consc ⫹ SI                 .15                             0.555           0.651           1.279
                                                                      .25                             0.675           0.444           2.418
                 17. Integrity, CA ⫹ Bio ⫹ SI                         .25                             0.666           0.444           2.418
                 18. Integrity, CA ⫹ Consc ⫹ SI                       .25                             0.649           0.444           2.418
                 21. Integrity, CA ⫹ SI                               .25                             0.637           0.444           2.418
                 23. Integrity, Bio ⫹ SI ⫹ Consc                      .25                             0.611           0.651           1.279
                 25. Integrity, Bio ⫹ SI                              .25                             0.597           0.651           1.279
                 33. Consc ⫹ Integrity, CA ⫹ Bio, SI                  .25                             0.643           0.444           2.418

                 Note. SR ⫽ selection ratio; JP ⫽ job performance; AIR ⫽ adverse impact ratio; ZIR ⫽ z difference on adverse impact
                 ratio; Bio ⫽ biodata; SI ⫽ structured interview; Consc ⫽ conscientiousness; CA ⫽ cognitive ability. Bold values for
                 ZIR indicate there were no significant difference on the ratio of selection rates. No significant differences were found
                 for the Fisher exact test for these scenarios.


the basis of meta-analytic research, are rare) in order to avoid AI;                First, none of these best balance scenarios met the four-fifths
nor is it necessary to set the initial screening bar lower than might            rule, although significance testing did suggest that some of these
be preferred when moderate-d predictors are used. However, the                   four-fifths violations were false positives (i.e., Nos. 15, 23, and
second-stage predictor must have small subgroup differences to                   25). Second, of the three scenarios that had no AI, Strategy 23
avoid AI in this case, as slightly larger subgroup differences (d ⫽              resulted in the highest mean performance (.61). To illustrate just
0.09 vs. d ⫽ 0.23) resulted in AI (e.g., No. 12, Bio, SI). It is                 how much was sacrificed in terms of mean performance when AI was
important to note, though, that the expected performance for the                 eliminated, we plotted this scenario along with the multistage strategy
former predictor combination is very low for those conditions in                 with the highest mean performance (Strategy 30) in Figure 4.
which there was no AI. This low expected performance is largely                  There was some loss in prediction (difference in performance ⫽
a result of the predictors being so highly correlated (r ⫽ .51) and              ⫺.11) at SR1⫽ 25%, but the loss was relatively modest, given the
thereby limiting the incremental validity of the second-stage pre-               substantial increase in minority hiring. Although such a loss in
dictor.                                                                          performance is not ideal, the reality revealed by our study and by
                                                                                 previous simulation studies is that concessions need to be made
Balancing Performance and AI                                                     when one is balancing organizational goals. This balance repre-
                                                                                 sents a dramatic improvement over strategies presented in previous
    Ultimately, the primary goal of selection researchers and prac-              single- and multistage simulation studies.
titioners is to develop selection systems that help organizations                   Third, all of these were multistage strategies, although single-
achieve a high-performing and diverse workforce and do so effi-                  stage strategies were also considered. In fact, the single-stage
ciently (e.g., low cost, low administrative burden). Given the                   composites performed poorly in striking any kind of balance
trade-off problem, the challenge is to identify the circumstances                between the two goals. As expected, these strategies (Nos. 44 – 46)
under which the loss in performance associated with a reduction in
AI can be better managed. The current simulation highlights cer-
tain strategies that are better than others for accomplishing this.                                  0.80
Table 7 presents the 10 strategies that were deemed to result in the
best balance of expected performance and minority hire rates. We                                     0.70
note that the classification of best cases is necessarily subjective,
because a preferable balance in one selection context may be an
                                                                                 Mean AI / Mean JP




                                                                                                     0.60
undesirable one in another. For example, given the modest in-
crease in performance (difference in expected performance ⫽ .01)                                     0.50

that Strategy 23 provides above Strategy 25 by the inclusion of an
additional predictor (i.e., conscientiousness), one might reasonably                                 0.40

question the practical value of implementing the former strategy
(because it adds to the cost). Our classification of best cases was                                  0.30

based on predicted performance and AI levels relative to all other
scenarios and specifically relative to the highest levels obtained for                               0.20
                                                                                                                                15                                       25
each goal (maximized performance and minimized AI). The trade-                                                                          1st Stage Selection Ratio

offs for these strategies, which have not been explored in previous                                          Best Overall JP (#30)                           AI for Best Overall JP Scenario (#30)
research, represent a more acceptable balance of the AI and per-                                             JP: Best Balance (#23)                          AI: Best Balance (#23)
formance goals than has been modeled and recommended in
previous research. We offer several observations regarding these                 Figure 4. Best balance of trade-off. AI ⫽ adverse impact; JP ⫽ job
best balance scenarios.                                                          performance.
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maximized performance (expected performance as high as 0.76)                                    0.80

but resulted in very poor minority selection rates (e.g., 3%) and
                                                                                                0.70
substantial AI (e.g., AIR ⫽ .26). Multistage selection strategies
were clearly superior to the single-stage composite strategies for                              0.60




                                                                            Mean AI / Mean JP
balancing the AI and performance goals.
                                                                                                0.50
   Fourth, none of these best balance scenarios administered cog-
nitive ability as the first-stage predictor. Comparison of the best                             0.40
overall balance scenario (No. 23 at 25% SR1) and the best balance
scenario when cognitive ability was used as the first-stage predic-                             0.30

tor (No. 38; CA, Integrity) for this same SR shows that mean
                                                                                                0.20
performance was slightly lower when cognitive ability was used as
the first-stage predictor (i.e., .58 vs. .61) and resulted in drastically                       0.10
worse minority selection rates (i.e., .26 vs. .65). In fact, the                                         15                 25                 45               60             75
                                                                                                                                    1st Stage Selection Ratio
simulation revealed that the commonly suggested strategy of using
cognitive ability in the first stage and one or more smaller d                                                JP: 'CA, CONSC + SI' (#2)                  AI: 'CA, CONSC + SI' (#2)
predictors in the second stage actually appears to be one of the                                              JP: 'BIO, SI' (#12)                        AI: 'BIO, SI' (#12)
worst strategies for achieving an acceptable balance of the orga-
nizational objectives. These results indicated that the subgroup            Figure 5. Managing the trade-offs without high validity-zero d predictor.
differences associated with cognitive ability were so large relative        AI⫽ adverse impact; JP ⫽ job performance; CA ⫽ cognitive ability;
to those for the other predictors that even a major redistribution of       CONSC ⫽ conscientiousness; SI ⫽ structured interview; BIO ⫽ biodata.
weight via SRs still resulted in very high levels of AI and resulted
in mean performance levels that were drastically lower than those
for strategies that produced substantially better minority hiring and
                                                                            Conclusion
for several strategies that produced no AI at all. Furthermore, if
one was to include cognitive ability in the process at all and still           This study reinforced the trade-off observed in previous re-
have an acceptable balance, one had to use integrity (i.e., Nos. 15,        search, in that selection strategies that increase the proportion of
17, 18, 21, 33). This was the case for both two- and three-stage            minority hires generally do so at the expense of mean predicted
selection processes. Unfortunately, high-validity, zero-d predic-           performance. Thus, researchers who seek to maximize perfor-
tors, such as integrity, are not always available.                          mance and minimize AI must give careful consideration to strat-
   Results without integrity. This last point warrants further in-          egies for balancing these two goals. There are no simple, general
vestigation. That is, a predictor such as integrity provides a distinct     rules for placing predictors with specific psychometric properties
advantage in managing the trade-offs, in that it has comparable             and validity in multistage systems in order to manage the trade-off.
validity to cognitive ability and other larger d predictors (i.e.,          Sackett and Roth (1996) originally noted this in their simulation of
biodata, structured interview) but has no subgroup differences. It is       uncorrelated predictors. The issue is even more complex when
instructive to examine what kind of balance is achieved when                multiple correlated predictors are used in multistage strategies, yet
integrity is not included in these selection processes.                     such selection strategies are commonly used. Thus, simulations of
   In terms of managing the trade-offs without a high-validity, zero-d      this nature can be very informative for demonstrating the expected
predictor, such as integrity, the best balance of AI and mean perfor-       outcomes associated with various selection strategies.
mance was achieved by strategies that excluded cognitive ability               This study fills a critical gap in the literature because of its more
altogether. Several of the non-zero d strategies not only outperformed      comprehensive approach to examining the complexity and interactive
these cognitive ability strategies in terms of AI (as might be expected)    effects of the large number of characteristics that can affect perfor-
but outperformed these strategies in terms of expected mean perfor-         mance and AI in multistage selection systems. Our approach included
mance. As a case in point, Figure 5 compares CA, Consc ⫹ SI (No.            modeling of correlated predictors; composites in various stages; sup-
2) with a biodata first-stage strategy, namely, Bio, SI (No. 12). Notice    plemental strategies; strategies that exclude cognitive ability alto-
that the biodata strategy has levels of AI at the 25% SR1 comparable        gether; strategies that optimize the use of a high-validity, zero-d
with those the best case cognitive ability strategy had at the 75% SR1.     predictor (integrity); and variation of the sequential ordering of the
We note that the biodata strategy is expected to yield a similarly          various predictors. We have provided considerable discussion around
diverse but much stronger performing group of hires (job perfor-            the relative merits of these various multistage strategies in a variety of
mance ⫽ .56 vs. .37) than is the strategy that uses cognitive ability.      selection environments (e.g., different levels of selectivity). We re-
The composition of this particular biodata example is significant as        mind the reader that the results and conclusions of the present study
well, because it uses predictors that have moderate levels of subgroup      are based on the psychometric properties modeled and that the use of
differences and are moderately correlated, and it requires only two         predictor labels (e.g., biodata, cognitive ability) is merely illustrative.
predictors to strike this balance. Moreover, it strikes a reasonable        As such, the outcomes associated with Bio, SI, for example, will
balance of the goals under highly selective conditions. This is an          depend upon the psychometric properties associated with these two
important finding. As it makes clear, the practitioner does not need to     predictors in the specific selection context. Moreover, the results for
use numerous predictors, high SRs, or predictors that have zero or          Bio, SI generalize to the use of other predictors with similar psycho-
small subgroup differences and are uncorrelated (which, according to        metric properties.
meta-analytic research, are rare) to simultaneously achieve reasonable         The multistage strategies examined in the present study provided a
levels of performance and minority hiring.                                  much broader range of possibilities for use of a given set of predictors
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to address the trade-off. Simulation of two predictors (biodata and the      ance” in the face of the trade-off is necessarily subjective, we iden-
structured interview) that are of comparable validity to cognitive           tified nine multistage selection strategies that did not result in AI and
ability but are correlated and have moderate levels of subgroup              yielded performance estimates at least 1 standard deviation above the
differences; another predictor (integrity) with comparable validity to       mean expected performance obtained in the present study. If one
cognitive ability but with no subgroup differences; and a small-d, less      relies on the significance tests as a basis of AI conclusions, there were
valid, and uncorrelated measure (conscientiousness) allowed us to            dozens more scenarios that struck an acceptable balance between
increase the boundary conditions substantially beyond those modeled          minority hiring and performance. In fact, the current simulation dem-
in previous studies (e.g., De Corte et al., 2006; Sackett & Roth, 1996).     onstrated many different strategies in which a signal of AI can be
As a result, the current study paints a much more complete picture           avoided and performance can still be quite high. We believe these
than does previous research of the trade-offs associated with selection      strategies are realistic in a general sense and are fairly generalizable.
strategies that are likely to be used in practice (e.g., CA, SI ⫹ Bio ⫹          There were several other noteworthy findings regarding the use
Consc) and those that may be particularly attractive to researchers and      of multistage strategies for balancing the trade-off. First, using a
practitioners who seek a more effective way to balance the trade-offs        small-d predictor instead of a larger d predictor to mitigate the AI
(e.g., Integrity, CA ⫹ SI). Ultimately, definition of a best balance         associated with screening on cognitive ability was not always the
strategy depends upon the selection context (e.g., possible predictors,      best strategy for minimizing AI. In fact, we modeled several
SRs, feasibility of multistage process) and the goals of the organiza-       situations in which strategies that supplemented cognitive ability
tion (e.g., relative importance of diversity vs. performance). Our           with one and even two larger d predictors (e.g., biodata, structured
discussion of several significant trends in the Results section can help     interview) actually outperformed strategies that instead supple-
guide researchers and practitioners in developing a selection system         mented cognitive ability with a small-d predictor (i.e., conscien-
that will achieve their specific organizational objective, particularly if   tiousness). These strategies also dominated the smaller d, supple-
that objective is a high performing and highly representative work-          mental approach in the prediction of performance across all SRs.
force. Although these results are too extensive to recap here, we offer          Second, the present simulation represented a strong test of the
some general insights for minimizing AI and balancing the perfor-            widely held belief that presenting the large-d predictor in the first
mance and minority hiring objectives.                                        stage with an equal or lower level of selectivity than in the second
    When minimizing AI is the primary organizational objective,              stage will minimize AI. Although the large-d first-stage rule ap-
there are several important considerations to keep in mind. First            pears to be fairly generalizable, our simulation illustrates a few
and foremost, the trade-off literature indicates that the four-fifths        important points. First, there were two key exceptions to the rule:
standard for AI will rarely be met for single-stage strategies and           when the predictors were highly correlated and had a smaller
only for very high (and generally uncommon) SRs (i.e., SRs ⬎.70;             disparity between predictor d levels and when composites were
Bobko et al., 1999; Roth et al., 2006; Schmitt et al., 1997). Though         used in the second stage. In many cases under these conditions, the
the current simulation demonstrated that violations of the four-             decision to position the large or larger d predictor in the first stage
fifths rule were frequent for multistage strategies, these strategies        required the use of SRs that were much higher than the second-
were far more effective than were single-stage strategies in in-             stage SR as opposed to merely equal to or higher than the second-
creasing minority hiring and eliminating AI. Moreover, single-               stage SR in order to achieve better minority hiring rates.
stage strategies required the use of higher (less selective) net SRs             From a practical perspective, this may not be feasible or desirable.
in order to eliminate AI.                                                    In fact, the framing of this general rule in previous research implies
    In addition, every strategy that modeled cognitive ability as the        that a first-stage administration of the large-d predictor is more de-
first-stage predictor resulted in a conclusion of AI, regardless of the      sirable for the practitioner than is a second-stage administration,
method of operationalizing AI; however, AI can be eliminated by              though this is not always the case. For example, the meta-analytic
including cognitive ability in a second-stage composite, assuming            estimate of d for the structured interview is much larger than that
certain conditions are met. To the extent that low first-stage SRs are       observed for certain paper-and-pencil assessments, such as conscien-
appropriate for a given selection context (which they often are), the        tiousness and integrity testing. Rarely, if ever, would it make sense to
strategy of positioning the large-d predictor in the second-stage com-       screen all applicants on an assessment that is labor intensive to
posite clearly dominates the strategies that placed the large-d predictor    conduct and score (e.g., structured interview) and then to administer
in the first-stage in meeting the AI goal. In fact, the results for most     paper-and-pencil assessments to the remaining pool of applicants in
first-stage SRs revealed that considerably higher minority selection         the second stage. In addition, the large-d first-stage strategy is condi-
rates can be obtained by including the large-d predictor in a second-        tional on use of high or higher first-stage SRs, and their use may be
stage composite rather than as the first-stage predictor, and the asso-      impractical in many selection contexts. Having to set a high first-stage
ciated loss in performance was relatively small.                             SR means that one loses a key advantage of multistage selection,
    Compared with multistage strategies, single-stage strategies were        namely, the ability to save testing costs and administrative time. One
clearly less effective for balancing the goals. Although the addition of     also loses the ability to limit the unnecessary exposure of assessments
alternative predictors to a regression-weighted composite may do very        in the second (or later) stages to unqualified candidates.
little in terms of reducing AI (e.g., Potosky et al., 2005), the current         Moreover, the current results revealed that when composites are
simulation demonstrated that positioning such a composite within the         used in the second stage, the first-stage SR may need to be much
second stage of a multistage selection process can be much more              higher than the second-stage SR (e.g., nearly twice as high) if one
effective for balancing the performance and diversity goals. Although        is to achieve better minority hiring rates with a large-d predictor in
the trade-off was apparent in our simulation, many of the multistage         the first stage. With SR1 ⫽ 75% and a moderately large applicant
selection strategies yielded an acceptable balance between minority          pool (e.g., N ⫽ 500), this means that a substantial number of
hiring and expected performance. Realizing that “an acceptable bal-          applicants (e.g., 375) would proceed to the second stage of the
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process for further screening on multiple assessments. The finan-             subgroup differences, validity, predictor intercorrelations, and SRs
cial costs and burden of screening this many applicants through               (both net and stage-specific SRs). Meta-analytic estimates were used
assessments can be prohibitive and will be much higher than those             for practical reasons. Our choice of meta-analytic estimates of sub-
of a lower first-stage SR.                                                    group differences, validity, and intercorrelations for particular predic-
   Third, there is reluctance to exclude cognitive ability altogether         tors might be criticized because other values could have been used
from selection systems, primarily given the strong predictive validity        (e.g., Potosky et al., 2005); however, it is the range of these key
of cognitive ability for a wide variety of jobs and practical advantages      predictor properties that is important for studies of this nature. That is,
(i.e., the low cost and time for development, administration, and             it is the trends observed when key properties are manipulated across
scoring). It was important to consider how cognitive ability scenarios        various scenarios—in this case, the impact of selection strategy on
performed in multistage selection systems. Although those strategies          minority hiring and expected performance—that are instructive, and
that included cognitive ability either in the first stage or in a composite   modeling a wide range of validities, subgroup differences, and inter-
(in either stage) did outperform most other strategies in predicting          correlations that were practically relevant increases our understanding
mean performance, these strategies resulted in fewer minority hires           of the trade-off and the overall generalizability of the results. More-
than when cognitive ability was excluded altogether. However, this            over, our conclusions will hold for any set of predictors with similar
simulation demonstrated the potential of multistage strategies to in-         properties (e.g., situational judgment test, physical ability test) in
crease minority hiring with relatively little sacrifice in performance        multistage selection systems.
when predictors such as cognitive ability are used.                               Although we chose to model meta-analytic estimates of com-
   Finally, previous studies have typically focused on strategies             monly utilized and researched predictors and occasionally referred
that include cognitive ability and that supplement the selection              to these predictors using terms such as biodata and structured
system with less adverse predictors when they model the trade-off.            interview in our discussion, these are merely labels intended to
Our simulation examined numerous strategies that did not include              facilitate the communication of the results. The reader might be
cognitive ability and illustrated the potential of such noncognitive          tempted to conclude, for example, that screening on integrity in the
strategies for simultaneously achieving the performance and di-               first stage and selecting on a structured interview in the second
versity goals. In fact, under many practical conditions, noncogni-            stage (one of the best balance scenarios presented in Table 7)
tive strategies outperformed cognitive ability strategies not only in         would not produce AI. We caution the reader not to do so. Indeed,
minimizing AI but in maximizing performance (e.g., Integrity,                 the actual validities, subgroup differences, intercorrelations, and ef-
Bio ⫹ SI). This is a new and important finding.                               fects of range restriction in operational selection settings will likely
   Current results clearly illustrated that the four-fifths rule and the      not be the same as those reported in any meta-analytic studies, due to
Fisher exact test were frequently in disagreement for moderately large        factors such as sample specificity and test construction.
applicant pools (N ⫽ 500) under realistic selection conditions (i.e.,             We recognize concerns that the specific predictors we modeled
moderate-to-low SRnet, moderate-to-low levels of minority represen-           confound the method/construct distinction (Arthur & Villado, 2008;
tation in the pool); however, there was better convergence between            Edwards & Arthur, 2007). That is, we compared cognitive ability,
the four-fifths rule and the more powerful ZIR test. There appears to         conscientiousness, and integrity, which are psychological constructs
have been a sizable percentage of false positives for the four-fifths         that can be measured using a variety of methods (e.g., paper-and-
rule, but it was not as high as the Fisher exact test would suggest. The      pencil, simulation, interview), with structured interview, which is a
majority of the four-fifths violations that were flagged as false posi-       method that can be used to measure a variety of constructs (e.g.,
tives by the ZIR test would not have violated the four-fifths rule had        conscientiousness, cognitive ability, social skills). As such, to the
1 additional minority applicant (and 1 less majority applicant) been          extent that interviews are designed to measure cognitively loaded
selected. Significance tests are intended to control for Type I errors        constructs, an interview may produce large subgroup differences and
resulting from the four-fifths rule; however, a lack of power can             may not be an effective alternative predictor.
trigger a false negative for significance testing. Although power could           We also note that the trade-off might well differ on the basis of
have been increased in the present simulation by changing certain             how performance is operationalized. Our meta-analytic estimates
parameters (i.e., model much larger applicant pools, use higher overall       of validity are task based. Validity estimates may be different with
SRs, increase minority representation in the pool), we felt this would        other criterion dimensions (e.g., Borman, Penner, Allen, & Moto-
diminish the practical contribution of the simulation. That is, the           widlo, 2001). Although task performance is the most widely used
conditions modeled were intended to reflect conditions that research-         operationalization of job performance, organizational citizenship
ers and practitioners are more likely to face, where low power is             behaviors (OCBs), counterproductive work behaviors, innovation,
frequently an unavoidable reality. To increase the generalizability of        adaptive performance, and many other work behaviors have been
the simulation results, we wanted to model selection contexts that            used to defined job performance. These performance dimensions
researchers and practitioners frequently encounter and to provide a           share differential relationships with the predictors simulated in the
better idea of what we can expect to see when various selection               present study. We decided not to manipulate performance dimen-
strategies are modeled under these conditions. We encourage re-               sions in the present study for several reasons. Most alternative
searchers and practitioners to consider higher power significance tests       performance dimensions (i.e., OCBs, adaptive performance, or
(e.g., ZIR) when they examine AI for smaller or more selective pools.         innovation) are infrequently used to validate selection tests be-
                                                                              cause they are not likely to emerge from a job analysis (e.g., most
Limitations and Future Research                                               OCBs are not job related). In addition, these dimensions are not
                                                                              widely researched in relation to selection, such that the validity
   The findings of the present study (and simulations of this nature)         estimates and/or subgroup differences are unknown for some of
are limited to the specific parameters modeled: in this case, predictor       our predictors (e.g., counterproductive work behaviors, innova-
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tion). In addition, given all of the variables that were manipulated          Chan, D., & Schmitt, N. (1997). Video-based versus paper-and-pencil
in the current simulation, the addition of even one more dimension              method of assessment in situational judgment tests: Subgroup differ-
of job performance would have obfuscated an already complex                     ences in test performance and face validity perceptions. Journal of
study. Researchers could use the results of the present study as a              Applied Psychology, 82, 143–159.
basis for dropping some of our manipulations and instead manip-               Clevenger, J., Pereira, G., Wiechmann, D., Schmitt, N., & Harvey, V.
                                                                                (2001). Incremental validity of situational judgment tests. Journal of
ulate those features that had the greatest impact on the trade-off
                                                                                Applied Psychology, 86, 410 – 417.
(e.g., predictor intercorrelations, SR). Such studies could allow
                                                                              Collins, M. W., & Morris, S. B. (2008). Testing for adverse impact when
researchers to manipulate job performance and provide informa-                  sample size is small. Journal of Applied Psychology, 93, 463– 471.
tion on the trade-off for different criterion dimensions in a com-            Cortina, J., Goldstein, N., Payne, S., Davison, H., & Gilliland, S. (2000). The
plex set of simulations.                                                        incremental validity of interview scores over and above cognitive ability and
   In sum, the current simulation provides a wealth of information              conscientiousness scores. Personnel Psychology, 53, 325–351.
with which to better understand the performance and AI outcomes               De Corte, W., Lievens, F., & Sackett, P. R. (2006). Predicting adverse
associated with a wide variety of selection strategies. This infor-             impact and mean criterion performance in multistage selection. Journal
mation is instructive for practitioners who seek to strike a better             of Applied Psychology, 91, 523–537.
balance between these key outcomes. We modeled several strate-                De Corte, W., Lievens, F., & Sackett, P. R. (2007). Combining predictors
gies that represent a more acceptable balance of the AI and                     to achieve optimal trade-offs between selection quality and adverse
performance goals than has been previously modeled and recom-                   impact. Journal of Applied Psychology, 92, 1380 –1393.
                                                                              Doverspike, D., Winter, J., Healy, M., & Barrett, G. (1996). Simulations as
mended in previous research. The best balance strategies (pre-
                                                                                methods of illustrating the impact of differential weights on personnel
sented in Table 7) reflect a variety of selection situations that a
                                                                                selection outcomes. Human Performance, 9, 259 –273.
practitioner may face. Specifically, the current simulation revealed          Edwards, B. D., & Arthur, W., Jr. (2007). An examination of factors
best balance strategies when the desired assessments all have                   contributing to a reduction in race-based subgroup differences on a
moderate levels of subgroup differences (No. 12), when cognitive                constructed response paper-and-pencil test of scholastic achievement.
ability is included (Nos. 15, 17, 18, 21, 33) and when a three-stage            Journal of Applied Psychology, 92, 794 – 801.
process is used (No. 33). These best balance strategies are gener-            Equal Employment Opportunity Commission et al. (1978). Adoption by
alizable to a number of realistic selection situations.                         four agencies of uniform guidelines on employee selection procedures.
   The balance for selection systems that do not contain zero-d or              Federal Register, 43(166), 38290 –38315.
small-d predictors but instead consist of moderate-d predictors, such         Ford, J., Kraiger, K., & Schechtman, S. (1986). Study of race effects in
as biodata and the structured interview, is particularly instructive for        objective indices and subjective evaluations of performance: A meta-
                                                                                analysis of performance criteria. Psychological Bulletin, 99, 330 –337.
practitioners, given that many selection tools are likely to have some
                                                                              Gandy, J., Dye, D., & MacLane, G. (1994). Federal government selection:
degree of subgroup differences. Practically speaking, implementing
                                                                                The individual achievement record. In G. Stokes, M. Mumford, & W.
one of these best balance predictor combinations (e.g., Bio, SI) with           Owens (Eds.), Biodata handbook: Theory, research, and use of bio-
a low first-stage SR is very appealing. For one thing, most organiza-           graphical information in selection and performance prediction (pp.
tions prefer the use of structured interviews and already utilize them;         275–310). Palo Alto, CA: Consulting Psychologists Press.
many also use some form of biodata measure. From a utility perspec-           Hoffman, C., & Thornton, G. (1997). Examining selection utility where
tive, a low first-stage SR maximizes the practical benefits of using            competing predictors differ in adverse impact. Personnel Psychology,
biodata measures, such as the relatively low cost of administration and         50, 455– 470.
the ability to conduct large-scale testing, and at the same time mini-        Huffcutt, A., & Roth, P. (1998). Racial group differences in employment
mizes the increased financial and time expense associated with con-             interview evaluations. Journal of Applied Psychology, 83, 179 –189.
ducting interviews. As such, the current study identified several mul-        Hunter, J. E., & Hunter, R. (1984). Validity and utility of alternative
tistage strategies that are clearly more desirable to practitioners who         predictors of job performance. Psychological Bulletin, 96, 72–98.
                                                                              Kehoe, J. F. (2002). General mental ability and selection in private sector
seek a practical selection system that will yield a high-performing and
                                                                                organizations: A commentary. Human Performance, 15, 97–106.
highly representative workforce.
                                                                              McFarland, L. A., & Ryan, A. M. (2000). Variance in faking across
                                                                                noncognitive measures. Journal of Applied Psychology, 85, 812– 821.
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                                                                                Applied HRM Research, 6, 13–32.
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  and constructed response tests of ability: Race-based subgroup perfor-        intervals for the adverse impact ratio. Personnel Psychology, 53, 89 –111.
  mance differences on alternative paper-and-pencil test formats. Person-     Mount, M., Witt, L., & Barrick, M. (2000). Incremental validity of empir-
  nel Psychology, 55, 985–1008.                                                 ically keyed biodata scales over GMA and the five factor personality
Arthur, W., Jr., & Villado, A. J. (2008). The importance of distinguishing      constructs. Personnel Psychology, 53, 299 –323.
  between constructs and methods when comparing predictors in person-         Office of Federal Contract Compliance Programs. (1993). Federal contract
  nel selection and research and practice. Journal of Applied Psychology,       compliance manual (SUDOC L 36.8: C 76/993). Washington, DC: U. S.
  93, 435– 442.                                                                 Department of Labor, Employment Standards Administration.
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  a meta-analytic matrix incorporating cognitive ability, alternative pre-      on overt integrity tests: Results across four large-scale job applicant data
  dictors, and job performance. Personnel Psychology, 52, 561–588.              sets. Journal of Applied Psychology, 83, 35– 42.
Borman, W., Penner, L., Allen, T., & Motowidlo, S. (2001). Personality        Ones, D. S., Viswesvaran, C., & Schmidt, F. L. (1993). Comprehensive
  predictors of citizenship performance. International Journal of Selection     meta-analysis of integrity test validities: Findings and implications for
  and Assessment, 9, 52– 69.                                                    personnel selection and theories of job performance. Journal of Applied
Bureau of Labor Statistics. (2000). Employment and Earnings, 46(1),             Psychology, 78, 679 –703.
  13–14, Chart A-4.                                                           Potosky, D., Bobko, P., & Roth, P. L. (2005). Forming composites of
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                                                                         Appendix

                                                                Predictor Combinations
                 1. CA, SI ⫹ Bio ⫹ Consc                                                            24. Integrity, Bio ⫹ Consc
                 2. CA, SI ⫹ Consc                                                                  25. Integrity, Bio ⫹ SI
                 3. CA, SI ⫹ Bio                                                                    26. Integrity, Bio
                 4. CA, Bio ⫹ Consc                                                                 27. Integrity, Consc ⫹ SI
                 5. CA, SI                                                                          28. Integrity, Consc
                 6. CA, Bio                                                                         29. Integrity, SI
                 7. CA, Consc                                                                       30. Consc ⫹ Bio ⫹ CA ⫹ Integrity, SI
                 8. Bio, CA ⫹ Consc ⫹ SI                                                            31. Bio ⫹ CA ⫹ Integrity, SI
                 9. Bio, Consc ⫹ SI                                                                 32. Bio ⫹ Consc ⫹ Integrity, CA, SI
                10. Bio, CA ⫹ SI                                                                    33. Consc ⫹ Integrity, CA ⫹ Bio, SI
                11. Bio, CA ⫹ Consc                                                                 34. CA ⫹ Consc ⫹ Integrity, Bio, SI
                12. Bio, SI                                                                         35. CA ⫹ Integrity, Consc ⫹ Bio, SI
                13. Bio, CA                                                                         36. Integrity, CA, Bio
                14. Bio, Consc                                                                      37. CA, Integrity ⫹ SI
                15. Integrity, CA ⫹ Bio ⫹ Consc ⫹ SI                                                38. CA, Integrity
                16. Integrity, CA ⫹ Bio ⫹ Consc                                                     39. CA, Integrity ⫹ SI ⫹ Consc
                17. Integrity, CA ⫹ Bio ⫹ SI                                                        40. CA, Integrity ⫹ Consc
                18. Integrity, CA ⫹ Consc ⫹ SI                                                      41. Bio, Integrity
                19. Integrity, CA ⫹ Bio                                                             42. Consc, CA ⫹ Bio ⫹ SI
                20. Integrity, CA ⫹ Consc                                                           43. Consc, Bio
                21. Integrity, CA ⫹ SI                                                              44. Integrity ⫹ CA ⫹ Bio
                22. Integrity, CA                                                                   45. Integrity ⫹ CA ⫹ SI
                23. Integrity, Bio ⫹ SI ⫹ Consc                                                     46. Integrity ⫹ CA ⫹ Consc

                Note. CA ⫽ cognitive ability; SI ⫽ structured interview; Bio ⫽ biodata; Consc ⫽ conscientiousness.

                                                                                                                        Received September 11, 2007
                                                                                                                      Revision received July 24, 2008
                                                                                                                              Accepted July 28, 2008 䡲
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                                  Transportation: FAA-AMH-13-CTI-27053, Series: 2152
                                                       Grade(s): FG-1
                                                  Status: Closed Vacancy                                                G
Air Traffic Control Specialist
DEPARTMENT OF TRANSPORTATION
Federal Aviation Administration
Federal Aviation Administration (FAA), Air Traffic Organization, various Terminal and En
Route (Center) air traffic facilities nationwide
Overview
Open & closing dates                                           Service
08/27/2012 to 09/10/2012                                       Excepted
Pay scale & grade                                              Salary
FG 1                                                           $17,803.00 - $17,803.00 / Per Year
                                                               Salary shown above is base pay only. Locality pay, plus
                                                               COLA if applicable, will be added based upon the duty
                                                               location.

Appointment type                                               Work schedule
Temporary NTE - 13 months                                      Full Time

Locations
Many vacancy(s) in the following locations:

FAA Air Traffic Control Locations Throughout the States, United States

Relocation expenses reimbursed                                 Telework eligible
No
 Announcement number
 FAA-AMH-13-CTI-27053

 Control number
 325024600

Duties
Summary
Responsibilities
Air Traffic Control Specialists (ATCS's) in the Terminal option are responsible for the safe, orderly and expeditious flow
of air traffic. Tower Controllers duties involve the sequencing, spacing, and issuing of clearances and instructions to
aircraft operating in the Tower's area of responsibility. The controller considers position, type, speed and direction of
movement of aircraft desiring to land; estimate of the future positions; the number and capabilities of aircraft wishing to
depart from the airport; the patter, length, direction and condition of runways available for use; wind speed and direction;
noise abatement requirements; and wake turbulence and traffic information. Radar Controller's provide separation for
aircraft operating under IFR and VFR procedures from other aircraft landing, departing and/or overflying within their
designated airspace. Operate radar and communication equipment to apply radar separation standards and vectoring
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procedures. Detects and adjusts malfunctions and interferences in the equipment. Issues speed, altitude, and directional
instructions to pilots to keep aircraft properly separated. Provide air traffic advisory services to pilots including clearance
to operate aircraft, weather and field conditions and safety and traffic alerts. Provide training to developmental air traffic
controllers and other employees in the facility. ATCS's in the En Route (Center) option give aircraft instructions and
authorize flight path changes, issue air traffic clearances, and provide weather updates, and flight conditions while in
route between airports. Operate radar and communication equipment to apply radar separation standards and vectoring
procedures. Detects and adjusts malfunctions and interferences in the equipment. Issues speed, altitude, and directional
instructions to pilots to keep aircraft properly separated. They provide separation between aircraft flying along the
Federal airways or operating into or out of airports. This is a developmental ATCS position responsible for the safe,
orderly and expeditious movement of air traffic through the nation's airspace. Developmental controllers receive a wide
range of training in controlling and separating live air traffic within designated airspace at and around an air traffic
control tower or radar approach control facility. Additional information regarding these positions is located at
http://www.faa.gov/jobs/job_opportunities/airtraffic_controllers/

Travel Required

Supervisory status                                                             Promotion Potential
                                                                               1

Job family (Series)
2152 Air Traffic Controller

Requirements
Key Requirements

 • U.S. Citizen
 • Submission of transcript required with application
 • You must provide proof for claims of veterans' preference
 • Required documents must be received on or before the closing date
 • Pre-appointment medical, drug and security clearances required

Qualifications
1) Applicants must have successfully completed all program requirements for graduation from an FAA-approved Air Traffic-Collegiate Training
Initiative (AT-CTI) College or University* and received a passing score on the Air Traffic Selection & Training (AT-SAT) exam. 2) Applicants
must be able to speak English clearly enough to be understood over radios, intercoms, and similar communications equipment. 3) Age
Requirements: As established in Public Law 92-291, a maximum age of 30 years is established for entry into Federal civilian ATCS positions in
the FAA. Persons who have reached their 31st birthdays may not be originally appointed to FAA ATCS positions. If an individual has previously
held a civilian ATCS position with the Department of Defense or FAA he/she may be appointed over age 31. 5 USC 8335(a) and t USC 8425(a)
require mandatory separation at age 56 for employees in career controller positions. Please contact Aviation Careers at (405) 954-4657 for any
questions regarding these requirements. *You MUST submit a copy of your transcript (official or unofficial) upon submission of your on-line
application. Failure to do so WILL eliminate you from consideration. Official transcript required prior to appointment.

We are not accepting applications from noncitizens.

 • Requirement for pre-employment medical clearance: Applicants selected for ATCS positions must pass a medical examination that
    includes psychological screening prior to appointment. Applicants with prior military service are encouraged to obtain a sealed copy of their
    military medical records prior to discharge and to retain these records to be provided upon request if selected.
 • Requirement for security clearance: This position requires an Access National Agency Check and Inquiry with Credit (ANACI) or higher,
    based on the facility, prior to appointment unless a waiver is obtained.
 • Department of Transportation's Drug and Alcohol Testing Program: This position is covered by the Department of Transportation's
    Drug and Alcohol Testing Program. Any applicant tentatively selected for this position will be subject to a pre-employment or pre-
    appointment drug screening. Persons occupying covered positions will be subject to random drug and/or alcohol testing.
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 • Training Requirements: Developmentals will enter the appropriate phase of field training as determined by the assigned facility to prepare
    for advancement to the Certified Professional Controller (CPC) level. They must learn the skills needed for operation at higher levels of
    responsibility. Failure to meet training requirements for or accept promotion to higher grade ATCS positions may constitute grounds for
    reassignment, demotion or separation from employment.
 • Certificate and Rating Requirements: ATCS's must possess or obtain a valid ATCS Certificate and/or Control Tower Operator Certificate
    (CTO) if appropriate. They must also obtain the facility ratings required for full performance at assigned facilities within uniformly
    applicable time limits.
 • Interview: Candidates for ATCS positions may be subject to pre-appointment interviews to determine whether they possess the personal
    characteristics necessary to perform air traffic control work.
 • Requirement for nonstandard duty hours or work week: Incumbent may be required to work irregular duty hours or a nonstandard work
    week or tour of duty.




Education



    Preview Job Questionnaire
    https://jobs.faa.gov/aviator/login/viewquestionnaire.aspx?vid=27053
Make sure your Resume includes detailed information to support your qualifications and answers to the job questionnaire.

Additional information
We may use this vacancy to fill other similar vacant positions.
Travel may be required.
Position may be subject to a background investigation.
A one-year probationary period may be required.
As a condition of employment, male applicants born after December 31, 1959, must certify that they have registered with the Selective Service
System, or are exempt from having to do so under the Selective Service Law.
Direct deposit of pay is required.
The person selected for this position may be required to file a financial disclosure statement within 30 days of entry on duty. FAA policy limits
certain outside employment and financial investments in aviation-related companies.


Notes: 1) ATCS's are required to attend the initial qualifications training at the FAA Academy and will be placed on temporary excepted
appointments not to exceed thirteen (13) months while attending training. The actual duration of time-limited appointment for each individual
will be based on the amount of time required to complete the training program. The Terminal training program requires up to 38 classroom days.
The En Route training program requires up to 62 classroom days. Individuals who do not successfully complete training at the FAA Academy
and all other requirements for continuing employment may have their employment terminated. 2) Upon completion of initial qualification
training at the FAA Academy and all other requirements for continuing employment, including evaluations required by the Air Traffic
Organization, salary may be adjusted based on the current Air Traffic collective bargaining agreement. These adjustments reflect the facility
level and previous experience. Salary will be adjusted to include locality pay or COLA, if applicable, based on duty location of the position.
Salary increases will be received as subsequent phases of training are completed. 3) Newly hired ATCS's will be paid long term expense rate (per
diem) for Oklahoma City, OK to help offset daily cost of living while attending FAA Academy. The FAA will also pay for cost of travel to and
from the training Academy in accordance with applicable agency travel policy. 4) Applicants must apply on-line to receive consideration for this
vacancy announcement. Faxed, mailed or e-mailed applications cannot be accepted. 5) Terminal facilities are located in all 50 states. En Route
facilities are located in: Alaska, California, Colorado, Florida, Georgia, Guam, Hawaii, Illinois, Indiana, Kansas, Minnesota, New Hampshire,
New Mexico, New York, Ohio, Puerto Rico, Tennessee, Texas, Utah, Virginia and Washington. 6) This replaces announcement AAC-AMH-11-
CTI-19558. 7) Reemployed annuitants will be given time-limited appointments of no more than one (1) year; which may be extended, or
terminated at the FAA's discretion. In no case will appointments be made or extended past the last month in which the reemployed annuitant
reaches their 56th birthday. 8)
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A unique job code is required to apply for this announcement.

This is a bargaining unit position.

Links to Important Information: Locality Pay, COLA


How You Will Be Evaluated

Applicants may be rated on the extent and quality of experience, education, and training relevant to the duties of the position(s). All answers
provided in the on-line process must be substantiated.

Background checks and security clearance

Security clearance                                                          Drug test required

REQUIRED DOCUMENTS
YOU MUST SUBMIT A COPY OF YOUR TRANSCRIPT BY UPLOAD, FAX OR MAIL UPON SUBMISSION OF THE ONLINE
APPLICATION. Failure to do so will eliminate you from consideration.


Please include the letters "CTI" and your first and last name on each document.


All Veterans: You must submit a DD Form 214, Military Discharge (Member Copy 4 or equivalent). If you are claiming 10 point preference, in
addition to your DD Form 214, you must submit a completed SF-15 and supporting documents outlined on the SF-15. Documents must be
uploaded or faxed to the Servicing Human Resource Office listed in this announcement and all documents must be received by the closing date
of the announcement. If you fail to submit documentation, you will be assessed as a non-veteran.


If you are claiming 10 point preference and submit a DD Form 214 but fail to submit the supporting documents outlined on the SF-15, you will
be assessed as a 5 point preference eligible if your DD Form 214 reflects you have the service qualifying for tentative preference (i.e. served in a
war, campaign or expedition). Documents must be uploaded or faxed to the Servicing Human Resource Office listed in this announcement and
all documents must be received by the closing date of the announcement. If you fail to submit documentation, you will be assessed as a non-
veteran.


Veterans on active duty claiming veterans' preference: You will be granted a tentative preference if your application shows that you have the
required service (i.e. served in a war, campaign or expedition). Prior to being appointed, you must provide to the Servicing Human Resource
Office a DD Form 214 documenting that the service was honorable or general. If you are on terminal leave, you must provide documentation
certifying authorized terminal leave.


If you are relying on your education to meet qualification requirements:
Education must be accredited by an accrediting institution recognized by the U.S. Department of Education in order for it to be credited towards
qualifications. Therefore, provide only the attendance and/or degrees from schools accredited by accrediting institutions recognized by the U.S.
Department of Education(http://www.ed.gov/admins/finaid/accred/).


Failure to provide all of the required information as stated in this vacancy announcement may result in an ineligible rating or may affect the
overall rating.

Benefits
FAA offers an excellent comprehensive benefits programs. To learn more about the federal government benefits, please click here.

How to Apply
You must apply online to receive consideration. Your application must have a status of "Received" by 11:59 PM Eastern Time on the Close
Date for it to be accepted. If you are applying for positions associated with FAA registers, your application must have a status of "Received"
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each time a referral list is created in order to receive consideration for positions associated with register.


IN DESCRIBING YOUR WORK EXPERIENCE AND/OR EDUCATION, PLEASE BE CLEAR AND SPECIFIC REGARDING
YOUR EXPERIENCE OR EDUCATION.
We strongly encourage applicants to utilize the USAJOBS resume builder in the creation of resumes.
Please ensure EACH work history includes ALL of the following information:

 • Job Title (include series and grade if Federal Job)
 • Duties (be specific in describing your duties)
 • Employer's name and address
 • Supervisor name and phone number
 • Start and end dates including month and year (e.g. June 2007 to April 2008)
 • Full-time or part-time status (include hours worked per week)
 • Salary

Determining length of General or Specialized Experience is dependent on the above information and failure to provide ALL of this
information may result in a finding of ineligible.

You may upload completed documents to your USAJOBS Account. This will provide you the opportunity to utilize the uploaded information
again when applying for future vacancies. Please see this guide, Document Upload Guide, for more information on uploading and re-using the
documents in your applications.

Forms:

 • SF-15 : Application for 10-Point Veteran Preference


  Agency contact information
  Aviation Careers

  Phone                                                                          Address
  405-954-4657                                                                   Federal Aviation Administration
                                                                                 Aviation Careers
  Fax
                                                                                 6500 S MacArthur Blvd
  405-954-5766/0593                                                              HQ 130
  Email                                                                          Oklahoma City, OK
                                                                                 73169
  9-amc-amh-cti@faa.gov                                                          US


  The Department of Transportation (DOT) is ranked #4 in the 2017 best places to work in the Federal Government!


  Thanks to the work of the Federal Aviation Administration (FAA), over the past 50 years, aviation has become central to the way we live and do
  business, linking people from coast to coast and connecting America to the world. In fact, FAA has created the safest, most reliable, most efficient,
  and most productive air transportation system in the world.


  Visit our careers page

  Learn more about what it's like to work at Federal Aviation Administration, what the agency does, and about the types of careers this agency offers.
  http://www.faa.gov/jobs/



Next steps
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 Candidates for FAA positions are evaluated using our Automated Vacancy Information Access Tool for Online Referral
 (AVIATOR) system. AVIATOR compares your skills and experience as described in your application with the
 requirements of the position. If you are found to be an eligible, highly-qualified candidate, you will be referred to the
 selecting official for further consideration. (In some cases, individuals with priority for special consideration must be
 considered and selected before other candidates.) Whether or not you are contacted for an interview depends upon the
 location of the position and the judgment of the selecting official.

 Important - If you make any change to your application, you must resubmit it. If you change your application and do
 not resubmit it, your changes will not be considered part of your application package, and your previous application will
 be considered.

 Fair & Transparent
 The Federal hiring process is setup to be fair and transparent. Please read the following guidance.

 Equal Employment Opportunity Policy

 The United States Government does not discriminate in employment on the basis of race, color, religion, sex (including
 pregnancy And gender identity), national origin, political affiliation, sexual orientation, marital status, disability, genetic
 information, age, membership in an employee organization, retaliation, parental status, military service, or other non-
 merit factor.

• Equal Employment Opportunity (EEO) office at OPM
  (https://www.opm.gov/about-us/our-people-organization/support-functions/equal-employment-opportunity/)
• Office of Equal Opportunity
  (http://www.eeoc.gov/eeoc/internal_eeo/index.cfm)



 Reasonable Accommodation Policy

 Federal agencies must provide reasonable accommodation to applicants with disabilities where appropriate. Applicants
 requiring reasonable accommodation for any part of the application process should follow the instructions in the job
 opportunity announcement. For any part of the remaining hiring process, applicants should contact the hiring agency
 directly. Determinations on requests for reasonable accommodation will be made on a case-by-case basis.

 A reasonable accommodation is any change in the workplace or the way things are customarily done that provides an
 equal employment opportunity to an individual with a disability. Under the Rehabilitation Act of 1973 the Equal
 Employment Opportunity Commission (EEOC) must provide reasonable accommodations:

• An applicant with a disability needs an accommodation to have an equal opportunity to apply for a job.
• An employee with a disability needs an accommodation to perform the essential job duties or to gain access to the
  workplace.
• An employee with a disability needs an accommodation to receive equal access to benefits, such as details, training,
  and office-sponsored events.
• Disability Employment - Reasonable Accommodations
  (https://www.opm.gov/policy-data-oversight/disability-employment/reasonable-accommodations/)
• How to contact an agency
  (https://www.uat.usajobs.gov//Help/how-to/application/agency/contact/)
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Legal and regulatory guidance

Financial suitability                                     Social security number request
(https://www.uat.usajobs.gov//Help/working-in-            (https://www.uat.usajobs.gov//Help/working-in-
government/fair-and-transparent/financial-suitability/)   government/fair-and-transparent/social-security-number/)

Privacy Act                                               Signature & False statements
(https://www.uat.usajobs.gov//Help/working-in-            (https://www.uat.usajobs.gov//Help/working-in-
government/fair-and-transparent/privacy-act/)             government/fair-and-transparent/signature-false-
                                                          statements/)
Selective Service
(https://www.uat.usajobs.gov//Help/working-in-            New employee probationary period
government/fair-and-transparent/selective-service/)       (https://www.uat.usajobs.gov//Help/working-in-
                                                          government/fair-and-transparent/probationary-period/)
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                               Transportation: FAA-AMC-14-ALLSRCE-33537, Series: 2152
                                                      Grade(s): FG-1
                                                 Status: Closed Vacancy                                                   H
Air Traffic Control Specialist - Trainee
DEPARTMENT OF TRANSPORTATION
Federal Aviation Administration
Air Traffic Organization - ATO
Overview
Open & closing dates                                            Service
02/10/2014 to 02/21/2014                                        Excepted
Pay scale & grade                                               Salary
FG 1                                                            $20,527.00 - $27,942.00 / Per Year
                                                                This salary includes locality pay which will be applicable
                                                                while attending the FAA ATC Academy.


Appointment type                                                Work schedule
Temporary NTE - 13 months                                       Full Time

Locations
Many vacancy(s) in the following locations:

All Air Traffic Locations

Relocation expenses reimbursed                                  Telework eligible
No
 Announcement number
 FAA-AMC-14-ALLSRCE-33537

 Control number
 361350500

Duties
Summary
Responsibilities
This is a developmental Air Traffic Control Specialist (ATCS) position responsible for the safe, orderly, and expeditious
movement of air traffic through the nation's airspace. Developmental controllers receive a wide range of training in
controlling and separating live air traffic within designated airspace at and around an airport traffic control tower or radar
approach control facility, or air route traffic control center. As a new ATCS, you will spend your first several weeks of
employment in an intensive training program at the FAA Academy in Oklahoma City, OK. While attending academy
training you will be on a temporary appointment. Academy students receive basic air traffic control training at the FAA
Academy, which includes: - Complete occupational indoctrination including highlights of Federal employment,
familiarization with organizational structure & functions, aircraft, air traffic control system, & aviation industry,
classroom instruction & workshop exercises relating to air traffic control system. Individuals who do not successfully
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complete training at the FAA Academy and all other necessary requirements will have their employment terminated.
Upon successful completion of the Academy initial training program & other employment requirements, newly hired
ATCS will be offered a permanent appointment at an FAA facility with a basic salary of $37,441, plus applicable
locality pay based on facility assignment. Applicants with prior ATC experience will have their salary set in accordance
with the ATCS Collective Bargaining Agreement, upon conversion. ATCS's will be paid long term expense rate (per
diem) for Oklahoma City, OK to help offset daily cost of living while attending FAA Academy. FAA will pay for cost of
travel in accordance with applicable agency policy. As an ATCS you will receive pay increases as you successfully
complete the progressive phases of controller training at your assigned facility. The FAA has Air Traffic Control
Facilities in every state as well as Puerto Rico, Virgin Islands, and Guam. This announcement is open to those applicants
willing to work at any FAA Air Traffic Control Facility. Applicant geographic area preferences are for informational
purposes only and will not be used in the selection process; however, preferences may be considered at time of
placement after successful completion of Academy training. Ultimately, placement will be based upon the needs of the
FAA.

Travel Required

Supervisory status                                                           Promotion Potential
No                                                                           1

Job family (Series)
2152 Air Traffic Controller

Requirements
Key Requirements

 • US Citizenship is required.
 • Selective Service Registration is required for males born after 12/31/1959.
 • Three requirements must be met to be referred for selection consideration:
 • 1. Basic Qualifications
 • 2. Biographical Assessment
 • 3. AT-SAT Exam

Qualifications
Age Requirements: A maximum age of 30 years is established for entry into air traffic control positions covered by Public Law 92-297. Persons
who have reached their 31st birthday may not be originally appointed to these positions. If experience was gained as a civilian ATCS with the
Federal Aviation Administration (FAA) or Department of Defense (DOD), you must have been hired prior to age 31. Maximum Retention Age:
5 USC 8335 (a) and 5 USC 8425 (a) require mandatory separation at age 56 in a career controller position. Prior experience or training in air
traffic control is not required. Applicants will be evaluated based on their responses to the online application. You can qualify in 1 of the
following 5 ways: 1. TO QUALIFY BASED ON PROGRESSIVELY RESPONSIBLE WORK EXPERIENCE: applicants must document 3
years of full time (40 hours per week) progressively responsible experience. Most types of paid or unpaid employment will provide progressively
responsible experience as the individual doing the work learns about the organization, gains knowledge about the work, and demonstrates
responsibility. OR 2. TO QUALIFY BASED UPON EDUCATION: applicants must document a full 4-year course of study leading to a
Bachelor's degree. Schools must be accredited by an accrediting institution recognized by the U.S. Department of Education. If qualifying based
on education, applicants must submit a copy of the transcript which includes the name of the institution, quarter or semester hours earned and/or
confer date. OR 3. TO QUALIFY BASED UPON THE COMBINATION OF BOTH WORK EXPERIENCE AND EDUCATION: The
applicant's total qualifying experience is converted to a percentage of the experience required then the applicant's education is converted to a
percentage of the education required. The combined percentages must equal 100%. At the undergraduate level, successfully completed education
that has not led to possession of a degree is credited based on its relationship to 120 semester hours or 180 quarter hours. For example, 30
semester hours or 45 quarter hours is comparable to 1 year of undergraduate education. For study at a business or technical school, 36 weeks of
study (20+ classroom hours per week) is comparable to 1 academic year above high school. OR 4. TO QUALIFY BASED ON SPECIALIZED
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WORK EXPERIENCE AS AN AIR TRAFFIC CONTROL SPECIALIST: applicants qualifying based on specialized experience must provide
supporting documentation that verifies that this requirement has been met (e.g., FAA certificate, military certificate or training record). OR 5. TO
QUALIFY BASED ON ALTERNATIVE REQUIREMENTS, applicants must provide supporting documentation that verifies at least one of the
following alternative requirements being met: a. Do you hold or have held an appropriate facility rating and have actively controlled air traffic in
civilian or military air traffic control terminals or centers? b. Do you hold or have held an FAA certificate as a dispatcher for an air carrier? c. Do
you hold or have held an instrument flight rating? d. Do you hold or have held an FAA certificate as a navigator or have been fully qualified as a
Navigator/Bombardier in the Armed Forces? e. Do you have 350 hours of flight time as a copilot or higher and hold or have held a private
certificate or equivalent Armed Forces rating? f. Have you served as a rated Aerospace Defense Command Intercept Director? Successful
candidates must be able to speak English clearly enough to be understood over radios, intercoms, and similar communications equipment.

We are not accepting applications from noncitizens.

Education



    Preview Job Questionnaire
    https://jobs.faa.gov/aviator/login/viewquestionnaire.aspx?vid=33537
Make sure your Resume includes detailed information to support your qualifications and answers to the job questionnaire.

Additional information
We may use this vacancy to fill other similar vacant positions.
Travel may be required.
Position may be subject to a background investigation.
A one-year probationary period may be required.
The person selected for this position may be required to file a financial disclosure statement within 30 days of entry on duty. FAA policy limits
certain outside employment and financial investments in aviation-related companies.


There will be two pre-employment tests: 1: Biographical assessment administered through the online application. 2: Applicants meeting basic
qualifications and passing the Biographical Assessment may be scheduled to take the AT-SAT at a designated test site. Travel to & from testing
locations will be at the expense of the applicant. The Biographical Assessment will be scored at the close of the vacancy announcement.
Applicants may check their USAJOBs account to get updates on the status of their application after the announcement closes. Applicants who set
up their USAJOBs account to provide email updates will receive an email notification with any change in status of their applications. Candidates
who have successfully met all three requirements (Basic Qualifications, Biographical Assessment, and the AT-SAT) will be placed into pre-
determined quality categories, group 1, group 2, or group 3 based on their veterans' preference and pre-employment exam composite scores.
Requirement for pre-employment medical clearance: Applicants selected for ATCS positions must pass a medical examination that includes
psychological screening prior to appointment. Applicants with prior military service are encouraged to obtain a sealed copy of their military
medical records prior to discharge and to retain these records to be provided upon request if selected. Requirement for security clearance: This
position requires an Access National Agency Check and Inquiry with Credit (ANACI) or higher prior to appointment unless a waiver is obtained.
Department of Transportation's Drug and Alcohol Testing Program: This position is covered by the Department of Transportation's Drug and
Alcohol Testing Program. Any applicant tentatively selected for this position will be subject to a pre-employment or pre-appointment drug
screening. Persons occupying covered positions will be subject to random drug and/or alcohol testing. Training Requirements: Developmentals
will enter the appropriate phase of field training as determined by the assigned facility to prepare for advancement to the Certified Professional
Controller (CPC) level. They must learn the skills needed for operation at higher levels of responsibility. Failure to meet training requirements
for or accept promotion to higher grade ATCS positions may constitute grounds for reassignment, demotion or separation from employment.
Requirement for nonstandard duty hours or work week: Incumbent may be required to work irregular duty hours or a nonstandard work week or
tour of duty.

This is not a bargaining unit position.

Links to Important Information: Locality Pay, COLA


How You Will Be Evaluated
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Applicants may be rated on the extent and quality of experience, education, and training relevant to the duties of the position(s). All answers
provided in the on-line process must be substantiated.

Background checks and security clearance

Security clearance                                                           Drug test required
Public Trust - Background Investigation
REQUIRED DOCUMENTS
Applicants who are using education as a qualifier must submit a copy of the official/unofficial transcripts to substantiate all credit hours and/or
confer date.


Applicants who have reached the maximum entry age of 31 must provide a copy of an SF-50, Notification of Personnel Action, which verifies
original appointment to a Federal Civilian ATCS position (2152 series) with the Department of Defense or FAA prior to age 31.


Facility rating records issued by the FAA or military issued ratings and/or training records must be provided, if qualifying based on specialized
experience or one of the alternative requirements.




All Veterans: If you are claiming veterans' preference, you must submit either a DD Form 214 Certificate of Release or Discharge from Active
Duty (Member 4 Copy or equivalent), or a document from the armed forces certifying that within 120 days you are expected to be discharged or
released from active duty service under honorable conditions. If you are claiming 10 point preference, you must also submit a completed SF-15,
Application for 10-Point Veteran's Preference, and supporting documents outlined on the SF-15. Documents must be uploaded or faxed to the
Servicing Human Resource Management Office listed in this announcement and all documents must be received by the closing date of the
announcement. If you fail to submit documentation, you will be assessed as a non-veteran.


If you are claiming 10 point preference but fail to submit the supporting documents outlined on the SF-15, you will be tentatively assessed as a 5
point preference eligible provided your DD Form 214 reflects that you have the service required to qualify for preference. Documents must be
uploaded or faxed to the Servicing Human Resource Management Office listed in this announcement and all documents must be received by the
closing date of the announcement. If you fail to submit documentation, you will be assessed as a non-veteran.


Veterans currently on active duty claiming veterans' preference: You will be granted tentative preference if you submit a document from the
armed forces certifying that within 120 days you are expected to be discharged or released from active duty service under honorable conditions
and your application shows that you have the required service. Prior to being appointed, you must provide to the Servicing Human Resource
Management Office a DD Form 214 documenting discharge/release and showing that the service was honorable or general. If you are on
terminal leave, you must provide documentation certifying authorized terminal leave.


If you are relying on your education to meet qualification requirements:
Education must be accredited by an accrediting institution recognized by the U.S. Department of Education in order for it to be credited towards
qualifications. Therefore, provide only the attendance and/or degrees from schools accredited by accrediting institutions recognized by the U.S.
Department of Education(http://www.ed.gov/admins/finaid/accred/).


Failure to provide all of the required information as stated in this vacancy announcement may result in an ineligible rating or may affect the
overall rating.

Benefits
A career with the U.S. Government provides employees with a comprehensive benefits package. As a federal employee, you and your family will
have access to a range of benefits that are designed to make your federal career very rewarding.

 • Benefits for federal employees
    (https://www.usa.gov/benefits-for-federal-employees#item-36407)
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 • Healthcare insurance
    (https://www.opm.gov/healthcare-insurance/)
 • Pay and leave
    (https://www.usajobs.gov/Help/working-in-government/pay-and-leave/)



http://www.faa.gov/jobs/working_here/benefits/


Eligibility for benefits depends on the type of position you hold and whether your position is full-time, part-time, or intermittent. Contact the
hiring agency for more information on the specific benefits offered.

How to Apply
You must apply online to receive consideration. Your application must have a status of "Received" by 11:59 PM Eastern Time on the Close
Date for it to be accepted. If you are applying for positions associated with FAA registers, your application must have a status of "Received"
each time a referral list is created in order to receive consideration for positions associated with register.


IN DESCRIBING YOUR WORK EXPERIENCE AND/OR EDUCATION, PLEASE BE CLEAR AND SPECIFIC REGARDING
YOUR EXPERIENCE OR EDUCATION.
We strongly encourage applicants to utilize the USAJOBS resume builder in the creation of resumes.
Please ensure EACH work history includes ALL of the following information:

 • Job Title (include series and grade if Federal Job)
 • Duties (be specific in describing your duties)
 • Employer's name and address
 • Supervisor name and phone number
 • Start and end dates including month, day and year (e.g. June 18 2007 to April 05 2008)
 • Full-time or part-time status (include hours worked per week)
 • Salary

Determining length of General or Specialized Experience is dependent on the above information and failure to provide ALL of this
information may result in a finding of ineligible.

You may upload completed documents to your USAJOBS Account. This will provide you the opportunity to utilize the uploaded information
again when applying for future vacancies. Please see this guide, Document Upload Guide, for more information on uploading and re-using the
documents in your applications.

Forms:

 • SF-15 : Application for 10-Point Veteran Preference


  Agency contact information
  Aviation Careers

  Phone                                                                          Address
  405-954-4657                                                                   Federal Aviation Administration
                                                                                 Aviation Careers
  Fax
                                                                                 6500 South Mac Arthur Blvd.
  405-954-5766                                                                   Oklahoma City, OK
  Email                                                                          73160
                                                                                 US
  Aviation.Careers@faa.gov


  The Department of Transportation (DOT) is ranked #4 in the 2017 best places to work in the Federal Government!
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   Thanks to the work of the Federal Aviation Administration (FAA), over the past 50 years, aviation has become central to the way we live and do
   business, linking people from coast to coast and connecting America to the world. In fact, FAA has created the safest, most reliable, most efficient,
   and most productive air transportation system in the world.


   Visit our careers page

   Learn more about what it's like to work at Federal Aviation Administration, what the agency does, and about the types of careers this agency offers.
   http://www.faa.gov/jobs/



 Next steps
 Candidates for FAA positions are evaluated using our Automated Vacancy Information Access Tool for Online Referral
 (AVIATOR) system. AVIATOR compares your skills and experience as described in your application with the
 requirements of the position. If you are found to be an eligible, highly-qualified candidate, you will be referred to the
 selecting official for further consideration. (In some cases, individuals with priority for special consideration must be
 considered and selected before other candidates.) Whether or not you are contacted for an interview depends upon the
 location of the position and the judgment of the selecting official.

 Important - If you make any change to your application, you must resubmit it. If you change your application and do
 not resubmit it, your changes will not be considered part of your application package, and your previous application will
 be considered.

 Fair & Transparent
 The Federal hiring process is setup to be fair and transparent. Please read the following guidance.

 Equal Employment Opportunity Policy

 The United States Government does not discriminate in employment on the basis of race, color, religion, sex (including
 pregnancy And gender identity), national origin, political affiliation, sexual orientation, marital status, disability, genetic
 information, age, membership in an employee organization, retaliation, parental status, military service, or other non-
 merit factor.

• Equal Employment Opportunity (EEO) office at OPM
  (https://www.opm.gov/about-us/our-people-organization/support-functions/equal-employment-opportunity/)
• Office of Equal Opportunity
  (http://www.eeoc.gov/eeoc/internal_eeo/index.cfm)



 Reasonable Accommodation Policy

 Federal agencies must provide reasonable accommodation to applicants with disabilities where appropriate. Applicants
 requiring reasonable accommodation for any part of the application process should follow the instructions in the job
 opportunity announcement. For any part of the remaining hiring process, applicants should contact the hiring agency
 directly. Determinations on requests for reasonable accommodation will be made on a case-by-case basis.

 A reasonable accommodation is any change in the workplace or the way things are customarily done that provides an
 equal employment opportunity to an individual with a disability. Under the Rehabilitation Act of 1973 the Equal
 Employment Opportunity Commission (EEOC) must provide reasonable accommodations:

• An applicant with a disability needs an accommodation to have an equal opportunity to apply for a job.
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• An employee with a disability needs an accommodation to perform the essential job duties or to gain access to the
  workplace.
• An employee with a disability needs an accommodation to receive equal access to benefits, such as details, training,
  and office-sponsored events.
• Disability Employment - Reasonable Accommodations
  (https://www.opm.gov/policy-data-oversight/disability-employment/reasonable-accommodations/)
• How to contact an agency
  (https://www.uat.usajobs.gov//Help/how-to/application/agency/contact/)



 Legal and regulatory guidance

 Financial suitability                                         Social security number request
 (https://www.uat.usajobs.gov//Help/working-in-                (https://www.uat.usajobs.gov//Help/working-in-
 government/fair-and-transparent/financial-suitability/)       government/fair-and-transparent/social-security-number/)

 Privacy Act                                                   Signature & False statements
 (https://www.uat.usajobs.gov//Help/working-in-                (https://www.uat.usajobs.gov//Help/working-in-
 government/fair-and-transparent/privacy-act/)                 government/fair-and-transparent/signature-false-
                                                               statements/)
 Selective Service
 (https://www.uat.usajobs.gov//Help/working-in-                New employee probationary period
 government/fair-and-transparent/selective-service/)           (https://www.uat.usajobs.gov//Help/working-in-
                                                               government/fair-and-transparent/probationary-period/)
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                                Transportation: FAA-ATO-16-ALLSRCE-49075, Series: 2152
                                                       Grade(s): FG-1
                                                  Status: Closed Vacancy                                                    I
Air Traffic Control Specialist - Trainee
DEPARTMENT OF TRANSPORTATION
Federal Aviation Administration
Air Traffic Organization - ATO


Overview
Open & closing dates                                            Service
08/08/2016 to 08/15/2016                                        Excepted
Pay scale & grade                                               Salary
FG 1                                                            $22,888.00 - $28,626.00 / Per Year
                                                                This salary includes locality pay which will be applicable
                                                                while attending the FAA ATC Academy.

Appointment type                                                Work schedule
Temporary NTE - 13 months                                       Full Time

Locations
Many vacancy(s) in the following locations:

All Air Traffic Locations

Relocation expenses reimbursed                                  Telework eligible
No
 Announcement number
 FAA-ATO-16-ALLSRCE-49075

 Control number
 446961800

Duties
Summary
Responsibilities

 • This is a developmental Air Traffic Control Specialist (ATCS) position responsible for the safe, orderly, and
   expeditious movement of air traffic through the nation's airspace. Developmental controllers receive a wide range of
   training in controlling and separating live air traffic within designated airspace at and around an airport traffic control
   tower or radar approach control facility, or air route traffic control center.
 • As a new ATCS, you will spend your first several weeks of employment in an intensive training program at the FAA
   Academy in Oklahoma City, OK. While attending academy training you will be on a temporary appointment.
   Academy students receive basic air traffic control training at the FAA Academy, which includes:
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     • Complete occupational indoctrination including highlights of Federal employment, familiarization with
       organizational structure & functions, aircraft, air traffic control system, & aviation industry, classroom instruction
       & workshop exercises relating to air traffic control system.
 • Individuals who do not successfully complete training at the FAA Academy and all other necessary requirements will
   have their employment terminated.
 • Prior failure of FAA Academy training or prior declination of permanent facility placement offer after completing
   Academy training may constitute a basis for non-selection and/or veterans' preference pass over.
 • Upon successful completion of the Academy initial training program & other employment requirements, newly hired
   ATCS's will be offered a permanent appointment at an FAA facility with a basic salary of $38,193, plus applicable
   locality pay based on facility assignment. Applicants with prior ATC experience will have their salary set in
   accordance with the ATCS Collective Bargaining Agreement, upon conversion.
 • ATCS's will be paid long term expense rate (per diem) for Oklahoma City, OK to help offset daily cost of living
   while attending FAA Academy. FAA will pay for cost of travel in accordance with applicable agency policies.
 • As an ATCS you will receive pay increases as you successfully complete the progressive phases of controller training
   at your assigned facility. The FAA has Air Traffic Control Facilities in every state as well as Puerto Rico, The U. S.
   Virgin Islands, and Guam. This announcement is open to those applicants willing to work at any FAA Air Traffic
   Control Facility. Applicant geographic area preferences are for informational purposes only and will not be used in
   the selection process; however, preferences may be considered at time of placement. Facility placements will be
   finalized the day following successful completion of Academy training. Declining to select a facility from the list of
   available facilities will result in termination of employment, as placement will be based upon the needs of the FAA.
 • Prior experience or training in air traffic control is not required. If a candidate applies for and is selected under this
   temporary trainee announcement, all of the employment conditions associated with this FG-1 position will apply,
   regardless of whether the candidate possesses the specialized experience that would have otherwise qualified him/her
   under the December 2015 - March 2016 ATCS vacancy announcement FAA-ATO-ATC-EXP-44955.
 • The FAA expects to issue an announcement within the next 60 days for applicants with 52 consecutive weeks of air
   traffic control involving the full-time active separation of air traffic after receipt of an air traffic certification or air
   traffic control (ATC) facility rating within 5 years of application for those who served at a FAA air traffic control
   facility, OR a civilian or military ATC facility, OR a tower operating under contract with the FAA under section
   47124. The maximum entry age for applicants under this experience announcement will be age 35.

Travel Required

Supervisory status                                                       Promotion Potential
No                                                                       1

Job family (Series)
2152 Air Traffic Controller

Requirements
Key Requirements

 • US Citizenship is required.
 • Selective Service Registration is required for males born after 12/31/1959.
 • Applicants may be required to pass a Biographical Assessment (BA).
 • All applicants must pass the Air Traffic Skills Assessment (AT-SA) Exam.
 • If eligible for Pool 1; may elect consideration for Pool 2, but not both.

Qualifications
APPLICANT POOLS

POOL 1 - All U.S. Citizens who also meet the following Pool 1 eligibility criteria:
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Applicants MUST meet one of the following criteria (1, 2, OR 3) listed below in order to be eligible for consideration in Pool 1.

1. A graduate from an institution participating in the Collegiate Training Initiative (CTI) program and who has received from the institution an
appropriate recommendation.

2. A veteran eligible for a Veterans Recruitment Appointment (VRA) pursuant to section 4214 of Title 38 and can provide a Certificate of
Release or Discharge from Active Duty within 120 days from the announcement closing.

3. An eligible veteran maintaining aviation experience obtained in the course of your military experience and/or entitled to veterans' preference
(must meet eligibility requirements in section 2108 of Title 5, Unites States Code).

Applicants eligible for Pool 1 will not take the Biographical Assessment (BA) unless they voluntarily elect to be considered in Pool 2.

POOL 2 - All U.S. Citizens

Pool 2 applicants are all other U.S. Citizens not meeting the requirements for Pool 1 and will be required to complete and pass the BA at the time
of application to receive further consideration.

Pool 2 applicants do not have an option to elect to be considered for Pool 1.

Applicants who applied to FAA-AMC-14-ALLSRCE-33537 vacancy announcement (issued on February 10, 2014), and were found disqualified
from the position as the result of the BA but do not meet one of the above mentioned Pool 1 criteria (1, 2 or 3) will be required to take the BA
and will not be eligible to elect consideration in Pool 1.

Biographical Assessment (BA) Exemptions

During the application process, you will be directed to either bypass the BA or complete the BA based upon your Applicant Pool election and/or
the following:

 • Applicants who applied for the air traffic controller vacancy FAA-AMC-14-ALLSRCE-33537 (issued on February 10, 2014), and were
    found disqualified from the position as the result of a BA are eligible to reapply under this announcement. You must have met one of the
    Pool 1 criteria referenced above, (1, 2, or 3) to bypass the BA (see age requirements below).
 • Applicants who are required to take the BA (Pool 2) must achieve a passing score to receive further consideration.

 • You may qualify in 1 of the following 5 ways:
 • TO QUALIFY BASED ON PROGRESSIVELY RESPONSIBLE WORK EXPERIENCE: applicants must document 3 years of full
    time (40 hours per week) progressively responsible experience. Most types of paid or unpaid employment will provide progressively
    responsible experience as the individual doing the work learns about the organization, gains knowledge about the work, and demonstrates
    responsibility. OR
 • TO QUALIFY BASED UPON EDUCATION: applicants must document a full 4-year course of study leading to a Bachelor's degree.
    Schools must be accredited by an accrediting institution recognized by the U.S. Department of Education. If qualifying based on education,
    applicants must submit a copy of the transcript which includes the name of the institution, quarter or semester hours earned and/or confer
    date. OR
 • TO QUALIFY BASED UPON THE COMBINATION OF BOTH WORK EXPERIENCE AND EDUCATION: The applicant's total
    qualifying experience is converted to a percentage of the experience required then the applicant's education is converted to a percentage of
    the education required. The combined percentages must equal 100%. At the undergraduate level, successfully completed education that has
    not led to possession of a degree is credited based on its relationship to 120 semester hours or 180 quarter hours. For example, 30 semester
    hours or 45 quarter hours is comparable to 1 year of undergraduate education. For study at a business or technical school, 36 weeks of study
    (20+ classroom hours per week) is comparable to 1 academic year above high school. OR
 • TO QUALIFY BASED ON SPECIALIZED WORK EXPERIENCE AS AN AIR TRAFFIC CONTROL SPECIALIST: applicants
    qualifying based on specialized experience must provide supporting documentation that verifies that this requirement has been met (e.g.,
    FAA certificate, military certificate or training record). OR
 • TO QUALIFY BASED ON ALTERNATIVE REQUIREMENTS: applicants must provide supporting documentation that verifies at least
    one of the following alternative requirements being met: a. Do you hold or have held an appropriate facility rating and have actively
    controlled air traffic in civilian or military air traffic control terminals or centers? b. Do you hold or have held an FAA certificate as a
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    dispatcher for an air carrier? c. Do you hold or have held an instrument flight rating? d. Do you hold or have held an FAA certificate as a
    navigator or have been fully qualified as a Navigator/Bombardier in the Armed Forces? e. Do you have 350 hours of flight time as a copilot
    or higher and hold or have held a private certificate or equivalent Armed Forces rating? f. Have you served as a rated Aerospace Defense
    Command Intercept Director?
 • Successful candidates must be able to speak English clearly enough to be understood over radios, intercoms, and similar communications
    equipment.

Veterans Recruitment Appointment (VRA) eligible applicants:

 • Disabled veterans; or
 • Veterans who served on active duty in the Armed Forces during a war, or in a campaign or expedition for which a campaign badge has been
    authorized; or
 • Veterans who, while serving on active duty in the Armed Forces, participated in a United States military operation for which an Armed
    Forces Service Medal was awarded; or
 • Recently separated veterans (defined as; within the last 3 years).

Veterans claiming eligibility on the basis of service in a campaign or expedition for which a medal was awarded must be in receipt of the
campaign badge or medal.

In addition to meeting the criteria above, eligible veterans must have been separated under honorable conditions (i.e., the individual must have
received either an honorable or general discharge).

Entrance on Duty Requirements (EOD): If you are selected for a position but are unable to complete pre-employment requirements and EOD
within 15 months of this announcement, you will no longer be considered for this vacancy.

Age Requirements:

Maximum entry age may be waived for Pool 1 applicants who are reapplying and were found disqualified due to the BA in the February 10, 2014
announcement.

A maximum age of 30 years is established for initial entry into air traffic control positions covered by Public Law 92-297. Persons who have
reached their 31st birthday may not be originally appointed to these positions. If experience was gained as a civilian ATCS with the Federal
Aviation Administration (FAA) or Department of Defense (DOD), you must have been hired prior to age 31. Please see the Required
Documents section of this announcement for further information on specific documentation that MUST be provided if you were previously hired
by the FAA or DOD prior to the maximum entry age for this position.

We are not accepting applications from noncitizens.

Education
Applicants who are using education as a qualifier must submit a copy of the official/unofficial transcripts to substantiate all credit hours and/or
confer date.

Applicants qualifying based on Collegiate Training Initiative (CTI) education must submit a copy of the official/unofficial transcripts to
substantiate all credit hours and/or confer date AND an appropriate recommendation letter or endorsement certifying the individual would have
met the CTI requirements in effect as of December 31, 2013 for an appropriate recommendation.




    Preview Job Questionnaire
    https://jobs.faa.gov/aviator/login/viewquestionnaire.aspx?vid=49075
Make sure your Resume includes detailed information to support your qualifications and answers to the job questionnaire.

Additional information
We may use this vacancy to fill other similar vacant positions.
Travel may be required.
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Position may be subject to a background investigation.
A one-year probationary period may be required.
The person selected for this position may be required to file a financial disclosure statement within 30 days of entry on duty. FAA policy limits
certain outside employment and financial investments in aviation-related companies.


There will be two pre-employment tests for some applicants, all applicants will be required to take and pass the Air Traffic Skills
Assessment (AT-SA):

 • 1: BA administered through the online application system.
 • 2: Applicants meeting basic qualifications and/or passing the BA will be scheduled to take the AT-SA at a designated test site.

 • Travel to & from testing locations will be at the expense of the applicant.
 • The BA will be scored at the close of the vacancy announcement.
 • Applicants may check their USAJOBS account to get updates on the status of their application after the announcement closes. Applicants
    who set up their USAJOBS account to provide email updates will receive an email notification with any change in status of their
    applications.
 • Candidates referred and tentatively selected for ATCS positions will be randomly assigned to either the En Route or Terminal track. Prior
    ATCS experience will not be factored when determining track assignments.
 • Requirement for pre-employment medical clearance: Applicants selected for ATCS positions must pass a medical examination that
    includes psychological screening prior to appointment. Applicants with prior military service are encouraged to obtain a sealed copy of their
    military medical records prior to discharge and to retain these records to be provided upon request if selected.
 • Requirement for security clearance: This position requires an Access National Agency Check and Inquiry with Credit (ANACI) or higher
    prior to appointment unless a waiver is obtained.
 • Department of Transportation's Drug and Alcohol Testing Program: This position is covered by the Department of Transportation's
    Drug and Alcohol Testing Program. Any applicant tentatively selected for this position will be subject to a pre-employment or pre-
    appointment drug screening. Persons occupying covered positions will be subject to random drug and/or alcohol testing.
 • Training Requirements: After successful completion of Academy training, the ATCS will enter the appropriate phase of field training as
    determined by the assigned facility to prepare for advancement to the Certified Professional Controller (CPC) level. They must learn the
    skills needed for operation at higher levels of responsibility.
 • Successful certification at assigned FAA facility is required. Failure to certify will result in separation, demotion or reassignment.
 • Requirement for nonstandard duty hours or work week: Incumbent may be required to work irregular duty hours or a nonstandard work
    week or tour of duty.

This is not a bargaining unit position.

Links to Important Information: Locality Pay, COLA


How You Will Be Evaluated

IMPORTANT: Applicants may be rated on the extent and quality of experience, education, and training relevant to the duties of the position(s).
All answers provided in the on-line process must be substantiated. Ensure that your application package/resume supports your responses.

Background checks and security clearance

Security clearance                                                          Drug test required
Public Trust - Background Investigation
REQUIRED DOCUMENTS

Applicants qualifying based on education, including Collegiate Training Initiative (CTI) must submit a copy of the official/unofficial transcripts
to substantiate all credit hours and/or confer date. CTI applicants must also submit an appropriate recommendation letter or endorsement
certifying the individual would have met the CTI requirements in effect as of December 31, 2013 for an appropriate recommendation.


Applicants who do not meet one of the waivers to maximum entry age to be considered in Pool 1, but have previous 2152 experience and are past
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the maximum entry age of 31, MUST provide a copy of a Notification of Personnel Action (SF-50) that verifies original appointment to the
civilian 2152 occupational series prior to reaching the maximum entry age of 31. This would be the initial Notification of Personnel Action (SF-
50/new-hire action into the 2152 series) received from your servicing Federal Human Resources office.


If you do not have a copy of your initial Notification of Personnel Action (SF-50/new-hire action into the 2152 series), you can request it through
the National Personnel Records Center at the following link: http://www.archives.gov/st-louis/civilian-personnel/



Service Computation Dates (SCD's) cannot be used for maximum entry age verification purposes, as this could include prior military service
and/or current or previous federal civilian service in another occupational series.


Facility rating records issued by the FAA or military issued ratings and/or training records must be provided, if qualifying based on specialized
experience or one of the alternative requirements.


Applicants qualifying under VRA must provide either a DD Form 214 Certificate of Release or Discharge from Active Duty (Member 4 Copy or
equivalent), OR a document from the armed forces certifying that within 120 days you are expected to be discharged or released from active duty


All Veterans: If you are claiming veterans' preference, you must submit either a DD Form 214 Certificate of Release or Discharge from Active
Duty (Member 4 Copy or equivalent), or a document from the armed forces certifying that within 120 days you are expected to be discharged or
released from active duty service under honorable conditions. If you are claiming 10 point preference, you must also submit a completed SF-15,
Application for 10-Point Veteran's Preference, and supporting documents outlined on the SF-15. Documents must be uploaded or faxed to the
Servicing Human Resource Management Office listed in this announcement and all documents must be received by the closing date of the
announcement. If you fail to submit documentation, you will be assessed as a non-veteran.


If you are claiming 10 point preference but fail to submit the supporting documents outlined on the SF-15, you will be tentatively assessed as a 5
point preference eligible provided your DD Form 214 reflects that you have the service required to qualify for preference. Documents must be
uploaded or faxed to the Servicing Human Resource Management Office listed in this announcement and all documents must be received by the
closing date of the announcement. If you fail to submit documentation, you will be assessed as a non-veteran.


Veterans currently on active duty claiming veterans' preference: You will be granted tentative preference if you submit a document from the
armed forces certifying that within 120 days you are expected to be discharged or released from active duty service under honorable conditions
and your application shows that you have the required service. Prior to being appointed, you must provide to the Servicing Human Resource
Management Office a DD Form 214 documenting discharge/release and showing that the service was honorable or general. If you are on
terminal leave, you must provide documentation certifying authorized terminal leave.


If you are relying on your education to meet qualification requirements:
Education must be accredited by an accrediting institution recognized by the U.S. Department of Education in order for it to be credited towards
qualifications. Therefore, provide only the attendance and/or degrees from schools accredited by accrediting institutions recognized by the U.S.
Department of Education(http://www.ed.gov/admins/finaid/accred/).


Failure to provide all of the required information as stated in this vacancy announcement may result in an ineligible rating or may affect the
overall rating.

Benefits
A career with the U.S. Government provides employees with a comprehensive benefits package. As a federal employee, you and your family will
have access to a range of benefits that are designed to make your federal career very rewarding.

 • Benefits for federal employees
    (https://www.usa.gov/benefits-for-federal-employees#item-36407)
 • Healthcare insurance
    (https://www.opm.gov/healthcare-insurance/)
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 • Pay and leave
    (https://www.usajobs.gov/Help/working-in-government/pay-and-leave/)



http://www.faa.gov/jobs/working_here/benefits/


Eligibility for benefits depends on the type of position you hold and whether your position is full-time, part-time, or intermittent. Contact the
hiring agency for more information on the specific benefits offered.

How to Apply
You must apply online to receive consideration. Your application must have a status of "Received" by 11:59 PM Eastern Time on the Close
Date for it to be accepted. If you are applying for positions associated with FAA registers, your application must have a status of "Received"
each time a referral list is created in order to receive consideration for positions associated with register.


IN DESCRIBING YOUR WORK EXPERIENCE AND/OR EDUCATION, PLEASE BE CLEAR AND SPECIFIC REGARDING
YOUR EXPERIENCE OR EDUCATION.
We strongly encourage applicants to utilize the USAJOBS resume builder in the creation of resumes.
Please ensure EACH work history includes ALL of the following information:

 • Job Title (include series and grade if Federal Job)
 • Duties (be specific in describing your duties)
 • Employer's name and address
 • Supervisor name and phone number
 • Start and end dates including month, day and year (e.g. June 18 2007 to April 05 2008)
 • Full-time or part-time status (include hours worked per week)
 • Salary

Determining length of General or Specialized Experience is dependent on the above information and failure to provide ALL of this
information may result in a finding of ineligible.

You may upload completed documents to your USAJOBS Account. This will provide you the opportunity to utilize the uploaded information
again when applying for future vacancies. Please see this guide, Document Upload Guide, for more information on uploading and re-using the
documents in your applications.

Forms:

 • SF-15 : Application for 10-Point Veteran Preference


  Agency contact information
  Aviation Careers

  Phone                                                                          Address
  (405) 954-4657                                                                 Federal Aviation Administration
                                                                                 Aviation Careers
  Fax
                                                                                 6500 South Mac Arthur Blvd.
  (405) 954-5766                                                                 Oklahoma City, OK
  Email                                                                          73160
                                                                                 US
  aviation.careers@faa.gov


  The Department of Transportation (DOT) is ranked #4 in the 2017 best places to work in the Federal Government!


  Thanks to the work of the Federal Aviation Administration (FAA), over the past 50 years, aviation has become central to the way we live and do
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   business, linking people from coast to coast and connecting America to the world. In fact, FAA has created the safest, most reliable, most efficient,
   and most productive air transportation system in the world.


   Visit our careers page

   Learn more about what it's like to work at Federal Aviation Administration, what the agency does, and about the types of careers this agency offers.
   http://www.faa.gov/jobs/



 Next steps
 Candidates for FAA positions are evaluated using our Automated Vacancy Information Access Tool for Online Referral
 (AVIATOR) system. AVIATOR compares your skills and experience as described in your application with the
 requirements of the position. If you are found to be an eligible, highly-qualified candidate, you will be referred to the
 selecting official for further consideration. (In some cases, individuals with priority for special consideration must be
 considered and selected before other candidates.) Whether or not you are contacted for an interview depends upon the
 location of the position and the judgment of the selecting official.

 Important - If you make any change to your application, you must resubmit it. If you change your application and do
 not resubmit it, your changes will not be considered part of your application package, and your previous application will
 be considered.

 Fair & Transparent
 The Federal hiring process is setup to be fair and transparent. Please read the following guidance.

 Equal Employment Opportunity Policy

 The United States Government does not discriminate in employment on the basis of race, color, religion, sex (including
 pregnancy And gender identity), national origin, political affiliation, sexual orientation, marital status, disability, genetic
 information, age, membership in an employee organization, retaliation, parental status, military service, or other non-
 merit factor.

• Equal Employment Opportunity (EEO) office at OPM
  (https://www.opm.gov/about-us/our-people-organization/support-functions/equal-employment-opportunity/)
• Office of Equal Opportunity
  (http://www.eeoc.gov/eeoc/internal_eeo/index.cfm)



 Reasonable Accommodation Policy

 Federal agencies must provide reasonable accommodation to applicants with disabilities where appropriate. Applicants
 requiring reasonable accommodation for any part of the application process should follow the instructions in the job
 opportunity announcement. For any part of the remaining hiring process, applicants should contact the hiring agency
 directly. Determinations on requests for reasonable accommodation will be made on a case-by-case basis.

 A reasonable accommodation is any change in the workplace or the way things are customarily done that provides an
 equal employment opportunity to an individual with a disability. Under the Rehabilitation Act of 1973 the Equal
 Employment Opportunity Commission (EEOC) must provide reasonable accommodations:

• An applicant with a disability needs an accommodation to have an equal opportunity to apply for a job.
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• An employee with a disability needs an accommodation to perform the essential job duties or to gain access to the
  workplace.
• An employee with a disability needs an accommodation to receive equal access to benefits, such as details, training,
  and office-sponsored events.
• Disability Employment - Reasonable Accommodations
  (https://www.opm.gov/policy-data-oversight/disability-employment/reasonable-accommodations/)
• How to contact an agency
  (https://www.uat.usajobs.gov//Help/how-to/application/agency/contact/)



 Legal and regulatory guidance

 Financial suitability                                         Social security number request
 (https://www.uat.usajobs.gov//Help/working-in-                (https://www.uat.usajobs.gov//Help/working-in-
 government/fair-and-transparent/financial-suitability/)       government/fair-and-transparent/social-security-number/)

 Privacy Act                                                   Signature & False statements
 (https://www.uat.usajobs.gov//Help/working-in-                (https://www.uat.usajobs.gov//Help/working-in-
 government/fair-and-transparent/privacy-act/)                 government/fair-and-transparent/signature-false-
                                                               statements/)
 Selective Service
 (https://www.uat.usajobs.gov//Help/working-in-                New employee probationary period
 government/fair-and-transparent/selective-service/)           (https://www.uat.usajobs.gov//Help/working-in-
                                                               government/fair-and-transparent/probationary-period/)
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                                                                                                       J
Air Traffic Control Specialist - Trainee
DEPARTMENT OF TRANSPORTATION
Federal Aviation Administration

Air Traffic Organization - ATO


Overview
Open & closing dates                                Service
07/07/2017 to 07/14/2017                            Excepted
Pay scale & grade                                   Salary
FG 1                                                $23,547.00 - $29,450.00 / Per Year
                                                    This salary includes locality pay which will be
                                                    applicable while attending the FAA ATC
                                                    Academy.
Appointment type                                    Work schedule
Temporary NTE - Temporary NTE - 13 months           Full Time

Locations
Many vacancy(s) in the following locations:

All Air Traffic Locations
Relocation expenses reimbursed                      Telework eligible
No
 Announcement number
 FAA-ATO-17-ALLSRCE-53474
 Control number
 473871400

Duties
Summary
Responsibilities

    • This is a developmental Air Traffic Control Specialist (ATCS) position responsible for the
      safe, orderly, and expeditious movement of air traffic through the nation's airspace.
      Developmental controllers receive a wide range of training in controlling and separating live
      air traffic within designated airspace at and around an airport traffic control tower or radar
      approach control facility, or air route traffic control center.

    • As a new ATCS, you will spend your first several weeks of employment in an intensive
      training program at the FAA Academy in Oklahoma City, OK. While attending academy
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       training you will be on a temporary appointment. Academy students receive basic air traffic
       control training at the FAA Academy, which includes:

            ◦ Complete occupational indoctrination including highlights of Federal employment,
              familiarization with organizational structure & functions, aircraft, air traffic control
              system, & aviation industry, classroom instruction & workshop exercises relating to the
              air traffic control system.

     • Individuals who do not successfully complete training at the FAA Academy and all other
       necessary requirements will have their employment terminated.

     • Prior failure of FAA Academy training or prior declination of permanent facility placement
       offer after completing Academy training may constitute a basis for non-selection and/or
       veterans' preference pass over.

     • Upon successful completion of the Academy initial training program & other employment
       requirements, newly hired ATCS's will be offered a permanent appointment at an FAA facility
       with a basic salary of $38,575, plus applicable locality pay based on facility assignment.
       Applicants with prior ATC experience will have their salary set in accordance with the ATCS
       Collective Bargaining Agreement, upon conversion.

     • ATCS's will be paid long term expense rate (per diem) for Oklahoma City, OK to help offset
       daily cost of living while attending FAA Academy. FAA will pay for cost of travel in
       accordance with applicable agency policies.

     • As an ATCS you will receive pay increases as you successfully complete the progressive
       phases of controller training at your assigned facility. The FAA has Air Traffic Control
       Facilities in every state as well as Puerto Rico, The U. S. Virgin Islands, and Guam. This
       announcement is open to those applicants willing to work at any FAA Air Traffic Control
       Facility. Applicant geographic area preferences are for informational purposes only and will
       not be used in the selection process; however, preferences may be considered at time of
       placement. Facility placements will be finalized the day following successful completion of
       Academy training. Declining to select a facility from the list of available facilities will result in
       termination of employment, as placement will be based upon the needs of the FAA.

     • Prior experience or training in air traffic control is not required. If a candidate applies for and
       is selected under this temporary trainee announcement, all of the employment conditions
       associated with this FG-1 position will apply, regardless of whether the candidate possesses
       the specialized experience that would have otherwise qualified him/her under the April/May
       2017 vacancy announcement FAA-ATO-ATCEXP-52850.

Travel Required

Supervisory status                                       Promotion Potential
No                                                       1

Job family (Series)
2152 Air Traffic Controller

Requirements
Key Requirements

     • US Citizenship is required.
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     • Selective Service Registration is required for males born after 12/31/1959.
     • Applicants may be required to pass a Biographical Assessment (BA).
     • All applicants must pass the Air Traffic Skills Assessment (AT-SA) Exam.
     • If eligible for Pool 1; may elect consideration for Pool 2, but not both.

Qualifications
APPLICANT POOLS

POOL 1 - All U.S. Citizens who also meet the following Pool 1 eligibility criteria:

Applicants MUST meet one of the following criteria (1, 2, OR 3) listed below in order to be eligible for consideration in Pool 1.

1. A graduate from an institution participating in the Collegiate Training Initiative (CTI) program and who has received from the
institution an appropriate recommendation.

2. A veteran eligible for a Veterans Recruitment Appointment (VRA) pursuant to section 4214 of Title 38 and can provide a
Certificate of Release or Discharge from Active Duty within 120 days from the announcement closing.

3. An eligible veteran maintaining aviation experience obtained in the course of your military experience and/or entitled to veterans'
preference (must meet eligibility requirements in section 2108 of Title 5, Unites States Code) and can provide a Certificate of
Release or Discharge from Active Duty within 120 days from the announcement closing.

Applicants eligible for Pool 1 will not take the Biographical Assessment (BA) unless they voluntarily elect to be considered in Pool
2.

POOL 2 - All U.S. Citizens

Pool 2 applicants are all other U.S. Citizens not meeting the requirements for Pool 1 and will be required to complete and pass the
BA at the time of application to receive further consideration.

Pool 2 applicants do not have an option to elect to be considered for Pool 1.

Applicants who applied to FAA-AMC-14-ALLSRCE-33537 vacancy announcement (issued on February 10, 2014), and were found
disqualified from the position as the result of the BA but do not meet one of the above mentioned Pool 1 criteria (1, 2 or 3) will be
required to take the BA and will not be eligible to elect consideration in Pool 1.

Biographical Assessment (BA) Exemptions

During the application process, you will be directed to either bypass the BA or complete the BA based upon your Applicant Pool
election and/or the following:

     • Applicants who applied for the air traffic controller vacancy FAA-ATO-16-ALLSRCE-49075 AND successfully passed the BA
       are not required to re-take the BA, as the passing score is valid for up to 3 years from the closing date of that vacancy
       (08/15/16).
     • Applicants who applied for the air traffic controller vacancy FAA-AMC-14-ALLSRCE-33537 (issued on February 10, 2014),
       and were found disqualified from the position as the result of a BA are eligible to reapply under this announcement. You
       must have met one of the Pool 1 criteria referenced above, (1, 2, or 3) to bypass the BA (see age requirements below).
     • Applicants who are required to take the BA (Pool 2) must achieve a passing score to receive further consideration.

     • You may qualify in 1 of the following 5 ways:
     • TO QUALIFY BASED ON PROGRESSIVELY RESPONSIBLE WORK EXPERIENCE: applicants must document 3 years of
       full time (40 hours per week) progressively responsible experience. Most types of paid or unpaid employment will provide
       progressively responsible experience as the individual doing the work learns about the organization, gains knowledge about
       the work, and demonstrates responsibility. OR
     • TO QUALIFY BASED UPON EDUCATION: applicants must document a full 4-year course of study leading to a Bachelor's
       degree. Schools must be accredited by an accrediting institution recognized by the U.S. Department of Education. If
       qualifying based on education, applicants must submit a copy of the transcript which includes the name of the institution,
       quarter or semester hours earned and/or confer date. OR
     • TO QUALIFY BASED UPON THE COMBINATION OF BOTH WORK EXPERIENCE AND EDUCATION: The applicant's
       total qualifying experience is converted to a percentage of the experience required then the applicant's education is
       converted to a percentage of the education required. The combined percentages must equal 100%. At the undergraduate
       level, successfully completed education that has not led to possession of a degree is credited based on its relationship to
       120 semester hours or 180 quarter hours. For example, 30 semester hours or 45 quarter hours is comparable to 1 year of
       undergraduate education. For study at a business or technical school, 36 weeks of study (20+ classroom hours per week) is
       comparable to 1 academic year above high school. OR
     • TO QUALIFY BASED ON SPECIALIZED WORK EXPERIENCE AS AN AIR TRAFFIC CONTROL SPECIALIST:
       applicants qualifying based on specialized experience must provide supporting documentation that verifies that this
       requirement has been met (e.g., FAA certificate, military certificate or training record). OR
     • TO QUALIFY BASED ON ALTERNATIVE REQUIREMENTS: applicants must provide supporting documentation that
       verifies at least one of the following alternative requirements being met: a. Do you hold or have held an appropriate facility
       rating and have actively controlled air traffic in civilian or military air traffic control terminals or centers? b. Do you hold or
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       have held an FAA certificate as a dispatcher for an air carrier? c. Do you hold or have held an instrument flight rating? d. Do
       you hold or have held an FAA certificate as a navigator or have been fully qualified as a Navigator/Bombardier in the Armed
       Forces? e. Do you have 350 hours of flight time as a copilot or higher and hold or have held a private certificate or
       equivalent Armed Forces rating? f. Have you served as a rated Aerospace Defense Command Intercept Director?
     • Successful candidates must be able to speak English clearly enough to be understood over radios, intercoms, and similar
       communications equipment.

       Veterans Recruitment Appointment (VRA) eligible applicants:

     • Disabled veterans; or
     • Veterans who served on active duty in the Armed Forces during a war, or in a campaign or expedition for which a campaign
       badge has been authorized; or
     • Veterans who, while serving on active duty in the Armed Forces, participated in a United States military operation for which
       an Armed Forces Service Medal was awarded; or
     • Recently separated veterans (defined as; within the last 3 years).

       Veterans claiming eligibility on the basis of service in a campaign or expedition for which a medal was awarded must be in
       receipt of the campaign badge or medal.

       In addition to meeting the criteria above, eligible veterans must have been separated under honorable conditions (i.e., the
       individual must have received either an honorable or general discharge). Please also see the section 'All Veterans' at the
       bottom of this vacancy for further documentation requirements for Veterans.

     • Entrance on Duty Requirements (EOD): If you are selected for a position but are unable to complete pre-employment
       requirements and EOD within 15 months of this announcement, you will no longer be considered for this vacancy.

       Age Requirements:

       Maximum entry age may be waived for Pool 1 applicants who are reapplying and were found disqualified due to the BA in
       the February 10, 2014 announcement.

       A maximum age of 30 years is established for initial entry into air traffic control positions covered by Public Law 92-297.
       Persons who have reached their 31st birthday may not be originally appointed to these positions. If experience was gained
       as a civilian ATCS with the Federal Aviation Administration (FAA) or Department of Defense (DOD), you must have been
       hired prior to age 31. Please see the Required Documents section of this announcement for further information on specific
       documentation that MUST be provided if you were previously hired by the FAA or DOD prior to the maximum entry age for
       this position

We are not accepting applications from noncitizens.

Education
Applicants who are using education as a qualifier must submit a copy of the official/unofficial transcripts to substantiate all credit
hours and/or confer date.

Applicants qualifying based on Collegiate Training Initiative (CTI) education must submit a copy of the official/unofficial transcripts to
substantiate all credit hours and/or confer date AND an appropriate recommendation letter or endorsement certifying the individual
would have met the CTI requirements in effect as of December 31, 2013 for an appropriate recommendation.




   Preview Job Questionnaire
   https://jobs.faa.gov/aviator/login/viewquestionnaire.aspx?vid=53474
Make sure your Resume includes detailed information to support your qualifications and answers to the job questionnaire.

Additional information
We may use this vacancy to fill other similar vacant positions.
Travel may be required.
Position may be subject to a background investigation.
A one-year probationary period may be required.
The person selected for this position may be required to file a financial disclosure statement within 30 days of entry on duty. FAA
policy limits certain outside employment and financial investments in aviation-related companies.


There will be two pre-employment tests for some applicants, all applicants will be required to take and pass the Air Traffic
Skills Assessment (AT-SA):

     • 1: BA administered through the online application system.
     • 2: Applicants meeting basic qualifications and/or passing the BA will be scheduled to take the AT-SA at a designated test
       site.

     • Travel to & from testing locations will be at the expense of the applicant.
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     • The BA will be scored at the close of the vacancy announcement.
     • Applicants may check their USAJOBS account to get updates on the status of their application after the announcement
       closes. Applicants who set up their USAJOBS account to provide email updates will receive an email notification with any
       change in status of their applications.
     • Candidates referred and tentatively selected for ATCS positions will be randomly assigned to either the En Route or
       Terminal track. Prior ATCS experience will not be factored when determining track assignments.
     • Requirement for pre-employment medical clearance: Applicants selected for ATCS positions must pass a medical
       examination that includes psychological screening prior to appointment. Applicants with prior military service are
       encouraged to obtain a sealed copy of their military medical records prior to discharge and to retain these records to be
       provided upon request if selected.
     • Requirement for security clearance: This position requires an Access National Agency Check and Inquiry with Credit
       (ANACI) or higher prior to appointment unless a waiver is obtained.
     • Department of Transportation's Drug and Alcohol Testing Program: This position is covered by the Department of
       Transportation's Drug and Alcohol Testing Program. Any applicant tentatively selected for this position will be subject to a
       pre-employment or pre-appointment drug screening. Persons occupying covered positions will be subject to random drug
       and/or alcohol testing.
     • Training Requirements: After successful completion of Academy training, the ATCS will enter the appropriate phase of
       field training as determined by the assigned facility to prepare for advancement to the Certified Professional Controller
       (CPC) level. They must learn the skills needed for operation at higher levels of responsibility.
     • Successful certification at assigned FAA facility is required. Failure to certify will result in separation, demotion or
       reassignment.
     • Requirement for nonstandard duty hours or work week: Incumbent may be required to work irregular duty hours or a
       nonstandard work week or tour of duty.

This is not a bargaining unit position.

Links to Important Information: Locality Pay, COLA


How You Will Be Evaluated

IMPORTANT: Applicants may be rated on the extent and quality of experience, education, and training relevant to the duties of the
position(s). All answers provided in the on-line process must be substantiated. Ensure that your application package/resume
supports your responses.
Background checks and security clearance


Security clearance                                                   Drug test required
Public Trust - Background Investigation
REQUIRED DOCUMENTS
Applicants qualifying based on education, including Collegiate Training Initiative (CTI) must submit a copy of the official/unofficial
transcripts to substantiate all credit hours and/or confer date. CTI applicants must also submit an appropriate recommendation letter
or endorsement certifying the individual would have met the CTI requirements in effect as of December 31, 2013 for an appropriate
recommendation.

Applicants who do not meet one of the waivers to maximum entry age to be considered in Pool 1, but have previous 2152
experience and are past the maximum entry age of 31, MUST provide a copy of a Notification of Personnel Action (SF-50) that
verifies original appointment to the civilian 2152 occupational series prior to reaching the maximum entry age of 31. This would be
the initial Notification of Personnel Action (SF-50/new-hire action into the 2152 series) received from your servicing Federal Human
Resources office.

If you do not have a copy of your initial Notification of Personnel Action (SF-50/new-hire action into the 2152 series), you can
request it through the National Personnel Records Center at the following link: http://www.archives.gov/st-louis/civilian-personnel/

Service Computation Dates (SCD's) cannot be used for maximum entry age verification purposes, as this could include prior military
service and/or current or previous federal civilian service in another occupational series.

Facility rating records issued by the FAA or military issued ratings and/or training records must be provided, if qualifying based on
specialized experience or one of the alternative requirements.

Applicants qualifying under VRA must provide either a DD Form 214 Certificate of Release or Discharge from Active Duty (Member
4 Copy or equivalent), OR a document from the armed forces certifying that within 120 days you are expected to be discharged or
released from active duty.

All Veterans: If you are claiming veterans' preference, you must submit either a DD Form 214 Certificate of Release or Discharge
from Active Duty (Member 4 Copy or equivalent), or a document from the armed forces certifying that within 120 days you are
expected to be discharged or released from active duty service under honorable conditions. If you are claiming 10 point preference,
you must also submit a completed SF-15, Application for 10-Point Veteran's Preference, and supporting documents outlined on the
SF-15. Documents must be uploaded or faxed to the Servicing Human Resource Management Office listed in this announcement
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and all documents must be received by the closing date of the announcement. If you fail to submit documentation, you will be
assessed as a non-veteran.

If you are claiming 10 point preference but fail to submit the supporting documents outlined on the SF-15, you will be tentatively
assessed as a 5 point preference eligible provided your DD Form 214 reflects that you have the service required to qualify for
preference. Documents must be uploaded or faxed to the Servicing Human Resource Management Office listed in this
announcement and all documents must be received by the closing date of the announcement. If you fail to submit documentation,
you will be assessed as a non-veteran.

Veterans currently on active duty claiming veterans' preference: You will be granted tentative preference if you submit a
document from the armed forces certifying that within 120 days you are expected to be discharged or released from active duty
service under honorable conditions and your application shows that you have the required service. Prior to being appointed, you
must provide to the Servicing Human Resource Management Office a DD Form 214 documenting discharge/release and showing
that the service was honorable or general. If you are on terminal leave, you must provide documentation certifying authorized
terminal leave.

If you are relying on your education to meet qualification requirements:
Education must be accredited by an accrediting institution recognized by the U.S. Department of Education in order for it to be
credited towards qualifications. Therefore, provide only the attendance and/or degrees from schools accredited by accrediting
institutions recognized by the U.S. Department of Education(http://www.ed.gov/admins/finaid/accred/).

Failure to provide all of the required information as stated in this vacancy announcement may result in an ineligible rating or may
affect the overall rating.

Benefits
A career with the U.S. Government provides employees with a comprehensive benefits package. As a federal employee, you and
your family will have access to a range of benefits that are designed to make your federal career very rewarding.

     • Benefits for federal employees
       (https://www.usa.gov/benefits-for-federal-employees#item-36407)
     • Healthcare insurance
       (https://www.opm.gov/healthcare-insurance/)
     • Pay and leave
       (https://www.usajobs.gov/Help/working-in-government/pay-and-leave/)


http://www.faa.gov/jobs/working_here/benefits/

Eligibility for benefits depends on the type of position you hold and whether your position is full-time, part-time, or intermittent.
Contact the hiring agency for more information on the specific benefits offered.

How to Apply
You must apply online to receive consideration. Your application must have a status of "Received" by 11:59 PM Eastern Time on
the Close Date for it to be accepted. If you are applying for positions associated with FAA registers, your application must have a
status of "Received" each time a referral list is created in order to receive consideration for positions associated with register.

IN DESCRIBING YOUR WORK EXPERIENCE AND/OR EDUCATION, PLEASE BE CLEAR AND SPECIFIC REGARDING YOUR
EXPERIENCE OR EDUCATION.
We strongly encourage applicants to utilize the USAJOBS resume builder in the creation of resumes.
Please ensure EACH work history includes ALL of the following information:

     • Job Title (include series and grade if Federal Job)
     • Duties (be specific in describing your duties)
     • Employer's name and address
     • Supervisor name and phone number
     • Start and end dates including month, day and year (e.g. June 18 2007 to April 05 2008)
     • Full-time or part-time status (include hours worked per week)
     • Salary

Determining length of General or Specialized Experience is dependent on the above information and failure to provide ALL
of this information may result in a finding of ineligible.
You may upload completed documents to your USAJOBS Account. This will provide you the opportunity to utilize the uploaded
information again when applying for future vacancies. Please see this guide, Document Upload Guide, for more information on
uploading and re-using the documents in your applications.

Forms:

     • SF-15 : Application for 10-Point Veteran Preference

  Agency contact information
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  Aviation Careers

  Phone                                                               Address
  (405) 954-4657                                                      Federal Aviation Administration
                                                                      Aviation Careers
  Fax
                                                                      6500 South Mac Arthur Blvd.
  (405) 954-5766                                                      Oklahoma City, OK
  Email                                                               73160
                                                                      US
  aviation.careers@faa.gov

  The Department of Transportation (DOT) is ranked #4 in the 2017 best places to work in the Federal Government!

  Thanks to the work of the Federal Aviation Administration (FAA), over the past 50 years, aviation has become central to the way we
  live and do business, linking people from coast to coast and connecting America to the world. In fact, FAA has created the safest,
  most reliable, most efficient, and most productive air transportation system in the world.

  Visit our careers page
  Learn more about what it's like to work at Federal Aviation Administration, what the agency does, and about the types of careers this
  agency offers.
  http://www.faa.gov/jobs/


 Next steps
 Candidates for FAA positions are evaluated using our Automated Vacancy Information Access
 Tool for Online Referral (AVIATOR) system. AVIATOR compares your skills and experience as
 described in your application with the requirements of the position. If you are found to be an
 eligible, highly-qualified candidate, you will be referred to the selecting official for further
 consideration. (In some cases, individuals with priority for special consideration must be
 considered and selected before other candidates.) Whether or not you are contacted for an
 interview depends upon the location of the position and the judgment of the selecting official.

 Important - If you make any change to your application, you must resubmit it. If you change your
 application and do not resubmit it, your changes will not be considered part of your application
 package, and your previous application will be considered.

 Fair & Transparent

 The Federal hiring process is setup to be fair and transparent. Please read the following guidance.

 Equal Employment Opportunity Policy

 The United States Government does not discriminate in employment on the basis of race, color,
 religion, sex (including pregnancy And gender identity), national origin, political affiliation, sexual
 orientation, marital status, disability, genetic information, age, membership in an employee
 organization, retaliation, parental status, military service, or other non-merit factor.

• Equal Employment Opportunity (EEO) office at OPM
  (https://www.opm.gov/about-us/our-people-organization/support-functions/equal-employment-
  opportunity/)
• Office of Equal Opportunity
  (http://www.eeoc.gov/eeoc/internal_eeo/index.cfm)
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 Reasonable Accommodation Policy

 Federal agencies must provide reasonable accommodation to applicants with disabilities where
 appropriate. Applicants requiring reasonable accommodation for any part of the application
 process should follow the instructions in the job opportunity announcement. For any part of the
 remaining hiring process, applicants should contact the hiring agency directly. Determinations on
 requests for reasonable accommodation will be made on a case-by-case basis.

 A reasonable accommodation is any change in the workplace or the way things are customarily
 done that provides an equal employment opportunity to an individual with a disability. Under the
 Rehabilitation Act of 1973 the Equal Employment Opportunity Commission (EEOC) must provide
 reasonable accommodations:

• An applicant with a disability needs an accommodation to have an equal opportunity to apply for
  a job.
• An employee with a disability needs an accommodation to perform the essential job duties or to
  gain access to the workplace.
• An employee with a disability needs an accommodation to receive equal access to benefits,
  such as details, training, and office-sponsored events.
• Disability Employment - Reasonable Accommodations
  (https://www.opm.gov/policy-data-oversight/disability-employment/reasonable-
  accommodations/)
• How to contact an agency
  (https://www.uat.usajobs.gov//Help/how-to/application/agency/contact/)


 Legal and regulatory guidance

 Financial suitability                              Social security number request
 (https://www.uat.usajobs.gov//Help/working-in-     (https://www.uat.usajobs.gov//Help/working-in-
 government/fair-and-transparent/financial-         government/fair-and-transparent/social-security-
 suitability/)                                      number/)

 Privacy Act                                        Signature & False statements
 (https://www.uat.usajobs.gov//Help/working-in-     (https://www.uat.usajobs.gov//Help/working-in-
 government/fair-and-transparent/privacy-act/)      government/fair-and-transparent/signature-false-
                                                    statements/)
 Selective Service
 (https://www.uat.usajobs.gov//Help/working-in-     New employee probationary period
 government/fair-and-transparent/selective-         (https://www.uat.usajobs.gov//Help/working-in-
 service/)                                          government/fair-and-transparent/probationary-
                                                    period/)
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                                                                             N
                                                            Federal Aviation
                                                            Administration




                 Federal Aviation Administration (FAA)

                 Annual EEO Program
                 Status Report
                 Fiscal Year

                 2007


                                                  Prepared by FAA Civil Rights
                                                                         2007
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        EEOC Forms and Documents Included in this Report


• EEOC (Form 715-01 Part A-D)                                      Tab1

• FAA Executive Summary (Form 715-01 Part E)                       Tab 2

• FAA Statement of Establishment of Continuing
  EEO Programs (Form 715-01 Part F)                                Tab 3

• FAA Policy Statements                                            Tab 4

• FAA Annual Self-Assessment Checklist of
  Essential Elements (Form 715-01 Part G)                          Tab 5

• FAA EEO Plan to obtain the Essential Elements
  of a Model EEO Program (Form 715-01 Part H)                      Tab 6

• FAA EEO Plan to Eliminate Identified Barrier
  (Form 715-01 Part I)                                             Tab 7

• FAA Special Program Plan for Recruitment,
  Hiring, and Advancement of Individuals with Targeted
  Disabilities for Agencies with 1000 or more
  Employees (Form 715-01 Part J)                                   Tab 8

• FAA Workforce Data Tables (“A” Tables)                           Tab 9

• FAA Disability Workforce Data Tables (“B” Tables)                Tab 10

• FAA 462 Report                                                   Tab 11

• FAA Facility Accessibility Survey                                Tab 12

• FAA Organization Chart                                           Tab 13
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 EEOC FORM                                     U.S. Equal Employment Opportunity Commission
    715-01                                               FEDERAL AGENCY ANNUAL
  PART A - D                                          EEO PROGRAM STATUS REPORT

                             For period covering October 1, 2006, to September 30, 2007.

  PART A        1. Agency                              1. Federal Aviation Administration (FAA)
Department
 or Agency      1.a. 2nd level reporting component      NONE
 Identifying
Information
                1.b. 3rd level reporting component      NONE

                1.c. 4th level reporting component      NONE

                2. Address                             2. 800 Independence Avenue SW

                3. City, State, Zip Code               3. Washington, DC 20591

                4. CPDF Code       5. FIPS code(s)     4. TD-03                  5. 110010001

 PART B         1. Enter total number of permanent full-time and part-time employees       1. 44,428
  Total
Employment      2. Enter total number of temporary employees                               2.     986

                3. Enter total number employees paid from non-appropriated funds           3.     –0-

                4. TOTAL EMPLOYMENT [add lines B 1 through 3]                              4. 45,414

  PART C        1. Head of Agency                      1. Robert A. Sturgell
   Agency       Official Title                            Acting Administrator
  Official(s)
Responsible     2. Agency Head Designee                2. Fanny Rivera
For Oversight
   of EEO
 Program(s)     3. Principal EEO Director/Official     3. Fanny Rivera
                Official Title/series/grade               Assistant Administrator, Office of Civil Rights, FV/301/SES

                4. Title VII Affirmative EEO           4. Fanny Rivera
                Program Official

                5. Section 501 Affirmative Action      5. John Benison
                Program Official

                6. Complaint Processing Program        6. Harnetta Williams
                Manager

                7. Other Responsible EEO Staff          7a.

                                                        7b.




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   EEOC FORM                                           U.S. Equal Employment Opportunity Commission
      715-01                                                     FEDERAL AGENCY ANNUAL
    PART A - D                                                EEO PROGRAM STATUS REPORT

       PART D                                  Subordinate Component and Location (City/State)                           CPDF and
 List of Subordinate                                                                                                     FIPS
    Components                                                                                                           codes
  Covered in This
        Report            Not Applicable




EEOC FORMS and Documents Included With This Report

*Executive Summary [FORM 715-01 PART               X     *Optional Annual Self-Assessment Checklist Against Essential              X
E], that includes:              TAB B                    Elements [FORM 715-01PART G]                               TAB E

 Brief paragraph describing the agency's                 *EEO Plan To Attain the Essential Elements of a Model EEO
 mission and mission-related functions             X     Program [FORM 715-01PART H] for each programmatic essential               X
                                                         element requiring improvement                             TAB F

 Summary of results of agency's annual self-             *EEO Plan To Eliminate Identified Barrier
 assessment against MD-715 "Essential              X     [FORM 715-01 PART I] for each identified barrier             TAB G        X
 Elements"

 Summary of Analysis of Work Force Profiles              *Special Program Plan for the Recruitment, Hiring, and
 including net change analysis and                 X     Advancement of Individuals With Targeted Disabilities for agencies        X
 comparison to RCLF                                      with 1,000 or more employees [FORM 715-01 PARTJ]             TAB H


 Summary of EEO Plan objectives planned                  *Copy of Workforce Data Tables as necessary to support Executive
 to eliminate identified barriers or correct       X     Summary and/or EEO Plans                                                  X
 program deficiencies                                                                                        TABS I & J

 Summary of EEO Plan action items                        *Copy of data from 462 Report as necessary to support action
 implemented or accomplished                       X     items related to Complaint Processing Program deficiencies, ADR           X
                                                         effectiveness, or other compliance issues                   TAB K

*Statement of Establishment of Continuing                *Copy of Facility Accessability Survey results as necessary to
Equal Employment Opportunity Programs              X     support EEO Action Plan for building renovation projects                  X
[FORM 715-01 PART F]                TAB C                                                                              TAB L

*Copies of relevant EEO Policy Statement(s)              *Organizational Chart                                       TAB M         X
and/or excerpts from revisions made to EEO         X
Policy Statements                    TAB D




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   EEOC FORM                                   U.S. Equal Employment Opportunity Commission
     715-01                                              FEDERAL AGENCY ANNUAL
     PART E                                           EEO PROGRAM STATUS REPORT

Federal Aviation Administration (FAA)               For period covering October 1, 2006 to September 30, 2007.

                                                 EXECUTIVE SUMMARY


Mission and Mission Related Functions

The Federal Aviation Administration’s (FAA’s) mission is to provide the safest, most efficient aviation system in the world.
To ensure the success of this mission, the FAA is committed to achieving organizational excellence in managing its human
resources.

Results of Agency’s Annual Self-Assessment

    •   Under Essential Element A, Demonstrated Leadership Commitment, the EEO policy statements are
        communicated to all employees and vigorously enforced. Policy statements are also provided to all new
        employees in the employee orientation package. The FAA also will continue to make written materials available to
        employees and applicants on the variety of EEO programs. Supervisors and managers performance standards
        will be revised so that they are evaluated on their commitment to EEO principles and policies. In addition, all
        supervisors and managers are briefed on proper ethics, which includes a reminder of the Conduct and Discipline
        penalties related to EEO matters.
    •   For Essential Element B, Integration of EEO into the Agency’s Strategic Mission, FAA’s reporting structure
        provides its Principal EEO Official with the authority to be effective and to inform the Administrator and senior
        managers regularly on EEO matters. FAA also established a process by which to review personnel policies,
        procedures and practices at regular intervals to assess if there are any barriers to equal employment opportunity.
        FAA will focus on improving collaboration between its EEO and Human Resource functions, especially in the
        areas of data collection. FAA will continue to monitor its compliance with the Uniform Federal Accessibility
        Standards (UFAS) at its facilities. In addition, FAA will develop a schedule to bring noncompliant facilities into
        compliance with UFAS.
    •   Under Essential Element C, Management and Program Accountability, FAA will develop timetables to review its
        Merit Promotion Program Policy and Procedures, Employee Recognition Awards Program and Procedures, and
        Employee Development/Training Programs for any systemic barriers.
    •   Under Essential Element D, Proactive Prevention of Unlawful Discrimination, FAA continues to evaluate whether
        there are barriers that may be impeding the realization of EEO. A process in accordance with the requirements of
        MD 715 will be developed to conduct trend analysis of the workforce’s major occupations by race, national origin,
        sex and disability.
    •   Essential Element E, Efficiency, the FAA has conducted twelve facility audits in an effort to achieve a model EEO
        program and eliminate discrimination under Title VII and the Rehabilitation Act. FAA has identified full-time
        dedicated EEO counselors. Since the implementation of the dedicated EEO counselors, FAA has accomplished
        100% of counseling cases within the established 30 days timeframe, except for those cases where the employee
        engaged in Alternative Dispute Resolution or agreed to an extension. FAA will establish a process to help ensure
        timely compliance with reasonable accommodation requests. In addition, FAA will track recruitment efforts and
        analyze the efforts for any potential barriers.
    •   Lastly, FAA was compliant with regard to Responsiveness and Legal Compliance, Essential Element F. FAA will
        establish a process to ensure compliance with all EEOC orders, completing actions and reporting requirements.




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Workforce Profiles

In the beginning of FY-2007, the FAA employed 44,886 workers compared with 45,414 workers at the end of FY-2007. In
FY-2007 the agency separated 2,684 employees to attrition. For the same timeframe, FAA hired a total of 3,789
employees in permanent and temporary positions. The agency experienced an increase of 528 employees or a net rate of
change of 1.18%.

Among the FAA workforce, the following ethnic/gender groups are above the Civilian Labor Force (CLF) participation
rates: White males, Black males, Asian males, Native Hawaiian or Other Pacific Islander males, and American Indian or
Alaska Native males and females. The following ethnic/gender groups are lower than the expected CLF participation rates:
Hispanic males and females, White females, Black females, Asian females, and Native Hawaiian or Other Pacific Islander
females.

During FY-2007, the number of FAA employees reporting targeted disabilities increased by 14 or a net rate of change of
7.5%. During, FY-2008, FAA will host a National People with Targeted Disabilities Conference sponsored by the FAA
Office of Civil Rights. In addition, FAA will partner with disability employment associations to create a network for
announcing FAA job opportunities to the disability community.

EEO Plan Activities to Eliminate Identified Barriers or Correct Program Deficiencies

FAA identified fifteen program deficiencies in its Self-Assessment. Objectives have been developed (Part H) to address
these deficiencies. Managers/Supervisors Performance Standards will be revised so that their evaluation includes
commitment to agency EEO policies and principles. FAA will focus on improving collaboration between its EEO and
Human Resource functions, especially in the area of data collection. A schedule will be developed for completing
renovation projects at facilities that have been found not to be in compliance with UFAS. In addition, a process will be put
in place to help ensure timely processing of reasonable accommodation requests.

Several Barrier Statements were identified in Part I focusing on recruitment and selection of Aviation Safety Inspectors
(1825s) and Air Traffic Controllers (2152s) to determine if existing policies, procedures, and practices may be a barrier. In
addition, goals have been set using Part J regarding People with Targeted Disabilities in an effort to meet or exceed the
3% hiring goal.

EEO Plan Action Items Implemented or Accomplishments

During the past fiscal year, FAA has implemented a number of initiatives at the corporate level to move the agency forward
in achieving a Model EEO program, as required by MD 715.

With regard to the EEO Complaint Program, FAA established a cadre of six full-time, dedicated EEO Counselors to
conduct all counseling nationwide. This cadre replaced the collateral duty counselors who had been volunteered from the
different FAA organizations. Since the full-time cadre was established, FAA has not had any EEO counseling sessions
extend beyond the 30 days, without an agreed upon extension. The FAA Administrator signed a letter to all managers
encouraging the use of Alternative Dispute Resolution, as a mechanism for resolving EEO complaints. FAA also
established department wide EEO object codes to monitor financial costs incurred as a result of EEO complaints. On
August 20, 2007, the Administrator expanded the availability of the Center for Early Dispute Resolution Pilot Program to
the Aeronautical Center and the geographic area covered by the Air Traffic Organization’s Eastern Service Area, which is
comprised of the U.S. east coast, to ensure early resolution of work place issues.

FAA is hiring approximately 1,000 air traffic controllers each year for the next ten years. As such, FAA has stepped up its
efforts with regard to outreach. FAA attended over 70 career fairs and other outreach events to cultivate relationships and
form partnerships with colleges and universities, as well as organizations that assist the public in seeking employment.
Air Traffic, Civil Rights and Human Resources have established additional positions to lead the recruitment effort and are
tracking the applicant pool. For example, the FAA Assistant Administrator for Civil Rights chairs the DOT Hispanic
Leadership Council, which, in part, led to FAA partnering with the Veterans Administration and the League of United Latin
American Citizens on their Community Partnership Program to recruit veterans.




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During FY 2007 the FAA Office of Civil Rights Selected John Benison to serve as the Manager of its Equal Employment
Opportunity Consulting Group (ACR-6). The FAA National People with Disabilities Program is part of ACR-6. Mr. Benison
is recognized as a National expert on the employment, retention, and accommodation of individuals with disabilities. Prior
to joining FAA, Mr. Benison served as a Senior Advisor on disability matters in the Office of the Secretary at the
Department of Transportation (DOT).

The FAA continues to conduct UFAS/Section 504 Facility Accessibility Surveys throughout its facilities. The Facilities
Accessibility Program Office conducted 94 surveys in FY 2007.

The FAA conducted twelve nationwide facility audits to ensure EEO requirements are being met. The audits involved the
major Lines of Business and Staff Offices.

Executive Summary




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Note: This page has been replaced by pages 61-68.

  EEOC FORM                                         U.S. Equal Employment Opportunity Commission
    715-01                                                    FEDERAL AGENCY ANNUAL
    PART I                                                 EEO PROGRAM STATUS REPORT

FAA, Human Resource Management                                    FY 2007 - Closed
(AHR), Office of Civil Rights (ACR), and Air
Traffic Organization (ATO)

STATEMENT OF CONDITION THAT WAS A TRIGGER FOR                           Low Participation for Job Series 2152
A POTENTIAL BARRIER:                                              Job series 2152, Air Traffic Controller, has a lower than
                                                                  expected participation rate for several ethnic and gender
Provide a brief narrative describing the condition at issue.      categories.


How was the condition recognized as a potential barrier?

BARRIER ANALYSIS:                                                     1.   Analyzing the MD-715 Workforce Table A6,
                                                                           there is a lower than expected participation
Provide a description of the steps taken and data analyzed to              rate in the White Female, Hispanic Female,
determine cause of the condition.                                          Black Male and Female, and Asian Male and
                                                                           Female categories.
                                                                      2.   Analyzing the 2152 New Hires for FY 06 Q1-
                                                                           Q3, the participation rate for the ethnic
                                                                           groups has increased.
                                                                      3.   While final applicant pool data is available,
                                                                           because the 2152 application process is
                                                                           complex there is a need for greater analysis
                                                                           at the different stages of the application
                                                                           process.

STATEMENT OF IDENTIFIED BARRIER:                                  FAA has not been collecting data to determine where
                                                                  applicants for the Air Traffic Controller occupation
Provide a succinct statement of the agency policy, procedure or   are failing in the recruitment and hiring process
practice that has been determined to be the barrier of the        (e.g. recruiting, testing, medical exams,
undesired condition.
                                                                  applications, security, etc.).*

OBJECTIVE:                                                        Establish a process for the systematic collection of
                                                                  applicant pool data by race, national origin and
State the alternative or revised agency policy, procedure or      disability for job series 2152 in the various stages of
practice to be implemented to correct the undesired condition.    the pre-employment process, and to use the data to
                                                                  analyze 2152 data for FY 2007 MD-715.

RESPONSIBLE OFFICIAL:                                             Assistant Administrators for Human
                                                                  Resource Management and Civil Rights
                                                                  and ATO Director, Workforce Services

DATE OBJECTIVE INITIATED:                                         September 1, 2006

TARGET DATE FOR COMPLETION OF OBJECTIVE:                          October 30, 2007




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  EEOC FORM
    715-01                             EEO Plan To Eliminate Identified Barrier
    PART I

          PLANNED ACTIVITIES TOWARD COMPLETION OF OBJECTIVE:
                                                                                     TARGET DATE
                                                                                    (Must be specific)
FAA, AHR, ACR, and ATO

1. AHR and ACR will collaborate to determine what fields should be collected
                                                                               September 1, 2006
for the various stages of the application process in consultation with ATO
Workforce Services.                                                            (Not completed)

2. Finalize collection method and data to be analyzed.                         January 31, 2007
                                                                               (Not completed)

3. Implement the collection process in the 2152 application process.           March 30, 2007
                                                                               (Not completed)

4. Receive quarterly update on data collection and data gathered.              June 15, 2007
                                                                               (Not completed)

5. Compile data into an annual report for use in FY 2007 MD-715.               October 30, 2007
                                                                               See below.

REPORT OF ACCOMPLISHMENTS and MODIFICATIONS TO OBJECTIVE

FY 2007

During FY 2007, ACR expanded its staff to include an Outreach Specialist and AHR expanded
its outreach effort to a team. The major focus during FY 2007 was conducting outreach to
diverse candidate pools for Air Traffic Controller (2152) positions. The major recruiting effort
diverted focus from the objective to establish the tracking system.

FY 2006

November 2006

Activity #1: ACR has collaborated with AHR, in consultation with ATO, in determining that at
several specific stages (Job Fairs, AT-SAT tests, Academy Entrance and Graduation, New
Hires), RNO, Gender, and Disability data should be collected. A tentative data collection
spreadsheet was produced.

Activity #2: The collection spreadsheet was finalized and the data collection process was
initialized.


* FAA has data for certain 2152 applicant sources but not all; therefore it is not possible to state
definitively that the applicant there is lower than expected participation in all of the applicant pools.




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NEW – FY 2008


  EEOC FORM                                         U.S. Equal Employment Opportunity Commission
    715-01                                                    FEDERAL AGENCY ANNUAL
    PART I                                                 EEO PROGRAM STATUS REPORT

FAA, Air Traffic Organization (ATO)                               FY 2007

STATEMENT OF CONDITION THAT WAS A TRIGGER FOR                              Low Participation for Asian Females
A POTENTIAL BARRIER:                                              Job series 2152, Air Traffic Controller, has a lower than
                                                                  expected participation rate for Asian females.
Provide a brief narrative describing the condition at issue.


How was the condition recognized as a potential barrier?

BARRIER ANALYSIS:                                                     1.    In FY ’07, the FAA Asian female workforce
                                                                            participation rate for 2152s is .28%, which is
Provide a description of the steps taken and data analyzed to               lower than the expected Asian female RCLF
determine cause of the condition.                                           rate of 0.43%.
                                                                      2.    In FY ’07, there were 628 Asian female 2152
                                                                            applicants or 0.60% (total applicants,
                                                                            105,242), which is higher than the expected
                                                                            Asian female RCLF rate of 0.43%.
                                                                      3.    In FY ‘07 there were 5 Asian females
                                                                            selected or 0.63% (total selectees: 793),
                                                                            which is higher than the expected Asian
                                                                            female RCLF rate of 0.43%.

STATEMENT OF IDENTIFIED BARRIER:                                  Current recruitment and selection procedures may
                                                                  be a barrier to equal employment for Asian females.
Provide a succinct statement of the agency policy, procedure or
practice that has been determined to be the barrier of the
undesired condition.

OBJECTIVE:                                                        If any barriers are identified in the 2152 job series
                                                                  for Asian females, every appropriate effort will be
State the alternative or revised agency policy, procedure or      made to eliminate such barriers.
practice to be implemented to correct the undesired condition.

RESPONSIBLE OFFICIAL:                                             ATO Director, Workforce Development

DATE OBJECTIVE INITIATED:                                         November 30, 2007


TARGET DATE FOR COMPLETION OF OBJECTIVE:                          September 30, 2008




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  EEOC FORM
    715-01                              EEO Plan To Eliminate Identified Barrier
    PART I

          PLANNED ACTIVITIES TOWARD COMPLETION OF OBJECTIVE:
                                                                                  TARGET DATE
                                                                                 (Must be specific)
FAA, Air Traffic Organization (ATO)

1. AHR and ACR will collaborate determine what fields should be collected
                                                                             September 30, 2008
for the various stages of the application process in consultation with ATO
Workforce Services.

2. Develop an action plan to implement collection process in the 2152        September 30, 2008
application process.


3. Implement FY’08 activities in the action plan.                            September 30, 2008


REPORT OF ACCOMPLISHMENTS and MODIFICATIONS TO OBJECTIVE




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NEW – FY 2008


  EEOC FORM                                         U.S. Equal Employment Opportunity Commission
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    PART I                                                 EEO PROGRAM STATUS REPORT

FAA, Air Traffic Organization (ATO)                               FY 2007

STATEMENT OF CONDITION THAT WAS A TRIGGER FOR                     Low Participation for Black Males and Females
A POTENTIAL BARRIER:                                              Job series 2152, Air Traffic Controller, has a lower than
                                                                  expected participation rate for Black females and males.
Provide a brief narrative describing the condition at issue.


How was the condition recognized as a potential barrier?

BARRIER ANALYSIS:                                                     1.   In FY ’07, the FAA Black workforce
                                                                           participation rate for 2152s is 5.06% (3.96%
Provide a description of the steps taken and data analyzed to              male, 1.10% female), which is lower than
determine cause of the condition.                                          the expected Black RCLF rate of 7.31%
                                                                           (5.37% male, 1.94% female).
                                                                      2.   In FY ’07, there were 30,637 Black 2152
                                                                           applicants or 29.11% (total applicants,
                                                                           105,242), which is higher than the expected
                                                                           Black female RCLF rate of 7.3%.
                                                                      3.   In FY ‘07 there were 54 Blacks selected or
                                                                           6.81% (total selectees: 793), which is lower
                                                                           than the expected Black RCLF rate of 7.31%.

STATEMENT OF IDENTIFIED BARRIER:                                  Current recruitment and selection procedures may
                                                                  be a barrier to equal employment for Blacks.
Provide a succinct statement of the agency policy, procedure or
practice that has been determined to be the barrier of the
undesired condition.

OBJECTIVE:                                                        If any barriers are identified in the 2152 job series
                                                                  for Blacks, every appropriate effort will be made to
State the alternative or revised agency policy, procedure or      eliminate such barriers.
practice to be implemented to correct the undesired condition.

RESPONSIBLE OFFICIAL:                                             ATO Director, Workforce Development

DATE OBJECTIVE INITIATED:                                         November 30, 2007


TARGET DATE FOR COMPLETION OF OBJECTIVE:                          September 30, 2008




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  EEOC FORM
    715-01                              EEO Plan To Eliminate Identified Barrier
    PART I

          PLANNED ACTIVITIES TOWARD COMPLETION OF OBJECTIVE:
                                                                                  TARGET DATE
                                                                                 (Must be specific)
FAA, Air Traffic Organization (ATO)

1. AHR and ACR will collaborate determine what fields should be collected
                                                                             September 30, 2008
for the various stages of the application process in consultation with ATO
Workforce Services.

2. Develop an action plan to implement collection process in the 2152        September 30, 2008
application process.


3. Implement FY’08 activities in the action plan.                            September 30, 2008


REPORT OF ACCOMPLISHMENTS and MODIFICATIONS TO OBJECTIVE




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NEW – FY 2008


  EEOC FORM                                         U.S. Equal Employment Opportunity Commission
    715-01                                                    FEDERAL AGENCY ANNUAL
    PART I                                                 EEO PROGRAM STATUS REPORT

FAA, Air Traffic Organization (ATO)                               FY 2007

STATEMENT OF CONDITION THAT WAS A TRIGGER FOR                              Low Participation for White Females
A POTENTIAL BARRIER:                                              Job series 2152, Air Traffic Controller, has a lower than
                                                                  expected participation rate for White females.
Provide a brief narrative describing the condition at issue.


How was the condition recognized as a potential barrier?

BARRIER ANALYSIS:                                                     1.    In FY ’07, the FAA White female workforce
                                                                            participation rate for 2152s is 13.44%,
Provide a description of the steps taken and data analyzed to               which is lower than the expected White
determine cause of the condition.                                           female RCLF rate of 14.45%.
                                                                      2.    In FY ’07, there were 37,132 White female
                                                                            2152 applicants or 35.28% (total applicants,
                                                                            105,242), which is higher than the expected
                                                                            White female RCLF rate of 14.45%.
                                                                      3.    In FY ‘07 there were 120 White females
                                                                            selected or 15.13% (total selectees: 793),
                                                                            which is higher than the expected White
                                                                            female RCLF rate of 14.45%.

STATEMENT OF IDENTIFIED BARRIER:                                  Current recruitment and selection procedures may
                                                                  be a barrier to equal employment for White females.
Provide a succinct statement of the agency policy, procedure or
practice that has been determined to be the barrier of the
undesired condition.

OBJECTIVE:                                                        If any barriers are identified in the 2152 job series
                                                                  for White females, every appropriate effort will be
State the alternative or revised agency policy, procedure or      made to eliminate such barriers.
practice to be implemented to correct the undesired condition.

RESPONSIBLE OFFICIAL:                                             ATO Director, Workforce Development

DATE OBJECTIVE INITIATED:                                         November 30, 2007


TARGET DATE FOR COMPLETION OF OBJECTIVE:                          September 30, 2008




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  EEOC FORM
    715-01                              EEO Plan To Eliminate Identified Barrier
    PART I

          PLANNED ACTIVITIES TOWARD COMPLETION OF OBJECTIVE:
                                                                                  TARGET DATE
                                                                                 (Must be specific)
FAA, Air Traffic Organization (ATO)

1. AHR and ACR will collaborate determine what fields should be collected
                                                                             September 30, 2008
for the various stages of the application process in consultation with ATO
Workforce Services.

2. Develop an action plan to implement collection process in the 2152        September 30, 2008
application process.


3. Implement FY’08 activities in the action plan.                            September 30, 2008


REPORT OF ACCOMPLISHMENTS and MODIFICATIONS TO OBJECTIVE




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NEW – FY 2008


  EEOC FORM                                         U.S. Equal Employment Opportunity Commission
    715-01                                                    FEDERAL AGENCY ANNUAL
    PART I                                                 EEO PROGRAM STATUS REPORT

FAA, Air Traffic Organization (ATO)                               FY 2007

STATEMENT OF CONDITION THAT WAS A TRIGGER FOR                          Low Participation for Hispanic Females
A POTENTIAL BARRIER:                                              Job series 2152, Air Traffic Controller, has a lower than
                                                                  expected participation rate for Hispanic females.
Provide a brief narrative describing the condition at issue.


How was the condition recognized as a potential barrier?

BARRIER ANALYSIS:                                                     1.   In FY ’07, the FAA Hispanic female workforce
                                                                           participation rate for 2152s is 0.81%, which
Provide a description of the steps taken and data analyzed to              is lower than the expected Hispanic female
determine cause of the condition.                                          RCLF rate of 0.98%.
                                                                      2.   In FY ’07, there were 1094 qualified Hispanic
                                                                           female 2152 applicants or 1.04% (total
                                                                           qualified applicants, 105,242), which is
                                                                           higher than the expected Hispanic female
                                                                           RCLF rate of 0.98%.
                                                                      3.   In FY ‘07 there were 10 Hispanic females
                                                                           selected or 1.26% (total selectees: 793),
                                                                           which is higher than the expected Hispanic
                                                                           female RCLF rate of 0.98%.

STATEMENT OF IDENTIFIED BARRIER:                                  Current recruitment and selection procedures may
                                                                  be a barrier to equal employment for Hispanic
Provide a succinct statement of the agency policy, procedure or   females.
practice that has been determined to be the barrier of the
undesired condition.

OBJECTIVE:                                                        If any barriers are identified in the 2152 job series
                                                                  for Hispanic females, every appropriate effort will be
State the alternative or revised agency policy, procedure or      made to eliminate such barriers.
practice to be implemented to correct the undesired condition.

RESPONSIBLE OFFICIAL:                                             ATO Director, Workforce Development

DATE OBJECTIVE INITIATED:                                         November 30, 2007


TARGET DATE FOR COMPLETION OF OBJECTIVE:                          September 30, 2008




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  EEOC FORM
    715-01                              EEO Plan To Eliminate Identified Barrier
    PART I

          PLANNED ACTIVITIES TOWARD COMPLETION OF OBJECTIVE:
                                                                                  TARGET DATE
                                                                                 (Must be specific)
FAA, Air Traffic Organization (ATO)

1. AHR and ACR will collaborate determine what fields should be collected
                                                                             September 30, 2008
for the various stages of the application process in consultation with ATO
Workforce Services.

2. Develop an action plan to implement collection process in the 2152        September 30, 2008
application process.


3. Implement FY’08 activities in the action plan.                            September 30, 2008


REPORT OF ACCOMPLISHMENTS and MODIFICATIONS TO OBJECTIVE




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                                                                             O
                                                            Federal Aviation
                                                            Administration




                 Federal Aviation Administration (FAA)

                 Annual EEO Program
                 Status Report
                 Fiscal Year

                 2011


                                           Prepared by FAA
                                           Office of Civil Rights 2011
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        EEOC Forms and Documents Included in this Report


• EEOC (Form 715-01 Part A-D)                                      Tab 1

• FAA Executive Summary (Form 715-01 Part E)                       Tab 2

• FAA Statement of Establishment of Continuing
  EEO Programs (Form 715-01 Part F)                               Tab 3

• FAA Policy Statements                                           Tab 4

• FAA Annual Self-Assessment Checklist of
  Essential Elements (Form 715-01 Part G)                         Tab 5

• FAA EEO Plan to obtain the Essential Elements
  of a Model EEO Program (Form 715-01 Part H)                     Tab 6

• FAA EEO Plan to Eliminate Identified Barrier
  (Form 715-01 Part I)                                            Tab 7

• FAA Special Program Plan for Recruitment, Hiring,
  and Advancement of Individuals with Targeted
  Disabilities for Agencies with 1000 or more
  Employees (Form 715-01 Part J)                                   Tab 8

• FAA Workforce Data Tables (“A” Tables)                          Tab 9

• FAA Disability Workforce Data Tables (“B” Tables)              Tab 10

• FAA 462 Report                                                 Tab 11

• FAA UFAS/Section 504 Rehabilitation Act Assessment             Tab 12

• FAA Organization Chart                                         Tab 13
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                           TAB 1
                              Parts A-D
                         Agency Information
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                                             FIRES Exercise

                                  Department of Transportation

                            DOT Federal Aviation Administration

                                              MD715 - 2011

                                                     Parts

                                           PARTS A Through E

Enter your Agency or Component data for PARTs A through E below.

In PART E, the Executive Summary should be as short and concise as possible. Extraneous information, such as a
complete iteration of the agency's strategic plan, should not be included in the Executive Summary. Remember that
the Executive Summary is intended to be an introductory summary which catches the attention of the agency's top
managers and supervisors. This is to ensure their understanding of the agency's overall EEO program direction and
of their expected contributions necessary for the agency to become a Model Employer.

PART A - Department or Agency Identifying Information

                                                                                  Zip
                                                                                        CPDF
                    Second Level                                                 Code          FIPS
    Agency                                 Address             City       State          Code
                     Component                                                  (xxxxx-        Code
                                                                                        (xxxx)
                                                                                 xxxx)
               DOT Federal    800
Department of
               Aviation       Independence Washington DC                          20591
Transportation
               Administration Avenue SW

PART B - Total Employment

    Total                Permanent             Temporary            Non-Appropriated             Total
  Employment             Workforce             Workforce               Workforce                Workforce
Number of
                      47415                 847                   0                           48262
Employees

PART C.1 - Head of Agency and Head of Agency Designee

  Agency Leadership                  Name                                      Title
                              Michael P.
Head of Agency                                      Acting Administrator
                              Huerta

                                                                                                                1
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  Agency Leadership            Name                              Title
Head of Agency                             Acting Assistant Administrator, Office of Civil
                           Mamie Mallory
Designee                                   Rights

PART C.2 - Agency Official(s) Responsible For Oversight of EEO Program(s)

                                                           Pay   Phone
                                                          Plan Number
EEO Program                                Occupational
                  Name           Title                     and   (xxx-               Email Address
   Staff                                   Series (xxxx)
                                                         Grade    xxx-
                                                         (xx-xx) xxxx)
                             Acting
                             Assistant                            202-
Principal EEO     Mamie
                             Administrator, 0340           EV/SES 267-         Mamie.Mallory@faa.gov
Director/Official Mallory
                             Office of                            3254
                             Civil Rights
Title VII
                             Director,                               202-
Affirmative      Bobbie
                             Model EEO     0260            K band    267-      Bobbie.Moore@faa.gov
EEO Program      Moore
                             Program                                 7442
Official
Section 501
                             Director, EEO                           202-
Affirmative    Miriam
                             Outreach      0260            K band    385-      Miriam.Vega@faa.gov
Action Program Vega
                             Program                                 8440
Official
Complaint
                             Director, EEO                           609-
Processing       Cheryl
                             Complaint     0260            K band    485-      Cheryl.Wilkes@faa.gov
Program          Wilkes
                             Services                                6676
Manager
                          Manager,
Hispanic
                          Hispanic                                   202-
Program          Kimberly
                          Employment       0260            H band    385-      Kimberly.Castillo@faa.gov
Manager          Castillo
                          Program                                    8130
(SEPM)
                          (HEP)
                             Manager,
Women's
                             Federal                                 202-
Program          Deena
                             Women’s       0260            J band    385-      Deena.Collier@faa.gov
Manager          Collier
                             Program                                 8128
(SEPM)
                             (FWP)
Disability       Michael     Manager,                                202-
                                           0260            H band              Michael.Looney@faa.gov
Program          Looney      People with                             385-


                                                                                             2
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                                                             Pay   Phone
                                                            Plan Number
EEO Program                                  Occupational
                     Name        Title                       and   (xxx-             Email Address
   Staff                                     Series (xxxx)
                                                           Grade    xxx-
                                                           (xx-xx) xxxx)
Manager                      Disability                               8127
(SEPM)                       Program
                             (PWD)
                           Director,
                                                                      609-
ADR Program       Harnetta National EEO
                                        0260                 K band   485-      Harnetta.Williams@faa.gov
Manager           Williams Policy and
                                                                      6676
                           ADR
                             Director, EEO                            609-
Compliance        Cheryl
                             Complaint     0260              K band   485-      Cheryl.Wilkes@faa.gov
Manager           Wilkes
                             Services                                 6676
Principal MD-     Yvette     Principal MD-                            202-
                                           0343              J band           Yvette.Aine@faa.gov
715 Preparer      Aine       715 Preparer                             2679928

PART D.2 - Forms/Documents Included with This Report

                                                              (Please respond
     Is the following Form or Document Uploaded?                                 Comments
                                                              "Yes" or "No")
PART F - Statement of Establishment of Continuing EEO
                                                             Yes
Programs
EEO Policy Statement Issued During Reporting Period          Yes
Facility Accessibility Survey Results Necessary to Support
                                                             Yes
EEO Action Plan for Building Renovation Projects
Organizational Chart                                         Yes
FEORP Report                                                 No
Anti-Harassment Policy and Procedures                        Yes
Diversity Policy Statement                                   No
Strategic Plan (excerpts of EEO goal only)                   No
Human Capital Strategic Plan                                 No
EEO Strategic Plan                                           No
Federal Employee Viewpoint Survey or Annual Employee
                                                             No
Survey

                                                                                            3
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                          TAB 2
                                Part E
                         Executive Summary
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PART E.1 - Executive Summary: Mission

The Federal Aviation Administration (FAA) is a component of the U. S. Department of
Transportation (DOT). Its continuing mission is to provide the safest, most efficient aerospace
system in the world. To ensure the success of our mission, the FAA is committed to achieving
organizational excellence in managing its human resources. Our vision is to strive to reach the
next level of safety, efficiency, environmental responsibility and global leadership. We are
accountable to the American public and our stakeholders. Our values are the following: “Safety
is our passion; excellence is our promise; integrity is our touchstone; people are our strength; and
innovation is our signature.”

Results of the Agency’s Annual Self-Assessment

The FAA FY 2011 Annual Equal Employment Opportunity (EEO) Program Status Report has
three purposes. First, the report identifies program deficiencies and barriers to achieving a Model
EEO Program. Second, the report delineates the planned actions necessary to address and/or
eliminate the program deficiencies and barriers. Finally, the report outlines the agency’s
accomplishments toward rectifying the program deficiencies and barriers. An analysis of the
FAA workforce for FY 2011 was conducted to complete this report.

The agency has conducted its annual self-assessment against the MD 715 “Essential Elements.”
The following highlights the agency’s FY 2011 activities in support of a Model EEO Program.

PART E.2 - Executive Summary: Essential Element A

·      In May 2011, Administrator Babbitt affirmed his commitment to EEO and diversity at the
FAA by issuing his policy statements in support of EEO, diversity, and a workplace free of
discriminatory harassment.

·       EEO policy statements were communicated to all employees including notification that
the policies would be vigorously enforced.

·       Agency senior executives and managers were evaluated on the EEO critical element in
their performance plans.

PART E.3 - Executive Summary: Essential Element B

·        FAA continues to evaluate whether barriers may be impeding the realization of a Model
EEO Program. The FAA’s tracking of employment data will allow us to conduct thorough
statistical analyses looking at the detrimental impact of policies, practices, and procedures on the
goal of a Model EEO Program.

PART E.4 - Executive Summary: Essential Element C

·     The DOT average for formal complaints is 0.60%. The FAA formal complaint average is
0.54%.

                                                                                                   4
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PART E.5 - Executive Summary: Essential Element D

·       FAA continues to evaluate whether barriers may be impeding the realization of a Model
EEO Program. The FAA’s tracking of employment data will allow us to conduct thorough
statistical analyses looking at the detrimental impact of policies, practices, and procedures on the
goal of a Model EEO Program.

PART E.6 - Executive Summary: Essential Element E

·     ACR offered alternative dispute resolution (ADR) to employees who filed complaints and
processed 100% of all pre-complaints timely. ADR usage has continued to increase from27.7%
in FY 2010 to 28.3% in FY 2011.

·    ACR performs EEO counseling through full-time dedicated counselors employed by the
FAA.

 ·      FAA utilized the OPM Employee Viewpoint Survey to gather feedback on the services
provided to the workforce. This annual survey allows Federal employees to express their views
on the implementation of human capital management practices such as: Recruitment and
Retention of Qualified Talent, Performance Management, Leadership, Rewards and Recognition,
Training and Development, and Work/Life Balance.

PART E.7 - Executive Summary: Essential Element F

·      FAA posted statistical complaint data on the website in compliance with the No FEAR
Act.

·     FAA holds agency personnel accountable for ensuring compliance with EEOC orders,
completing actions, and reporting requirements.

PART E.8 - Executive Summary: Workforce Analyses

In the beginning of FY 2011, the FAA employed 48,648 workers compared with 48,262 workers
at the end of FY 2011. In FY 2011, the agency lost 2,367 employees to attrition. In the same
timeframe, FAA hired a total of 2,306 employees in permanent and temporary positions.
Therefore, during the course of FY 2011, the agency’s workforce decreased by 386 employees
for a -0.79% net rate of change.

Among the FAA workforce, the following race/ethnic/gender groups are above or equal to the
Civilian Labor Force (CLF) participation rates: White males, Black males, Asian males, Native
Hawaiian or Other Pacific Islander males and females, and American Indian or Alaska Native
males and females. From FY10 to FY11 the following race/ ethnic/gender groups are lower than
the expected CLF participation rates with Net Changes at FAA: Hispanic males (On-Board:
4.95%, CLF: 6.17%, Net Change: 2.57%) and Hispanic females (On-Board: 1.64%, CLF: 4.52%,
Net Change: -0.50%), White females (On-Board: 17.02%, CLF: 33.74%, Net Change: -1.39%),
Black females (On-Board: 4.42%, CLF: 5.66%, Net Change: -0.88%), Asian females (On-Board:

                                                                                                   5
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1.03%, CLF: 1.71%, Net Change: -0.20%), Two-or–more-races males (On-Board: 0.57%, CLF:
0.88%, Net Change 22.42%) and Two-or-more-races females (On-Board: 0.17%, CLF: 0.76%,
Net Change 12.16%).

Note that although Hispanic males and Two-or-more-races males and females had a participation
rate below the National 2000 CLF, their participation rate increased at the FAA during FY 2011.
During FY 2011, the number of FAA permanent and temporary employees reporting targeted
disabilities reflects a positive change of 12 employees (FAA On-Board: 0.59% versus the
Federal High: 2.95%--although below the Federal High the FAA resulted in a net change of
4.41%).

PART E.9 - Executive Summary: Accomplishments

During the past fiscal year, FAA had the following accomplishments at the corporate level to
move the agency closer to achieving MD 715’s Model EEO program:

The FAA’s onboard rate of PWTD increased from .56% in FY 10 to .59% in FY 11.

During FY11, the FAA Office of Civil Rights collaborated with the FAA Office of Human
Resource Management (AHR), the Department of Transportation (DOT) Office of Civil Rights
and Human Resources to develop our strategic plan for Executive Order 13548: Increasing
Federal Employment of People with Disabilities. DOT’s plan was submitted to OPM for
approval on April 11, 2011. DOT’s plan included specific hiring goals for people with
disabilities and a sub goal for people with targeted disabilities. Also included is a proposed
training module for all AHR specialists on the schedule A hiring authority. FAA’s AHR and
ACR collaborated on creating a proposed training module for AHR specialists on the On-the-
Spot hiring authority.

During FY 11, the FAA processed 85% of reasonable accommodation requests within the 25
business day time frame set forth in our reasonable accommodation procedures. This is an
increase from FY 10 when we processed 80% of reasonable accommodations requests within 25
business days.

EEO Training Institute

During FY 2011, ACR delivered 384 training sessions to 5,286 managers and employees.
Additionally, of the 1,079 new Air Traffic Controllers and Technical Operation students hired,
1,012 (93.7%) of them received training at the EEO Training Institute.

Outreach Events

In FY 2011, the FAA ACR Outreach Team collaborated with AHR and all of the Agency lines of
business/staff offices (LOB/SO) participated in 114 outreach events targeting women,
Hispanics/Latinos, and people with disabilities. During the events, the Agency collected 7,511
signatures from attendees with expressed interest in specific job areas. In FY 2011, FAA ACR
also purchased advertisement space in the IMAGE, Inc. Conference Program, an article in the

                                                                                                 6
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Latina Style Magazine, and a permanent on-line FAA advertisement in the Hispanic Network
Magazine, Professionals Women Magazine, Black Equal Opportunity Employment Magazine,
and the Asian American, African American, Hispanic, and Arab Yearbooks (TIYM P Publishing
Company).

PART E.10 - Executive Summary: Planned Activities

The FAA identified program deficiencies in its Self-Assessment. Please see part H for the
Agency’s plan for addressing these deficiencies. The FAA has developed a process in
accordance with the requirements of MD 715 to conduct additional trend analyses of the
workforce’s major occupations by race, national origin, sex and disability based upon the data
gathered in the refined data tracking system. The FAA will also continue to monitor its
compliance with the Uniform Federal Accessibility Standards (UFAS) at its facilities. In
addition, the Agency implemented a process for timely processing of reasonable accommodation
requests.

Several Barrier Statements were identified in Part I, focusing on recruitment and selection of
Aviation Safety Inspectors (1825), Air Traffic Controllers (2152), and Transportation Specialists
(2101) to determine if existing policies, procedures, and practices need to be modified. In
addition, goals have been set using Part J, regarding People with Targeted Disabilities in an
effort to meet or exceed the 3% hiring goal.




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                          TAB 3
                                Part F
                            Certification
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                          TAB 7
                                Part I
                          Barrier Analysis
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                PART I.1 - Agency EEO Plan to Eliminate Identified Barrier

Statement of Condition That Was a Trigger for a Potential Barrier:

                     Specific Workforce    Row within Identified
  Source of the                                                       Narrative Description
                       Data Table (if      Workforce Data Table
    Trigger                                                                of Trigger
                        applicable)           (if applicable)
Workforce Data                             Aviation Safety            Lower than expected
Tables (See tables   Table A6/B6           Inspector (1825) Major     participation rate in
below)                                     Occupation                 several categories

EEO Group(s) Affected by Trigger

                           EEO Group                                Affected By Trigger?
All Men
All Women                                                       Yes
Hispanic or Latino Males                                        Yes
Hispanic or Latino Females
White Males
White Females
Black or African American Males                                 Yes
Black or African American Females
Asian Males
Asian Females
Native Hawaiian or Other Pacific Islander Males
Native Hawaiian or Other Pacific Islander Females
American Indian or Alaska Native Males
American Indian or Alaska Native Females
Two or More Races Males
Two or More Races Females
Individuals with Targeted Disabilities




                                                                                              35
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Barrier Analysis Process

                                               Has Source Been          Identify Information
             Sources of Data
                                                 Reviewed?                    Collected
Workforce Data Tables Reviewed               Yes
Complaint Data (i.e., Trends, Findings of
                                             No
Discrimination, etc.)
Grievance Data                               No
Climate Assessment Survey                    Yes
Exit Interview Data                          Yes
Interviews                                   Yes
Applicable Policies and Procedures           No
Reports (OIG, EEOC, MSPB, GAO, etc.)         No
Other (Please Describe)                      No

Status of Barrier Analysis Process

          Barrier Analysis Process Completed?                    Barrier(s) Identified?
No                                                          No

Statement of Identified Barrier(s)

     Types of Barrier                Description of Policy, Procedure, or Practice
None                       Barrier Analysis Process is not completed.

Objective(s) and Dates for EEO Plan

                                                   Target Date for
                            Date Objective                                  Date Objective
                                                   Completion of
        Objective             Initiated                                      Completed
                                                     Objective
                            (mm/dd/yyyy)                                    (mm/dd/yyyy)
                                                   (mm/dd/yyyy)
 Conduct a barrier
analysis of the 1825      3/1/2012             09/30/2013
occupational series.
Develop a plan to         3/1/2012             09/30/2014


                                                                                               36
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                                                    Target Date for
                            Date Objective                                    Date Objective
                                                    Completion of
       Objective              Initiated                                        Completed
                                                      Objective
                            (mm/dd/yyyy)                                      (mm/dd/yyyy)
                                                    (mm/dd/yyyy)
eliminate, when
possible any identified
barriers.

Responsible Official(s)

                   Title                                          Name
Associate Administrator for Aviation      Margaret Gilligan, Associate Administrator for
Safety / Assistant Administrator for      Aviation Safety (AVS)/ Mamie Mallory, Acting
Civil Rights and FAA Diversity            Assistant Administrator for Civil Rights and FAA
Advocate                                  Diversity Advocate

Planned Activities Toward Completion of Objective

                                                                                 Completion
                             Target Date      Modified Date
   Planned Activities                                       Completed?             Date
                            (mm/dd/yyyy)      (mm/dd/yyyy)
                                                                                (mm/dd/yyyy)
Review the results of
trend analysis conducted
of the 1825 occupational 09/30/2012                             No
series to identify any
potential barriers.
Complete barrier
analysis of 1825           09/30/2013                           No
occupational series.
Develop a plan to
eliminate when possible    09/30/2014                           No
any identified barriers.

Report of Accomplishments and Modifications to Objective

Participated in a trend analysis of the 1825 occupational series. The trend analysis is scheduled
for completion FY2012.

                PART I.2 - Agency EEO Plan to Eliminate Identified Barrier

Statement of Condition That Was a Trigger for a Potential Barrier:

                                                                                                37
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                     Specific Workforce    Row within Identified
  Source of the                                                        Narrative Description
                       Data Table (if      Workforce Data Table
    Trigger                                                                 of Trigger
                        applicable)           (if applicable)
Workforce Data                             Air Traffic Control         Lower than expected
Tables (See tables   Table A6/B6           Specialist (2152) Major     participation rate in
below)                                     Occupation                  several categories

EEO Group(s) Affected by Trigger

                           EEO Group                                 Affected By Trigger?
All Men
All Women
Hispanic or Latino Males
Hispanic or Latino Females
White Males
White Females                                                    Yes
Black or African American Males                                  Yes
Black or African American Females                                Yes
Asian Males
Asian Females                                                    Yes
Native Hawaiian or Other Pacific Islander Males
Native Hawaiian or Other Pacific Islander Females
American Indian or Alaska Native Males
American Indian or Alaska Native Females
Two or More Races Males                                          Yes
Two or More Races Females                                        Yes
Individuals with Targeted Disabilities                           Yes

Barrier Analysis Process

                                               Has Source Been          Identify Information
              Sources of Data
                                                 Reviewed?                    Collected
Workforce Data Tables Reviewed               Yes

                                                                                               38
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                                                 Has Source Been         Identify Information
              Sources of Data
                                                   Reviewed?                   Collected
Complaint Data (i.e., Trends, Findings of
                                              No
Discrimination, etc.)
Grievance Data                                No
Climate Assessment Survey                     No
Exit Interview Data                           No
Interviews                                    No
Applicable Policies and Procedures            No
Reports (OIG, EEOC, MSPB, GAO, etc.)          No
Other (Please Describe)                       No

Status of Barrier Analysis Process

          Barrier Analysis Process Completed?                      Barrier(s) Identified?
No                                                           No

Statement of Identified Barrier(s)

     Types of Barrier                 Description of Policy, Procedure, or Practice
None                        Barrier Analysis Process has not been completed.

Objective(s) and Dates for EEO Plan

                                                       Target Date for
                                  Date Objective                               Date Objective
                                                       Completion of
          Objective                 Initiated                                   Completed
                                                         Objective
                                  (mm/dd/yyyy)                                 (mm/dd/yyyy)
                                                       (mm/dd/yyyy)
Review and analyze current
Outreach plan and
recruitment and selection       11/30/2007          09/30/2012
process to determine if there
are any barriers to EEO.
Eliminate, when possible,
                                11/30/2007          09/30/2012
any barriers to EEO.



                                                                                                39
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Responsible Official(s)

                            Title                                          Name
ACR, EEO Outreach Office, ACR-7, in Consultation Miriam Vega, Director, EEO Outreach
with ATO                                         Program

Planned Activities Toward Completion of Objective

                                                                                   Completion
                                Target Date     Modified Date
   Planned Activities                                         Completed?             Date
                               (mm/dd/yyyy)     (mm/dd/yyyy)
                                                                                  (mm/dd/yyyy)
Review and analyze
current Outreach plan
and recruitment and
                              09/30/2012       09/30/2010         No
selection process to
determine if there are
any barriers to EEO.
Eliminate, when
possible, any barriers to     09/30/2012       09/30/2010         No
EEO.

Report of Accomplishments and Modifications to Objective

ATO is focusing on reviewing, analyzing, and researching its Outreach Plan along with the
recruitment and selection process to determine if there are any barriers to EEO. A barrier
analysis for this MCO is scheduled for completion in FY2012.

                PART I.3 - Agency EEO Plan to Eliminate Identified Barrier

Statement of Condition That Was a Trigger for a Potential Barrier:

                      Specific Workforce  Row within Identified                   Narrative
  Source of the
                        Data Table (if   Workforce Data Table (if               Description of
    Trigger
                         applicable)          applicable)                          Trigger
Workforce Data                                                               Lower than expected
                                              Airway Transportation
Tables (See tables   Table A6/B6                                             for females in this
                                              System Specialist (2101)
below)                                                                       occupation.

EEO Group(s) Affected by Trigger

                             EEO Group                                   Affected By Trigger?

                                                                                                   40
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                           EEO Group                              Affected By Trigger?
All Men
All Women                                                       Yes
Hispanic or Latino Males
Hispanic or Latino Females
White Males
White Females
Black or African American Males
Black or African American Females
Asian Males
Asian Females
Native Hawaiian or Other Pacific Islander Males
Native Hawaiian or Other Pacific Islander Females
American Indian or Alaska Native Males
American Indian or Alaska Native Females
Two or More Races Males
Two or More Races Females
Individuals with Targeted Disabilities




Barrier Analysis Process

                                              Has Source Been         Identify Information
              Sources of Data
                                                Reviewed?                   Collected
Workforce Data Tables Reviewed              Yes
Complaint Data (i.e., Trends, Findings of
Discrimination, etc.)
Grievance Data
Climate Assessment Survey
Exit Interview Data


                                                                                             41
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                                                 Has Source Been         Identify Information
              Sources of Data
                                                   Reviewed?                   Collected
Interviews
Applicable Policies and Procedures
Reports (OIG, EEOC, MSPB, GAO, etc.)
Other (Please Describe)

Status of Barrier Analysis Process

          Barrier Analysis Process Completed?                      Barrier(s) Identified?
No                                                           No

Statement of Identified Barrier(s)

     Types of Barrier                  Description of Policy, Procedure, or Practice
None                         Barrier Analysis has not been completed.

Objective(s) and Dates for EEO Plan

                                                       Target Date for
                                   Date Objective                             Date Objective
                                                       Completion of
          Objective                  Initiated                                 Completed
                                                         Objective
                                   (mm/dd/yyyy)                               (mm/dd/yyyy)
                                                       (mm/dd/yyyy)
Review and analyze current
Outreach plan and
recruitment and selection         10/01/2009         09/30/2012
process to determine if there
are any barriers to EEO.
Eliminate, when possible,
any identified barriers to        10/01/2009         09/30/2012
EEO.

Responsible Official(s)

                          Title                                          Name
ACR, EEO Outreach Office, ACR-7, in Consultation Miriam Vega, Director, EEO Outreach
with ATO                                         Program


                                                                                                42
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Planned Activities Toward Completion of Objective

                                                                               Completion
                            Target Date      Modified Date
   Planned Activities                                      Completed?            Date
                           (mm/dd/yyyy)      (mm/dd/yyyy)
                                                                              (mm/dd/yyyy)
Review and analyze
current Outreach plan
and recruitment and
                           09/30/2012       10/01/2009         No
selection process to
determine if there are
any barriers to EEO.
Eliminate, when
possible, any identified   09/30/2012       10/01/2009         No
barriers to EEO.

Report of Accomplishments and Modifications to Objective

ATO is focusing on reviewing, analyzing, and researching its Outreach plan along with the
recruitment and selection process to determine if there are any barriers to EEO. A barrier
analysis is scheduled for completion in FY12.




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                          TAB 9
              Tables by RNO and Gender A1-A14
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List of Workforce Data Tables
"A" Tables Description                                                                          Comments
Table A1       Total Workforce - Distribution by Race/Ethnicity and Sex
                                                                                                Data Provided
Table A2       Permanent Workforce By Component - Distribution by Race/Ethnicity and Sex        Not Applicable to the
                                                                                                FAA
Table A3-1     Occupational Categories - Distribution by Race/Ethnicity and Sex
                                                                                                Data Provided
Table A3-2     Occupational Categories - Distribution by Race/Ethnicity and Sex
                                                                                                Data Provided
Table A4-1     Participation Rates For General Schedule Grades - Distribution by
               Race/Ethnicity and Sex                                                           Data Provided
Table A4-2     Participation Rates For General Schedule (GS) Grades by Race/Ethnicity and
               Sex                                                                              Data Provided
Table A5-1     Participation Rates For Wage Grades by Race/Ethnicity and Sex
                                                                                                Data Provided
Table A5-2     Participation Rates For Wage Grades by Race/Ethnicity and Sex
                                                                                                Data Provided
Table A5NS-1   Participation Rates for Non-Supervisory Wage Grades - Distribution by
               Race/Ethnicity and Sex                                                           Data Provided
Table A5NS-2   Participation Rates for Non-Supervisory Wage Grades - Distribution by
               Race/Ethnicity and Sex - Permanent Workforce
                                                                                                Data Provided
Table A5S-1    Participation Rates for Supervisory Wage Grades - Distribution by
               Race/Ethnicity and Sex                                                           Data Provided
Table A5S-2    Participation Rates for Supervisory Wage Grades - Distribution by
               Race/Ethnicity and Sex                                                           Data Provided
Table A6       Participation Rates for Major Occupations - Distribution by Race/Ethnicity and
               Sex                                                                              Data Provided
Table A7       Hires for Major Occupations Distribution by Race/Ethnicity and Sex
                                                                                                Data Provided
Table A8       New Hires by Type of Appointment - Distribution by Race/Ethnicity and Sex        Data Provided
Table A9       Selections for Internal Competitive Promotions for Major Occupations by
               Race/Ethnicity and Sex                                                           Not Available
Table A10      Non-Competitive Promotions - Time in Grade - Distribution by Race/Ethnicity
               and Sex                                                                          Data Provided
Table A11      Internal Selections for Senior Level Positions (GS 13, GS 14, GS 15, and SES)
               by Race/Ethnicity and Sex                                                        Not Available
Table A12      Participation in Career Development by Race/Ethnicity and Sex
                                                                                                Not Available
Table A13      Employee Recognition and Awards - Distribution by Race/Ethnicity and Sex         Data Provided
Table A14      Separations by Type of Separation - Distribution by Race/Ethnicity and Sex  Data Provided
**This is a statistical snapshot of the workforce demographics. Conclusions concerning the existence of
workplace barriers must not be drawn from gross numerical assessments. The use of this data in any
employment decision is PROHIBITED without the express written authorization of the Deputy Chief Counsel,
AGC-2.
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                                                                         DOT FAA FEDERAL AVIATION ADMINISTRATION Pay Period 201120

                                     Table A6: PARTICIPATION RATES FOR MAJOR OCCUPATIONS - Distribution by Race/Ethnicity and Sex - Permanent Workforce
Job Title/Series Agency                                         RACE/ETHNICITY
Rate Occupational CLF                                                                 Non- Hispanic or
                                                                                      Latino
                                                                                                            Black or                                    Native Hawaiian or      American Indian or
                                    TOTAL EMPLOYEES             Hispanic or Latino    White                 African American      Asian                 Other Pacific Islander Alaska Native         Two or more races
                                    All     male      female    male      female      male       female     male        female    male       female     male           female male          female male       female
                                  #   1709       1195       514        63          22        908        344         119        95         70         39              4        0          20      14        11         0
INFORMATION TECHNOLOGIST (0334)   % 100% 69.92% 30.08%             3.69%      1.29% 53.13%          20.13%       6.96%     5.56%      4.10%      2.28%         0.23% 0.00%           1.17% 0.82%       0.64%     0.00%
Occupational CLF                  # 100% 66.73% 33.00%             3.14%      1.55% 50.42%          24.73%       4.29%     3.48%      7.40%      2.89%         0.05% 0.02%           0.24% 0.11%       1.23%     0.45%
                                  #     844       713       131        52          11        494         64          62        36         98         18              0        0           5        2        2         0
GENERAL ENGINEERING (0801)        % 100% 84.48% 15.52%             6.16%      1.30% 58.53%           7.58%       7.35%     4.27% 11.61%          2.13%         0.00% 0.00%           0.59% 0.24%       0.24%     0.00%
Occupational CLF                  # 100% 89.58% 10.30%             3.19%      0.60% 71.83%           7.15%       3.04%     0.77%      9.92%      1.63%         0.09% 0.01%           0.21% 0.05%       1.32%     0.18%
                                  #     405       350        55        39           6        241         33          21         8         42          8              2        0           1        0        4         0
CIVIL ENGINEERING (0810)          % 100% 86.42% 13.58%             9.63%      1.48% 59.51%           8.15%       5.19%     1.98% 10.37%          1.98%         0.49% 0.00%           0.25% 0.00%       0.99%     0.00%
Occupational CLF                  # 100% 89.83% 10.02%             3.71%      0.61% 74.05%           7.53%       2.91%     0.62%      7.44%      1.09%         0.03% 0.01%           0.33% 0.08%       1.37%     0.21%
                                  #     834       750        84        53          12        469         34          65        15        151         22              1        0          11        1        0         0
ELECTRONICS ENGINEERING (0855)    % 100% 89.93% 10.07%             6.35%      1.44% 56.24%           4.08%       7.79%     1.80% 18.11%          2.64%         0.12% 0.00%           1.32% 0.12%       0.00%     0.00%
Occupational CLF                  # 100% 91.28%          8.60%     3.63%      0.45% 72.08%           5.51%       3.55%     0.92% 10.47%          1.62%         0.05% 0.01%           0.23% 0.03%       1.31%     0.16%
                                  #     763       653       110        33           8        494         80          38         9         79         13              1        0           4        0        4         0
AEROSPACE ENGINEERING (0861)      % 100% 85.58% 14.42%             4.33%      1.05% 64.74%          10.48%       4.98%     1.18% 10.35%          1.70%         0.13% 0.00%           0.52% 0.00%       0.52%     0.00%
Occupational CLF                  # 100% 90.92%          8.97%     4.10%      0.54% 74.25%           6.47%       2.56%     0.66%      8.25%      1.20%         0.15% 0.00%           0.24% 0.03%       1.39%     0.16%
GENERAL INSPECTION, INVESTIGATION #     458       283       175        37          12        201        104          28        48         12          6              0        3           4        1        1         1
& COMPLIANCE (1801)               % 100% 61.79% 38.21%             8.08%      2.62% 43.89%          22.71%       6.11% 10.48%         2.62%      1.31%         0.00% 0.66%           0.87% 0.22%       0.22%     0.22%
Occupational CLF                  # 100% 52.87% 46.74%             4.17%      3.52% 41.33%          34.08%       4.47%     6.95%      1.66%      1.41%         0.06% 0.05%           0.39% 0.44%       0.82%     0.65%
                                  #   4320       3989       331       230          13      3439         293         188        12         58          6              9        3          49        4       16         0
AVIATION SAFETY INSPECTOR (1825)  % 100% 92.34%          7.66%     5.32%      0.30% 79.61%           6.78%       4.35%     0.28%      1.34%      0.14%         0.21% 0.07%           1.13% 0.09%       0.37%     0.00%
Occupational CLF                  # 100% 83.79% 15.90%             7.32%      1.65% 65.29%          10.99%       7.69%     2.72%      1.64%      0.31%         0.10% 0.00%           0.51% 0.18%       1.26%     0.31%
AIRWAY TRANSPORTATION SYSTEMS     #   6164       5619       545       509          36      4208         371         499        84        221         34            25         2          99      10        58         8
SPECIALIST (2101)                 % 100% 91.16%          8.84%     8.26%      0.58% 68.27%           6.02%       8.10%     1.36%      3.59%      0.55%         0.41% 0.03%           1.61% 0.16%       0.94%     0.13%
Occupational CLF                  # 100% 43.42% 56.05%             4.74%      5.27% 30.24%          39.74%       4.89%     7.79%      2.57%      2.34%         0.07% 0.08%           0.24% 0.40%       0.67%     0.94%
AIR TRAFFIC CONTROL SPECIALIST    # 20115      16748      3367       1030        210      14107       2726          934       290        339         78            40         9         167      24       131        30
(2152)                            % 100% 83.26% 16.74%             5.12%      1.04% 70.13%          13.55%       4.64%     1.44%      1.69%      0.39%         0.20% 0.04%           0.83% 0.12%       0.65%     0.15%
Occupational CLF                  # 100% 81.51% 18.14%             3.79%      0.98% 69.02%          14.45%       5.37%     1.94%      1.36%      0.43%         0.12% 0.01%           0.49% 0.11%       1.41%     0.51%
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                                                      DOT FAA FEDERAL AVIATION ADMINISTRATION For Period ( 2010-10-01 TO 2011-09-30 )

                                         Table A7: HIRES FOR MAJOR OCCUPATIONS - Distribution by Race/Ethnicity and Sex - Permanent Workforce
Job Title/Series Agency                        RACE/ETHNICITY
Rate Occupational CLF                                                                                            Non- Hispanic or Latino
                                                                                 Black or                                     Native Hawaiian or     American Indian or
                          TOTAL EMPLOYEES       Hispanic or Latino      White    African American      Asian                  Other Pacific Islander Alaska Native      Two or more races
                          All  male   female   male      female    male   female male        female    male       female      male           female male         female male    female
INFORMATION TECHNOLOGIST (0334)
                   #         32        28        4         2        0        20        3         1        1         4         0            0       0          0     0         1        0
Accessions         %      100%    87.50%    12.50%     6.25%    0.00%   62.50%     9.38%     3.13%    3.13%    12.50%     0.00%        0.00%   0.00%      0.00% 0.00%     3.13%    0.00%
CLF                #      100%    66.77%    33.23%     3.14%    1.55%   50.42%    24.73%     4.29%    3.48%     7.40%     2.89%        0.05%   0.02%      0.24% 0.11%     1.23%    0.45%
GENERAL ENGINEERING (0801)
                   #         23        19        4         1        0        15        2         1        1         2         1            0       0          0     0         0        0
Accessions         %      100%    82.61%    17.39%     4.35%    0.00%   65.22%     8.70%     4.35%    4.35%     8.70%     4.35%        0.00%   0.00%      0.00% 0.00%     0.00%    0.00%
CLF                #      100%    89.61%    10.39%     3.19%    0.60%   71.83%     7.15%     3.04%    0.77%     9.92%     1.63%        0.09%   0.01%      0.21% 0.05%     1.32%    0.18%
CIVIL ENGINEERING (0810)
                   #         17        15        2         0        0        11        2         0        0         4         0            0       0          0     0         0        0
Accessions         %      100%    88.24%    11.76%     0.00%    0.00%   64.71%    11.76%     0.00%    0.00%    23.53%     0.00%        0.00%   0.00%      0.00% 0.00%     0.00%    0.00%
CLF                #      100%    89.86%    10.14%     3.71%    0.61%   74.05%     7.53%     2.91%    0.62%     7.44%     1.09%        0.03%   0.01%      0.33% 0.08%     1.37%    0.21%
ELECTRONICS ENGINEERING (0855)
                   #         15      15          0         1        0        11        0         2        0         1         0            0       0          0     0         0        0
Accessions         %      100% 100.00%       0.00%     6.67%    0.00%   73.33%     0.00%    13.33%    0.00%     6.67%     0.00%        0.00%   0.00%      0.00% 0.00%     0.00%    0.00%
CLF                #      100% 91.31%        8.69%     3.63%    0.45%   72.08%     5.51%     3.55%    0.92%    10.47%     1.62%        0.05%   0.01%      0.23% 0.03%     1.31%    0.16%
AEROSPACE ENGINEERING (0861)
                   #         27        21        6         2        1        16        5         1        0         1         0            0       0          0     0         1        0
Accessions         %      100%    77.78%    22.22%     7.41%    3.70%   59.26%    18.52%     3.70%    0.00%     3.70%     0.00%        0.00%   0.00%      0.00% 0.00%     3.70%    0.00%
CLF                #      100%    90.94%     9.06%     4.10%    0.54%   74.24%     6.47%     2.56%    0.66%     8.25%     1.20%        0.15%   0.00%      0.24% 0.03%     1.39%    0.16%
GENERAL INSPECTION, INVESTIGATION & COMPLIANCE (1801)
                   #         14        11        3         1        0        10        2         0        1         0         0            0       0          0     0         0        0
Accessions         %      100%    78.57%    21.43%     7.14%    0.00%   71.43%    14.29%     0.00%    7.14%     0.00%     0.00%        0.00%   0.00%      0.00% 0.00%     0.00%    0.00%
CLF                #      100%    52.91%    47.09%     4.17%    3.52%   41.32%    34.08%     4.47%    6.95%     1.66%     1.41%        0.06%   0.05%      0.39% 0.44%     0.82%    0.65%
AVIATION SAFETY INSPECTOR (1825)
                   #        115       102        13        8        0        87        13        6        0         0         0            0       0          1     0         0        0
Accessions         %      100%    88.70%    11.30%     6.96%    0.00%   75.65%    11.30%     5.22%    0.00%     0.00%     0.00%        0.00%   0.00%      0.87% 0.00%     0.00%    0.00%
CLF                #      100%    83.84%    16.16%     7.32%    1.65%   65.31%    10.99%     7.69%    2.72%     1.64%     0.31%        0.10%   0.00%      0.51% 0.18%     1.26%    0.31%
AIRWAY TRANSPORTATION SYSTEMS SPECIALIST (2101)
                   #        302       294        8         28       0       229        5         17       2         9         0            1       0          2     0         8        1
Accessions         %      100%    97.35%     2.65%     9.27%    0.00%   75.83%     1.66%     5.63%    0.66%     2.98%     0.00%        0.33%   0.00%      0.66% 0.00%     2.65%    0.33%
CLF                #      100%    43.44%    56.56%     4.74%    5.27%   30.24%    39.74%     4.89%    7.79%     2.57%     2.34%        0.07%   0.08%      0.24% 0.40%     0.67%    0.94%
AIR TRAFFIC CONTROL SPECIALIST (2152)
                   #        650       543       107        56       9       406        79        36       13        14        3            1       0          2     0         28       3
Accessions         %      100%    83.54%    16.46%     8.62%    1.38%   62.46%    12.15%     5.54%    2.00%     2.15%     0.46%        0.15%   0.00%      0.31% 0.00%     4.31%    0.46%
CLF                #      100%    81.58%    18.42%     3.79%    0.98%   69.03%    14.45%     5.37%    1.94%     1.36%     0.43%        0.12%   0.01%      0.49% 0.11%     1.41%    0.51%
